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                           OFFICIAL REPORT OF PROCEEDINGS

                                          BEFORE THE

                           NATIONAL LABOR RELATIONS BOARD

                                          REGION 12

         In the Matter of:

         SAINT LEO UNIVERSITY                   Case Nos. 12-CA-275612
         INCORPORATED,                                    12-CA-275617
                                                          12-CA-275639
         and                                              12-CA-275640
                                                          12-CA-275641
         UNITED FACULTY OF SAINT LEO,                     12-CA-275642
         NATIONAL EDUCATION ASSOCIATION                   12-CA-275644
         FLORIDA EDUCATION ASSOCIATION,                   12-CA-275645
         AMERICAN FEDERATION OF                           12-CA-284360
         TEACHERS, AFL-CIO.


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                                     JOINT EXHIBITS


        Place: Tampa, Florida

        Dates: December 1, 2022


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                                          Volume I
                                 Governance and Administration



 1.0      Governance and Administration
 The purpose of the several volumes of the Policy Manual of Saint Leo University (―Policy
 Manual‖) is to inform members of the Saint Leo University community of their rights and
 privileges as expressed in existing policies. The Policy Manual also contains, in some instances,
 procedural guidelines for members of the University community in the fulfillment of their
 responsibilities to the University. However, it is impossible for the University to cover in the
 Policy Manual every facet of the relationship between members of the Saint Leo University
 community and the University, whether as a student or employee; therefore, the University
 retains the right to exercise its discretion in instances where there is no written policy applicable
 to a particular set of circumstances.
 Volumes II, III, IV, V, and VII of the Policy Manual shall be revised as appropriate by the
 administration of the University through the approval of the President and where appropriate or
 legally required by the Board of Trustees on the recommendation of the President.
 In Volume VI, the academic policies are recommended by the appropriate committees or councils
 and are reviewed by the Vice President of Academic Affairs for presentation and approval by the
 President or through the President by the Board of Trustees as appropriate.
 Volume I, Sections 1.3 and Subsections 1.6.1 through 1.6.4 follows the amendment process of the
 respective Constitutions and Bylaws with oversight by the President and Board of Trustees. The
 rest of Volume I follows the procedures outlined above with respect to Volumes II, III, V, and VII
 of the Policy Manual.
 Volume IV-A follows the amendment provisions found in Volume IV-A, Article 16.




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 1.1      History of Saint Leo University
 Saint Leo University is a Catholic, in tradition and history, coeducational liberal arts university
 offering the associate‘s, bachelor‘s, and master‘s degrees.
 The University was chartered on June 4, 1889, when the Florida legislature authorized the Order
 of Saint Benedict of Florida to ―have and possess the right and power of conferring the usual
 academic and other degrees granted by any college in this state.‖ Saint Leo University was the
 first Catholic college in Florida and opened with the dedication of its main building on
 September 14, 1890.
 Established initially by monks from Saint Vincent Archabbey in Latrobe, Penn., the Benedictine
 mission in what was formerly called the ―Catholic Colony of San Antonio, Fla.‖ was transferred
 to the jurisdiction of Mary Help of Christians Abbey (now called Belmont) in North Carolina in
 1888. Saint Leo University and Abbey are named for its first abbot, Leo Haid, the principal
 founder and first president of the University.
 There were 32 students in the pioneer year 1890-1891. The basic curriculum was a mix of
 liberal arts and commercial courses leading to the degree of Master of Accounts. Periodically,
 the University went through a military phase, with uniforms and required drilling, to instill
 discipline and order. The first Master of Accounts degrees were conferred on the pioneer
 graduating class of five students on June 20, 1893.
 In 1920, the College was phased out as the faculty decided to focus on becoming what one
 longtime Benedictine called ―a serious English-style prep school.‖ It was accredited by the
 Southern Educational Association in 1921. After a variety of name changes (including Saint Leo
 Academy and Benedictine High School), the institution settled on Saint Leo College Preparatory
 School in 1929, and continued as such until 1964.
 Reaching for a larger mission, Saint Leo opened as a college again in 1959. Its efforts were
 assisted by the neighboring community of Benedictine sisters at Holy Name Priory. Operating
 first on the associate‘s level, the College moved quickly to a four-year program and began to
 again confer bachelor‘s degrees on April 23, 1967. It was accredited by the Southern
 Association of Colleges and Schools on November 29, 1967, retroactive to include the charter
 bachelor of arts class. In 1969, the University was reorganized when the Order of Saint Benedict
 of Florida transferred title and control to an independent board of trustees.
 In a noteworthy broadening of its purpose, which echoed its military roots, Saint Leo responded
 in 1973 to requests from the armed services to offer degree programs on military bases. Now,
 Saint Leo University is one of the largest providers of higher education to military-related
 personnel in the United States. In 1994, the University further expanded its service to working
 adults as it responded to the needs of Florida residents by taking its degree programs to the
 campuses of community colleges. More recently, in 1998, Saint Leo began offering degree
 programs over the Internet.
 In December 1994, the University was accredited by the Southern Association of Colleges and
 Universities to offer the master‘s degree, retroactive to January 1, 1994. In August 1999, Saint
 Leo College changed its name to Saint Leo University. The eleventh change in the institution‘s
 name recognizes the broad reach of Saint Leo today.

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     1.1.1    Presidents of Saint Leo College and University

          1.1.1.1       The “First” College
 Rev. Charles Mohr, O.S.B.               1890-1894
 Rev. Benedict Roth, O.S.B               1895-1899
 Rev. Charles Mohr, O.S.B.               1895-1899
 Rev. Benedict Roth, O.S.B.          1899-1901
 Rev. Albert Schaller, O.S.B.        1901-1902
 Rev. Benedict Roth, O.S.B.          1902 (February-June)
 Rev. Alexander Fink, O.S.B.         1902-1908
 Rev. Benedict Roth, O.S.B.          1908-1920

          1.1.1.2       Prep School Years
 Abbot Charles Mohr                  1902-1931
 Francis Sadlier                     1929-1954
 Rev. Marion Bowman, O.S.B.          1954-1969

          1.1.1.3       The “New” College
 Dr. John I. Leonard                 1959-1961
 Rev. Stephen Herrmann, O.S.B.       1961-1968
 Dr. Anthony Zaitz                   1968-1970
 Rev. Marion Bowman, O.S.B.          1970-1971
 Dr. Thomas B. Southard              1971-1985
 Dr. Daniel Henry                    1985-1987
 Monsignor Frank M. Mouch            1987-1996
 Dr. Arthur F. Kirk, Jr.             1997- Present

     1.1.2    School Colors
 The Saint Leo University colors are green and gold.

     1.1.3    Athletic Teams Names
 The Saint Leo University athletic teams are the Lions.




     1.1.4    University Seal
 In April 1961, Father Bede Gale designed the official seal for the College. Its heraldic
 description reads: ―Fusilly in bend sinister, argent and vert, three lions rampant, or; each bearing
 a gold crozier, the crook to the sinister.‖
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 The seal is in one color, green, and two metals, gold and silver. Thus it embodies the colored
                                  adopted by the University of green and gold.
                                 ―Fusilly in bend sinister‖ describes the diamond-shaped over-all
                                 pattern of the shield which is in green and silver. The derivation
                                 of the pattern is as follows: The American Cassinese
                                 Congregation of Benedictines, to which Saint Leo belongs, was
                                 derived originally from the Bavarian Congregation. When the
                                 great heraldic authority, Pierre Champagne La Rose was asked
                                 to design a coat-of-arms for St. Vincent Archabbey, he used the
                                 royal arms of the Bavaria (fusilly in bend sinister argent and
                                 azure) in his design to indicate this derivation… When a coat-of-
                                 arms for Saint Leo Prep was designed, the pattern was also
                                 included. So it is also now used in the coat for the University in
                                 order to make some continuity…
                                  The three lions rampant (lions up on their hind legs facing to the
 right and beating the air with their forepaws) are a bald heraldic pun in the name of Leo. The
 crosiers in their forepaws suggest an ecclesiastic connection. This device of a lion rampant
 holding a crozier is probably unique in world heraldy and makes a neat, tasteful, and entirely
 heraldic Saint Leo device – all Saint Leo‘s own.
 Above the shield appears the cross of Saint Benedict. This cross has an extremely ancient
 history and is said to be very potent against the onslaughts of the devil… The letters CSPB stand
 for ―Crux Sancti Patris Benedicti‖ (―the Cross of Holy Father Benedict‖). The pother letters
 CSSMLNDSMD stand for the latin words ―Crux sancta sit mihi lux, non draco sit mihi dux‖
 (―May the holy cross be my light, may the dragon not be my guide‖). This is a mostly
 distinctively Benedictine device and immediately relates the seal to the Benedictine order.

     1.1.5    Accreditation and Affiliation Statement (rev. 3/02/10)
 Saint Leo University is accredited by the Commission on Colleges of the Southern Association
 of Colleges and Schools to award the associate, bachelor‘s, master‘s and specialist degrees.
 Contact the Commission on Colleges at 1866 Southern Lane, Decatur, Georgia 30033-4097 or
 call 404-679-4500 for questions about the accreditation of Saint Leo University. Saint Leo
 University‘s School of Business received initial accreditation from the International Assembly
 for Collegiate Business Education (IACBE) in September 1999. Saint Leo University‘s degree
 program in Social Work is accredited by the Commission on Accreditation of the Council on
 Social Work Education (BSW Level). Saint Leo‘s Sport Business program is accredited by the
 Sport Management Program Review Council which is the nationally recognized accrediting body
 of academic sport management programs. Saint Leo University‘s Teacher Education Programs
 are approved by the State of Florida Department of Education. Saint Leo University holds
 membership in the American Council on Education (ACE), Association of Governing Boards of
 Universities and Colleges, Independent Colleges and Universities of Florida (ICUF), the
 American Association of Adult and Continuing Education, the National Collegiate Honor
 Society, the National Association of Independent Colleges and Universities, the National
 University Continuing Education Association (NUCEA), the National Association of Institutions


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 for Military Education Services (NAIMES), Servicemembers Opportunity Colleges, National
 Catholic Education Association and the Association of Catholic Colleges and Universities.

     1.1.6     Main Campus Location and Buildings
 Saint Leo is a larger and more complicated University than people generally realize. Our
 enrollment ranks us among the 10 largest Catholic institutions in the United States. We also are
 one of the largest providers of military higher education in the nation. We serve more than
 14,000 students at locations in Virginia, South Carolina, Georgia, Texas, California and Florida,
 and around the world through our online degree programs. We do so with the same commitment
 to our Catholicism, to the liberal arts and sciences as the basis of all learning, to student learning
 and development, and to our values. Saint Leo University puts students first in all of its
 considerations and promises a commitment to quality in all of its programs. Our aim is to make
 our students more compassionate, concerned, committed, competent and confident human
 beings.
 The campus of Saint Leo University, known as University Campus, is approximately 35 miles
 north of downtown Tampa, Fla. Its rolling hills and richly wooded grounds edge on beautiful
 Lake Jovita. The central Florida location offers many natural advantages that attract people to
 live, work and study in the Sunshine State. This pleasing pastoral atmosphere can be exchanged
 in an hour or so for beaches or two metropolitan areas - Tampa/St. Petersburg and Orlando.
 Campus buildings unite the tradition of the past with the objectives of modern education through
 a combination of Spanish Florida baroque and contemporary architecture.
 Saint Francis Hall houses the offices of the President, Academic Affairs, Continuing Education
 and Student Services, Business Affairs, Human Resources, University Advancement, Alumni
 Relations, Graduate Studies, and Institutional Research and Assessment.
 Across from Saint Francis Hall is Saint Edward Hall. The Offices of Graduate Criminal Justice,
 Student Financial Services, Registrar‘s Office, Veterans Affairs, Weekend/Evening Program and
 the University‘s Trane Stop Student Center are located on the first floor. The rest of the building
 houses faculty offices and classrooms.
 Residence halls are situated throughout the 186-acre campus. Located on the west side of the
 campus is the Marmion (first year male students) and Snyder Residence Hall complex.
 Marmion/Snyder Halls house the Lion‘s Den. In this large lounge are pool tables, ping pong
 tables, air hockey, foosball, a large screen television. On the east side of campus are four
 residence halls. Benoit Hall, a traditional women‘s hall, and Henderson Hall, a traditional men‘s
 hall, are located on the University circle and house both freshman and upperclassmen students.
 Roderick Hall offers suite-style living for both men and women. Each suite has four single
 bedrooms, two bathrooms and a living area. Alumni Hall, located next to Roderick Hall, houses
 both men and women. All rooms have a private bathroom and a private entrance. Students
 living in Alumni and Roderick Hall tend to be mostly juniors and seniors. In addition to these
 six residence halls, new apartment complexes have been built near the lake. The apartments
 have either 4 singles or 2 doubles with 2 bathrooms, common living room, and either a full
 kitchen or kitchenette. These facilities will also have a common lounge, conference rooms, and
 laundry room.


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 Julia Deal Lewis Hall of Science is a three-story building occupied by the Department of
 Mathematics and Sciences, Academic Student Support Services, which includes the Learning
 Resource Center and the Office of Disability Services as well as the Learning Enhancement for
 Academic Progress Program, laboratories, science library and Heagerty Business Suite. The
 William G. and Marie Selby Auditorium, adjoining Lewis Hall at the ground and second-floor
 levels, is a teaching auditorium with tiered seating.
 Nearby Crawford Hall provides general classrooms. Residence Life, Counseling and Career
 Services, and Health Services are located in DeChantal Hall. There are also a number of faculty
 offices in this building.
 The Information and Security Campus Safety Office and Marian Hall, which houses the Office
 of Undergraduate Admissions, are found at the main entrance of University Campus.
 The Cannon Memorial Library is named in honor of long-time trustees and donors, Daniel A.
 and Elizabeth T. Cannon. The three-level building overlooking Lake Jovita houses the library
 collections, research stations, media services center, student computer lab and University
 archives. The Hugh Culverhouse Computer Instruction Center, Sprint Electronic Classroom and
 the newly completed Video Teleconferencing Classroom are located on the lower level.
 The Student Community Center forms a hub and focal point for campus social activities and
 provides dining and recreational spaces for students, faculty, staff, and community members for
 meeting, eating, and socializing together. On the ground floor of the Center is the McDonald
 Refectory dining room with its open air ceiling into the first floor which will house the campus
 book store, snack bar coffeehouse, convenience store, large lounge area, and a series of meeting
 rooms. The Student Involvement Building will house the offices of Student Services, Student
 Involvement, Greek Life, International Students, student government as well as other student
 organizations on the first floor. The second floor will be host to University Ministry, Academic
 Student Support Services, and Disability Services. The Clock Tower will house a small
 multifunctional room which will be used for meetings and small group liturgies. Connecting
 these three buildings will be an open air plaza which will become a beautiful destination for our
 campus.
 The Marion Bowman Activities Center is a facility for teaching and recreation as well as the
 location of the Department of Intercollegiate Athletics. The main gymnasium is used for
 intercollegiate sports, lectures and other educational and social activities. Physical education
 classrooms, an athletic training room, aerobics room, a fitness center, and a weight-lifting room
 are also in the facility. The Recreation Department operates a large heated outdoor swimming
 pool and sunning deck adjacent to the activities center.
 Athletic fields provide venues for soccer, baseball, lacrosse and softball. The University also
 sponsors club lacrosse. Numerous courts are also available for tennis, volleyball, racquetball,
 handball, in-line skating and basketball.
 The waterfront at Lake Jovita provides opportunities for canoeing, sailing, boating, lakeside
 cookouts and recreational events coordinated by the Recreation Office.




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           1.1.6.1         National Sites for Saint Leo University
 Degree programs are offered to adult students through the Division of Continuing Education and
 Student Services at the following regional continuing education centers:
 California
 San Diego Office
 -MCAS Miramar
 -Naval Base Coronado
 -Naval Station San Diego
 Florida
 Gainesville Center
 - Alachua Office
 - Starke Office
 Lake City Center
 MacDill AFB Center
 - Avon Park Office
 - Brooksville Office
 - South Shore Office
 - St. Petersburg Office
 Madison Office
 - Tallahassee Office
 Key West Center
 NE Florida Center
 - NS Mayport Office
 - Orange Park Office
 - Palatka Office
 - St. Augustine Office
 Ocala Center
 - Lake Sumter Office
 Saint Leo University Campus
 (Weekend & Evening Programs)
 Georgia
 Atlanta-Fort McPherson Center
 - Atlanta Police Academy Office
 - NAS Atlanta
 - Gwinnett Office
 Savannah Center
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 South Carolina
 Shaw Center
 - Sumter Office at St. Francis/Xavier H.S.
 Texas
 Naval Station Ingleside Center
 - Naval Air Station Corpus Christi Office
 Virginia
 Fort Eustis Center
 Fort Lee Center
 Langley AFB Center
 South Hampton Roads Center
 - Chesapeake Office
 - Naval Air Station Oceana Office
 - Naval Amphibious Base
 - Little Creek Office
 - Naval Station Norfolk Office




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       1.1.7      Alma Mater of Saint Leo University1
                                                  VERSE
                                 Joyfully we gather, our destinies to seek,
                                  Partners in harmony united yet unique.
                         Excellence in word and deed, we‘ve made our final quest,
                          We care for all creation, with compassion and respect.
                                                REFRAIN
                                Saint Leo we salute traditions new and old,
                             which guide us as we grow in body heart and soul.
                             Everywhere we flourish sustained by our ideal of
                              Challenging our minds to make our vision real.

 1.2         Mission Statement
 Saint Leo University is a Catholic, liberal arts-based university serving people of all faiths.
 Rooted in the 1,500-year-old Benedictine tradition, the University seeks balanced growth in
 mind, body and spirit for all members of its community. On its home campus and many
 extension centers, Saint Leo University offers a practical, effective model for life and leadership
 in a challenging world, a model based on a steadfast moral consciousness that recognizes the
 dignity, value and gifts of all people.
 To accomplish its mission, the University community creates a student-centered environment in
 which love of learning is of prime importance. Members of the community are expected to
 examine and express their own values, listen respectfully to and respond to the opinions of
 others, serve the community in which they live, welcome others into their lives and care for all of
 God‘s creations.

       1.2.1      Values Statements
 Excellence – Saint Leo University is an educational enterprise. All of us, individually and
 collectively, work hard to ensure that our students develop the character, learn the skills and
 assimilate the knowledge essential to become morally responsible leaders. The success of our
 University depends upon a conscientious commitment to our mission, vision and goals.
 Community – Saint Leo University develops hospitable Christian learning communities
 everywhere we serve. We foster a spirit of belonging, unity and interdependence based on
 mutual trust and respect to create socially responsible environments that challenge all of us to
 listen, to learn, to change, and to serve.
 Respect – Animated in the spirit of Jesus Christ, we value all individuals‘ unique talents, respect
 their dignity and strive to foster their commitment to excellence in our work. Our community‘s
 strength depends on the unity and diversity of our people, on the free exchange of ideas and on
 learning, living, and working harmoniously.



         1
             Music by Jeffery R. Smith. Lyrics by Kurt Van Wilt.

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 Personal Development – Saint Leo University stresses the development of every person‘s mind,
 spirit and body for a balanced life. All members of the Saint Leo University community must
 demonstrate their commitment to personal development to help strengthen the character of our
 community.
 Responsible Stewardship – Our creator blesses us with an abundance of resources. We foster a
 spirit of service to employ our resources to University and community development. We must
 be resourceful. We must optimize and apply all of the resources of our community to fulfill
 Saint Leo University‘s mission and goals.
 Integrity – The commitment of Saint Leo University to excellence demands that its members
 live its mission and deliver on its promise. The faculty, staff, and students pledge to be honest,
 just, and consistent in word and deed.

     1.2.2    Vision 2010
 Saint Leo University‘s remarkable growth and development between 1997 and 2003 only hinted
 at what was to come between 2004 and 2010. University Campus, the heart of Saint Leo
 University‘s world-wide reach, fueled the growth. Since fall 2004, University College grew
 resident enrollments from 900 to 1,400, and total full-time students, including resident and
 commuters, from 1,241 to 1,800. Five new student apartment buildings constructed near the
 shoreline of Lake Jovita accommodated and stimulated much of the growth.
 The five new apartment complexes were only part of the physical transformation of the 160-acre
 campus. The new Student Community Center, an all new facility that includes the McDonald
 Dining Hall, brings together student affairs staff, student organizations and club offices, lounges
 and meeting rooms. It also houses the bookstore, snack bar, coffeehouse and post office. The
 building features a theatre that seats 225 auditorium-style. The theater is supported with dressing
 and staging areas to accommodate the many theatre productions, musical performances, speakers
 and comedians who perform for students and the community. A new deck overlooks the new
 amphitheatre, Lake Jovita, the beach, new boat docks and boat house.
 Across the newly developed and expanded Campus quadrangle, the School of Business building
 complements the Student Community Center. The Business School houses the world‘s largest
 Catholic university school of business in terms of enrollments, serving nearly 10,000 students
 worldwide with undergraduate and graduate business programs that emphasize Saint Leo
 University‘s core values. The school teaches in 20 continuing education centers in seven states
 and six nations and also delivers business programs online, in blended formats and through video
 conferencing technology worldwide. The Business School building houses the hub for online,
 video production and broadcasting technology centers that link Saint Leo‘s widely distributed
 students and staff into one university community. Faculty offices and the most modern,
 technologically advanced classrooms can be found in the Business School. The building also
 serves area businesses with first class on-site meeting, training, entertaining and videoconference
 spaces. One special feature of the School is the specialized online MBA for entrepreneurs that
 include video conferencing lectures, discussions, advisement, and annual on-campus seminars.
 Improvements in the laboratories of Lewis Hall bring state-of-the art science facilities to the
 burgeoning number of science majors and expanding science faculty. Saint Leo University now
 places more than one dozen graduates in medical school and schools of dentistry and veterinary

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 medicine annually. Another two dozen science graduates enter graduate programs in
 occupational and physical therapy or pursue graduate degrees in the sciences. Similarly,
 improvements were made to the Cannon Memorial Library which serves Saint Leo‘s students
 everywhere with one of the largest digital collections anywhere, as well as comfortable research
 and study environments. Immediately adjacent to the Cannon Memorial Library is the three-
 level parking garage that accommodates 250 automobiles. The garage was part of the major
 redesign and restructuring of the campus roads, partially funded by Federal appropriations. The
 parking garage opened the Cannon Memorial Library to the public, meeting a pressing local need
 as areas near the campus grew from rural to suburban. It also provides easy access to the
 community for the new amphitheatre and the Student Community Center.
 The University‘s entrance was moved back from State Route 52 some 50 feet. The parallel
 access roads were also moved 230 feet and Route 52 was widened to accommodate longer east
 and westbound turn-off lanes. The changes eliminated safety hazards for those entering and
 exiting the campus or traveling along State Route 52, and created an attractive sense of arrival.
 Additionally, the road ―spine‖ was completed throughout the campus. The University is now
 constructing a new three-story academic building to replace Crawford Hall, another residence
 hall and parking garage. All the facilities capture the Spanish mission architectural theme that
 distinguishes the campus.
 The eighteen hundred full-time students reflect Saint Leo‘s commitment to globalization and
 diversity, with 20 percent of its students being international and another 23 percent representing
 ethnic minorities. With applications exceeding 3,000 for 550 freshmen positions, regularly
 admitted student SAT scores range from 1000 to 1400 with 50 honors students in each class.
 While competitive, Saint Leo remains true to its mission of access and opportunity, maintaining
 its LEAP program for promising students who do not meet admissions criteria.
 Higher admissions standards, more rigorous academic requirements and high expectations for
 student behavior contribute to Saint Leo University‘s athletic teams excelling. They have won
 the Mayor‘s Cup for the strongest programs in the Sunshine State Conference. Their success is
 supported by the many spectators who enjoy the now-lighted soccer fields and new bleachers
 both on the fields and in the gymnasium.
 Impressive new and improved facilities are only a part of Saint Leo‘s attraction to students, on
 and off campus. The University‘s clear Catholic identity, hospitality to all people and emphasis
 on its values, teaching excellence and superior services, no matter their location, age or status
 distinguishes Saint Leo in the market. Commitments to develop flagship programs in
 psychology, sports business, and education led to recognition that Saint Leo now offers programs
 in these disciplines competitive with any in the Southeast and in some cases nationally. Criminal
 Justice enjoys great prestige for its excellence. Investments in the sciences and unique
 partnerships with Nova Southeastern University and St. Augustine University resulted in a 100
 percent increase in science enrollments and average SAT‘s for science majors of over 1300.
 Overall Saint Leo University graduates from all locations and programs exceed national and state
 averages in outcomes exams in business, criminology, psychology, education, and other fields.
 Graduate and law school placement in the leading research universities continues to increase.
 The full-time faculty grew to 150, an increase of nearly 50 percent. All new faculty already
 possessed the terminal degree in their discipline, bringing Saint Leo full-time faculty with the
 terminal degree to 97 percent. Continuous faculty development programs contributed to faculty
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 all using active, cooperative, and experiential learning methods in all their classes. The Center
 for Teaching Excellence helps develop the content of Saint Leo University‘s courses and helps
 faculty improve their ability to use the University‘s many resources effectively to increase
 learning. Saint Leo is now known as a leading teaching university because of the excellence of
 instruction in all delivery systems. Videoconferencing resources helped to make its widely
 distributed faculty truly one with regular video conferencing meetings and faculty development
 workshops. The University‘s long and proven record for caring teachers is enhanced by the way
 all full and part-time faculty are oriented, developed and acculturated. The University again uses
 its technological competence and resources to reach every full and part-time employee with these
 programs. The University takes particular pride in the excellent academic, personal, and career
 advising its faculty provides and that all of its locations consistently exceed national averages on
 learning outcomes exams and student satisfaction.
 Saint Leo University made advising a priority in 2004 and now excels at it. Advisors took real
 effort to change their beliefs and habits about advising. Today, advising is evaluated, and it is an
 important consideration in tenure and promotion decisions. Indeed, the University‘s competence
 in academic and career advising is equally evident at Saint Leo‘s Continuing Education Centers.
 Once again Saint Leo‘s technological competence contributed to accelerating these
 improvements. On campus and at Continuing Education Centers, 98 percent of Saint Leo
 graduates express satisfaction with their overall experience.
 Underscoring its commitment to technology across the curriculum, the University now utilizes
 video conferencing to connect students across University Campus, at its Centers, and throughout
 the world. Personal development programs offered by Career Services, Counseling Center,
 Academic Student Support Services and Health Services are transmitted via video conferencing.
 Saint Leo‘s ability to teach in traditional ways, online, with VTT, CD ROM‘s, and in blended
 formats, as well as support students with online services become sought after by ESO‘s in many
 locations. The University opted to open a maximum of two new locations a year to ensure
 quality programs, personnel and services.
 Not only are students staying at Saint Leo, so too are faculty and staff. Turnover, including
 retirements, are less than 15 percent a year. Saint Leo University has built a great place for
 students and staff to be by emphasizing our six core values. Community, excellence, personal
 development, stewardship, respect, and integrity are real here. We not only prosper with
 enrollment and financial strength, we prosper as people. The University‘s success contributes to
 an institution that attracts students, faculty, staff and philanthropic support.
 The University‘s enrollment has grown from under 12,700 to 16,000 in six years. Its endowment
 more than doubled to over $18 million during that time as part of a comprehensive campaign that
 raised $27 million on its $20 million goal. The campaign also financed many of the building and
 renovation projects. Over 10,000 of the University‘s 50,000 graduates contributed during the
 campaign and now 9,000 make annual gifts. The University‘s budget exceeds $125 million, and
 its net assets grew from $21 million in 2002 to nearly $70 million in 2010. Average faculty and
 staff salaries grew by 25 percent in five years, more than twice the rate of inflation. The wages
 of the lowest paid employee averaged a 40 percent raise, Saint Leo is known for its investments
 in facilities, technology, and people.
 The University‘s great progress began to be noticed as its new academic centers drew attention
 to Saint Leo‘s innovative and important work. Saint Leo‘s online program dominance captured
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 headlines as well. Saint Leo has become recognized as an innovative, entrepreneurial model for
 higher education in the 21st century. The intense competition for campus freshmen admissions
 and the University‘s partnerships with medical, dental, law, and graduate schools brought Saint
 Leo to the attention of high schools students and parents throughout the east. Now University
 Campus enrolls freshmen from 36 states and 50 nations.

 1.3       Charter and Bylaws of Saint Leo University

       1.3.1   Amendment to Charter August 26, 1988
                                 AMENDMENT TO CHARTER
                                          OF
                           SAINT LEO COLLEGE, INCORPORATED
                             A Corporation Not for Profit
                THIS IS TO CERTIFY that at a duly called meeting of
           the Board of Trustees of SAINT LEO COLLEGE, INCORPORATED
           held on the 26th day of August, 1988, in Saint Leo,
           Florida, at which a quorum was present, the following
           resolution was unanimously adopted:
                        RESOLVED, that the Charter and Articles
                 of Incorporation of Saint Leo College, Incor-
                 porated, a corporation not for profit under
                 the laws of the State of Florida, be amended
                 and restated in order that this amendment and
                 all amendments heretofore made will be set
                 forth in one instrument, as follows:




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                            ARTICLES OF INCORPORATION
                                        OF
                         SAINT LEO COLLEGE, INCORPORATED
                           A Corporation Not For Profit
                                    ARTICLE I
              The name of the corporation is:          SAINT LEO COLLEGE,
        INCORPORATED.

                                   ARTICLE II
       The purposes for which the corporation is organized are to:
       (a) Continue and maintain Saint Leo College, which was founded in
            1889.
       (b) Confer upon students, by diploma under the common seal, such
            degrees as are usually granted by colleges.
       (c) Execute any trust or trusts, the purposes whereof promote the
            maintenance of a college.
       (d) Have succession by its corporate name for the period set
            forth in the Articles of Incorporation.
       (e) Sue and be sued and appear and defend in all actions and
            proceedings in its corporate name to the same extent as a
            natural person
       (f) Adopt and use a common corporate seal and alter the same;
            provided, however, that such seal shall always contain the
            words “Corporation not for profit”.
       (g) Elect or appoint such officers and agents as its affairs
            shall require and allow them reasonable compensation.
       (h) Adopt, change, amend and repeal Bylaws, not inconsistent with
            law     or    these   Articles      of     Incorporation,          for     the
            administration of the affairs of the corporation and the
            exercise of the corporate powers.
       (i) Increase, by a vote of its members cast as the Bylaws direct,
            the number of Trustees so that the number shall not be less
            than three but may be any number in excess thereof.


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       (j) Make contracts and incur liabilities, borrow money at such
            rates of interest as the corporation may determine, issue
            its   notes,        bonds        and    other     obligations           by     mortgage     and
            pledge of all its property, franchises or income.
       (k) Conduct        its    affairs,          carry     on    its    operations,          and     have
            offices       and     exercise          the     powers    granted         in     any    state,
            territory, district, or possession of the United States or
            any foreign country.
       (l) Purchase,       take,       receive,           lease,   take     by      gift,     devise    or
            bequest, or otherwise acquire, own, hold, improve, use or
            otherwise deal in and with real or personal property, or any
            interest therein, wherever situated.
       (m) Acquire, enjoy, utilize and dispose of patents, copyrights
            and     trademarks             and     any     licenses      and        other     rights     or
            interests thereunder or therein.
       (n) Sell, convey, mortgage, pledge, lease, exchange, transfer or
            otherwise dispose of all or any part of its property and
            assets.
       (o) Purchase, take, receive, subscribe for, or otherwise acquire,
            own, hold, vote, use, employ, sell, mortgage, lend, pledge,
            or otherwise dispose of and otherwise use and deal in and
            with,    shares          and    other        interests    in,      or    obligations       of,
            other domestic or foreign corporations, whether for profit
            or      not        for     profit,            associations,             partnerships        or
            individuals, or direct or indirect obligations of the United
            States,       or     of    any       other      government,          state,       territory,
            governmental              district,             municipality,             or       of      any
            instrumentality thereof.
       (p) Lend money for its corporate purposes, invest and reinvest
            its funds, and take and hold real and personal property as
            security for the payment of funds so loaned or invested.
       (q) Make donations for the public welfare or for scientific,
            educational or other similar purposes.



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       (r) Have    and   exercise   all    powers    necessary      or    convenient      to
            effect any or all of the purposes for which the corporation
            is organized.

                                    ARTICLE III

            The members of this corporation shall be limited to the
       incorporators and such persons who are eighteen (18) years of age
       or over, and citizens of the United States, as shall be elected
       to membership in accordance with the Bylaws of this corporation.

                                          ARTICLE IV
            The period of duration of the corporation is perpetual.

                                          ARTICLE V
            The names and residences of the subscribers are:
            Name                                     Address
       Marion Bowman                   Saint Leo College, Saint Leo, Fla.
       Stephen Herrmann                Saint Leo College, Saint Leo, Fla.
       James Hoge                      Saint Leo College, Saint Leo, Fla.
       Andrew Metzger                  Saint Leo College, Saint Leo, Fla.
       George Montpetit                Saint Leo College, Saint Leo, Fla.
       Henry C. Hughes                 Saint Leo College, Saint Leo, Fla.
       Robert A. Brown                 315 Clark Ave., Palm Beach, Fla.

                                          ARTICLE VI
            The officers of this corporation shall be:                   A Chairman, one
       or more Vice Chairmen, one or more Vice Presidents, a Secretary
       and Treasurer.

                                       ARTICLE VII
            The affairs of the corporation shall be managed by a Board
       of Trustees, the number of which shall be set forth in the Bylaws
       of the corporation but shall never be less than three (3).                      They
       shall elect their successors and fill vacancies on the Board in
       accordance with the provisions set forth in the Bylaws of the
       corporation.




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                                               ARTICLE VIII
               The Articles of Incorporation of this corporation may be
       altered, changed, repealed or amended by a two-thirds vote at any
       regular       meeting    of    the    Board     of   Trustees,       provided      that    the
       proposed change is submitted in writing to each member of the
       Board at least ten (10) days prior to said meeting.

                                                ARTICLE IX
               The    Bylaws     of   the     corporation       may    be    altered,       changed,
       repealed or amended by a two-thirds vote at any regular meeting
       of the Board of Trustees, provided that the proposed change(s) is
       submitted in writing to each member of the Board at least ten
       (10) days prior to said meeting.

                                                 ARTICLE X
               The time and place of the meetings of Saint Leo College,
       Incorporated shall be as stated in the Bylaws of this
       corporation.

                                                ARTICLE XI
               The post office address and principal place of business of
       this corporation is Saint Leo, Pasco County, Florida.

                                               ARTICLE XII
               Upon dissolution of this corporation, all of its assets,
       tangible and intangible, shall, under the jurisdiction of the
       Circuit Court of Pasco County, Florida, be distributed to such
       charitable,       scientific,           educational,        religious         or     literary
       organizations as the Board of Trustees may select and which have
       been ruled exempt under Section 501(c)(3) of the Internal Revenue
       Code.     In the event that the Board of Trustees fails to select
       and designate such an organization, then the assets hereof shall
       be distributed to such other organization as may be designated
       and selected by the Circuit Court of Pasco County, Florida, to be
       used only for charitable, scientific, educational, religious or
       literary      purposes.        Under       no   circumstances         shall    any    of   the


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       assets of this corporation, upon dissolution, be distributed to
       the members hereof.
            IN WITNESS WHEREOF, this Amendment is executed by the
       Chairman and Secretary of the corporation


                                              /s/ H. E Johnson
                                                  Chairman

       (Corporate Seal)

       Attest:


        /s/ Adrian W. Bell, Jr.
               Secretary


       STATE OF FLORIDA
       COUNTY OF PASCO

            Before me, the undersigned authority, on this 12th day of
       September, 1988, personally appeared Hjalma E. Johnson, to me
       well known to be the Chairman of Saint Leo College, Incorporated,
       and who signed the foregoing amendment to charter, and he
       acknowledged to me that he executed the same freely and
       voluntarily for the uses and purposes therein expressed.
            WITNESS my hand and official seal the date aforesaid.

                                     /s/ Beth G. Evans
                                  Notary Public, State of Florida at Large
                                            (Stamp, Seal)

       STATE OF FLORIDA
       COUNTY OF PASCO

            Before me, the undersigned authority, on this 12th day of
       September, 1988, personally appeared Adrian W. Bell, Jr., to me
       well known to be the Secretary of Saint Leo College,
       Incorporated, and who signed the foregoing amendment to charter,
       and he acknowledged to me that he executed the same freely and
       voluntarily for the uses and purposes therein expressed.
            WITNESS my hand and official seal the date aforesaid.

                                     /s/ Beth G. Evans
                                  Notary Public, State of Florida at Large
                                            (Stamp, Seal)


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                                    State of Florida
                                                /Seal/
                                      Department of State

       I certify from the records of this office that SAINT LEO COLLEGE
       INCORPORATED, is a corporation organized under the laws of the State of
       Florida, filed on April 23, 1965.


       The document number of this corporation is 708865.


       I further certify that said corporation has paid all fees and penalties due this office
       through December 31, 1996, that its most recent annual report was filed on
       March 28, 1996, and its status is active.
       I further certify that said corporation has not filed Articles of Dissolution.


                                                          Given under my hand and the
                                                          Great Seal of the State of Florida,
                                                          at Tallahassee, the Capital, this the
                                                          Third day of March, 1997

        (Great Seal of the State of Florida)                   /s/ Sandra B. Mortham

                                                          Sandra B. Mortham
                                                               Secretary of State




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        1.3.1.1        Amendment to Saint Leo University Charter June 28, 1999
                                  (Letterhead with Great Seal)
                            FLORIDA DEPARTMENT OF STATE
                                        Katherine Harris
                                         Secretary of State


       June 28, 1999

       SUMNER & MANN, P.A.
       ATTN: ROBERT D. SUMNER
       POST OFFICE DRAWER 1047
       DADE CITY, FL 33526-1047



       Re: Document Number 708865

       The Articles of Amendment to the Articles of Incorporation for SAINT LEO
       COLLEGE INCORPORATED which changes its name to SAINT LEO
       UNIVERSITY INCORPORATED, a Florida corporation, were filed on June 28,
       1999.

       The certification requested is enclosed.

       Should you have any question regarding this matter, please telephone (850) 487-
       6050, the Amendment Filing Section.

       Doug Spitler
       Document Specialist
       Division of Corporations                         Letter Number: 599A00034135


       (Stamped: REC’D JUL – 9 1999)



              Division of Corporations – P.O. BOX 6327 – Tallahassee, Florida 32314




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                                    State of Florida
                                                /Seal/
                                      Department of State

       I certify the attached is a true and correct copy of the Articles of Amendment,
       filed on June 28, 1999, to Articles of Incorporation for SAINT LEO COLLEGE
       INCORPORATED which changed its name to SAINT LEO UNIVERSITY
       INCORPORATED, a Florida corporation, as shown by the records of this office.


       The document number of this corporation is 708865.


       I further certify that said corporation has paid all fees and penalties due this office
       through December 31, 1996, that its most recent annual report was filed on
       March 28, 1996, and its status is active.
       I further certify that said corporation has not filed Articles of Dissolution.


                                                          Given under my hand and the
                                                          Great Seal of the State of Florida,
                                                          at Tallahassee, the Capital, this the
                                                          Twenty-eighth day of June, 1999
        (Great Seal of the State of Florida)                  /s/ Katherine Harris

                                                          Katherine Harris
                                                              Secretary of State




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                                    AMENDMENT TO CHARTER
                                              OF
                               SAINT LEO COLLEGE, INCORPORATED
                                 A CORPORATION NOT FOR PROFIT


           THIS IS TO CERTIFY that a duly called meeting of the Board of Trustees of SAINT LEO
 COLLEGE, INCORPORATED, held on the 7th day of May, 1999, in Saint Leo, Florida, at which a
 quorum was present, the following resolution was unanimously adopted:

                         RESOLVED, that the Charter and Articles of Incorporation of
                  SAINT LEO COLLEGE, INCORPORATED, a corporation not for
                  profit under the laws of the State of Florida, be amended to change the
                  name    of   the      corporation    from    SAINT     LEO    COLLEGE,
                  INCORPORATED,               to       SAINT       LEO       UNIVERSITY,
                  INCORPORATED, which shall be come effective upon the filing of
                  this Amendment with the Florida Department of State.

           THIS IS TO FURTHER CERTIFY that there are no members or members entitled to vote on the
 amendment, and the amendment was adopted by the Board of Trustees on May 7, 1999.

           IN WITNESS WHEREOF, this Amendment is executed by the Chairman and Secretary of the
 corporation.
                                   Board of Trustees of Saint Leo College Incorporated


                                   By          /s/
                                           Chairman of the Board
 (Corporate Seal)

 Attest:

            /s/
 Secretary
 Board of Trustees
 Saint Leo College, Incorporated

 (Date stamped:      FILED
                     99 JUN 28 PM 12:10
                     Secretary of State
                     Tallahassee, Florida)



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         1.3.1.2       Amendment to Charter of Saint Leo University April 13, 2005
                                    (Letterhead with Great Seal)
                             FLORIDA DEPARTMENT OF STATE
                                          Glenda E. Hood
                                          Secretary of State


     April 20, 2005

     FRANK MEZZANINI
     P.O. BOX 6665
     ST LEO, FL 33574



     Re: Document Number 708865

     The Articles of Amendment to the Articles of Incorporation for SAINT LEO
     UNIVERSITY INCORPORATED, a Florida corporation, were filed on April 13, 2005.

     The certification requested is enclosed.

     Should you have any question regarding this matter, please telephone (850) 487-6050,
     the Amendment Filing Section.

     Tracy Smith
     Document Specialist
     Division of Corporations                   Letter Number: 505A00027102


     (Stamped: REC’D APR 25 2005)



               Division of Corporations – P.O. BOX 6327 – Tallahassee, Florida 32314




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                                    State of Florida
                                                /Seal/
                                      Department of State

       I certify from the records of this office that SAINT LEO UNIVERSITY
       INCORPORATED is a corporation organized under the laws of the State of
       Florida, filed on April 23, 1965


       The document number of this corporation is 708865.


       I further certify that said corporation has paid all fees and penalties due this office
       through December 31, 2004, that its most recent annual report/uniform business
       report was filed on February 16, 2004, and its status is active.
       I further certify that said corporation has not filed Articles of Dissolution.


                                                          Given under my hand and the
                                                          Great Seal of the State of Florida,
                                                          at Tallahassee, the Capital, this the
                                                          Twenty-eighth day of June, 1999
        (Great Seal of the State of Florida)                  /s/ Glenda E. Hood

                                                              Glenda E. Hood
                                                              Secretary of State




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                                  A RESOLUTION OF
                               THE BOARD OF TRUSTEES
                            OF SAINT LEO UNIVERSITY, INC.
                       AMENDING THE ARTICLES OF INCORPORATION


        WHEREAS, Saint Leo University, Incorporated has tax exempt status under Section
 501(c)(3) of the Internal Revenue Code as part of the group ruling issued to the United States
 Catholic conference;

         WHEREAS, the University must be listed each year in the Official Catholic Directory in
 order to continue its tax exempt status;

         WHEREAS, the Business Affairs Committee of the Board of Trustees at its February 21,
 2003 meeting discussed the issue and instructed staff to apply for a stand alone tax exempt
 status;

        WHEREAS, the IRS has reviewed the application and found the Articles of
 Incorporation out of compliance as it applies to not-for-profit organizations;

         WHEREAS, the IRS has provided specific wording that must be amended to the existing
 Articles of Incorporation before they will grant the University its own tax exempt status.

       WHEREAS, outside counsel for Saint Leo University has reviewed the proposed
 amending language and has approved the same.

        NOW AND IN CONSIDERATION of the foregoing,

 BE IT RESOLVED, by this Executive Committee that the Articles of Incorporation of this
 corporation be amended by adding to Article II the following:
         (s) Said organization is organized exclusively for charitable, religious, educational, and
 scientific purpose, including, for such purposes, the making of distributions to organizations that
 qualify as exempt organizations under section 501(c)(3) of the Internal Revenue Code, or
 corresponding section of any future tax code.
         (t) No part of the net earnings of the organization shall inure to the benefit of, or be
 distributable to its members, trustees, officers, or other private persons, except that the
 organization shall be authorized and empowered to pay reasonable compensation for services
 rendered to make payments and distributions in furtherance of the purposes set forth in the
 purpose clause hereof. No substantial part of the activities of the organization shall be the
 carrying on of propaganda, or otherwise attempting to influence legislation, and the organization
 shall not participate in or intervene in (including the publishing or distribution of statements) any
 political campaign on behalf of any candidate for public office. Notwithstanding any other
 provision of this document, the organization shall not carry on any other activities not permitted
 to be carried on (a) by an organization exempt from federal income tax under section 501(c)(3)
 of the Internal Revenue Code, or corresponding section of any future federal tax code, or (b) by
 an organization, contributions to which are deductible under section 170(c)(2) of the Internal
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        Revenue Code, or corresponding section of any future tax code.
        DONE AND RESOVED this 17th day of March 2005.

                                    Board of Trustees of Saint Leo University, Inc.


                                    By          /s/
                                         Chairman of the Board


                                    By            /s/
                                         President

 ATTEST:


              /s/
 Secretary, Board of Trustees
 Saint Leo University, Inc.




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     1.3.2    Bylaws of Saint Leo University, Incorporated

          1.3.2.1         Article I – Board Authority and Responsibilities

              1.3.2.1.1       Section 1 – Corporate Powers and Authority
 The Board of Trustees shall have and exercise those corporate powers prescribed by law. Its
 ultimate authority is affirmed through its general, academic, and financial policy-making
 functions and its responsibility for the corporation‘s financial health and welfare. The Board of
 Trustees shall exercise ultimate institutional authority as set forth in these bylaws and in such
 other policy documents it deems to be appropriate. These bylaws and other Board policy
 statements shall take precedence over all other institutional statements, documents, and policies.

              1.3.2.1.2       Section 2 – Authority
 The Board of Trustees shall have the authority to carry out all lawful functions which are
 permitted by these bylaws or by the articles of incorporation. This authority, in consultation with
 the President, shall include but shall not be limited to these functions:
 1. Determine and periodically review the University‘s mission and purposes.
 2. Appoint the president who shall be the University‘s chief executive officer and set
    appropriate conditions of employment, including compensation.
 3. In consultation with the President, establish variations in the standard conditions of
    employment for other key institutional officers who serve at the pleasure of the president.
 4. Approve any and all collective bargaining agreements.
 5. Support the president and assess the performance of the president.
 6. Review and approve proposed changes in the University‘s academic programs and other
    major enterprises consistent with the University‘s mission, plans, and financial resources.
 7. Approve institutional policies bearing on faculty appointment, promotion, tenure, and
    dismissal as well as anti-discrimination policies for all categories of employees.
 8. Approve the annual budget and annual tuition and fees, regularly monitor the University‘s
    financial condition, and establish policy guidelines affecting all institutional assets including
    investments and the physical plant.
 9. Contribute financially to the University‘s fund-raising goals, participate actively in strategies
    to secure sources of support, and authorize University officers to accept gifts or bequests
    subject to Board policy guidelines.
 10. Authorize by policy guidelines the incurring of debts by the University and securing thereof
     by mortgage and/or pledges of real and tangible and intangible personal property.
 11. Authorize the construction of new buildings, capitalization of deferred maintenance, and
     major renovations of existing buildings.
 12. Authorize the purchase, sale, and management of all land, buildings, and major equipment.

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 13. Approve such policies that contribute to the best possible environment for students to learn
     and develop their abilities and that contribute to the best possible environment for the faculty
     to teach, pursue their scholarship, and perform public service, including the protection of
     academic freedom.
 14. Approve all earned and honorary degrees through the faculty and President as they shall
     recommend.
 15. Serve actively as advocates for the University in appropriate matters of public policy in
     consultation with the president and other responsible parties as the Board shall determine.
 16. Periodically undertake or authorize assessments of the Board‘s performance.

          1.3.2.2          Article II – Membership of the Board of Trustees

               1.3.2.2.1       Section 1 – Number of Members
 The Board of Trustees shall consist of not less than twenty-one (21), nor more than forty (40)
 persons, including the President of the University.

               1.3.2.2.2       Section 2 – Election
 New Trustees and incumbent members of the Board of Trustees who are eligible for re-election
 normally shall be elected at the Board‘s annual spring meeting by a majority of the Trustees then
 in office. Any unfulfilled term may be filled through a special election at any regular meeting of
 the Board of Trustees.

               1.3.2.2.3       Section 3 – Terms of Office
 Trustees shall serve for an initial three-year term and shall then be eligible for re-election for two
 additional consecutive terms. Trustees who have served for nine consecutive years (exclusive of
 any partial term) shall be eligible for re-election following a one-year hiatus. The three (four if
 Treasurer is a Board Member) Board officers shall be exempt from this provision until at least
 one year has passed following completion of their term of office, or until the Committee on
 Trusteeship shall otherwise determine.

               1.3.2.2.4       Section 4 – Membership
 The Board of Trustees shall select one member from the Saint Leo Abbey community, the Holy
 Name Monastery community, the general faculty of the University, the national Alumni
 Association, and the student body. The individual representatives may be selected by the Board,
 considering the current needs of the Board and of the institution (ordinarily the
 Abbot/Administrator shall be the selected representative of the Abbey and the Prioress the
 selected representative of the Monastery), from slates of no more than three nominees proposed
 by the respective groups. The President of the University shall design and oversee the
 nomination process for the general faculty and student body.
 The student representative shall serve a two year term or until he/she interrupts by more than one
 semester his/her studies at Saint Leo University, whichever occurs first.

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 The Faculty Representative shall serve one three year term.
 Except as provided herein, no person other than the President of the University, the
 representative of the general faculty, and the representative of the student body shall be eligible
 to serve on the Board of Trustees who otherwise receives compensation for services as an
 employee of Saint Leo University.
 Except for the aforementioned, a Trustee accepting full-time employment from the university or
 who earns in excess of $20,000 per year as an employee of the University must resign or be
 placed on leave of absence from the Board during the time of employment.

              1.3.2.2.5       Section 5 – Removal from Office
 All Trustees serve at the pleasure of the Board. A Trustee may be removed for cause from office
 by an affirmative vote of two-thirds of the Trustees.

              1.3.2.2.6       Section 6 – Nominations
 The Committee on Trustees shall recommend candidates for election or reelection to the Board
 through procedures adopted by the Board. A slate of candidates shall be provided all Trustees at
 least ten days in advance of the annual or regular meeting of the Board of Trustees at which time
 an election is scheduled with biographical information for each prospective Trustee candidate.

          1.3.2.3         Article III – Trustees Emeriti
 A Trustee who has served for a minimum of two terms may, upon recommendation of The
 Committee on Trusteeship, be elected by a majority of the Board as a Trustee Emeritus. This
 position shall be reserved for those Trustees with records of distinctive service. Trustees Emeriti
 shall be elected for a six-year, renewal once, and shall be subject to removal for cause as
 delineated in Article II, Section 5. They shall be entitled to receive notices of all meetings of the
 Board except executive sessions of the Board, to attend and speak at all such meetings, to receive
 minutes of all meetings of the Board, and to be members of all committees except the Executive
 Committee. They shall have the power to vote in meetings of any committee on which they may
 serve, but shall not have voting powers in meetings of the Board of Trustees. A Trustee
 Emeritus shall not be counted as a member of the Board of Trustees for any purpose.

          1.3.2.4         Article IV – Officers of the University

              1.3.2.4.1       Section 1 – Officers
 The officers of the University shall be the Chairperson, Vice Chairperson, and Secretary of the
 Board of Trustees, the President, Vice President of Academic Affairs, and Vice President of
 Business Affairs or of Financial Affairs, who shall serve as Treasurer. All officers shall serve at
 the pleasure of the Board of Trustees except for the Vice Presidents who shall serve at the
 pleasure of the President in consultation with the Board of Trustees. The Board of Trustees may
 elect other officers as recommended by the President from time to time who shall serve at the
 pleasure of the President in consultation with the Board of Trustees. Unless a vacancy occurs at
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 another time, elections of the Chairperson, Vice Chairperson, and Secretary shall be held at the
 Spring meeting of the Board. A vacancy in any office may be filled at any time.

              1.3.2.4.2       Section 2 – Membership
 The Chairperson, Vice Chairperson, Secretary, and President shall be Trustees. The President
 will have the power to vote and his or her presence at meetings shall be counted as part of
 quorum determinations. The other University officers shall not be members of the Board.

              1.3.2.4.3       Section 3 – Terms
 The terms of office for officerships will vary as provided elsewhere in these bylaws. The Board
 may approve the appointment of other officers upon recommendation of the President.

         1.3.2.5          Article V – Terms and Responsibilities of the Chair and Vice Chair of
                          the Board of Trustees

              1.3.2.5.1       Section 1 – Nomination and Election
 The Chairperson and Vice Chairperson shall be elected upon nomination by the Committee on
 Trustees and shall ordinarily serve for at least two consecutive years but not more than four
 years. Vacancies may be filled at any time by a majority vote of the members of the Board, but
 election or reelection shall normally take place at the designated annual meeting.

              1.3.2.5.2       Section 2 – Duties of the Chair
 The Chairperson shall preside at all Board and Executive Committee meetings, have the right to
 vote on all questions, appoint committee chairpersons and vice chairpersons, determine the
 composition of all Board committees with the exception of the Executive Committee, and
 otherwise serve as spokesperson for the Board. He or she shall serve as Chairperson of the
 Executive Committee, ex-officio member of all other standing committees of the Board, and
 have other duties as the Board may prescribe from time to time.

              1.3.2.5.3       Section 3 – Duties of the Vice Chair
 In the absence of the Chairperson, the Vice Chairperson shall perform the duties of the office of
 the Chair including presiding at Board and Executive Committee meetings. He or she shall have
 other powers and duties as the Board may from time to time prescribe and may or may not be
 nominated to succeed the Chairperson when a vacancy occurs in that office as the Committee on
 Trustees shall decide.

         1.3.2.6          Article VI – Term and Responsibilities of the Secretary

              1.3.2.6.1       Section 1 – Nomination and Election
 The Secretary shall be elected upon nomination of the Committee on Trustees and shall
 ordinarily serve for at least two consecutive years but not more than four years.

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              1.3.2.6.2       Section 2 – Duties
 The Secretary shall ensure that the Board of Trustees is acting in accordance with these bylaws,
 that bylaw amendments are promptly made as necessary, that minutes of Board and Executive
 Committee meetings are accurate and promptly distributed to all Trustees, that meetings are
 properly scheduled and Trustees notified, and Board policy statements and other official records
 are properly maintained. The Secretary shall perform other duties as prescribed from time to
 time by the Board and maybe assisted in all duties by a staff person designated by the President.

          1.3.2.7         Article VII – Term, Authority, and Responsibilities of the President of
                          the University

              1.3.2.7.1       Section 1 – Appointment
 The President serves at the pleasure of the Board of Trustees for such term, compensation, and
 with such conditions of employment as it shall determine.

              1.3.2.7.2       Section 2 – Authority
 The President shall be the University‘s chief executive officer and the chief advisor to and
 executive agent of the Board of Trustees. His or her authority is vested through the Board of
 Trustees and includes education direction and quality, business and financial affairs,
 administrative and general management of the university. The President is responsible for
 leading the University, implementation of Board polices, keeping the Board informed on
 appropriate matters, consulting with the Board in a timely manner on matters appropriate to its
 policy-making and fiduciary functions, and serving as the University‘s key spokesperson. He or
 she has the authority to execute all documents on behalf of the University and the Board of
 Trustees consistent with Board policies and the best interests of the University. The President
 serves as an ex-officio member of all board committees except for the Audit Committee.

          1.3.2.8         Article VIII – Term, Authority, and responsibilities of the Vice
                          President(s)

              1.3.2.8.1       Section 1 – Powers and Duties
 Each Vice President shall have such powers and shall perform such duties as may be assigned by
 the President with approval of the Board of Trustees. In case of absence or disability of the
 President, the duties of that office shall be performed by the Vice President of Academic Affairs.
 In the latter‘s absence, the President shall designate another Vice President as his/her
 replacement.

              1.3.2.8.2       Section 2 – Vice President of Business Affairs as Treasurer of the
                              Board
 The Vice President of Business Affairs, with the approval of the Board of Trustees, shall
 normally be designated as Treasurer and perform those duties as described in these bylaws. In
 the latter‘s absence, the President shall designate a replacement.

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          1.3.2.9         Article IX – Powers and Duties of the Treasurer

              1.3.2.9.1       Section 1 – Duties and Responsibilities
 The Treasurer shall be responsible for carrying out the mandates of the Board of Trustees and its
 Business Affairs Committee in overseeing the financial resources of the University including,
 but not limited to, cash, securities, stocks, bonds, and all other property, personal or real, owned
 by the University. The Treasurer shall assure that all books and accounts are accurately kept and
 furthermore, shall present, in accordance with the directives of the Audit Committee, a full and
 detailed financial statement properly audited by an independent certified accountant to the Board
 at its annual meeting and, if requested at any other meeting of the Board of Trustees or any
 meeting of its Business Affairs or Executive Committee.

              1.3.2.9.2       Section 2 – Monitoring of Funds
 The Treasurer shall monitor the investments of the University, including endowment funds, and
 any funds recommended by the Business Affairs Committee and approved by the Board of
 Trustees. In addition, the Treasurer may be required to furnish a bond for the faithful
 performance and discharge of these duties, as may be directed by the Board or required by state
 statute.

              1.3.2.9.3       Section 3 – Eligibility and Appointment
 The Treasurer shall normally be an officer of the University, and officer of the University, but
 not a member of the Board of Trustees. Such officer shall be reaffirmed each year as Treasurer
 by the Board. If such officer is not designated by the Board as Treasure then the Treasure shall
 be a member of the Board as so elected. So long as the Treasurer is a vice president of the
 University there shall be no limit on the term of office. When the Treasurer is not a vice
 president of the University, the term of office shall ordinarily not exceed four consecutive years.

          1.3.2.10        Article X – Meetings

              1.3.2.10.1      Section 1 – Regular Meetings
 The Board of Trustees shall have at least three (3) regular meetings annually on such dates and at
 such places as it shall determine. The annual meeting for the purpose of electing trustees,
 officers, and at-large members of the Executive Committee, shall be the spring meeting each
 year.

              1.3.2.10.2      Section 2 – Special Meetings
 Special meetings may be held at the call of the Board Chairperson, the President, or any five
 Trustees. Written notice of such special meetings shall be served to all Trustees by the
 Chairperson, Secretary of the Board of Trustees, or Assistant Secretary with a clear statement of
 purpose(s) at least ten business days in advance. Business at such special meetings shall be
 confined to the stated purpose(s).


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              1.3.2.10.3    Section 3 – Notice and Waiver of Notice
 Whenever notice is required to be given under the provisions of law or of the articles of
 incorporation or of these bylaws, a waiver in writing signed by all persons entitled to receive said
 notice whether before or after the time stated therein shall be deemed equivalent of such notice.
 Attendance at any meeting by a Trustee shall be conclusively deemed a waiver of notice of that
 meeting unless objection is made at the outset of such meeting unless objection is made at the
 outset of such meeting to the failure to give proper notice.

              1.3.2.10.4    Section 4 – Quorum
 A quorum for the transaction of business at meetings of the Board of Trustees or its Executive
 Committee shall consist of a majority of their respective regular voting member Trustees.
 Except as otherwise provided in these bylaws or the articles of incorporation, a majority vote of
 those members present with a proper quorum shall constitute proper action.

          1.3.2.11      Article XI – Action without a Formal Meeting
 Any action required or permitted to be taken by the Board of Trustees or by any committee
 thereof may be taken without a formal meeting so long as proper notice has been given. Notice
 may be given by mail, fax, telegram, cable or e-mail. Meetings may be conducted by conference
 call, video conference or in person. Any action of the Board of Trustees or of any committee
 thereof which is required or permitted to be taken at a meeting by be taken without a meeting if
 written consent setting forth the action(s) taken and signed by each member of the Board of
 Trustees or the committee as the case may be.

          1.3.2.12      Article XII – Committees

              1.3.2.12.1    Section 1 – Establishment of Committees
 The Board shall establish such standing and ad-hoc committees as it deems appropriate to the
 discharge of its responsibilities. Each standing committee shall have a written charter containing
 at least the purpose, role, and scope as approved by the Board and such rules of procedure or
 policy guidelines that it or the Board, as appropriate, shall approve.

              1.3.2.12.2    Section 2 – Standing Committees
 There shall be at least the six standing committees specified in these by-laws: Academic Affairs,
 Business Affairs, Student Services and Continuing Education Administration, University
 Advancement, Committee on Trustees and Audit. Members of standing committees shall be
 appointed by the Chairperson annually at or following the annual spring meeting of the Board of
 Trustees. Except as provided in these bylaws, the Chairperson of the Board and the President of
 the University shall be ex-officio members of all standing committees, and each standing
 committee shall include at least five additional Trustees. The Chairperson of each standing
 committee and a majority of its members shall be Trustees.



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              1.3.2.12.3    Section 3 – Meetings, Duties, and Reports of Standing Committees
 The president of the university shall designate an appropriate university officer or administrator
 to assist with work of each standing committee. Each standing committee shall meet at least two
 times annually, is advisory to the Board, and regularly reports on its work and recommendations
 to the Board of Trustees. Except for the Executive Committee whose minutes of meetings are
 required, other committees shall decide whether written minutes are necessary and desirable and
 how they should be distributed to the Trustees.

          1.3.2.13     Article XIII – Committee Composition, Purposes, and Responsibilities
                       of the Executive Committee

              1.3.2.13.1    Section 1 – Composition
 The Executive Committee shall have ten (10) members, all of whom shall be voting trustees,
 except for the President who shall be ex-officio without vote and not counted as part of a quorum
 for the purpose of transacting business. The Chairperson, Vice Chairperson, and Secretary shall
 be members along with the chairpersons of all Board standing committees. In addition, one
 Trustee shall be nominated by the Committee on Trustees and elected by the Board at the annual
 meeting to serve on the committee. The Chairperson shall insure there is at least one member of
 the Benedictine Community on the Executive Committee.

              1.3.2.13.2    Section 2 – Purpose and Responsibilities
 The purpose of the Executive Committee is twofold: 1) it shall serve at the pleasure of the Board
 as its agent in helping the President to address business matters not otherwise herein solely
 reserved for the Board of Trustees or as otherwise delegated by the Board between regular Board
 meetings to conserve time; and 2) it shall assist the Chairperson and the President in their joint
 responsibility to help the Board to function effectively and efficiently by suggesting Board
 meeting agenda items and periodically assessing the quality of committee work. The Committee
 shall have authority to take action on emergency matters which cannot or should not be deferred
 until the Board‘s next scheduled meeting. The Committee shall have authority to act for the
 Board of Trustees on all matters except for the following which shall be reserved for the Board:
 presidential selection and termination; Trustee and Board officer selection; changes in
 institutional mission and purposes; changes to the bylaws, charter, or articles of incorporation;
 incurring of corporate indebtedness in excess of $250,000; sale of University assets or tangible
 property valued greater than $250,000; adoption of the annual budget; and conferral of degrees.
 These bylaws or other Board policy may reserve other powers for the Board of Trustees.
 In addition to its authority described above, the Executive Committee shall oversee the work of
 Board committees, the University‘s planning process or progress on planning goals, the Board‘s
 responsibility to support the President and assess his or her performance, and review annually the
 President‘s compensation and conditions of employment.

              1.3.2.13.3    Section 3 – Meetings and Quorum
 The Committee shall meet as often as necessary to conduct its business as the Chairperson and
 President shall determine and ensure that minutes are taken and promptly distributed to all
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 Trustees for subsequent ratification by the Board of Trustees at its next regular meeting. A
 majority of voting Trustee committee members shall constitute a quorum.

          1.3.2.14     Article XIV – Composition, Purposes, and Responsibilities of the
                       Committee on Trusteeship

              1.3.2.14.1    Section 1 – Composition
 The Committee on Trusteeship shall have at least five members and not more than seven, all of
 whom shall be voting Trustees. The Committee‘s Chairperson, Vice Chairperson, and members
 shall be appointed for renewable one-year terms by the Chair of the Board of Trustees. The
 committee of Trustees shall have a written charter containing at least the purpose, role and scope
 as approved by the Board and such rules of procedure or policy that it or the Board, as
 appropriate, shall approve

              1.3.2.14.2    Section 2 – Purpose and Responsibilities
 The purpose of the Committee on Trustees is threefold: 1) it shall ensure that the Board‘s
 membership and leadership consists of highly qualified and committed individuals, 2) it shall
 ensure that regular programs of new Trustees and in service education are maintained, and 3) it
 shall periodically recommend initiatives by which the Board shall assess its performance. It
 serves as the Board‘s agent in reviewing the performance of incumbent Trustees and Board
 officers who are eligible for reelection, maintains a list of qualified candidates for possible
 nomination, considers cultivation strategies for promising Trustee candidates, and proposes and
 periodically reviews the adequacy of a statement of Trustee responsibilities as adopted by the
 Board. It shall establish its own rules of procedure in consultation with the Board Chairperson,
 President, and the Board of Trustees.

              1.3.2.14.3    Section 3 – Meetings and Quorum
 The Committee shall meet as often as necessary to conduct its business but no fewer than two
 times annually. It shall seek the assistance of all Trustees in the course of meeting its
 responsibilities in accordance with these bylaws and its own rules of procedures as adopted by
 the Board of Trustees. A majority of the Committee‘s members shall constitute a quorum.

          1.3.2.15     Article XV – Composition, Purposes, and Responsibilities of the
                       Academic Affairs Committee

              1.3.2.15.1    Section 1 – Composition
 The Academic Affairs Committee shall have at least five members who shall be voting Trustees.
 The Committee‘s Chairperson and members shall be appointed for renewable one-year terms by
 the Chairperson of the Board of Trustees. The Academic Affairs Committee shall have a written
 charter containing at least the purpose, role, and scope as approved by the Board and such rules
 of procedure or policy that it or the Board, as appropriate, shall approve.


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              1.3.2.15.2   Section 2 – Purpose and Responsibilities
 The purpose of the Academic Affairs Committee is threefold: 1) it shall, review any substantive
 policy modifications to the academic and admissions program; 2) it shall review policy issues
 and recommendations of the President for promotion and tenure; and 3) in cooperation with the
 President, and Vice President of Academic Affairs, it shall monitor and ensure the quality of the
 academic program and faculty. It shall make such reports and recommendations to the Board of
 Trustees relative to the foregoing as may be required.

              1.3.2.15.3   Section 3 – Meetings and Quorum
 The Committee shall meet as often as necessary to conduct its business but no fewer than two
 times annually. A majority of the Committee‘s members shall constitute a quorum.

         1.3.2.16      Article XVI – Composition, Purposes, and Responsibilities of the
                       Student Affairs Committee

              1.3.2.16.1   Section 1 – Composition
 The Student Services & Continuing Education Administration Committee shall have at least five
 members who shall be voting Trustees. The Committee‘s Chairperson and members shall be
 appointed for renewable one-year terms by the Chairperson of the Board. The Student Services
 & Continuing Education Administration Committee shall have written charter containing at least
 the purpose, roles and scope as approved by the Board and such rules of procedure or policy as it
 or the Board, as appropriate shall approve.

              1.3.2.16.2   Section 2 – Purpose and Responsibilities
 The purpose of the Student Services & Continuing Education Administration Committee is
 fourfold: 1) it shall review the substantive policy changes to the student life and services
 programs of the university, including discipline, residential life, counseling, registration and
 intercollegiate athletics, and 2) in cooperation with the President and Vice President of Student
 Services & Continuing Education, monitor and appraise the quality of the student life and service
 programs; (3) it shall review the substantial changes governing the University‘s Continuing
 Education programs: and (4) in cooperation with the President and Vice President of Student
 Services & Continuing Education Administration, monitor and appraise the quality of
 Continuing Education Programs and Services. It shall make such reports and recommendations
 to the Board of Trustees relative to the foregoing as may be required.

              1.3.2.16.3   Section 3 – Meetings and Quorum
 The Committee shall meet as often as necessary to conduct its business but no fewer than two
 times annually. A majority of the Committee‘s members shall constitute a quorum.




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          1.3.2.17      Article XVII – Composition, Purposes, and Responsibilities of the
                        Business Affairs Committee

              1.3.2.17.1    Section 1 – Composition
 The Business Affairs Committee shall have at least five members who shall be voting Trustees.
 The Committee‘s Chairperson and members shall be appointed for renewable one-year terms by
 the Chair of the Board of Trustees. The Business Affairs Committee shall have a written charter
 containing at least the purpose, role and scope as approved by the Board and such rules of
 procedure or policy that it or the Board, as appropriate, shall approve.

              1.3.2.17.2    Section 2 – Purpose and Responsibilities
 Business Affairs Committee shall review annual operating and capital budgets, it shall review
 major financial transactions not provided for in the budget, it shall review the investment policies
 of the university including those of the endowment, it shall review and analyze maintenance and
 operations policy for the buildings and grounds of the University.
 It shall review matters affecting the staff and faculty of the University, other than those affecting
 the academic program, including salary, pension, and other personnel policies.
 It shall review and analyze maintenance and operation policy for the building and grounds of the
 University, recommend improvements, review and recommend approval of plans and cost
 estimates for new facilities.

              1.3.2.17.3    Section 3 –Meetings and Quorum
 The Committee shall meet as often as necessary to conduct its business but no fewer than three
 times annually. The Business Affairs Committee shall be responsible for reporting to the Board
 in sufficient detail the financial status of the University so as to insure all Board members have
 sufficient knowledge so as to carry out their responsibilities as Trustees. A majority of the
 Committee‘s members shall constitute a quorum.

          1.3.2.18      Article XVII – Composition, Purposes, and Responsibilities of the
                        Institutional Advancement Committee

              1.3.2.18.1    Section 1 – Composition
 The Institutional Advancement Committee shall have at least five members who shall be voting
 Trustees. The Committee‘s Chairperson and members shall be appointed for renewable one-year
 terms by the Chairperson of the Board of Trustees. The Institutional Advancement Committee
 shall have a written charter containing at least the purpose, role and scope as approved by the
 Board and such rules of procedure or policy that it or the Board, as appropriate, shall approve.

              1.3.2.18.2    Section 2 – Purpose and Responsibilities
 The Institutional Advancement Committee shall review, recommend, endorse, and actively
 support the programs of the Office of University Advancement. This includes the fund-raising

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 programs that are necessary for the university to carry out its purpose, and the public relations
 initiatives necessary to put the university in the best possible position to raise support in
 development and in admissions.

              1.3.2.18.3    Section 3 – Meetings and Quorum
 The Committee shall meet as often as necessary to conduct its business but no fewer than two
 times annually. A majority of the Committee's members shall constitute a quorum.

          1.3.2.19     Article XVIII – Composition, Purposes, and Responsibilities of the
                       Audit Committee

              1.3.2.19.1    Section 1 – Composition
 The Audit Committee shall have at least five members, at least four of whom shall be voting
 Trustees. The Committee's Chairperson, Vice Chairperson, and members shall be appointed for
 renewable one-year terms by the Chairperson of the Board of Trustees. The Audit Committee
 shall have a written charter containing at least the purpose, role and scope as approved by the
 Board and such rules of procedure or policy that it or the Board, as appropriate, shall approve.

              1.3.2.19.2    Section 2 –Purpose and Responsibilities
 The purpose of the Audit Committee is threefold: 1) select the audit firm and recommend same
 to Board of Trustees, receive the annual audit, and review audit findings, 2) review internal and
 external audit procedures, and 3) ensure that matters of non-compliance are resolved. It shall
 make such reports and recommendations to the Board of Trustees relative to the foregoing as
 may be required. It shall establish its own rules of procedure in consultation with the Board
 Chairperson, President, and the Board of Trustees.

              1.3.2.19.3    Section 3 – Meetings and Quorum
 The Committee shall meet as often as necessary to conduct its business but no fewer than two
 times annually. A majority of the Committee's members shall constitute a quorum.

          1.3.2.20     Article XIX – Indemnification
 Each Trustee and Officer or former Trustee and Officer of the University who is or was a party
 to any threatened, pending or completed proceeding, by reason of the fact that he or she is or was
 a Trustee or Officer of the University or is or was serving at the request of the Board of Trustees
 shall be indemnified by the University to the fullest extent permitted by law against all expenses
 and liabilities actually and necessarily incurred by such Trustee or Officer in connection with the
 proceeding including any appeal thereof. Such persons shall also be entitled to advancement of
 expenses incurred in defending a proceeding in advance of its final disposition to the fullest
 extent permitted by law, subject to the conditions imposed by law The University shall maintain
 appropriate trustee and officer liability insurance coverage for this purpose.

 The right of indemnification shall be a contract right inuring to the benefit of the Trustees and

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 Officers entitled to be indemnified hereunder and on amendment or repeal of this article shall
 adversely affect any right of such persons at the time of such amendment or repeal.

 The right of indemnification under this article shall be in addition to and not exclusive of all
 other rights to which persons entitled to indemnification hereunder may be entitled. Nothing
 contained in this article shall affect any rights to indemnification to which persons entitled to
 indemnification hereunder may be entitled by contract or otherwise under law.

          1.3.2.21      Article XX – Conflict of Interest
 A Trustee shall be considered to have a conflict of interest if (a) such Trustee has existing or
 potential financial or other interests which impair or might reasonably appear to impair such
 member' s independent, unbiased judgment in the discharge of his or her responsibilities to the
 University, or (b) such Trustee is aware that a member of his or her family (which for purposes
 of this paragraph shall be a spouse, parents, sibling, children and any other relative) or any
 organization in which such Trustee (or member of his or her family) is an officer, director,
 employee, member, partner, Trustee, or controlling stockholder, has such existing or potential
 financial or other interests. All Trustees shall disclose to the Board any possible conflict of
 interest at the earliest practicable time. No Trustee shall vote on any matter under consideration
 at a Board or committee meeting, in which such Trustee has a conflict of interest. The minutes of
 such meeting shall reflect that a disclosure was made and that the Trustee having a conflict of
 interest abstained from voting. Any Trustee who is uncertain whether a conflict of interest may
 exist in any matter may request the Board or committee to resolve the questions by majority
 vote.

          1.3.2.22      Article XXIII – Review and Amendment of Bylaws

              1.3.2.22.1    Section 1 – Amendment
 These bylaws may be changed or amended at any meeting of the Trustees by a two-thirds vote of
 those present, provided notice of the substance of the proposed amendment is sent to all Trustees
 at least 30 days before the meeting.

              1.3.2.22.2    Section 2 – Periodic Review
 These bylaws shall be reviewed biennially by the Secretary of the Board of Trustees and the
 Executive Committee who shall recommend any necessary changes to the Board of Trustees.

          1.3.2.23      Article XXII – Discrimination Prohibited
 In administering its affairs, the University shall not discriminate against any person on the basis
 of race, creed, color, national or ethnic origin, sex , age or physical disability, unless preference
 is given an individual for reasons of the religious nature of the University as allowed by law.




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 Adopted by the Board of Trustees and amended on July 27, 2007.




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               Internal Revenue Code 501 (c) (3) Status


 INTERNAL REVENUE SERVICE                                      DEPARTMENT OF THE TREASURY
 P. O. BOX 2508
 CINCINNATI, OH 45201                         Employer Identification Number:
                                                  XX-XXXXXXX
 Date:   July 12, 2005                        DLN:
                                                  17053244053044
 SAINT LEO UNIVERSITY INCORPORATED            Contact Person:
 33701 STATE RD 52 STE MC2246                     EDWARD J POMERANTZ ID# 31326
 SAINT LEO, FL 33574-6665                     Contact Telephone Number:
                                                  (877) 829-5500
                                              Accounting Period Ending:
                                                  June 30
                                              Public Charity Status:
                                                  170(b) (1) (A) (ii)
                                              Form 990 Required:
                                                  Yes
                                              Effective Date of Exemption:
                                                  April 23, 1965
                                              Contribution Deductibility:
                                                  Yes
 Dear Applicant:
 We are pleased to inform you that upon review of your application for tax exempt
 status we have determined that you are exempt from Federal income tax under
 section 501 (c) (3) of the Internal Revenue Code. Contributions to you are
 deductible under section 170 of the Code. You are also qualified to receive tax
 deductible bequests, devises, transfers or gifts under section 2055, 2106 or 2522
 of the Code. Because this letter could help resolve any questions regarding your
 exempt status, you should keep it in your permanent records.
 Organizations exempt under section 501 (c) (3) of the Code are further classified
 as either public charities or private foundations. We determined that you are a
 public charity under the Code section(s) listed in the heading of this letter.
 Please see enclosed Information for Exempt Organizations Under Section 501 (c) (3)
 for some helpful information about your responsibilities as an exempt
 organization.
 Revenue Procedure 75-50, published in Cumulative Bulletin 1975-2 on page 578, sets
 forth guidelines and record keeping requirements for determining whether private
 schools have racially nondiscriminatory policies as to students. You must comply
 with this revenue procedure to maintain your tax-exempt status.
                                                  Sincerely,
                                                  /s/
                                                  Lois G. Lerner
                                                  Director, Exempt Organizations
                                                  Rulings and Agreements


 Enclosures:    Information for Organizations Exempt Under Section 501 (c) (3)
 Addendum


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 1.4        Administrative Structure
 See also Section 1.5, Organization Charts.

       1.4.1     The President
 The Board of Trustees Bylaws outlines the expectations of the President at Article VII,
 (paragraph 1.3.2.7).
 The following positions report to the President:
 1.    Five Vice Presidents;
 2.    Assistant to the President;
 3.    Assistant to the President – University Ministry;
 4.    Director of Intercollegiate Athletics (see paragraph 1.4.1.1);
 5.    Senior Executive Assistant; and
 6.    Internal Auditor Director.

            1.4.1.1       Intercollegiate Athletic Program
 Intercollegiate Athletic Program Coaches/Assistant Coaches:
 1. Men‘s Basketball
 2. Women‘s Basketball
 3. Men‘s Baseball
 4. Women‘s Softball
 5. Men‘s Soccer
 6. Women‘s Soccer
 7. Men‘s Tennis
 8. Women‘s Tennis
 9. Men‘s Golf
 10. Women‘s Golf
 11. Men‘s Cross Country
 12. Women‘s Cross Country
 13. Women‘s Volley Ball
 14. Men‘s Lacrosse
 15. Men‘s Swimming
 16. Women‘s Swimming

       1.4.2     Vice President of Academic Affairs
 The Vice President of Academic Affairs is the chief academic officer for undergraduate and
 graduate degree programs offered through the three schools of Saint Leo University.
 The following report to the Vice President of Academic Affairs:
 Dean, School of Arts and Sciences
       Director of MAPS
 Dean, School of Business
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         Director of Graduate Business Studies
         Associate Dean
     Dean, School of Education and Social Services
        Director of Graduate Studies in Education
        Director of Graduate Criminal Justice
     Associate Vice President
         Accreditation Analyst
     Director of Library Services
     Executive Assistant
     Coordinator

     1.4.3    Vice President of Continuing Education and Student Services
 The Vice President of Continuing Education and Student Services is responsible for all Saint Leo
 University Continuing Education programs. The following report to the Vice President of
 Continuing Education and Student Services for this responsibility:
     Associate Vice President
     Director of the Center for Online Learning
     Director of Distance Learning
     Assistant Vice President Central Region (see paragraph 1.4.3.1)
     Assistant Vice President Florida Region (see paragraph 1.4.3.2)
     Assistant Vice President Virginia Region (see paragraph 1.4.3.3)
     Assistant Vice President Student Services
     Registrar
     Executive Assistant
 The second overall responsibility is Academic Support Services. Reporting to the Assistant Vice
 President of Student Services for this responsibility are the following:
     Assistant Vice President of Student Services
         Student Health Services Director
         Director Campus Life
              Associate Director Residence Life
                  Assistant Director Residence Life
              Associate Director Student Involvement
                  Assistant Director Student Involvement
              Associate Director Student Involvement
         Director Counseling and Career Services
              Associate Director Counseling and Career Services
              Assistant Director Counseling and Career Services
              Assistant Director Internships
         Campus Safety Director
         Director Dining Services
     Director of Academic Student Support Services
         Disability Services Director
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         1.4.3.1       Continuing Education – Assistant Vice President of the Central
                       Region
 Director Savannah Center
 Director Shaw AFB Center/Charleston Office
 Director NS Ingleside Center and NAS Corpus Christi
 Fort McPherson/Atlanta Center Director
      Assistant Director Atlanta Center
     Assistant Director Gwinnett Office
     Assistant Director Atlanta Policy Academy
 Director Columbus AFB Center

         1.4.3.2       Continuing Education – Assistant Vice President of the Florida
                       Region
 Director MacDill AFB Center
     Center Assistant Director MacDill AFB
 Director Ocala Center
     Assistant Director Ocala Center
 Lake City Center Director/Trenton Office
 Director Madison Center/Tallahassee Office

 Director Northeast Florida Center
     Assistant Director Palatka Office
 Director Gainesville Center/Starke Office


         1.4.3.1       Continuing Education – Assistant Vice President of the Virginia
                       Region
 Center Director Fort Lee and Fort Eustis
     Fort Eustis Assistant Director
     Fort Lee Assistant Director
 Director Langley AFB Center
     Assistant Director Langley AFB Center
 Director South Hampton Roads Center
     Assistant Director NS Norfolk Office
     Assistant Director NAS Oceana Office
     Assistant Director South Hampton Roads Center
 Director Key West Center
 San Diego Office Assistant Director
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          1.4.3.2      Continuing Education Tampa Region- Associate Vice President
 Director Weekend and Evening Center
     Assistant Director Weekend and Evening Center
     Assistant Director Weekend and Evening Center
 Director MacDill AFB Center
     Assistant Director MacDill AFB Center
     Assistant Director St. Petersburg Office
 Director Instructional Design

     1.4.4    Vice President of Business Affairs
 The Vice President of Business Affairs is the chief financial and business affairs office of Saint
 Leo University. The following report to this administrator:
     Executive Assistant
     Associate Vice President/Chief Information Officer of University Technology Services
              Associate CIO
              Coordinator
              Director of Information Technology
              Director of Information System Services
              Director of Network and System Services

     Assistant Vice President of Business Affairs
              Controller
              Director of Budgets
              Director of Bookstore
              Copy Center Operator
              Mailroom Manager

     Director of Human Resources
              Benefits Coordinator
              Recruitment Coordinator
              Human Resource Assistant
     Director of Professional Development
              Assistant Director of Professional Development
              Coordinator

     Internal Auditor
              Internal Audit Accountant
     Associate Vice President/General Counsel
             Risk Management Coordinator

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     Director of Physical Plant
              Grounds Manager
              Maintenance Manager
              Housekeeping Manager
              Administrative Assistant
              Office Assistant
              Events and Moves Coordinator

     1.4.5    Vice President of Enrollment
 The Vice President of Enrollment is the chief officer of Saint Leo University on matters of
 marketing, branding, admissions, and student financial assistance areas. The following report to
 this officer:
     Assistant Vice President – Undergraduate Admissions
              Associate Director
              Assistant Director
              Executive Assistant
     Assistant Vice President – Graduate and Weekend/Evening Admissions
              Senior Coordinators
              Coordinator
              IT Specialist
              Associate Director/Team Lead
              Sr. Assistant Director – Weekend/Evening
              Associate Director
     Assistant Vice President – Student Financial Services
              Associate Director of Enrollment Research
              Assistant Directors
              Senior Assistant Directors
              Sponsor Billing

     1.4.6    Vice President for University Advancement
 The Vice President for University Advancement is the chief Saint Leo University officer for
 alumni relations, public relations, and fund raising through various methods. The following
 report to this officer:
     Director Alumni Relations
              Assistant Director Alumni Relations/Event Coordinator
              Alumni Coordinator
     Executive Director of Development
             Senior Development Officer
             Annual Fund Assistant Director
             Business Relations Director
             2 Development Officers
             Grant Officer
             Development Coordinator

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       Director Advancement Services
               Applications Specialist
               Gift Stewardship Specialist
               Database Specialist
       Director University Communications
                Communications Manager
                Web Manager
                Staff Writer & Media Coordinator
                Graphic Designer
                Staff Assistant
       Executive Assistant

 1.5       Saint Leo University Organizational Charts
 These charts are shown on the following pages:
       Chart 1.5.1 Office of the President
       Chart 1.5.2 Vice President, Academic Affairs
       Chart 1.5.3 Vice President, Continuing Education and Student Services
           Chart 1.5.3.1 Associate Vice President, Tampa Region Continuing Education
           Chart 1.5.3.1     Assistant Vice President, Student Services
           Chart 1.5.3.2     Assistant Vice President, Central Region Continuing Education
           Chart 1.5.3.3     Assistant Vice President, Florida Region Continuing Education
           Chart 1.5.3.4     Assistant Vice President, Virginia Region Continuing Education
       Chart 1.5.4 Vice President, Business Affairs
       Chart 1.5.5 Vice President, Enrollment
       Chart 1.5.6 Vice President, University Advancement




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1.5.1   Office of the President




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1.5.2   Vice President, Academic Affairs




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1.5.3          Vice President, Continuing Education and Student
        Services




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1.5.3.1       Associate Vice President, Tampa Region, Continuing Education




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1.5.3.2       Assistant Vice President, Student Services




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1.5.3.3       Assistant Vice President, Central Region, Continuing Education




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1.5.3.4       Assistant Vice President, Florida Region, Continuing Education




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1.5.3.5       Assistant Vice President, Virginia Region, Continuing Education




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1.5.4   Vice President, Business Affairs




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1.5.5   Vice President, Enrollment




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1.5.6   Vice President, University Advancement




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 1.6         Internal Governance of Saint Leo University

       1.6.1     Constitution of the Saint Leo University Senate
                                               Preamble
 We, the community of Saint Leo University, recognize the importance of the input of all major
 stakeholders in guiding the University. The University Senate shall be the primary internal
 governance body as well as the community‘s primary advisory body to the President of the
 University and the administrative staff. We also recognize that the full legal authority,
 responsibility, and accountability for the University‘s conduct and growth reside with the
 President of the University and ultimately with the University‘s Board of Trustees. It is further
 acknowledged that while authority is granted to the Senate in establishing and outlining the
 functions and responsibilities of this University Senate and to determine policy over issues of the
 University, the ultimate promulgation of policy or veto resides with the President of the
 University. The President of the University shall report, in writing, all reasons for a veto of
 Senate decisions to the University Senate. Lines of authority are thus established and
 responsibility for decisions clearly fixed by this Constitution as amplified in the Bylaws.

             1.6.1.1     Article I – Name
 The name of this organization shall be the University Senate of Saint Leo University.

             1.6.1.2     Article II – Charter and Responsibilities of the University Senate
       2.1       The University Senate is authorized and empowered by the President of the
                 University to coordinate, monitor, and/or establish/recommend policy in the
                 academic, business, and student affairs sector of the University.
                 2.1.1   The University Senate is to maintain a culture that ensures University
                         stakeholder input in the decision-making process.
                 2.1.2   The University Senate is to benefit faculty, staff, and students by
                         promoting a collegial environment. In addition, the University Senate
                         shall propose, coordinate, and/or recommend, decisions concerning
                         academic, business, and student affairs changes in the collective interest of
                         all University stakeholders. Overall, this governance system shall
                         promote a positive, efficient, and effective community.
                 2.1.3   The University Senate shall act within a specified time or default to the
                         next higher level in the decision making process.
                         2.1.3.1    Senate action is defined as proposing and voting on substantive
                                    motions, recommendations from standing committees, and
                                    motions from the floor.
                         2.1.3.2    Committee action is defined as making decisions or
                                    recommendations, where mandated by this Constitution or
                                    Bylaws, on all issues brought before the committee.
                 2.1.4   The Senate shall report to the President of the University.

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     2.2       The University Senate shall have paramount authority in the following areas:
                       2.2.1.1    Standards of admission to the University.
                       2.2.1.2    Requirements for academic degree and non-degree programs,
                                  including the evaluation of proposals for new academic
                                  programs/curricula and changes in existing academic
                                  programs/ curricula.
                       2.2.1.3    Assessment of the quality and effectiveness of all academic
                                  programs.
                       2.2.1.4    Planning and development of campus physical facilities.
                       2.2.1.5    Academic organizational structure of the University.
                       2.2.1.6    Evaluation of faculty in the process of their appointment,
                                  promotion, salary recommendation, and recommendation for
                                  tenure status as determined by the collective agreement
                                  between the University and the United Faculty of Saint Leo
                                  University/United Faculty of Florida.
                       2.2.1.7    University calendar.
                       2.2.1.8    Standards and policies for educational and academic conduct
                                  and practice common to all stakeholders of the University
                                  community, including the Academic Honor Code.
                       2.2.1.9    The review of strategic goals, and the planning of spending
                                  priorities and budgets to be in line with those goals.
                       2.2.1.10   The mission of the University.
                       2.2.1.11   The review of student affairs, academic support services, and
                                  athletic policies that affect student life outside of the
                                  classroom.
                       2.2.1.12   The governance of the academic sector of the University.
                       2.2.1.13   The academic content of the University‘s Catalog.
                       2.2.1.14   The protection of the rights and privileges guaranteed to the
                                  stakeholders of the University community as specified by the
                                  Bylaws of this Constitution.
                       2.2.1.15   Those matters not previously specified by legislative
                                  enactment, which the President of the University shall choose
                                  to refer to the University Senate.

           1.6.1.3     Article III – Membership of the University Senate
     3.1       In order to promote a collegial environment and to ensure University stakeholder
               participation in the decision-making process, the University Senate shall be
               composed of the following:
               3.1.1   Fifty (50) members shall be elected representing the diversity at Saint Leo
                       University. A senator must be elected in a senator‘s primary position at
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                   Saint Leo University (faculty/ staff, adjunct or contract faculty, full-time
                   faculty, or student.)
                   3.1.1.1    Twenty-five (25) of the fifty (50) members shall be full-time
                              faculty, at least five (5) of whom must be from areas other than
                              University College. Faculty members are defined as those with
                              tenure or in a tenure-track position and who are not acting as
                              full-time administrators.
                              3.1.1.1.1   At least two shall be elected from each of the
                                          following four (4) areas:
                                             Arts and Sciences
                                             Education and Social Services
                                             Business
                                             Graduate Studies and Library
                   3.1.1.2    Ten (10) of the fifty (50) members shall be adjunct or contract
                              faculty who are not acting as full-time administrators.
                              3.1.1.2.1   At least seven (7) of the adjunct or contract faculty
                                          shall be from areas other than University College.
                   3.1.1.3    Eight (8) of the fifty (50) members shall be administrators
                              and/or staff.
                              3.1.1.3.1   At least two (2) of the administrators and/or staff
                                          shall be from areas other than University College.
                              3.1.1.3.2   At least two (2) of the administrators and/or staff
                                          shall be from University College.
                   3.1.1.4    Seven (7) of the fifty (50) members shall be students.
                              3.1.1.4.1   At least four (4) of the students shall be from areas
                                          other than University College.
                              3.1.1.4.2   No more than two (2) students may represent a
                                          single class.
           3.1.2   The University President‘s Staff shall serve as ex-officio non-voting
                   members of the University Senate.
           3.1.3   The Academic Deans shall serve as ex-officio non-voting members of the
                   University Senate.
           3.1.4   The Registrar shall serve as an ex-officio non-voting member of the
                   University Senate.
           3.1.5   The Athletic Director shall serve as an ex-officio non-voting member of
                   the University Senate.
           3.1.6   If not elected as a member of the University Senate, the President of the
                   United Faculty of Saint Leo University shall serve as an ex-officio non-
                   voting member of the University Senate.


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               3.1.7   If not elected as a member of the University Senate, the President of the
                       Student Government Union shall serve as an ex-officio non-voting
                       member of the University Senate.
     3.2       There shall be no limit set as to the number of consecutive terms an individual may
               be elected to the University Senate. Terms of office shall be as follows:
               3.2.1   Full-time faculty Senators shall serve two-year terms with twelve (12)
                       elected in even years and thirteen (13) elected in odd years.
               3.2.2   Adjunct or contract faculty shall serve one-year terms. To be qualified for
                       election to the Senate, each adjunct or contract faculty must teach in at
                       least one (1) semester prior to and during a term of office.
               3.2.3   Administrators and/or staff shall serve two-year terms with four (4)
                       elected in even years and four (4) elected in odd years.
               3.2.4   Students shall serve one-year terms.

           1.6.1.4     Article IV – Officers of the University Senate
     4.1       The officers of the University Senate shall be elected from and by the Senate body
               by a majority vote in the presence of a quorum and shall include:
               4.1.1   President – The President of the University Senate shall perform the duties
                       of the presiding officer of the University Senate, shall prepare the agenda
                       for Senate meetings, and shall serve as a member of the Executive Board.
               4.1.2   Vice President – The Vice President of the University Senate shall preside
                       over University Senate meetings in the President‘s absence, or when the
                       President of the Senate turns over the office in order to state opinion on a
                       motion, and shall serve on the Executive Board.
               4.1.3   Secretary – The Secretary of the University Senate shall be responsible for
                       record keeping, the dissemination of information to Senate committees,
                       the distribution of minutes and reports, maintaining the Senate web site,
                       and shall also serve as recording secretary of the Executive Board.
               4.1.4   Parliamentarian – The Parliamentarian of the University Senate shall be
                       elected by the Senate for a two year term in odd numbered years from
                       voting non-student Senators and shall serve in an advisory capacity to the
                       University Senate and, in particular, to the President of the Senate
                       concerning interpretations of the Constitution and Bylaws and on rules of
                       procedure in accordance with Robert‘s Rules of Order, latest edition.

           1.6.1.5     Article V – The Executive Board and Standing Committees of the
                       University Senate
     5.1       The Executive Board shall serve as the executive agency of the University Senate.
               The Executive Board shall be composed of the Chairs of the standing committees,
               the President of the Senate, the Vice President for Business Affairs (VPBA), the
               Vice President of Continuing Education and Student Services (VPCESS), and the


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                Vice President of Academic Affairs (VPAA). The Senate President, or Vice
                President in the President‘s absence, shall serve as Chair of the Executive Board.
     5.2        Most of the business of the University Senate shall be conducted by standing
                committees. There are nine (9) standing committees in the University Senate
                system, which report to the Executive Board. These committees are as follows:
                1)   Admissions and Financial Aid Committee
                2)   Undergraduate Academic Standards and Policy Committee
                3)   Undergraduate Program and Curriculum Committee
                4)   Graduate Academic Standards and Program Committee
                5)   Planning Budget and Review Committee
                6)   Assessment, Research, and Planning Committee
                7)   Faculty Promotion and Tenure Committee2
                8)   Collaborative Community Committee
                9)   Technology Advisory Committee
     5.3        The following principles are common to all University Senate Committees:
                5.3.1     Each standing committee has decision-making authority in matters
                          brought before them. Decisions are to be consistent with the Mission and
                          goals of Saint Leo University.
                5.3.2     Except for the Faculty Promotion and Tenure Committee, all committee
                          decisions/recommendations go to the Executive Board for review.
                5.3.3     All committees shall keep minutes of each meeting and placed on the
                          Senate website. All minutes are to be submitted to the Secretary of the
                          Senate within fourteen (14) days following each meeting.
                5.3.4     All committees shall respond to issues brought before them within thirty
                          (30) days. Failing to act within this prescribed time period shall result in
                          action being taken automatically to the next higher level. In this
                          governance system the next higher level is the Executive Board.
                5.3.5     The areas covered in the collective bargaining agreement between the
                          University and the United Faculty of Saint Leo University/United Faculty
                          of Florida are not subject to Senate decision-making.
                5.3.6     No one eligible to be a voting member of the University Senate shall be
                          required to serve on more than two (2) standing, ad-hoc, or special
                          committees. The University Senate shall count as one (1) committee.

           1.6.1.6        Article VI – Meetings of the University Senate
     6.1        The University Senate shall meet a minimum of (2) times during the regular school
                year. Those meetings shall take place at the beginning of the academic year (mid-
                September), at the beginning of the Spring Semester (mid-January), and/or at the



       2
           The Faculty Promotion and Tenure Committee only reports their actions and does not provide personnel
            details.

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               end of the Spring Semester (mid-May). Two-thirds of the voting membership shall
               constitute a quorum.
     6.2       Meetings shall be conducted according to Robert‘s Rules of Order, and decisions
               shall be arrived at by majority vote in the presence of a two-thirds quorum.
     6.3       Meetings shall be open to all members of the University community, but
               participation shall be limited to members of the University Senate unless the
               President of the Senate invites non-members to speak on a particular issue.
     6.4       The Executive Board may convene a special session of the University Senate when
               necessary. The Executive Board shall convene a special session of the University
               Senate if the President of the Senate requests it, or when presented with a petition
               signed by 25% of the University Senate members.
     6.5       The President of the Senate shall prepare the agenda for University Senate
               meetings. Any member, group, or organization of the University community may
               submit items for placement on the agenda in writing to the University Senate
               office. Items must be received at least two (2) weeks in advance of the next Senate
               meeting to be considered for inclusion to the agenda.
     6.6       The University Senate may adopt Bylaws governing the conduct of the University
               Senate business upon approval of a majority vote of the University Senate when a
               two-thirds quorum of the Senate is present.

           1.6.1.7      Article VII – Amendments to the University Senate Constitution
     7.1       Amendments to this Constitution may be proposed by a majority of the
               membership of the University Senate.
     7.2       Ratification of properly proposed amendments shall be by majority vote of the
               University Senate when a two-thirds quorum of the Senate is present.

           1.6.1.8      Article VIII – Adoption of the University Senate Constitution
     8.1       This Constitution shall become effective upon approval by majority vote of the
               University Senate when a two-thirds quorum of the Senate is present, and upon
               approval by the President of the University.

     1.6.2     Bylaws of the University Senate

           1.6.2.1      Senate and Committee Staffing
 1. ELECTION OF SENATORS:
     ELECTION CALENDAR
     January 15 – February 15            Nominations for open positions solicited through a
                                         website. The web address of that website will be e-
                                         mailed to the SLU community on January 15.



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     March 1 – March 15                  Online Balloting. This will be done anonymously
                                         through websites.     E-mail will be sent with the
                                         appropriate web addresses on or before March 1.
     March 20                            Election results announced to the SLU community via e-
                                         mail.
     March 30                            Deadline for elected Senators to express preference for
                                         committee service.
     April 1 – April 15                  At large nominations for available committee slots.

     NOMINATIONS: There will be four separate nominating forms: Fulltime Faculty, Adjunct
     Faculty, Administrators & Staff, and Students. Each form will have a unique, randomly
     chosen web address. The web address will be e-mailed to all members of the applicable
     group on or before January 15. On or near February 16, the Senate Vice President and
     Senate Secretary will collect the nominations and construct election ballots. This process is
     to be certified ‗volunteers‘ are encouraged to submit their names in nomination.
     BALLOTING: There will be four separate ballots: Fulltime Faculty, Adjunct Faculty,
     Administrators and Staff, and Students. Each ballot will have a unique, randomly chosen
     web address. The web address will be e-mailed to all members of the applicable group on or
     before March 1. To insure that the minimum composition requirements are met, the ballots
     will be broken into specific sub-groups (e.g. ―off-campus faculty‖). Positions not designated
     for sub-groups will be labeled ―at large.‖ In a sub-group, those receiving the most votes are
     elected to represent that sub-group. The other candidates in that sub-group, with their votes,
     will then be considered as a part of the ―at large‖ group as the vote count proceeds. Thus, a
     candidate not receiving enough votes to win their sub-group might still be elected ―at large.‖
     On or near March 16, the Senate Vice President and Senate Secretary will collect the ballots
     and count the votes. This process is to be certified by the Senate President. Results will be
     e-mailed to the SLU community on or before March 20.
 2. STAFFING OF COMMITTEES: After the announcement of election results on March 20,
    newly elected Senators have 10 days in which to express a preference for committee service.
    That preference is expressed by sending an e-mail to the Secretary of the Senate. On or near
    March 31, the Senate VP and Senate Secretary, under the supervision of the Senate President,
    will assign new Senators to committees. The following procedure is to be used for all
    committees except the Promotion and Tenure Committee:
    (1) If an elected Senator‘s request matches an open committee slot, that request is to be
        honored.
    (2) If there are more requests than available slots, the selection is to be made at random from
        a list of those requesting the slot. An example of a ―random‖ selection would be the
        blindfolded drawing of names from a hat.
    (3) The remaining Senators will be assigned by random drawing. For example, an open slot
        is selected. A name is drawn from a hat. If the name matches the criteria for the open
        slot, the selection has been made. Otherwise, names are drawn until the drawn name
        matches the slot requirements. Unassigned names are placed back in the hat and the
        process repeats until all new Senators have committee assignments. Service on
        committees is NOT restricted to elected Senators. Once all newly elected Senators have
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        been assigned to a committee, any remaining committee slots will be filled by non-
        Senators. That process shall go as follows:
        (a) On April 1 a nominating ballot will be posted for all open committee slots. The URL
            for the nominating ballot will be e-mailed to the entire SLU community.
        (b) On or near April 16, the Senate Vice President and Senate Secretary, under the
            supervision of the Senate President, will collect the nominations. The remaining
            committee slots are to be staffed by random drawing (using the process specified
            above) from the nominations received.
     If, after completion of the above process, committee slots remain unfilled, the President of
     the Senate shall solicit nominations from the floor of the Senate in the May meeting. The
     Senate President must fill the remaining committee slots on or before August 30. If the
     Senate President fails to do so, the Vice President of Academic Affairs will assume that
     responsibility and must complete the task on or before September 15.
 3. ATTENDANCE:
    (1) CONDITIONS OF CONTINUED MEMBERSHIP: Senators shall give notification if
        they are to miss a scheduled meeting of the University Senate, or a Senate committee on
        which they serve. A Senator shall be excused from a University Senate meeting if they
        have notified the Secretary of the Senate at least 24 hours in advance of the scheduled
        meeting. A Senator shall be excused from a Senate Committee meeting if they notified
        the Chair of that committee at least 24 hours in advance of the scheduled meeting.
        Senators are automatically excused from meetings if notification has been given to the
        appropriate party. No justification is required. A Senator‘s unexcused absence from a
        meeting of the Senate, or a Senate committee, shall be recorded as such in the official
        minutes of that meeting. A notice of less than 24 hours can be approved by the Senate
        Executive Board.
    (2) GROUNDS FOR DISMISSAL: A Senator is allowed 1 unexcused absence from
        University Senate meetings during a term of service. The Secretary of the Senate shall
        notify the Executive Board upon occurrence of the 2nd unexcused absence. By majority
        vote, the Executive Board may then expel the Senator from the University Senate.
        A Senator is allowed 2 unexcused absences from Senate Committee meetings during a
        term of service. The Committee chair, or the Secretary of the Senate, shall notify the
        Executive Board upon occurrence of the 3rd unexcused absence. By majority vote, the
        Executive Board may then expel the Senator from the University Senate.
    (3) REPLACING AN EXPELLED SENATOR: The Senate President, Vice President, and
        Secretary, acting as elected officers of the Senate, shall identify a suitable replacement
        for the expelled Senator. The replacement must preserve the composition and balance of
        the Senate, as specified elsewhere in the Senate Constitution and By-laws. The
        replacement, once approved by a majority vote of the Executive Board, shall serve out
        the remainder of the expelled Senator‘s term.
 4. ACCOUNTABILITY: The Senate Vice President is responsible for seeing that elections are
    conducted in accordance with the timeframes and procedures stated in this election code.



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           1.6.2.2       Officers of the University Senate
 1.   Officers shall be elected for two-year terms at the last meeting of the University Senate in
      the spring. In elections for Senate officers, if there are more than two (2) nominees for an
      office and no nominee receives a majority, the nominee who has received the fewest votes
      shall be dropped from the ballot and another vote taken on the remaining candidates and so
      on until one has a majority.
 2.   Officers shall remain in office until the start of the fall semester.
 3.   The President:
      a.   The President of the Senate shall be the chief liaison officer between the University
           Senate and the University administration.
      b.   The President of the Senate shall be elected from the full-time faculty Senators.
      c.   The President of the Senate shall be the responsible budgeting and accounting officer of
           the University Senate.
      d.   The President of the Senate shall receive one (1) course reassignment (one (1) quarter of
           a full workload) in each semester during the term of office.
      e.   The President of the Senate shall serve no more than two (2) consecutive terms of
           office.
 4.   The Vice President:
      a.   The Vice President of the Senate shall be elected from the full-time faculty Senators.
 5.   The Secretary:
      a.   If the Secretary of the Senate is a full-time faculty Senator, the Secretary shall receive
           one (1) course reassignment (one (1) quarter of a full workload) for each semester
           during the term of office.
      b.   If the Secretary of the Senate is not a full-time faculty Senator, the Secretary‘s
           supervisor must readjust the Secretary‘s workload to allow for ten (10) hours (one (1)
           quarter of a full, forty (40) hour workload) to be spent on Senate business.
      c.   The Secretary shall disseminate information to Senate committees, distribute minutes
           and reports, and post appropriate information on the Senate web site within ten (10)
           days after they have been submitted to the University Senate office.

           1.6.2.3       The Executive Board
 1.   The Executive Board is to monitor the process and workings of each standing committee of
      the University Senate. The Executive Board shall serve as the oversight committee for
      conducting business of the Senate between Senate meetings, and for issues relating to day-
      to-day policy.
 2.   As committees of the University Senate make decisions or recommendations for changes, or
      have questions about whether or not an issue requires broader consultations within the
      community, their decisions, recommendations, and suggestions are made to this Board. The
      Executive Board shall place a thirty (30) day due date on all actions of all committees. The
      Board may grant, upon written committee request, a thirty (30) day extension.

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 3.   If the Executive Board fails to act on an issue brought before it by a Senate committee
      within thirty (30) days, the President of the University shall make the decision.
 4.   The Executive Board is chaired by the President of the Senate, or the Vice President of the
      Senate in the President‘s absence.
 5.   Members of the Executive Board shall include the chairs of the nine University Senate
      standing committees, the Vice President of the Senate, the Secretary of the Senate, and the
      President of the Senate. The Vice President of Business Administration, the Vice President
      for Continuing Education and Student Services, and the Vice President of Academic Affairs
      shall be non-voting members of this committee.
 6.   Meetings are to be held every month, and on an as needed basis. Minutes shall be recorded
      by the Secretary of the University Senate, shall be posted on the University website, and
      shall be reported to the Senate at each of the Senate meetings. Minutes shall consist of a
      statement of subjects covered and conclusions, if any, reached. There shall be no
      information included that would identify the vote or remarks of any individual member or
      group of members, unless agreed to by the member or members and by the Board.
 7.   As the executive agency for the University Senate, the Executive Board shall decide whether
      proposals brought forth from the standing committees require further consideration by the
      same or a different Senate committee, by the Senate as a whole, or is to be sent on as a
      recommendation to the President of the University.
      a.   Recommendations to introduce new undergraduate or graduate programs shall be
           brought before the University Senate for a majority vote in the presence of a two-thirds
           quorum of the Senate.
      b.   Budgetary recommendations decided by the Planning Budget and Review Committee
           shall be brought before the University Senate for a majority vote in the presence of a
           two-thirds quorum of the Senate.
      c.   Recommendations concerning proposals to change the strategic planning initiatives
           brought forth by the Planning Budget and Review Committee shall be brought before
           the University Senate for a majority vote in the presence of a two-thirds quorum of the
           Senate.
      d.   Recommendations concerning proposals to change the mission of the University or the
           governance of the University shall be brought before the University Senate for a
           majority vote in the presence of a two-thirds quorum of the Senate.
      e.   The Executive Board may place a discussion item on the Senate agenda (under New
           Business) at its own initiative, at the request of a standing committee, or at the request
           of six (6) Senate members. A brief written statement of the topic and its current
           relevance shall be distributed to Senate members at or in advance of the meeting. The
           group requesting the discussion shall designate a spokesperson, and the spokesperson
           shall be recognized by the President of the Senate to open the discussion. The only
           permissible Senate actions on a discussion item at that meeting are to: 1) postpone it to,
           or continue it at a subsequent meeting; 2) terminate the discussion; or 3) refer the
           subject matter to committee.
      f.   The Executive Board of the University Senate shall review proposed changes in the
           University‘s mission, governance structure, policies, systems, and/or procedures and act

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           upon proposed changes in accordance with the University Senate Constitution and
           Bylaws.
 8.   The Executive Board makes decisions by a majority vote when a two-thirds quorum of the
      Board exists.
 9.   The Executive Board reports to the University Senate and the President of the University.
 10. At least once every three years, the Executive Board will constitute an ad hoc group to
     review the Constitution and Bylaws.

           1.6.2.4         The Standing Committees

               1.6.2.4.1      Admissions and Financial Aid Committee
      a.   The Admissions and Financial Aid committee shall review existing policy and/or
           propose new policies concerning graduate and undergraduate admissions and financial
           aid standards and/or practices throughout Saint Leo University.
      b.   This committee shall ensure that the composition of the student body selected by the
           Admissions office is consistent with the Mission of Saint Leo University by meeting
           regularly to review the admissions policies of the University and making
           recommendations for changes as deemed necessary and appropriate.
      c.   The Admissions and Financial Aid committee shall not review applications nor do the
           work of the Admissions office.
           The Admissions and Financial Aid committee shall be composed of three (3) full-time
           faculty, two (2) administrator/staff, and one (1) student Senators. At least two (2)
           members must come from areas other than University College. Faculty and
           administrator/staff members will be appointed for staggered two years terms. One (1)
           Student Senator will be appointed for a one year term, thus facilitating committee
           continuity.
      d.   The Vice President of Enrollment shall serve as an ex-officio non-voting member of this
           committee.
      e.   The President of the University following committee elections shall appoint the Chair of
           the Admissions and Financial Aid committee.
      f.   Meetings shall be held monthly, or as called by the committee Chair.
      g.   Minutes shall consist of a statement of subjects covered and conclusions, if any,
           reached. No information included shall identify the vote or remarks of any individual
           member or group of members, unless agreed to by the member or members and by the
           committee.
      h.   The Admissions and Financial Aid committee shall annually review current admissions
           and financial aid standards and/or policies to ensure that they are consistent with the
           Mission of Saint Leo University. Matters concerning admissions and financial aid
           standards and/or policies can be brought before the committee by submitting them to
           the Secretary of the Senate. The Secretary of the Senate shall then submit them to the
           committee Chair and to the President of the Senate. Any issues related to admissions

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          and financial aid standards and/or policies must be dealt with in the allotted thirty (30)
          day time period.
     i.   If this committee fails to act within the thirty (30) days, the Executive Board shall make
          the decision.
     j.   The Admissions and Financial Aid committee shall make recommendations for
          standards and/or policy changes to the Executive Board.
     k.   Recommendations made by the Admissions and Financial Aid committee are those
          decided by a majority vote in the presence of at least a two-thirds quorum of the
          committee.
     l.   The Admissions and Financial Aid committee reports to the Executive Board. On or
          before May 15th, the Chair of the committee shall present a brief, written report to the
          Executive Board. The report shall state the criteria selected by the committee for the
          evaluation of admissions and financial aid policies and summarize any conclusions
          reached and/or actions taken by the committee.

              1.6.2.4.2     Undergraduate Academic Standards and Policy Committee
     a.   The Undergraduate Academic Standards and Policy committee shall establish and/or
          review all undergraduate academic standards and policies, and shall review all cases
          related to undergraduate academic honesty.
     b.   Any issues relating to academic standards and/or policies must be submitted to this
          committee for consideration within the allotted thirty (30) day time period.
     c.   If this committee fails to act within the thirty (30) days, the Executive Board shall make
          the decision.
     d.   This committee shall be chaired by a faculty Senator appointed by the President of the
          University Senate.
     e.   This committee shall be composed of four (4) faculty members, the appointed Chair, the
          Student Government Union Judicial Chair, and the Registrar. At least one (1) faculty
          member shall represent each of the three (3) academic Schools and shall be named by
          the appropriate academic Dean before the first Senate meeting of the fall semester. At
          least one (1) faculty member shall come from the School of Continuing Education and
          shall be named by the Director of Continuing Education before the first Senate meeting
          of the fall semester. It is preferred that the faculty members be members of the
          University Senate. Faculty members serve two-year terms with at least one (1) new
          faculty member appointed each year. Faculty may not serve for more than two (2)
          consecutive terms.
     f.   The Chair of this committee shall call all meetings.
     g.   Minutes shall consist of a statement of subjects covered and conclusions, if any,
          reached. No information included shall identify the vote or remarks of any individual
          member or group of members, unless agreed to by the member or members and by the
          committee.
     h.   Matters concerning academic standards and policy brought before this committee shall
          be submitted to the Secretary of the Senate who shall submit them to the committee
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          Chair and to the President of the Senate. The committee shall then meet and discuss the
          issue and develop recommendations. The committee Chair shall carry these
          recommendations to the Executive Board. Matters concerning academic honesty shall
          be brought to the committee chair directly, who is then to conduct a hearing in a timely
          fashion. Decisions concerning academic honesty are to be confidential and are to be
          dealt with within the committee itself according to the guidelines set forth in the
          Catalog. A student who wishes to appeal the decision of the committee may do so in
          writing to the Vice President of Academic Affairs as outlined in Volume V and the
          Catalog.
     i.   The Undergraduate Academic Standards and Policy committee shall develop
          recommendations concerning academic standards and policies, and decisions
          concerning academic honesty.
     j.   Recommendations and decisions concerning academic standards and/or policy are those
          decided by a majority vote in the presence of at least a two-thirds quorum of the
          committee.
     k.   For matters concerning academic standards and/or policies, this committee reports to
          the Executive Board. For matters concerning academic honesty, this committee reports
          to the Vice President of Academic Affairs.

              1.6.2.4.3     Undergraduate Program and Curriculum Committee
     a.   The Undergraduate Program and Curriculum committee reviews proposals for changes
          in and additions to academic programs and curriculum.
     b.   All proposals related to changes in and/or additions to academic programs and
          curriculum must be reviewed, discussed, sent to the proposer for changes, and amended
          within the allotted thirty (30) day time period. Approved programs and curriculum
          must be consistent with the Mission, goals, and values of Saint Leo University.
     c.   If this committee fails to act on any proposal within thirty (30) days, the Executive
          Board shall make the decision.
     d.   A full-time tenured faculty Senator shall chair this committee. The Chair-Elect shall be
          elected by a majority vote of the Undergraduate Program and Curriculum committee in
          the presence of a two-thirds quorum of the committee. The Chair-Elect shall be elected
          from the committee members serving the first year of their term. The Chair-Elect
          serves a two year term, the first year as Chair-Elect and the second year as the Chair of
          the Undergraduate Program and Curriculum Committee.
     e.   This committee shall be composed of four (4) full-time faculty, one (1) adjunct/contract
          faculty, one (1) library faculty member, one (1) member of the admissions staff, and
          one (1) member of the Vice President of Business Affair‘s staff. The Vice President of
          Academic Affairs, the Vice President for Continuing Education and Student Services,
          and Registrar shall be standing, ex-officio, non-voting members of this committee. The
          Business Affairs appointee and Admissions and Financial Aid appointee shall be non-
          voting members. The Senate members of this committee shall be elected by the Senate
          in the first University Senate meeting of the fall semester. The full-time faculty
          representatives shall include one (1) from the School of Continuing Education, one (1)
          from the School of Business, one (1) from the School of Education and Social Services,
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          and one (1) from the School of Arts and Sciences. Faculty shall serve two-year terms
          with two (2) faculty members elected each year. The adjunct/contract and student
          members shall serve one-year terms. The library faculty member shall be appointed by
          the Director of Library Services and shall serve a two-year term. The admissions staff
          member shall be appointed by the Vice President of Enrollment and shall serve a two-
          year term. The finance member shall be appointed by the Vice President for Business
          Affairs and shall serve a two-year term. Each elected or appointed committee member
          may serve for no more than two (2) consecutive terms.
     f.   This committee meets bi-weekly or as called by the Chair of the committee.
     g.   Minutes shall consist of a statement of subjects covered and conclusions, if any,
          reached. No information shall identify the vote or remarks of any individual member or
          group of members, unless agreed to by the member or members and by the committee.
     h.   Matters concerning programs and/or curricula shall be brought before this committee by
          full-time tenured or tenure-track faculty members and shall be submitted to the
          Secretary of the Senate after the appropriate School Dean has reviewed and commented
          on, in writing, the proposal. The Dean has fourteen (14) days to review and submit
          comments on a proposal or shall forfeit the right to submit comments. The Dean‘s
          review shall not alter the proposal unless the alterations are approved by the
          proposer(s). This includes any proposed Catalog changes affecting academic programs
          and curricular offerings that include, but is not limited to, course titles, credit hours,
          prerequisites, and course content. If the proposer is a member of the Undergraduate
          Program and Curriculum Committee, the proposer must be recused from voting on the
          submitted proposal. Guidelines for submission of proposals can be found on the
          University website. The Secretary of the Senate shall then submit them to the
          committee Chair and to the President of the Senate, and shall post them on the
          University website. All University stakeholders shall have fourteen (14) days to submit
          comments on all matters put before this committee. The committee shall then meet and
          discuss the issue and develop recommendations within thirty (30) days.
          Recommendations for new degree and non-degree programs can be forwarded to the
          Executive Board without approval of all necessary curricular changes. Approval of a
          new program does not guarantee the approval of individual curricular proposals that
          shall need to be made following program approval. No new individual course included
          in the approved program may be offered to students without approval from this
          committee and the Executive Board.            The committee Chair shall carry any
          recommendations to the Executive Board.
     i.   Recommendations concerning programs and curricula shall be decided by a majority
          vote of the committee in the presence of a two-thirds quorum of the Undergraduate
          Program and Curriculum Committee.
     j.   This committee reports to the Executive Board of the University Senate.

              1.6.2.4.4     Graduate Academic Standards and Program Committee
     a.   The Graduate Academic Standards and Program Committee shall review proposals for
          changes in and additions to graduate academic standards, policies, programs, and
          curriculum. This committee shall also review all cases related to academic honesty.

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     b.   Any issues relating to academic standards and policies must be submitted to this
          committee for consideration within the allotted thirty (30) day time period. All
          proposals related to changes in and/or additions to academic programs and curriculum
          must be reviewed, discussed, sent to the proposer for changes, and amended within the
          allotted thirty (30) day time period. Approved proposals and curriculum must be
          consistent with the Mission, goals, and values of Saint Leo University.
     c.   If this committee fails to act on an issue within thirty (30) days, the Executive Board
          shall make the decision.
     d.   A full-time tenured faculty member who teaches in a graduate program shall chair this
          committee. The Chair shall be elected by a majority vote of the Graduate Academic
          Standards and Program committee in the presence of a two-thirds quorum of the
          committee.
     e.   This committee shall be made up of two (2) full-time faculty and two (2)
          adjunct/contract faculty all of whom teach graduate courses, two (2) graduate students,
          and two (2) Directors of Graduate Programs. The Registrar shall serve as a standing,
          ex-officio, non-voting member. The Vice President of Academic Affairs shall appoint
          all faculty members and directors to this committee prior to the first meeting of the
          University Senate in the fall semester. The Vice President of Academic Affairs shall
          give preference to faculty who are Senate members. Students interested in serving on
          this committee are to submit a letter of interest to the President of the Senate by the last
          day of classes in the spring semester. The President of the Senate shall appoint the
          students to this committee.
     f.   The Chair of this committee shall call all meetings.
     g.   Minutes shall consist of a statement of subjects covered and conclusions, if any,
          reached. No information shall be included that would identify the vote or remarks of
          any individual member or group of members, unless agreed to by the member or
          members and by the committee.
     h.   Matters concerning graduate academic standards, policies, programs, and curricula shall
          be brought before this committee and shall be submitted by full-time tenured, tenure-
          track, or adjunct/contract faculty who teach in one of the graduate programs to the
          Secretary of the Senate after the appropriate Graduate Program Director has reviewed
          and commented on, in writing, the proposal. The Director has fourteen (14) days to
          review and submit comments on a proposal or shall forfeit the right to submit
          comments. The Director‘s review shall not alter the proposal unless the alterations are
          approved by the proposer(s). This includes any proposed Catalog changes affecting
          academic programs and curricular offerings that include, but is not limited to, course
          titles, credit hours, prerequisites, and course content. If the proposer is a member of the
          Graduate Academic Standards and Program Committee, the proposer must be recused
          from voting on the proposal. Guidelines for submission of proposals can be found on
          the University website. The Secretary of the Senate shall then submit them to the
          committee Chair and to the President of the Senate, and shall post them on the
          University website. All University stakeholders shall have fourteen (14) days to submit
          comments on all matters put before this committee. The committee shall then meet and
          discuss the issue and develop recommendations within thirty (30) days.
          Recommendations for new degree and non-degree programs can be forwarded to the
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          Executive Board without approval of any necessary curricular changes. Approval of a
          new program does not guarantee the approval of individual curricular proposals that
          shall need to be made following program approval. No new individual course included
          in the approved program may be offered to students without approval from this
          committee and the Executive Board.
     i.   Matters concerning academic honesty shall be brought to the committee Chair directly,
          who is then to conduct a hearing in a timely fashion. The committee shall use the
          guidelines on academic honesty set forth in Volume V and the Catalog. Decisions
          concerning academic honesty are to be confidential, and are to be dealt with within the
          committee itself. A student who wishes to appeal the decision of the committee may do
          so in writing to the Vice President of Academic Affairs as outlined in the Volume V and
          the Catalog.
     j.   The recommendations made by this committee are to be decided by a majority vote in
          the presence of a two-thirds quorum of the committee.
     k.   For matters concerning academic standards, policies, programs, and curricula, this
          committee reports to the Executive Board. For matters concerning academic honesty,
          this committee reports to the Vice President of Academic Affairs.

              1.6.2.4.5    Planning Budget and Review Committee
     a.   The Planning Budget and Review Committee reviews the long term strategic goals of
          the University, plans budgets and spending priorities each year, and assesses the impact
          of budget choices on the long term strategic goals.
     b.   This committee shall review multi-year strategic plans and annual budgets including
          both income and expense assumptions, and shall send decisions to the Executive Board
          as soon as possible.
     c.   The Planning Budget and Review Committee is expected to provide the University
          Senate with a coordinated budget for the next academic year as soon as possible. This
          committee reviews important proposals to change the strategic planning initiatives and
          monitors progress towards meeting the goals of the University‘s strategic planning
          efforts.
     d.   The President of the University shall consult with the Planning Budget and Review
          Committee before making decisions on major budget and fiscal matters, particularly
          where the University has authority to determine or approve financial priorities,
          allocations of funds, and amounts of expenditures. Among the matters subject to
          consultation are the proposed University annual budget; the allocations of funds to
          Schools and Graduate Programs; any substantial changes, based on fiscal necessity, in
          enrollment, student-faculty ratio or faculty staffing or workload; and major budgetary
          and fiscal problems arising from federal and state legislative or administrative action
          which may require significant changes in University activities, programs, or procedures.
     e.   The Chair of this committee shall be elected from the voting members of this committee
          by a majority vote in the presence of a two-thirds quorum.
     f.   The Planning Budget and Review Committee shall be composed of three (3) full-time
          faculty, three (3) administrators/staff, and one (1) student. At least two (2) of the

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          committee members must be from areas other than University College. Members are on
          a staggered term basis with one (1) new faculty representative elected each year and one
          (1) new administrator/staff representative elected each year.              Faculty and
          administrator/staff representatives shall serve three-year terms.          The student
          representative shall serve a one-year term. Both faculty and administrator/staff
          representatives may serve no more than two (2) successive terms. The VPBA shall
          serve as an ex-officio non-voting member of this committee.
     g.   The Chair of this committee shall call all meetings. The first meeting of each year shall
          be called before October 15th.
     h.   Minutes shall consist of a statement of subjects covered and conclusions, if any,
          reached. No information shall be included that would identify the vote or remarks of
          any individual member or group of members, unless agreed to by the member or
          members and by the committee.
     i.   Matters concerning academic strategic planning and budgets brought before this
          committee shall be submitted to the Secretary of the Senate who shall submit them to
          the committee Chair and to the President of the Senate. The committee shall then meet
          and discuss the issues and develop recommendations. The committee Chair shall carry
          these recommendations to the Executive Board.
     j.   The recommendations made by this committee are to be decided by a majority vote in
          the presence of a two-thirds quorum of the committee.
     k.   This committee reports to the Executive Board of the University Senate. Minutes of
          committee meetings are reported to the University Senate.

              1.6.2.4.6     Assessment, Research, and Planning Committee (ARPC)
     a.   The ARPC is to act as the coordinating agency for both Academic and Administrative
          assessment.
     b.   This committee shall produce an annual effectiveness assessment plan and report
          (EAPR) each year. This committee shall also produce monitoring reports as requested
          by the IEC usually in the fall and spring semester prior to meetings of the Board of
          Trustees of Saint Leo University. This committee shall use the IEC‘s Assessment
          Report and Planning Guidebook in constructing all reports.
     c.   The ARPC is to produce an annual report that includes an introduction, assessment
          report and plan. The introduction briefly describes the structure, purpose, relationship
          to the University‘s Mission and goals of each academic and administrative unit. The
          assessment report shall include the current academic year‘s assessment results, a
          description of those results, and a summary of any relevant improvement to
          performance objectives. The assessment plan shall outline the performance objectives
          of all parts of the University for the next fiscal year. It shall also include how those
          performance objectives are to be measured and attained. The enhancement plan shall be
          based on the mission, values, and vision statements of each academic and administrative
          unit.




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     d.   The ARPC is to coordinate with all academic departments to ensure that each
          department prepares and reports on specific majors‘ and/or specializations‘ learning
          outcomes and relevant student achievement.
     e.   This committee shall be composed of the Director of Institutional Research, the
          Director of Academic Assessment, the Registrar, the Assistant to the President, all
          Deans, and three full-time faculty members, and the Vice President of Academic
          Affairs.
     f.   The President or a Presidential designee shall serve as Chair of this Committee.
     g.   Minutes shall consist of a statement of subjects covered and conclusions, if any,
          reached. No information shall be included that would identify the vote or remarks of
          any individual member or group of members, unless agreed to by the member or
          members and by the committee.
     h.   This committee produces the annual effectiveness assessment plan and report for the
          University, and any monitoring reports requested by the President.
     i.   This committee reports to the Executive Board of the University Senate.

              1.6.2.4.7     Faculty Promotion and Tenure Committee
     a.   The Faculty Promotion and Tenure Committee shall review the credentials of faculty
          that submit application for promotion and/or tenure.
     b.   The Faculty Promotion and Tenure Committee shall recommend those faculty members
          best qualified for promotion and tenure to the President of the University through the
          Vice President of Academic Affairs.
     c.   Faculty applying for tenure must submit their application to the Chair of the Faculty
          Promotion and Tenure Committee, through their respective Academic Chair and Dean,
          on or before October 15th of each year. The committee must then meet to discuss the
          application and make recommendation to the President of the University through the
          Vice President of Academic Affairs on or before December 15th of each year.
     d.   Faculty applying for promotion must submit their application to the Chair of the Faculty
          Promotion and Tenure Committee, through their respective Academic Chair and Dean,
          on or before than January 15th of each year. The committee must then meet to discuss
          the application and make recommendation to the President of the University through the
          Vice President of Academic Affairs on or before March 1st of each year.
     e.   The Chair of this committee shall be a full-time, tenured faculty Senator who holds the
          rank of Professor. The Chair shall be elected by the Senate at the first meeting in the
          fall semester. The Chair shall be a voting member only in the case of a tie vote.
     f.   This committee shall be composed of five (5) tenured faculty who hold the rank of
          Professor, and the elected Chair. The full-time faculty shall elect three (3) of the
          committee members, two (2) in even years and one (1) in odd years. The President of
          the University shall appoint two (2) members of the committee, one (1) in even years
          and one (1) in odd years. Faculty are elected and appointed to this committee for two-
          year terms prior to the first University Senate meeting in the appropriate fall semester.
          The Chair of this committee is elected in the first University Senate meeting of the fall
          semester. Faculty may serve no more than three (3) successive terms. No more than
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          two (2) members can be from any one department. No more than three (3) members
          can be from any one school.
     g.   The review process for all faculty shall be governed by the procedures set forth in the
          collective agreement between the University and the United Faculty of Saint Leo
          University/United Faculty of Florida. See Volume IV of this Policy Manual.
     h.   Minutes shall consist of a statement of subjects covered. No information shall be
          included that would identify the vote or remarks of any individual member or group of
          members.
     i.   The recommendations concerning faculty tenure and/or promotion shall be decided by a
          majority vote of the full committee.
     j.   Recommendations of the Faculty Promotion and Tenure Committee shall be forwarded
          to the President of the University through the Vice President of Academic Affairs.
     k.   Recommendations of this committee must be supported by the President of the
          University and the Board of Trustees of Saint Leo University who have final authority
          over selecting qualified faculty for tenure and/or promotion.

              1.6.2.4.8     Collaborative Community Committee
     a.   The Collaborative Community Committee shall review existing policy and/or propose
          new policies concerning student affairs, academic support services, and athletic policies
          that affect student life outside of the classroom.
     b.   This committee shall ensure that the Saint Leo University community is one that
          supports growth in mind, body, and spirit in a manner that is consistent with the
          Mission, goals, and values of the University.
     c.   The Collaborative Community Committee shall not mandate policy nor shall it do the
          work of the Student Affairs, Student Support Services, or Athletic Department offices.
     d.   HELP: The Collaborative Community Committee shall be composed of three (3) full-
          time faculty, two (2) student affairs administrator/staff, two (2) members of the
          coaching staff, one (1) academic support services administrator/staff, and three (3)
          students, (1) faculty or staff from COLL elected by senate, (1) off-campus full-time
          librarian appointed annually, (1) full-time faculty or advisor from off campus elected by
          senate. At least one (1) of the committee members must be from an area other than
          University College. Except for the students, each shall serve two (2) year terms.
          Students shall serve one (1) year terms. The Director of University Ministry shall be a
          standing member of this committee. The VPCESS, the Athletic Director, and one (1)
          Alumni relations administrator/staff shall be ex-officio non-voting members of this
          committee. Two (2) of the faculty and one (1) of the students shall be Senators. The
          Senate body in the first Senate meeting of the fall semester shall elect two (2) faculty
          and one (1) student. The Student Government Union President shall appoint one (1)
          faculty, one (1) student affairs administrator/staff, one (1) coach, and two (2) students.
          The President of the Senate shall appoint one (1) academic support services
          administrator/staff. The President of the University shall appoint one (1) student affairs
          administrator/staff and one (1) coach. The Vice President for University Advancement
          shall appoint one (1) Alumni relations administrator/staff.

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     e.   The President of the University following committee elections and appointments shall
          appoint a member of the committee as Chair of the Collaborative Community
          Committee.
     f.   Meetings shall be held monthly, and as called by the committee Chair.
     g.   Minutes shall consist of a statement of subjects covered and conclusions, if any,
          reached. No information included shall identify the vote or remarks of any individual
          members or group of members unless agreed to by the member or members and by the
          committee.
     h.   The Collaborative Community Committee shall annually review current student affairs,
          academic support services, and/or athletic policies and standards to ensure that they are
          consistent with the Mission and values of Saint Leo University. Matters concerning
          student affairs, academic support services, and/or athletic policies can be brought before
          the committee by submitting them to the Secretary of the Senate. The Secretary of the
          Senate shall then submit them to the committee Chair and to the President of the Senate.
          Any issues related to student affairs, academic support services, and athletics standards
          and/or policies must be dealt with in the allotted thirty (30) day time period.
     i.   If this committee fails to act within the thirty (30) days, the Executive Board shall make
          the decision.
     j.   The Collaborative Community Committee shall make recommendations for standards
          and/or policy change to the Executive Board.
     k.   Recommendations made by the Collaborative Community Committee are those decided
          by a majority vote in the presence of a two-thirds quorum of the committee.
     l.   The Collaborative Community Committee reports to the Executive Board.

              1.6.2.4.9     Technical Advisory Committee
     a.   The Technology Advisory Committee (TAC) will provide the Associate Vice President
          for Information Technology with feedback and recommendations on the use and
          development of technologies at Saint Leo University. Maintaining frequent contacts
          with students, faculty, and administration, the TAC will articulate the concerns of the
          University community, help provide focus to visions of the future environment, and
          suggest possible solutions to the challenges of developing and managing information
          technology at Saint Leo University. The TAC‘s collective opinions on information
          technology issues are intended to assist with the development of future information
          architectures, hardware and software standards, policies, and budgeting plans.
     b.   The Committee will provide leadership to the Saint Leo Community in the pedagogical
          use of information, communications, and educational technology. It will recommend
          policies and promote the use of technology throughout all academic programs and
          training functions administered by Saint Leo University.
     c.   Meetings shall be called by the Chair as needed. Additionally, the Chair must schedule
          a meeting at the request of any two (2) committee members.
     d.   A simple majority of voting committee members is required to pass recommendations
          from the committee.

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      e.   Minutes from committee meetings shall be submitted to the Secretary of the Senate.
      f.   The committee will be composed of six (6) full time faculty, two (2) of which shall be
           from centers other than University Campus, two (2) administrators/staff, one (1)
           instructional technologist, and one (1) student. One academic Dean shall serve as a
           non-voting member of the committee. The Associate VP for Information Technology
           shall be a non-voting member of this committee and shall serve as Chair of the
           committee.

           1.6.2.5      Minutes
 The minutes of all standing committee meetings shall be kept in the University Senate office.
 Minutes of the Planning Budget and Review Committee shall be reported to the Senate prior to
 discussion of Action Items under Section VI of the agenda. Except for the Faculty Promotion
 and Tenure Committee, meetings of all standing committees are open to all members of the
 Senate, and normally open to the University community. Advance notice of meetings shall be
 posted on the University website. In their discretion, committees may authorize closed meetings
 in special circumstances. Circumstances justifying closed committee meetings include
 proceedings involving evaluation of persons or programs or possible consideration of issues
 involving privacy or confidentiality.

           1.6.2.6      Special Committees
 1.   The University Senate shall establish and appoint such special committees as may be
      needed.
 2.   Unless otherwise provided by the Senate, the Executive Board shall nominate members of
      special committees.
 3.   Special committees shall report to the University Senate.
 4.   The President of the University Senate shall appoint chairs of special committees.

           1.6.2.7      Senate Procedures
 1.   Robert‘s Rules of Order, most recent addition, shall apply unless superseded by the
      Constitution or Bylaws.
 2.   Spectators at Senate meetings shall not take part in or attempt to influence the proceedings
      of the Senate, unless the President of the Senate has made exception. Violators shall be
      excluded. With discretion, the President of the Senate may recess the meeting.
 3.   The University Senate shall be called into Executive Session by the President of the Senate
      upon approval of a majority of the members present. Only regular University Senate
      members or guests invited by the President of the Senate may be present during Executive
      Sessions. Only personnel or fiscal matters may be discussed in Executive Sessions, but final
      action on all matters shall be taken in regular University Senate meetings.




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             1.6.2.8      Approval of Policies
 1.   Proposals adopted by the University Senate intended to have binding effect on the
      University generally or on persons or matters external to the Senate itself are policy
      recommendations and are submitted to the President of the University for approval.
 2.   Proposals affecting only the rules, procedures, committees, or other internal affairs of the
      Senate, or expressing only the opinion of the Senate, are not policy recommendations and do
      not require approval of the President of the University.

             1.6.2.9      Editorial Changes – Senate Documents
 1.   When the title of a University official or of an agency or unit of the University appearing in
      University Senate documents is changed, but the functions and responsibilities of the office
      or agency remain the same, the Executive Board may approve replacement in the Senate
      documents of the old title or designation by the new one, as an editorial change. Such
      changes shall be reported to the University Senate.

             1.6.2.10     Form of the Agenda
 1.   Outline of the Agenda:
      I.         Call to Order
      II.        Prayer
      III.       Roll Call
      IV.        Approval of Minutes
      V.         Communications and Questions from:
                 A. The President of the University
                 B. The President of the University Senate
      VI.        Executive Board Report
                 A. Minutes of Executive Board
                 B. Executive Board Action Items
      VII.       Unfinished Business
      VIII.      Policy Committee Action Items. In rotation.
                 (Information items to be submitted to the Secretary of the Senate in writing or by e-
                 mail and included with the agenda.)
      IX.        Special Committee Reports
      X.         New Business
      XI.        State of the University Announcements. Questions. In rotation.
                 (Detailed reports, if necessary, to be submitted in writing or by e-mail and included
                 with the agenda.)
                 A. Vice President of Academic Affairs
                 B. Vice President for Business Affairs
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                 C. Vice President for University Advancement
                 D. Vice President for Student Affairs
                 E. Vice President for Enrollment
                 F.     Athletic Director
                 G. Student Government Union President
                 H. President of the United Faculty of Saint Leo University
                 I.     Chief Information Officer
      XII.       Adjournment
 2.   System of Rotation:
      For purposes of Bylaws subparagraph 1.6.2.10, Parts 1.VIII and 1.XI, above, ―in rotation‖
      shall be applied so that order shall be rotated for each meeting, so that whoever was last in
      order at one meeting shall be called on first in order at the next meeting. For purposes of
      Bylaw subparagraph 1.6.2.10, Part 1.VIII, above, each committee shall present only one (1)
      action item at a time. When each committee has been called on, the President of the Senate
      shall then call again on the committee first in the day‘s order for one (1) additional action
      item, and so on.
 3.   Announcements about the State of the University, including the University President‘s
      announcements, are informational only. No resolutions calling for action may be presented
      at this point in the agenda.

             1.6.2.11       Meetings
 1.   For purposes of planning schedules, meetings shall normally be called for Thursdays.
 2.   The meeting calendar for each semester shall be prepared by the Executive Board and shall
      be announced at the last meeting of the University Senate in the spring semester.
 3.   Normally, regular meetings shall convene at 2 p.m. and adjourn automatically at 5 p.m.
      (unless adjourned earlier by majority vote). For any specific meeting, regular or special, the
      Executive Board may provide in advance for convening or adjourning meetings at other
      times. The time for adjournment of any meeting may be extended by majority vote on
      request of the President of the Senate or of any other member. When the Senate
      automatically adjourns at 5 p.m. or other specified time, the matter then under consideration
      shall be a special order of business for the next meeting and shall be placed on the agenda
      immediately following reports of the Executive Board.
 4.   Persons not members of the University Senate who wish to address the Senate may be
      permitted to do so as follows:
      a.     University administrators, members of the Senate standing committees, chairs of Senate
             special committees, and a representative of the collective bargaining agent may be
             recognized by the President of the Senate, at the President‘s discretion, to speak on
             agenda items in their areas of responsibility or charge.



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      b.   Any person may address the Senate on a particular agenda item by invitation of the
           Executive Board or by permission of the President of the Senate prior to the call to
           order.

           1.6.2.12     Motions
 1.   Substantive motions are of three (3) kinds:
      a.   Sense of the Senate Resolutions – motions that would express the sense or opinion of
           the Senate, but would not propose new or modified policy or procedure specifically for
           Saint Leo University.
      b.   Senate Management Resolutions – motions (other than motions to amend the Bylaws)
           affecting only the rules, procedures, committees or other internal affairs of the Senate.
      c.   Policy Resolutions – motions, which if approved by the Senate and the President of the
           University, would create or modify University policy or procedure.
 2.   Recommendations from standing committees, whether or not they affect any University
      policy, may be acted upon at the meeting of the University Senate at which they are
      introduced, provided they have been distributed to members of the Senate at least twenty-
      four (24) hours in advance of the meeting. However, a recommendation which a committee
      considers of unusual importance or complexity may be designated by the committee as a
      ―first reading‖ item, for final action at the meeting following that at which it was first
      reported by the committee.
 3.   Motions from the floor not proposed by a standing committee:
      a.   Sense of the Senate and Senate Management Resolutions may be introduced and acted
           on at any meeting under the appropriate agenda item.
      b.   Policy Resolutions may either be acted upon at a meeting subsequent to the meeting at
           which it is introduced or at which notice is given to the University Senate of intention to
           introduce such a motion, or when the senate, by a 2/3 majority vote, agrees to fully
           consider and act on a policy motion. If only a notice is given, such notice shall include
           the general sense of the proposed motion, and may be given either orally or in writing.
           Upon giving of notice, the presiding officer shall enter the mover‘s name on the agenda
           for the next meeting and shall recognize the mover at the time for New Business for the
           purpose of introducing the motion. Any motion from the floor may be referred to a
           committee on the day when first introduced. Motions to change the Bylaws are
           governed by Article VI., Section 6.6 of the Constitution (paragraph 1.6.1.6, Part 6.6).
 4.   Any motion referred by the University Senate to a standing committee must be reported
      back to the Senate with the committee‘s recommendation.

           1.6.2.13     Minutes
 1.   Minutes of the University Senate are available to anyone in the University community upon
      request and shall be posted on the University website.
 2.   Minutes and other papers of committees handling confidential matters shall be available
      only to committee members or such other personnel designated by Human Resource policies
      of the United Faculty of Saint Leo University.

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           1.6.2.14       Quorum
 1.   For all Senate committees and all Senate meetings, a quorum is at least two-thirds of all
      voting members (nearest round number). For the purposes of calculating a quorum,
      committee members are not considered to be voting members until their first committee
      meeting in each academic year, and Senate members are not to be considering voting
      members until the first Senate meeting in each academic year.

           1.6.2.15       University Senate Executive Board - 2005-2006
 Officers of the University Senate:
     Marilyn Mallue ................. President
     Chris Miller....................... Vice President
     Laurel Cobb ..................... Secretary
 Standing Committee Chairs:
     Trish Parrish...................... Admissions and Financial Aid
     Barry Glover ..................... Undergraduate Academic Standards and Policy
     Balbir Bal .......................... Undergraduate Program and Curriculum
     Tom Zimmerer .................. Graduate Academic Standards and Program
     Barb Wilson ...................... Planning Budget and Review
     Rich Bryan ........................ Assessment, Research, and Planning
     Michael Moorman ............ Faculty Promotion and Tenure
     Fran Reidy ........................ Collaborative Community
     Steve Burrell ..................... Technology Advisory
 Non-voting members:
    Maribeth Durst .................. (Acting) Vice President of Academic Affairs
    Ed Dadez ........................... Vice President of Continuing Education and Student Services
    Frank Mezannini .............. Vice President of Business Affairs

           1.6.2.16       University Senate Standing Committees 2005 - 2006
 FTF – full-time faculty                            SGU – Student Government Union
 SB – School of Business                            AS – Arts and Sciences
 SCE – School of Continuing Education               nonUC – not from University campus
 ESS – Education and Social Services

                1.6.2.16.1      Faculty Promotion and Tenure Committee
 Appointed...................Jack McTague
 Appointed...................(continuing) Marilyn Mallue
 Elected........................(continuing) Terry Danner
 Elected........................(continuing) Mike Moorman
 Elected........................Mary Spoto
 Chair...........................Michael Moorman

                1.6.2.16.2      Admissions and Financial Aid Committee
 FTF-AS ......................Siamack Bondari
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 FTF-ESS ....................Trish Parrish
 FTF-SB ......................Deborah Pendarvis
 Admin/Staff................John Walsh
 Admin/Staff................Beth Carter
 Student Senator ..........Darius Lewis
 Ex-officio ...................Gary Bracken
 Chair...........................Trish Parrish

               1.6.2.16.3     Graduate Academic Standards and Program Committee
 Program Director                  Bobby Diemer
 Program Director                  John Smith
 PTF                               Tom Seiler (Grad. Bus)
 PTF                               Susan Foster (FTF-Bus)
 FTF                               Patrick Draves (Grad. Psych)
 FTF                               Tom Zimmerer (Grad Bus)
 Student                           Faith Grant
 Student                           Curtis Turney
 Ex-officio                        Karen Hatfield
 Chair                             Tom Zimmerer

               1.6.2.16.4     Curriculum Committee
 FTF-ESS                           Valerie Wright
 FTF-SB                            Balbir Bal
 FTF-AS                            Jane Govoni
 FTF-SCE                           Michael McLaughlin
 PTF                               Kimberley Glover
 Library                           Brent Short
 Student Senator                   James Blade
 Admissions                        (Will remain open)
 Business Affairs                  Melinda McKendree
 Ex-officio                        Maribeth Durst
 Ex-officio                        Ed Dadez
 Ex-officio                        Karen Hatfield
 Chair                             Balbir Bal

               1.6.2.16.5     Academic Standards and Policy Committee
 FTF-AS                            Mary Spoto
 FTF-SB                            Larry Mistor
 FTF-ESS                           Terry Danner
 FTF-SCE                           Michael Sciarini
 SGU Judicial Chair                Chelsea Grant
 Ex-officio                        Karen Hatfield
 Chair                             Barry Glover

               1.6.2.16.6     Planning and Budget Review Committee
 (2 nonUC)
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 FTF                                 Senator Monika Vo
 FTF Senator                         Jacci White
 FTF                                 Laurel Cobb
 Admin/Staff                         John Cain
 Admin/Staff                         Barb Wilson
 Admin/Staff                         Susan Paulson
 Student                             Andrew Johnson
 Ex-officio                          Frank Mezzanini
 Chair                               Barb Wilson

                1.6.2.16.7      Assessment, Research, and Planning Committee
 VPAA                                Maribeth Durst
 OIR-Dir                             Jeanne Roberts
 AAP-Dir.                            Jeffrey Anderson
 Registrar                           Karen Hatfield
 ESS-Dean                            Marguerite McInnis
 AS-Dean                             Rich Bryan
 SB-Dean                             Michael Nastanski
 FTF                                 Kevin Kieffer
 FTF                                 Stephen Baglione
 FTF                                 Ernie Williams
 Chair                               Rich Bryan

                1.6.2.16.8      Collaborative Community Committee
 FTF ........................................... Sandy Hawes
 FTF ........................................... Donald Pharr
 FTF ........................................... Jerome Williams
 Admin/Staff (student affairs) ... Todd Justesen
 Admin/Staff(student affairs) .... Mark Stier
 Coach ....................................... Kerri Reaves
 Coach ....................................... Chanita Olds
 Student ..................................... Judy Salinas
 Student ..................................... Robert Dadez
 Student ..................................... Kenrick Roberts
 Dir. University Ministry........... Michael Cooper
 COL Representative ................. Sheryl Lay
 FT Off Campus Librarian ........ Steve Weaver
 Center Rep ............................... Tanya Higgins (PTF-Eustis)
 Ex-officio ................................. Athletic Director – Fran Reidy
 Ex-officio ................................. VPCESS – Ed Dadez
 Ex-officio ................................. Alumni Relations – Susan Shoulet
 Chair ......................................... Fran Reidy

                1.6.2.16.9      Technology Advisory Committee
 FTF                                 Randy Criss
 FTF                                 Jerome Williams

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 FTF                            Cindy Lee
 FTF                            Chris Miller
 FTF-non UC                     Yvette Ghormley
 FTF-non UC                     John Jeanguenat
 A/P                            Susan Boyd
 A/P                            Susan Paulson
 Instructional Technologist     Caroline Cerveny
 Student                        Kirsten Welsh (COL)
 Dean                           Rich Bryan
 Chair                          Steve Burrell

     1.6.3    Saint Leo University Student Government Constitution and Bylaws
 The name of the student governing organization shall be the Student Government Union, herein
 referred to as the SGU. The SGU Constitution and Bylaws can be accessed on the University‘s
 website at www.________.

          1.6.3.1      Objectives
 1. To foster high standards of integrity and conduct that promotes leadership, unity, loyalty, and
    morale among students.
 2. To advocate student opinions and concerns to the faculty, staff, and administration of Saint
    Leo University.
 3. To produce a balanced schedule of programs that enhances campus life and the surrounding
    communities.
 4. To approve new organizations seeking recognition and support existing recognized
    organizations.

          1.6.3.2      Membership
 All students who are registered and financially support the SGU through the required student
 activities fee shall be considered members of the SGU.

          1.6.3.3      Elections
 The designated elected officers shall be elected in the spring semester of each academic year,
 with the exception of the freshman positions which will be elected in the fall semester of the
 academic year. In all elections, procedures adopted by the SGU shall be followed.

          1.6.3.4      SGU Executive Board
 The elected members of the SGU Executive Board shall consist of the following voting and non-
 voting members. The term of service shall be one academic year.
 1. Voting Members:
    a. President (may vote in case of a tie);
    b. Executive Vice President;

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    c. Vice President for Campus Activities;
    d. Executive Treasurer;
    e. Executive Secretary.
 2. Non-Voting Members:
    a. Advisor
 3. The SGU President shall serve as chair of the SGU Executive Board ensuring its efficient
    operation.
 4. The Assistant Vice President for Student Services or a designee shall serve as the advisor to
    the SGU Executive Board.

         1.6.3.5        Standing Committees
 The following committees will be known as the SGU Standing Committees:
 1. Campus Activities Board chaired by the Vice President of Activities;
 2. Elections Committee chaired by the Executive Secretary;
 3. Finance Committee chaired by the Executive Treasurer;
 4. Food Committee chaired by the President or an appointed person by the President.
 5. Greek Council.

         1.6.3.6        Appointed Members of SGU
 To assist the SGU President, there are five student liaisons, appointed by the SGU Executive
 Board, that are responsible for representing the Student Government Union to specific areas of
 campus and student life.
 The terms of service will be one academic year.
 1. The student liaisons are:
    a. Academic Liaison;
    b. Athletic Liaison;
    c. Greek Liaison;
    d. Student Discipline Liaison;
    e. Residence Hall Liaison.

     1.6.4    Saint Leo University Alumni Association Constitution

         1.6.4.1        Article I - Name
 The name of the organization is THE SAINT LEO UNIVERSITY ALUMNI ASSOCIATION.




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          1.6.4.2       Article II - Purpose
 The purpose of The Saint Leo University Alumni Association is to further the mission, vision,
 and values of Saint Leo University by assisting with fundraising efforts, recruiting of new
 students, providing appropriate feedback to the University; connecting and networking among
 and between alumni, faculty, and students; and maintaining traditions, thus preserving our past
 and supporting our future.

          1.6.4.3       Article III - Membership
 Members of the Alumni Association are defined as follows:
 Active
 Persons who have matriculated to at least one of the following Saint Leo institutions: Saint Leo
 University, Saint Leo College, Saint Leo College Preparatory School, or Holy Name Academy
 shall be members of this Association.
 Honorary
 Honorary members may include present and former faculty, friends, and benefactors of the
 University whom the Alumni Association Board of Directors wishes to recognize and who are
 duly elected to honorary membership by a majority of the Board. Honorary members may
 participate in Association activities, but shall not vote at Association meetings or serve on the
 Alumni Association Board of Directors.
 Ex Officio
 Ex Officio members of the Association shall include recipients of honorary degrees from the
 University, the Director of Alumni Relations or its successor office, or others as confirmed by
 the Alumni Association Board of Directors. Ex officio members may participate in Association
 activities but shall not vote at Association meetings.

          1.6.4.4       Article IV - Term
 The term for this Association is perpetuity.

          1.6.4.5       Article V - Officers
 The elected officers of the Alumni Association shall be a president, a vice president, a secretary,
 and a treasurer. Officer‘s terms and guidelines are set forth in the Bylaws.

          1.6.4.6       Article VI - Management
 An Alumni Association Board of Directors whose members shall be selected in accordance with
 the Bylaws shall manage the affairs of the Alumni Association. An Executive Committee shall
 be composed of the president, vice president, secretary, treasurer, and other Board of Directors or
 Association members who the Executive Committee deems shall be necessary in the furtherance
 of the Association‘s business. Additional members of the Executive Committee shall be
 nominated by the president of the Alumni Association, confirmed by the Alumni Association
 Board of Directors and serve for a fixed time frame of one year or less. The immediate past
 president of the Alumni Association and the Director of Alumni Relations or its successor office
 shall serve as ex-officio.
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          1.6.4.7         Article VII – Bylaws
 The carrying out of the purpose of this Association is set forth in the Bylaws of the Saint Leo
 University Alumni Association. The Bylaws may be amended at any properly notified regular or
 special meeting by two-thirds of the Alumni Association Board of Directors voting, provided
 that notice and a statement of the proposed change(s) is given by electronic mail or post at least
 30 days before such meeting. Every member of the Board of Directors shall have the right to
 cast one vote in person or by mailed proxy vote, by faxed proxy vote, or by electronically
 submitted proxy vote. Voting by means other than in person shall be addressed to the Director of
 Alumni Relations. These votes must be received in the Saint Leo University Office of Alumni
 Relations by 3:00 p.m. Florida time, the day before the date of the meeting. A Representative of
 the Office of Alumni Relations shall deliver these votes, to the president of the Board of
 Directors at the scheduled time and place of the meeting.

          1.6.4.8         Article VIII – Amendments to the Constitution
 This constitution may be amended by a two-thirds vote of the members of the Association
 present at any general membership meeting. The proposed amendment(s) or amended form of
 the constitution shall have been sent to all members of the Association whose addresses are on
 file in the Association Office. The proposed amendment(s) or amended form is to be given by
 electronic mail or post at least 30 days prior to the meeting at which the amendment(s) is to be
 considered.

          1.6.4.9         Article IX - Other
 All matters not specifically addressed by this constitution shall be dealt with on a case-by-case
 basis as deemed reasonable by the Association‘s Board of Directors and in the interest of the
 Association.

     1.6.5    Saint Leo University Alumni Association Bylaws

          1.6.5.1         Article I – Name, Purpose and Mission

              1.6.5.1.1       Section I – Name
 The name of the organization is the Saint Leo Alumni Association.

              1.6.5.1.2       Section II – Purpose
 The purposes of the Saint Leo Alumni Association are to assist and support the University as it
 fulfills its Catholic Benedictine mission to provide a high quality, student-centered liberal arts
 education in an environment that encompasses values of excellence, community, respect,
 personal development, responsible stewardship, and integrity; to be a vehicle for alumni to share
 in the life of the University through cooperative efforts coordinated by the Office of Alumni
 Relations in a mutually rewarding relationship; and, in cooperation with the Office of Alumni
 Relations, to be self-sustaining and self-perpetuating with regard to the Association‘s leadership,
 role, and function.


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               1.6.5.1.3       Section III – Mission
 The mission of the Saint Leo Alumni Association is to foster a mutually beneficial relationship
 between Saint Leo University and its alumni by: promoting active alumni participation and
 involvement through on-campus and regional programs; by serving as an advocate for the
 University‘s mission, plans and purpose; by identifying and encouraging the enrollment of
 quality and diverse students; by assisting in gathering philanthropic support; and by recognizing
 University alumni and friends who are distinguished by their loyalty, professional achievement,
 and community service. In fulfilling this mission, the Saint Leo Alumni Association will insure
 that all of its efforts and activities are consistent with the University‘s mission, values, strategic
 objectives, policies, and procedures.

          1.6.5.2          Article II – Membership
 Individuals who meet the criteria set forth in the association‘s constitution shall be entitled to
 membership. Member categories are active, honorary, and ex-officio. Members have the right
 to participate in activities sponsored by Saint Leo University and its alumni association; to
 participate in committee and volunteer opportunities as outlined in Article III, Section I of these
 Bylaws, and to receive all association publications and notice of general meetings held under the
 auspices of the association.

          1.6.5.3          Article III – Management of the Association

               1.6.5.3.1       Section I – Saint Leo Alumni Association Board of Directors
 The management of the association is vested in its Board of Directors which shall have a
 minimum of 15 and a maximum of 30 elected members, one-third of whom are elected annually.
 No member can serve more than two consecutive three-year terms. Partial terms are excluded
 when considering two consecutive terms. The Executive Committee may fill vacancies on the
 board or in the offices of the association arising from unexpired terms, and the President of the
 association appoints a nominating committee to nominate candidates for election to the Board
 and to offices of the association in accordance with the provisions of these bylaws. Composition
 of the Board of Directors will represent the University‘s diverse alumni populations. The Board
 of Directors shall be responsible for oversight of the organization‘s mission, vision and planning,
 for monitoring and assessing its programs, and for interpreting the University to the alumni
 community and the alumni community to the University. The Director of Alumni Relations,
 employed by Saint Leo University, shall serve as an ex-officio member of the Board of
 Directors. The Director serves as the primary liaison between the alumni association and the
 Saint Leo University administration.

               1.6.5.3.2       Section II – Officers
 The officers of the association shall be President, Vice President, Secretary, and Treasurer, who
 shall be elected by the Board of Directors from its membership for one year terms, unless
 otherwise provided here, and shall hold office until their successors are elected and have been
 qualified. The immediate past President shall serve as an officer ex-officio. Officers shall not be
 eligible for election for more than two consecutive one-year terms. Partial terms are excluded
 when considering two consecutive terms. The Executive Committee may fill vacancies on the
 Board or in the offices of the association arising from unexpired terms. The President of the
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 association shall call upon the association development committee to nominate candidates for
 election to the Board and to offices of the association in accordance with provisions of these
 Bylaws.
 The officers and their respective duties are as follows:
     A. The President shall provide general supervision and leadership for all organizational
        programs and policies. The President shall preside at all meetings of the association,
        the Board of Directors, and the Executive Committee. The President shall be an ex-
        officio member of all standing committees of the association.
     B. The Vice President shall oversee the following standing committees of the
        Association:
                   Committee for Association Activities and Programs,
                   Committee for Association and Board Development,
                   Committee for Association Communication and Advancement.
     C. The immediate past President shall provide counsel to the President and the Board of
        Directors and shall serve as an ex-officio member of the association development
        committee.
     D. The Secretary shall keep the minutes of meetings of the association, the Board, and the
        Executive Committee, and submit them to the Board within 15 days of each recorded
        meeting. The Secretary may audit from time to time the official records of the alumni
        association as housed in the office of Alumni Relations.
     E. The Treasurer shall oversee the financial activities of the association and make
        appropriate reports as required.       Expenditures of association funds will be
        recommended by the association Treasurer and managed by the Director of Alumni
        Relations in accordance with University policy.

              1.6.5.3.3     Section III – Records
 Official records of meetings of the association, its Board of Directors and Executive Committee,
 as well as association-sponsored activities, shall be maintained in the office of Alumni Relations
 and made available to Board of Directors and committee members on request. A packet of the
 preceding year‘s association records shall be conveyed to new officers at the time of their
 election or appointment.

              1.6.5.3.4     Section IV – Executive Committee
 The Executive Committee is authorized by the Board of Directors to manage all business and
 affairs of the association and the Board between regular and special meetings. The Executive
 Committee may not alter or rescind the constitution, bylaws, strategic plan, or remove any
 officer from office.
 The Executive Committee shall be comprised of the elected officers of the association, which
 include the President, Vice President, Secretary, and Treasurer. The President shall serve as
 Chair of the Executive Committee. The immediate past President and the Director of Alumni
 Relations serve as ex-officio members.


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         1.6.5.4          Article IV – Election and Appointments

              1.6.5.4.1       Section I – Election of Officers
 The President, Vice President, Secretary, and Treasurer shall be elected by members of the
 Board of Directors. A slate of officer candidates shall be compiled by a nominating committee
 consisting of the immediate past President, the chairman of the association development
 committee, and three at-large Board members, preferably with expiring terms. The Director of
 Alumni Relations shall serve as an ex-officio member of the nominating committee. The
 candidate receiving a majority of votes for each office shall be elected.

              1.6.5.4.2       Section II – Term of Office and Vacancies
     A. The President, Vice President, Secretary and Treasurer shall each serve a one-year term
        of office commencing on July 1, or as otherwise determined by the Board of Directors.
     B. The immediate past President shall serve as an ex-officio member of the Board for a
        one-year term immediately following the term as President.
     C. All officers shall continue to serve until their successors are qualified to serve.

              1.6.5.4.3       Section III – Appointments
 The Executive Committee may fill vacancies on the Board or in the offices of the association
 arising from unexpired terms.

         1.6.5.5          Article V – Association Committees
 Alumni Association Committees provide opportunities for members of the association and
 elected Board members to share their time, talent, and spirit on behalf of Saint Leo University.
 Volunteers from the association are always welcome and a volunteer list will be maintained in
 the office of Alumni Relations. Board members will be assigned annually to serve on
 committees by the association President in consultation with the Director of Alumni Relations.

              1.6.5.5.1       Section I – Standing Committees of the Association
 There shall be a minimum of three standing committees of the association. The committees are:
     A. Committee for Association Activities and Programs
        The Committee for Association Activities and Programs is responsible for planning and
        supporting activities that reconnect, engage, and benefit Saint Leo University alumni.
        Association activities should be designed to engage alumni, encourage volunteerism,
        promote leadership, and periodically recognize outstanding alumni accomplishments
        and commitment to the mission, vision and values of Saint Leo University. Sub-
        committees may be designated as needed.
     B. Committee for Association and Board Development
        The Committee for Association and Board Development is charged with ensuring
        clarity of purpose for the association and its Board of Directors. The committee also
        serves as the Board‘s nominating committee, and is responsible for the identification,
        nomination, and election of its members and officers. This Committee is responsible
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         for ongoing Board development and periodic self-assessment. Sub-committees may be
         designated as needed.
     C. The Committee for Association Communication and Advancement
        The Committee for Association Communication and Advancement shall work with the
        office of Alumni Relations to ensure that the alumni association has an effective
        communication plan ensuring periodic, ongoing, appropriate communication with the
        University and its alumni stakeholders. The committee is charged with providing
        leadership and assistance to the University in its fund-raising activities. Sub-
        committees may be designated as necessary.

              1.6.5.5.2       Section II – Committee Membership
 Committee chairs, appointed by the President, shall select committee members, referring to the
 list of volunteers maintained by the office of Alumni Relations. Each committee shall have a
 minimum of three members chosen from the Board. The President and Director of Alumni
 Relations and/or a designated University representative shall serve as ex-officio, non-voting
 members on all committees.

              1.6.5.5.3       Section III – Ad Hoc Committees
 Other committees may be created and members appointed as the Executive Committee, Board,
 or Director of Alumni Relations may from time to time deem necessary or advisable.

         1.6.5.6          Article VI – Meetings

              1.6.5.6.1       Section I – Meetings of the Association
     A. Annual Meeting
        The annual meeting of the association shall be held in Florida, at a time and place
        designated by the Board.
     B. Special Meetings of the Association
        Special meetings may be held at the call of the President of the association or upon
        written request of a majority of the members of the Board of Directors.
     C. Notice of Meetings of the Association
        Notice of all meetings of the association, whether annual or special, shall be given by
        the President or the Director of Alumni Relations by letter or prominent notice in an
        alumni publication not less than 20 days prior to the date of the meeting. Notice of any
        special meeting shall state the purposes of the meeting. No business shall be transacted
        at a special meeting that does not relate to the purposes stated in the notice.
     D. Quorum
        A quorum at any meeting of the association shall consist of a majority of the members
        at the meeting in person or by proxy.
     E. Voting
        Every member of the association shall have the right to cast one vote in person, by
        proxy, by mailed vote, or by electronically submitted vote, provided these votes are

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         received in the office of Alumni Relations by 8:00 a.m. (Eastern Time) on the date of
         the meeting.

             1.6.5.6.2     Section II – Meetings of the Board of Directors
     A. Regular Meetings of the Board of Directors
        Regular meetings of the Board of Directors shall be held at a time and place determined
        by the President of the association.
     B. Special Meetings of the Board of Directors
        Special meetings of the Board of Directors may be called at any time by any two
        members of the Executive Committee or upon the request of one-third of the Directors.
        The objectives of the meeting must be set forth in both the call for and the notice of the
        meeting. No business is transacted at a special meeting that does not relate to the
        purposes for which it was convened.
     C. Notice of Meetings of the Board
        Notice of all meetings of the Board, whether annual or special, shall be given by the
        President or the Director of Alumni Relations by letter or electronic means not less than
        20 days prior to the date of the meeting. The Executive Committee, by majority vote,
        may waive the advance notice provision in case of emergency.
     D. Quorum
        A quorum at any meeting of the Board of Directors shall consist of a majority of the
        voting members of the board present at the meeting.
     E. Meeting Attendance
        Any member of the Board who is absent from two consecutive regular meetings of the
        Board, except for reasons accepted as sufficient by the Executive Committee, or who
        ceases to be an active member of the association, ceases to be a member of the Board,
        and the Board may elect a member to the vacancy for the unexpired term.

             1.6.5.6.3     Section III – Meetings of the Executive Committee
     A. Regular Meetings of the Executive Committee
        The Executive Committee of the Board of Directors shall meet at least quarterly and/or
        within 30 days of each Board of Directors meeting. Members may participate in
        meetings by conference call, if necessary.
     B. Special Meetings of the Executive Committee
        Special meetings may be held at the call of the President of the association or Director
        of Alumni Relations, as necessary.
     C. Quorum
        A majority of the voting members of the Executive Committee shall constitute a
        quorum for the transaction of business at all meetings.




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          1.6.5.7         Article VII – Rules of Procedure

              1.6.5.7.1       Section I – Official Year
 The official year of the association begins on the first day of July and ends on the last day of
 June.

              1.6.5.7.2       Section II – Rules
     Robert‘s Rules of Order, Revised shall govern all meetings.

          1.6.5.8         Article VIII – Conflict of Interest
 A Board member shall be considered to have a conflict of interest if the Board member has
 existing or potential financial or other interests that impair or appear to impair the Board
 member‘s independent, unbiased judgment in the discharge of the Board member‘s
 responsibilities to the association; or if that Board member is aware that a member of that Board
 member‘s family has financial or other interests that would impair or appear to impair the
 member‘s independent judgment in the discharge of the Board member‘s responsibilities to the
 association.
 For the purposes of this provision, a family member is defined as a spouse, parent, sibling, child,
 or any other relative residing in the same household as the Board member.
 All Board members shall disclose to the President and the Director of Alumni Relations any
 possible conflict of interest at the earliest practical time. Further, the Board member shall absent
 oneself from discussions of, and abstain from voting on, such matters under consideration by the
 Board of Directors or its committees. The minutes of such meeting shall reflect that a disclosure
 was made and that the member with a conflict or possible conflict abstained from voting. Any
 Board member who is uncertain as to whether a conflict of interest may exist in any matter may
 request that the Board or committee resolve the question in that Board member‘s absence by
 majority vote. Each Board member shall complete and sign a disclosure form provided annually
 by the Director of Alumni Relations.

          1.6.5.9         Article IX – Periodic Board and Board Member Assessment

              1.6.5.9.1       Section I – Purpose
 The Board of Directors shall conduct a self-study of its stewardship at least every three or four
 years. The purposes of the self-assessment are to:
     A. Help the Board strengthen its performance;
     B. Strengthen Board leadership;
     C. Clarify strategic goals and objectives for the Board;
     D. Ensure that the Board has a clear grasp of its responsibilities;
     E. Strengthen relationships among Board members, the association, and the University;
        and


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       F. Clarify expectations among Board members, office of Alumni Relations staff, and the
          University.

               1.6.5.9.2       Section II – Responsibilities
 The Director of Alumni Relations will work closely with the President and Executive Committee
 of the Board to design a process to periodically review the Board‘s work. The President of the
 association and the Director of Alumni Relations shall be responsible for ensuring appropriate
 follow up. The Board shall conduct annual individual Board member self-assessments through
 surveys or other appropriate instruments.

           1.6.5.10        Article X – Review and Amendment of Bylaws

               1.6.5.10.1      Section I – Bylaws Revision
 These Bylaws shall supersede all other bylaws and shall become effective immediately upon
 ratification by (a) a two-thirds majority vote of the Board of Directors as outlined in Article VII,
 Section II; (b) review by University legal counsel; and (c) approval by the advancement
 committee of the University on behalf of its Board of Trustees.

               1.6.5.10.2      Section II – Amendments
 The bylaws may be amended by a two-thirds majority vote of the Board of Directors at any
 properly notified regular or special meeting, provided that notice of the proposed change(s) is
 made available 20 days before such meeting.

               1.6.5.10.3      Section III – Bylaws Review
 These Bylaws shall be reviewed periodically by the Secretary of the Board of Directors and the
 Executive Committee. The Secretary and the Executive Committee shall recommend any
 necessary changes to the Board of Directors who may ratify, alter or rescind them by a two thirds
 vote as outlined in Article X, Section II.

 1.7       Committees of the University
 Except for Subsections 1.7.3, 1.7.5 and 1.7.6 that have been taken from the Bylaws of the
 University Senate, the Student Government, and the Alumni Association Bylaws respectively,
 the committee structure below is generic and inclusive in nature. It is meant for use as a
 guideline to assist with the identification and description of the committees that are in place at
 the University.

       1.7.1   Administrative Committees

           1.7.1.1         President’s Staff
 The President‘s Staff is comprised of the following individuals:
 1. Vice President of Academic Affairs;
 2. Vice President of Continuing Education & Student Service;
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 3. Vice President of Enrollment;
 4. Vice President of Business Affairs;
 5. Vice President of University Advancement; and
 6. Assistant to the President.
 The President‘s Staff meets weekly or as requested by the President.

     1.7.2    Institutional Committees
 Institutional Committees address matters that cut across various segments of the University and
 typically have representation from administration, faculty, staff, and students. Where applicable,
 these committees may also include alumni and other outside individuals as members who can
 bring expertise to specific issues.

          1.7.2.1      Campus Safety Committee
 The Campus Safety Committee has been established to identify and suggest solutions to a variety
 of campus safety concerns and/or issues. The committee meets several times each semester.
 Committee members include the following: Vice President for Continuing Education and
 Student Services, Assistant Vice President of Student Services, Director of Residence Life,
 Director of Campus Safety, and a Board of Trustee Member.

          1.7.2.2      Commencement Committee
 The Commencement Committee is chaired by the Registrar and is comprised of representatives
 from those administrative areas of the University that have some responsibility for the planning
 and coordination of the commencement activities including baccalaureate mass and college
 ceremonies. The committee meets monthly from September through February, meets bi-weekly
 in March and meets weekly in April and as needed in the week prior to the actual
 commencement ceremony.          Each Center is responsible for planning their individual
 commencement ceremonies.

          1.7.2.3      First Alert (Early Intervention Committee)
 The First Alert committee will meet to discuss students that have been identified as having
 academic and/or behavioral difficulties. Committee members will then provide the student(s)
 with resources and advisement that encourage student success. Members include the following:
 Assistant Vice President of Student Services, Director of Residence Life, Administrator of
 Academic Advising, and the Director of Counseling and Career Services and a faculty member.

          1.7.2.4      Institutional Review Board
 The University Institutional Review Board (IRB) reviews requests from faculty, students and/or
 employees of the University who plan to use human or animal subjects in their research or
 classroom demonstrations. The IRB review is required to protect the rights of the subjects and to
 demonstrate the researcher‘s diligence in protecting the welfare of research participants and to
 ensure compliance with Federal regulations. The IRB is an objective third party that examines


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 the benefits of all proposed projects against the potential for risk to participants in the
 research/demonstration projects.

          1.7.2.5      Student-Athlete Advisor Committee
 The Student-Athlete Advisor Committee (SAAC) serves as a liaison between the athletic teams
 and the Athletic Department at Saint Leo University. The SAAC is comprised of representatives
 from all sponsored intercollegiate sports at Saint Leo and meets on a regular basis to discuss and
 review issues and concerns of student athletes at Saint Leo University.

     1.7.3    University Senate Committees
 See paragraphs 1.6.2.4 - 1.6.2.6 above.

          1.7.3.1      Executive Board of the University Senate
 See paragraphs 1.6.1.5 and 1.6.2.3.

          1.7.3.2      Admissions and Financial Aid Committee
 See subparagraph 1.6.2.4.1.

          1.7.3.3      Undergraduate Academic Standards and Policy Committee
 See subparagraph 1.6.2.4.2.

          1.7.3.4      Undergraduate Program and Curriculum Committee
 See subparagraph 1.6.2.4.3.

          1.7.3.5      Graduate Academic Standards and Policy Committee
 See subparagraph 1.6.2.4.4.

          1.7.3.6      Planning Budget and Review Committee
 See subparagraph 1.6.2.4.5.

          1.7.3.7      Assessment, Research, and Planning Committee
 See subparagraph 1.6.2.4.6.

          1.7.3.8      Faculty Promotion and Tenure Committee
 See subparagraph 1.6.2.4.7 and Volume IV-A, paragraph 1.1.11.3.

          1.7.3.9      Collaborative Community Committee
 See subparagraph 1.6.2.4.8.


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          1.7.3.10        Technical Advisory Committee
 See subparagraph 1.6.2.4.9.

     1.7.4    Collective Bargaining Agreement Committees

          1.7.4.1         Faculty Promotion and Tenure Committee
 See Volume IV-A, paragraph 4.A1.1.11.3.

          1.7.4.2         Faculty Development Fund Committee
 See Volume IV-A, subparagraph 4A.1.1.1.12.1.

     1.7.5    Student Government Union Committees

          1.7.5.1         Campus Activities Board
 See the current SGU Constitution at www._______.

          1.7.5.2         Elections Committee
 See the current SGU Constitution at www._______.

          1.7.5.3         Finance Committee
 See the current SGU Constitution at www._______.

          1.7.5.4         Greek Council
 It shall be the duty of the Greek Council to administer all business related to the welfare of the
 Saint Leo University Greek community and to develop and enforce rules governing the Greek
 community. IFC, PHC, or NPHC organizations are expected to abide by accreditation policy
 and Greek Council bylaws and constitution.

     1.7.6    Alumni Association Committees

          1.7.6.1         Executive Committee
 See paragraph 1.6.4.6.

          1.7.6.2         Committee for Association Activities and Programs
 See subparagraph 1.6.5.5.1.

          1.7.6.3         Committee for Association and Board Development
 See subparagraph 1.6.5.5.1.


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         1.7.6.4       Committee for Association Communication and Advancement
 See subparagraph 1.6.5.5.1.

     1.7.7    Judicial Committees

         1.7.7.1       Faculty Promotion and Tenure Committee
 See Volume IV-A, paragraph 4.A1.1.11.3.

         1.7.7.2       Student Conduct Board
 Students accused of a violation of the Code of Conduct will be given the option of having the
 case resolved immediately by a Hearing Officer or the Student Conduct Board. The Student
 Conduct Board shall be composed of no less than three faculty/staff and three students.
 Members are appointed by the Student Services Division and will include two student services
 staff members, one faculty member, and three students.

     1.7.8    Review of Standing Committees (Sunset Provisions)
 Administrative and Institutional committees are reviewed in the spring of each year and a
 decision is made by the President‘s Staff to continue, modify, or eliminate (sunset) each council
 or committee.
 The University Senate will review all faculty committees and a similar decision on each one will
 be made in the spring of each year. The Faculty Collective Bargaining Agreement may contain
 committees by contract. These committees may not be modified or eliminated during the period
 of the agreement (unless the University and the Faculty Bargaining Unit agree to modify or
 eliminate a committee in accordance with the provisions of the agreement).
 The Student Government Union and Alumni Association will review their respective committees
 in the spring of each year and decide whether to continue, modify, or eliminate (sunset) them




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                                           Volume II
                                 University Community Policies



 2.0      Introduction
 The policies provided in Volume II of the Policy Manual pertain to all members of the Saint Leo
 University community and outline their responsibilities, as well as the policies and programs
 applicable to them.
 The policies set forth in Volume II provide general information only and are not intended to be
 comprehensive or address all possible issues. The University reserves the right to interpret,
 change, modify, add, or delete all or part of the policies at any time without prior notice.
 Circumstances not specifically addressed in Volume II will be handled on a case by case basis, in
 accordance with established practice.
 An important effort has been made to recognize the differences present in the various campuses
 and areas of the University; however, these policies were developed by focusing on the rules and
 responsibilities our one organization has in common. If a campus or area of the University
 wishes to issue its own memoranda or other statements related to University community policies,
 they must be consistent with this volume unless an appropriate senior administrative officer
 grants approval. This volume supersedes all inconsistent memoranda and statements, as well as
 prior policies and procedures.
 To the extent that University policies have applied to Union employees before the issuance of
 these policies, whether by practice or by contract, these policies shall also apply to Union
 employees in the same regard in accordance with the collective bargaining agreement.
 A copy of Volume II of the Policy Manual is maintained in every department, location, center or
 major organizational entity of the University. A copy of the volume will be maintained on the
 Saint Leo University website in Data Mart. The master copy of the Policy Manual, including
 Volume II, will be maintained in the University Human Resources Office.

 2.1      General Institutional Policies

          2.1.1     Policy Amendments (rev. 5/27/2009)
 All substantial amendments, deletions, or additions to the Saint Leo University Policy Manual
 shall be approved by the President‘s Staff. Unless otherwise provided, policy changes shall be
 effective on the date of approval.

          2.1.2     Institutional Policies on Affirmative Action and Equal Opportunity

          2.1.2.1      Statement of Equal Employment Opportunity and Affirmative Action
 Saint Leo University is an Equal Employment Opportunity-Affirmative Action employer. The
 University seeks to provide equal opportunity in employment for all persons. Saint Leo does not
 discriminate in all aspects of employment on the basis of race, color, creed, national or ethnic
 origin, gender, religion, disability, genetic information, age, disabled veteran status, veteran of
 the Vietnam era status, or citizenship, marital status, family responsibilities matriculation,
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 political affiliation, except in those special circumstances permitted or mandated by law.
 Additionally, the University will use good faith efforts to achieve ethnic and gender diversity
 throughout the workforce. The University emphasizes recruitment of women, minority group
 members, disabled individuals, and Vietnam era veterans.
 The University reserves the right to designate specific positions within the University structure
 that require or prefer candidates to be members of the Roman Catholic Church as permitted by
 law.
 Philosophy
 To achieve its mission, the University strives to develop a community that is appropriately
 representative of the diversity of society. This commitment to affirmative action evidences the
 University‘s fundamental tenets and its dedication to an ongoing process of change and renewal.
 Procedures
 The goal of the University‘s hiring policy is to recruit, hire, transfer, promote and make other
 employment decisions using these guidelines:
 1. To consider individuals without discrimination based on race, color, creed, national or ethnic
    origin, gender, religion, disability, genetic information, age, disabled veteran status, veteran
    of the Vietnam era status, or citizenship, marital status, family responsibilities matriculation,
    political affiliation, military service obligations or any other legally-protected category.
 2. To use good faith efforts to achieve the University‘s affirmative action goals for minority
    persons and women.
 3. To select the individual who best meets the needs of the selecting department and the
    University.
 4. To enhance opportunities for mobility and promotion of qualified candidates who are current
    University employees.
 5. To consider individuals who demonstrate a commitment to the University‘s mission and
    values.
 All employment decisions, including hiring, compensation, benefits, transfers, training and
 termination will be made without regard to any legally-protected category as defined above.
 It is part of the University‘s policy to comply with the Americans with Disability Act. Under
 this Act a qualified individual with a disability who can perform the essential functions of the
 position with or without a reasonable accommodation is protected from discrimination due to the
 individual‘s disability.
 Responsibility
 All selecting departments shall follow the procedures and the spirit of the University‘s Equal
 Opportunity - Affirmative Action policy. The Human Resources department assists selecting
 departments to recruit and hire candidates.
 Resource
 Contact the Human Resources department if you have questions or you would like more
 information about this policy. Employees who believe they have been discriminated against
 should contact the Director of Human Resources, who maintains a procedure for investigation
 and resolution of complaints.
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          2.1.2.2          Statement of Equal Educational Opportunity
 It is Saint Leo University‘s policy to administer all educational programs and related supporting
 services and benefits in a manner which does not discriminate because of a student‘s or
 prospective student‘s age, citizenship, color, disability, genetic information, marital status,
 national origin, race, religion, political affiliation, sex, creed or veteran status, military service
 obligation or any other legally protected category by federal or state law.

          2.1.3     Institutional Policy on Discrimination and Sexual Harassment
  The University is committed to upholding standards that promote respect and human dignity in
 an environment fostering learning and professionalism. It is the policy of the University to
 maintain an educational and work environment free from all types of discrimination and
 harassment, an open environment that values and protects individual dignity and the integrity of
 human relationships. Accordingly, all forms of discrimination and harassment by or against any
 member of the University community are prohibited.
 The educational process at the University is based on mutual trust, freedom of inquiry, freedom
 of expression, and the absence of intimidation and exploitation. Such an atmosphere of respect
 and regard for individual dignity among members of the academic community is essential if the
 University is to function as a center of academic freedom and intellectual advancement. In
 addition, the University has a compelling interest in assuring the provision of an environment in
 which learning and work may thrive. Such an environment requires free and unfettered
 discussion of the widest possible nature, one which encourages expression of all points of view.
 The University recognizes that the academic setting is distinct from the workplace in that wide
 latitude is required for professional judgment in determining the appropriate content and
 presentation of academic material. Assertions regarding any of the characteristics listed above,
 however, shall be directly related to the exchange of ideas, ideologies, or philosophies. Any
 such assertions in the teaching context that are persistent, pervasive, and not germane to the
 subject matter may constitute discrimination or sexual harassment and will not be tolerated.

          2.1.3.1          Discrimination
 It is the policy of the University to recruit, employ, retain, promote, and provide benefits to
 employees and to admit and provide services for students without regard to race, color, religion,
 creed, sex, national origin, age, disability, genetic information, military status, or veteran status.
 Discrimination based upon race, color, religion, creed, sex, national origin, age, disability,
 genetic information, military status, or veteran status, is prohibited by federal and state law and
 will not be tolerated at Saint Leo University.
 Saint Leo University will respond promptly to all complaints of discrimination, including
 retaliation and harassment. Violation of this policy can result in serious disciplinary action, up to
 and including expulsion for students or discharge for employees.

               2.1.3.1.1      Definition of “Discrimination”
 Discrimination is the adverse treatment of an individual in employment or academic decisions
 based on race, color, religion, credit, sex, national origin, age, disability, genetic information,
 military status, or veteran status.


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              2.1.3.1.2      Definition of “Retaliation”
 Retaliation is a form of discrimination. Retaliation is conduct causing any interference, coercion,
 restraint, or reprisal against a person complaining of discrimination or participating in the
 resolution of a discrimination complaint.

              2.1.3.1.3      Definition of “Harassment”
 Harassment is also a form of discrimination. Harassment is the creation of a hostile or
 intimidating environment, in which verbal or physical conduct, because of its severity and/or
 persistence, is likely to interfere significantly with an individual‘s work or education, or affect
 adversely an individual‘s living conditions.

          2.1.3.2         Sexual Harassment
 Sexual harassment of any type is prohibited by federal law and will not be tolerated at Saint Leo
 University. Retaliation against an individual making an informal or formal allegation of sexual
 harassment will be considered a separate incident of sexual harassment. All complaints, whether
 formal or informal, will be evaluated and investigated as appropriate.
 All faculty, staff and students have a right to be free from any form of sexual harassment. Sexual
 harassment in any situation is unjustifiable. It is particularly reprehensible when it exploits the
 trust desired in education and employment relationships. When the authority and power inherent
 in faculty relationships with their students, in supervisors with their employees, or in one peer
 over another is abused by sexual harassment of any type, there is a potential for great damage to
 the students, to employees, and to the educational and moral climate of the University.
 Individuals in positions of authority must be sensitive to the potential conflicts between personal
 relationships and professional responsibilities.
 Academic freedom should not be abridged by this policy. For example, when a faculty member
 lectures or leads a discussion on sexually related topics relevant (meaning both germane and
 pedagogically related to course and topic) to the course material, this is not subject to claims of
 sexual harassment. At the same time, academic freedom does not include the freedom to
 discriminate against or sexually harass an individual.

              2.1.3.2.1      Definition of “Sexual Harassment”
 Sexual harassment is defined as unwelcome sexual contact of any nature, communication (either
 verbal or pictorial) of a sexual or gender-based nature, or solicitation of sexual contact of any
 nature, when any of the above contacts or communications is not mutually agreeable to both
 parties and any of the following conditions apply:
 1. The submission to such contact, communication, or solicitation is made explicitly or
 implicitly a term or condition of an individual‘s employment or academic process;
 2. Submission to or rejection of such contact, communication, or solicitation by an individual
 is used or threatened as a basis for employment or academic decisions affecting such individual;
 3. Such contact, communication, or solicitation has the purpose or effect of being sufficiently
 severe, pervasive/persistent and objectively offensive that it could alter the conditions of
 education or employment, by interfering with an individual‘s work, academic performance,
 living conditions, or status.
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               2.1.3.2.2     Definition of “Hostile Environment”
 A hostile environment can constitute sexual harassment. The determination of whether an
 environment is ―hostile‖ must be based on all of the relevant circumstances. These
 circumstances could include:
 1.   The frequency of the conduct;
 2.   The nature and severity of the conduct;
 3.   Whether the conduct was physically threatening;
 4.   Whether the conduct was humiliating;
 5.   The effect of the conduct on the alleged victim‘s mental or emotional state;
 6.   Whether the conduct was directed at more than one person;
 7.   Whether the conduct arose in the context of other discriminatory conduct;
 8. Whether the conduct unreasonably interfered with the alleged victim‘s educational or work
 performance;
 9. Whether the statement is a mere utterance of an epithet which engenders offense in an
 employee or student, or offends by mere discourtesy or rudeness; and/or
 10. Whether the speech or conduct deserves the protections of academic freedom.

               2.1.3.2.3     Definition of “Retaliatory Harassment”
 Retaliatory harassment is defined as situations where any person retaliates using, for example,
 intimidation, threats, actual violence, ridicule, taunting, bullying, or ostracism against a person or
 their property, as a result of that person‘s decision to object and/or report sexual harassment.

               2.1.3.2.4     Examples of Sexual Harassment
 1. A professor suggests or insists that a student have sex with the professor in exchange for a
 good grade. This is what is known as ―quid pro quo,‖ i.e., an action taken in exchange for a
 perceived benefit.
 2. An employee repeatedly sends sexually oriented jokes on an email list the employee created,
 even when asked to stop, causing one recipient to avoid the sender on campus and in the
 residence hall in which they both live.
 3. Explicit sexual pictures are displayed in a professor‘s office, on the exterior of a residence
 hall door, or on a computer monitor in public space.
 4. Two supervisors frequently ―rate‖ several employees‘ bodies and sex appeal, commenting
 suggestively about their clothing and appearance.
 5. A professor engages students in discussions in class about their past sexual experiences, yet
 the conversation is not in any way germane to the subject matter of the class. The professor
 probes for explicit details, and demands that students answer, though they are clearly
 uncomfortable and hesitant.



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          2.1.3.3         Redress of Discrimination and Sexual Harassment Complaints
 Saint Leo University has established informal and formal procedures to resolve complaints
 involving discrimination and sexual harassment. It is the intent of the University to seek
 resolution by informal means whenever reasonably possible. Any complaint is best addressed as
 soon as possible. A demonstrable effort will be made to resolve complaints quickly and with an
 appropriate sensitivity to the privacy of those involved.
 Faculty, staff, or administration seeking information about these procedures should see the
 Director of Human Resources or the Equity Officer of the University, both of whom serve as
 resources to any person who has a discrimination or sexual harassment complaint or inquiry.
 Students seeking information about these procedures in regards to another student should see the
 Director of Residence Life. A student seeking information about these procedures in regards to
 an employee of Saint Leo University should contact the Director of Human Resources or the
 Equity Officer.
 The Equity Officer or Director of Human Resources can provide information on the informal and
 formal procedures for a discrimination or sexual harassment claim. Once a complaint is brought
 to the attention of these resources, one or both will act to investigate the allegations and issue a
 report. If an employee or student desires private consultation rather than institutional action, the
 employee or student is encouraged to seek out counselors or clergy, who may maintain
 confidentiality and have no legal mandate to investigate and remedy instances of discrimination
 or sexual harassment.
 1. All employees have a responsibility to report instances of discrimination or sexual
 harassment about which they have information to their supervisors or to the resources named
 above.
 2. Members of the University community who feel they have experienced discrimination or
 sexual harassment will usually be encouraged to first follow the informal procedure outlined
 below in subparagraph 2.1.2.3.1. If that procedure fails to provide satisfactory resolution of the
 complaint, and the complainant chooses to pursue the matter, the complainant may then follow
 the formal procedure as outlined in subparagraph 2.1.2.3.2. At any time that a complainant
 insists on a formal procedure as a first step, or when sexual harassment is physical, such as
 sexual assault, informal procedures should not be utilized.
 3.   Contact information for the Equity Officer can be found in the Human Resource Office.

              2.1.3.3.1      Informal Procedure
 1. Informal consultations or complaints are, except in unusual circumstances, initiated with the
 Equity Officer. Such initial contact will be confidential and options will be discussed. In the
 event that the Equity Officer is the subject of the complaint, the consultation or complaint shall
 be addressed directly with the Human Resources Office. The Director of Human Resources will
 then act in place of the Equity Officer throughout the proceedings.
 2. The complainant may be informed that several techniques exist to resolve the issue directly.
 Effective techniques include, but may not be limited to:
         a. Confronting the alleged harasser or discriminator to communicate feelings about
 the conduct at issue.


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         b. Writing a letter or memo to the alleged harasser or discriminator, indicating clearly
 what behaviors is in question, that those behaviors are unwelcome, and that they are expected to
 cease.
            c.   General sensitivity training sessions for reminders targeting the department of the
 accused.
 3. If the complaint does not involve physical assault, the complainant may be offered the
 option of mediation.
 4. If the complainant chooses assistance to pursue informal resolution, the Equity Officer will
 attempt immediately to resolve the complaint through investigation, and if appropriate, a meeting
 with the accused. If the complainant and the Equity Officer agree that such a meeting would not
 be effective or advisable under the circumstances, then they may immediately initiate the formal
 procedure.

                 2.1.3.3.2    Formal Procedure
 1. The complainant who chooses to initiate formal procedures must file with the Equity Officer
 or the Director of Human Resources a written signed complaint specifying the name(s) of the
 accused, the date(s) of the incident(s) in question, and a description of the offending conduct.
 This formal complaint must be filed within 180 days of the alleged discrimination or harassment,
 or of the termination of the Informal Procedure (see subparagraph 2.1.2.3.1), though extensions
 may be permitted upon request upon a showing of good cause.
 2. Except in unusual circumstances, within fourteen calendar days of the receipt of a formal
 complaint, the Equity Officer will review the complaint and determine whether it has merit on its
 face. If the complaint is without merit, it will be dismissed without further investigation, and the
 Equity Officer will promptly inform the complainant of this finding. The Equity Officer will
 keep a record of the complaint and his/her reason(s) for dismissal. A complainant may appeal a
 decision to dismiss the complaint by writing to the Assistant to the President. The Assistant to
 the President will review the record and either affirm or overrule the decision of the Equity
 Officer to dismiss. If the Assistant to the President affirms the Equity Officer‘s dismissal of the
 complaint, the decision is final and the matter shall be concluded. If the Assistant to the
 President overrules the Equity Officer and finds the complaint has merit, he/she will refer the
 complaint back to the Equity Officer for investigation.
 3. If the complaint is meritorious on its face, the Equity Officer will conduct an investigation
 and prepare a report. The report will summarize (1) the allegations of discrimination or sexual
 harassment against the accused, (2) the evidence supporting or refuting the charge, (3) the Equity
 Officer‘s interviews with the complainant and the accused (including any admissions), (4) and
 the Equity Officer‘s findings. The written report will be provided to the complainant, the
 accused, the appropriate supervisor (as determined in consultation with the Human Resources
 Office), and the Human Resources Office. The findings of the Equity Officer are not subject to
 appeal except as hereinafter provided.
 4. The supervisor and the Director of Human Resources will review the report prepared by the
 Equity Officer and, in the event of a finding of guilt, recommend appropriate sanctions against
 the accused to the proper Vice President. The Vice President will then take appropriate action to
 remedy the violation of policy, which shall include the institution of appropriate sanctions
 against the accused as set forth in subparagraph 2.1.2.3.3.

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 5. The accused may file an appeal to the President within ten days of the issuance of sanctions
 by the Vice President. The grounds for appeal shall be limited to (1) alleged violations of the
 procedures set forth in this policy and (2) the appropriateness of the sanctions imposed on the
 accused. The President shall review the Equity Officer‘s report and other appropriate records
 and, in the event of substantial procedural irregularities, will remand the matter back to the
 Equity Officer for reconsideration. If there are no substantial procedural irregularities, the
 President shall accept or modify the sanctions imposed by the Vice President. The President‘s
 decision is final and shall not be subject to further review or grievance.
 6. Minor deviations from these prescribed procedures shall not render a decision invalid.
 These procedures are available only so long as neither party has filed or initiated a proceeding
 with a court or agency outside of the University, unless both parties mutually agree to continue
 the internal procedures set forth in this policy.

               2.1.3.3.3       Sanctions and Remedies
 If the Equity Officer finds that the accused has violated the University‘s discrimination or sexual
 harassment policy, the violator will be subject to reasonable disciplinary or corrective action
 depending on the severity of the offense. Sanctions and remedies may include, but are not
 limited to, a letter of reprimand, a formal warning, suspension or termination of employment, or
 dismissal from the University in the case of a student violator.
 If the Equity Officer determines that inappropriate actions or behaviors have taken place, but not
 to the extent of discrimination or sexual harassment as defined in this policy, the University
 reserves the right to require that either or both parties undergo training, counseling, monitoring,
 or other such remedy that is determined to be appropriate to the findings.

          2.1.3.4          Confidentiality
 The University will strive to protect, to the greatest extent possible, the confidentiality of persons
 reporting discrimination or sexual harassment, and of those accused of discrimination or sexual
 harassment. Because the University has an obligation to address discrimination and sexual
 harassment, the University cannot guarantee complete confidentiality where it would conflict
 with the University‘s obligation to investigate meaningfully or, where warranted, take corrective
 action. Even when some disclosure of the University‘s information or sources is necessary, it
 will be limited in scope to the extent possible. The University will, to the extent permitted by
 law, keep confidential all records of complaints, responses and investigations. The records
 maintained by the Equity Officer shall be available only to the Equity Officer and, to the extent
 necessary, to administrators and other supervisors charged with responding to allegations of
 discrimination or sexual harassment. Allegations of discrimination or sexual harassment shall
 not be placed in student records or personnel files unless, after appropriate investigation, such
 allegations have been sustained. Records of allegations maintained by the Equity Officer which
 do not lead to formal hearings or personnel actions will be discarded after five years unless there
 are additional, more recent complaints against the same person. Any records maintained by the
 Equity Officer concerning an allegation about which an accused person was not given reasonably
 timely notice and an opportunity to respond shall not be used to justify or enhance a sanction,
 other than an oral or written warning, imposed for a different instance of harassment.



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          2.1.3.5       Non-Reprisal Clause
 Neither the Equity Office, the Director of Human Resources, nor any members of the University
 community involved in the investigation of a discrimination or sexual harassment complaint
 shall be subject to interference or reprisal in their classes or jobs. Disciplinary action may be
 taken against any employee who retaliates against the complainant for filing a complaint.

          2.1.3.6       Hostile Environment in Absence of Complaint
 If the University has credible notice, either direct or indirect, of possible discrimination or sexual
 harassment of a member of its community, or notice of a hostile environment, then it will take
 immediate and appropriate steps to investigate or otherwise determine what occurred and take
 steps reasonably calculated to end any sexual harassment or discrimination, eliminate a hostile
 environment if one has been created, and prevent sexual harassment or discrimination from
 occurring again.

          2.1.4     Consensual Relations Policy (rev. 5/27/2009)
 Because of the potential for abuse or the appearance of abuse and the inherent differential in
 authority, Saint Leo University prohibits the following romantic and/or sexual relationships:
    1.    A relationship between university employee and a student currently enrolled as an
         undergraduate at Saint Leo University.
    2.    A relationship between any university employee and a graduate student, whom the
         employee advises, evaluates, educates, counsels, coaches or supervises in any way.
    3.    A relationship between any university employee and any employee whom the employee
         supervises, evaluates, directs, manages, has hiring/firing or salary authority over.
 This prohibition does not apply to pre-existing relationships. Exceptions to this prohibition will
 be considered by the Office of Human Resources on a case by case basis. If an employee has had
 or has a consensual relationship with someone who may be hired or moved into his/her line of
 authority, he/she must give advance notice to the appropriate supervisor.

          2.1.5     Family Education Rights and Privacy Act
 In accordance with FERPA, Saint Leo University allows access to a student‘s educational
 records to all University officials who have a legitimate educational interest in the student‘s
 records. The University does not disclose or allow access to any information from a student‘s
 educational record to anyone outside the University except:
 1. To officials of another institution in which the student intends to enroll;
 2. To authorized representatives of the Comptroller General of the United States, the Secretary
    of the United States, or state educational authorities;
 3. To determine eligibility or for enforcement of financial aid programs;
 4. To state agencies which require disclosure under state laws existing before November 19,
    1974;
 5. To organizations conducting certain studies for or on behalf of the University;
 6. To accrediting organizations to carry out their functions;
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 7. To parents of a dependent student, as defined in Section 152 of the Internal Revenue Code of
    1954;
 8. To comply with a judicial order or lawful subpoena;
 9. To appropriate parties in a health or safety emergency;
 10. Directory information as designated by the University;
 11. As otherwise allowed by law; or
 12. When the student has provided written consent.
 For all outside disclosures of information which are made without the written consent of the
 student, the University maintains a record in the student‘s file of the name of the party who
 obtained the information and the legitimate interest which the person had in obtaining the
 information.
 The University has designated the following as directory information: student name, address,
 telephone number, date and place of birth, major, minor, dates of attendance, degrees, awards
 and honors received, the most recent educational institution attended, participation in recognized
 activities, and height and weight of members of athletic teams. As stated above, directory
 information may be released without the student‘s prior written consent unless the student has
 requested that directory information be withheld by completing a Request to Withhold Directory
 Information Form which may be obtained in the Office of the Registrar or in the Regional
 Continuing Education Center Office. The request will remain on file until withdrawn by the
 student.
 Students are annually notified of their rights under the act by publication in the class schedules.
 Students have the right to inspect and review information contained in their educational records,
 to challenge the contents of their educational records, to have a hearing if the outcome of the
 challenge is not satisfactory, and to submit explanatory statements for inclusion in their files if
 the decision of the hearing is unsatisfactory. Students wishing to review their educational
 records must make written requests to the Registrar listing the items of interest. The records will
 be provided within 30 days of the request. Students may request that copies be made of their
 records with charges being assessed at the prevailing rate set by the Registrar.
 Educational records do not include records of instructional, administrative, and staff personnel
 which are the sole possession of the maker and are not accessible or revealed to any individual;
 records of the security department as they pertain to law enforcement; student health or
 psychological records; employment records; or alumni records which do not relate to the person
 as a student. A licensed physician selected by the student may review health records. In
 addition, students do not have the right to inspect or review the financial information submitted
 by their parents; confidential letters and recommendations to which the right of inspection has
 been waived; and educational records containing information about more than one student, in
 which case students will be permitted access only to the parts of the record that pertain to them.
 Students who believe that their educational records as maintained by the University contain
 information that is inaccurate or misleading, or is otherwise in violation of their privacy or other
 rights may request that the Registrar amend the records. The Registrar will review the request
 and render a written decision within 30 days of the request. If the student‘s request is denied, the
 student may request a formal hearing in writing. The hearing panel will be designated by the
 Vice President for Academic Affairs and will schedule a hearing within 30 days of the student‘s

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 request. The student will be provided with a reasonable notice of the date, place, and time of the
 hearing. At the hearing, the student may present evidence relevant to the issues and may be
 assisted by persons of their choice, including attorneys, but at their own expense. The decision
 of the hearing panel is final and will be based solely on the evidence presented at the hearing.
 The decision will include a summary of the evidence and the reasons for the decision and will be
 forwarded to the student and all interested parties. If the decision requires that the student‘s
 record be amended, the appropriate University official responsible for maintaining the record
 will correct the record. If the student is dissatisfied with the decision of the panel, the student
 may place a statement in the student‘s educational record commenting on the information in the
 record. Such statement will be released whenever the record is disclosed.

          2.1.5.1        Student Record Release under the Solomon Amendment

 The Solomon Amendment is a federal law that mandates colleges and universities receiving
 federal financial aid funding to provide student recruiting information upon request by military
 recruiting organizations. The records and information released by the University is limited to
 military recruiting purposes only. The request for information must be in writing on letterhead
 that clearly identifies the military recruiting organization. Military recruiters must be from one
 of the following military organizations:
 1. Air Force;
 2. Air Force Reserve;
 3. Air Force National Guard;
 4. Army;
 5. Army Reserve;
 6. Army National Guard;
 7. Coast Guard;
 8. Coast Guard Reserve;
 9. Navy;
 10. Navy Reserve;
 11. Marine Corps; and
 12. Marine Corps Reserve.
 The release of student recruiting information follows the FERPA guidelines defining student
 directory information (see above). Students are not permitted under federal law to restrict the
 release of this information specifically to military organizations, but if students withhold the
 release of directory information generally, then the University may not release this information
 to military organizations. The directory information released is limited to the current semester or
 the previous semester. If the request is received between semesters, the requestor must specify
 previous semester or upcoming semester. Further, students must be in an enrolled status (this
 includes both students with incomplete and complete registration status).




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          2.1.6     Institutional Policies on Disabilities
 The primary mission of Human Resources is to assist individuals with disabilities in receiving
 reasonable accommodations as employees or applicants. The office is committed to equal
 employment opportunity. The office is also committed to increasing the awareness and
 responsiveness of the University community to students with disabilities. Each member of the
 University community contributes to the diversity and wealth of the whole.

          2.1.6.1         Employees with Disabilities
 See Volume III, Subsection 3.3.7.

          2.1.6.2         Students with Disabilities
 Section 504 of the 1973 Federal Rehabilitation Act and the 1990 American with Disabilities Act
 (ADA) require that Saint Leo University makes reasonable modifications of policies and
 practices and provide certain individualized services to otherwise qualified students with
 disabilities. In the spirit of these federal mandates and because of a commitment to education,
 Saint Leo University assists those who, although disabled in some way, are potentially capable of
 the successful completion of a degree program. Individuals with disabilities may include, but are
 not limited to, those with learning disabilities (including Attention Deficit Disorder), visual or
 auditory impairments, speech impairments, mobility impairments, emotional illness, head trauma
 or medical conditions that substantially limit one or more major life activities as specified in the
 law. Specific accommodations will be decided on a case-by-case basis, in accordance with
 federal law, depending on the type and extent of the disability. Please refer to Appendix 2.1.5.2
 for specific policies and procedures addressing student with disabilities.

          2.1.6.3         Service Animal Policy
 Service animals are animals trained to assist people with disabilities in the activities of normal
 living. The Americans with Disabilities Act (ADA) defines service animals as ―any animal
 individually trained to do work or perform tasks for the benefit of an individual with a disability,
 including, but not limited to, guiding individuals with impaired vision, alerting individuals who
 are hearing impaired to intruders or sounds, providing minimal protection or rescue work,
 pulling a wheelchair or fetching dropped items.‖ If an animal meets this definition, it is
 considered a service animal regardless of whether it has been licensed or certified by a state or
 local government or a training program. Saint Leo University complies with the ADA in
 allowing use of service animals. However, because of health and safety concerns, use of such
 animals is regulated by Human Resources.

              2.1.6.3.1       Definitions
 1. Pet: A domestic animal kept for pleasure or companionship. Pets are not permitted in
    University facilities.
 2. Service Animal: Any animal individually trained to do work or perform tasks for the benefit
    of a person with a disability. Service animals are usually dogs, but may be monkeys. A few
    other animals have been presented as service animals. A service animal is sometimes called
    an assistance animal. If there is a question about whether an animal is a service animal,
    contact Human Resources.
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 3. Types of Service Dogs:
    a. A Guide Dog is a carefully trained dog that serves as a travel tool for persons with severe
       visual impairments or who are blind.
    b. A Hearing Dog is a dog that has been trained to alert a person with significant hearing
       loss, or who is deaf, when a sound, e.g., knock on the door, occurs.
    c. A Service Dog is a dog that has been trained to assist a person who has a mobility or
       health impairment. Types of duties the dog may perform include: carrying, fetching,
       opening doors, ringing doorbells, activating elevator buttons, steadying a person while
       walking, helping a person up after the person falls, etc. Service dogs are sometimes
       called assistance dogs.
    d. A SSigDog is a ―Social Signal‖ dog trained to assist a person with autism. The dog may
       alert the partner to distracting repetitive movements common among those with autism,
       allowing the person to stop the movement (e.g., hand flapping). Recognizing familiar
       persons in a crowd, steering around a mud puddle, or responding to others‘ social signals
       are possible roles for a SSigDog. A person with autism may have problems with sensory
       input and need the same support services from a dog that a dog might give to a person
       who is blind or deaf.
    e. Seizure Response Dog is a dog trained to assist a person with a seizure disorder. How the
       dog serves the person depends on the person‘s needs. The dog may stand guard over the
       person during a seizure or the dog may go for help. A few dogs have somehow learned
       to predict a seizure and warn the person in advance.

              2.1.6.3.2     Requirements for Faculty, Staff, and Students
 1. Allow a service animal to accompany the partner at all times and everywhere on campus,
    except where service animals are specifically prohibited. The courts have upheld the rights
    of service animal owners to take animals into food-service locations.
 2. Do not pet a service animal; petting a service animal when the animal is working distracts the
    animal from required tasks.
 3. Do not feed a service animal. The service animal may have specific dietary requirements.
    Unusual food or food at an unexpected time may cause the animal to become ill.
 4. Do not deliberately startle a service animal.
 5. Do not separate or attempt to separate a partner/handler from the service animal.

              2.1.6.3.3     Requirements of Service Animals and Their Partners/Handlers
 1. Identification and Other Tags: The animal must have tags or some other method of indicating
    ownership and rabies clearances. It is suggested that service animals be fitted with some
    identifying equipment such as a harness, cape or backpack as appropriate. Minimal
    equipment is a leash by which the animal is kept under control.
 2. Health and Vaccinations: The animal must be clean and in good health. Animals to be
    housed in campus housing must have an annual clean bill of health from a licensed
    veterinarian. Dogs must have had a general maintenance vaccination series against rabies,
    distemper, and parvo virus. Other animals must have had the appropriate vaccination series
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       for the type of animal. All vaccinations must be current. Dogs must wear a rabies
       vaccination tag. Proof of vaccination must be filed with Human Resources.
 3. Leash: The animal must be on a leash at all times when outside of a residential room.
 4. Under Control of Partner/Handler: The partner/handler must be in full control of the animal
    at all times. The care and supervision of a service animal is the sole responsibility of its
    partner/handler. The animal must be maintained and used at all times in ways that do not
    create safety hazards for other persons.
 5. Cleanup Rules:
       a. Always carry equipment and bags sufficient to clean up the animal‘s feces.
       b. Properly dispose of the feces.
       c. Persons who are not physically able to pick up and dispose of feces are responsible for
          making all necessary arrangements for assistance. The University is not responsible for
          these services.
 6. Training Certification: If an animal is certified by a training program stating that the animal
    has successfully completed training, a copy of the certificate must be filed with Human
    Resources.

                2.1.6.3.4      Conditions for Keeping a Service Animal
 1. Disruption: The partner of an animal that is unruly or disruptive (e.g., barking, running
    around, aggressiveness toward others, bringing attention to itself) may be asked to remove
    the animal from University facilities. If the improper behavior happens repeatedly, the
    partner may be told not to bring the animal into any University facility until the partner takes
    significant steps to mitigate the behavior. Mitigation may include muzzling a barking animal
    or refresher training for both the animal and the partner.
 2. Ill Health: Service animals who are ill shall not be taken into public areas. A person with an
    ill animal may be asked to leave University facilities.
 3. Registration Required: All service animals must be registered with the Human Resources.
    Failure to register or maintain a service animal as required above may subject the
    owner/partner to fines or refusal by the University for the animal to remain on campus.

 2.2        Health Policies

            2.2.1     Alcohol and Drug Policies

            2.2.1.1         Drug Free Workplace Policy
 Drug abuse in the workplace endangers the health and safety of the public and of University
 employees and students. Saint Leo University strives to maintain a drug-free workplace -
 unlawfully possessing, dispensing, manufacturing, or using illegal or controlled substances is
 prohibited on University property, in University vehicles, or while conducting University
 business. Appropriate corrective action up to and including termination of employment, will be
 taken against any employee who violates the University‘s Drug Free Workplace policy.

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 As a condition of continued employment, employees must be drug-free in the workplace, and
 comply with the terms of this policy. The University will provide notification, education,
 assistance, and training as required by law.
 This policy is in addition to the University‘s policy on substance abuse testing for security
 personnel and vehicle operators. See Volume III, Subsection 3.3.5.
 The University reserves the right to suspend and/or terminate an employee arrested, charged
 and/or convicted of unlawful possession, dispensing, manufacturing, sale or use of an illegal or
 controlled substances.

              2.2.1.1.1    Drug Statute Convictions
 An employee who is convicted of violating a drug law in the workplace must report the
 conviction to the appropriate department head within five days. Failure to report a conviction
 will be subject to corrective action up to and including termination of employment.
 If the employee is working on a federal government grant or contract, the department head must
 inform the appropriate Vice President, who will in turn report the conviction to the Human
 Resources Department and the President.
 The report of the conviction, when applicable, will be made to the federal government within ten
 days of notification.

              2.2.1.1.2    Corrective Action
 1. Distributing Illegal Drugs: The University will terminate the employment of any individual
    who is convicted of unlawful manufacture, distribution, dispensation, or possession with
    intent to distribute or dispense an illegal and/or controlled drug in the workplace within 30
    days of receiving notice of the employee‘s conviction.
 2. Using Illegal Drugs: The University will take corrective action against any individuals
    convicted of possession with intent to use an illegal and/or controlled drug in the workplace
    within 30 days of receiving notice of the employee‘s conviction. Corrective actions may
    include the termination of employment - lesser sanctions may require the employee to
    satisfactorily participate in an approved drug abuse assistance or rehabilitation program.
    In either case (using or distributing illegal drugs), the University may conduct an inquiry and
    impose a sanction using the procedures outlined below under Administrative Review.
 3. Administrative Review: When a conviction is reversed for procedural irregularity, the
    University may conduct an inquiry and take appropriate corrective action. Inquiries
    concerning faculty members will be conducted in accordance with the guidelines as set forth
    in the Collective Bargaining Agreement and Volume IV, whichever is applicable.
    The University may also conduct inquiries and impose corrective action sanctions including
    termination in cases of drug-related activities in the workplace for which an employee has
    not been criminally convicted. The University will follow normal procedures governing
    faculty and staff misconduct and may take corrective action up to and including termination
    of employment.
 For more information concerning the University‘s Drug-free Workplace policy, contact the
 Human Resources.

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         2.2.1.2       Student Alcohol and Drug Policies
 See Volume VI, Subsection 6.2.1.

          2.2.2    Exposure to Blood Borne Pathogens
 Saint Leo University in compliance with 29 CFR 1910.1030 monitors the occupational exposure
 of each employee to blood or other potentially infectious materials (OPIM). Occupational
 exposure is defined by OSHA as the ―reasonably anticipated skin, eye, mucous membrane, or
 parenteral contact with blood or other potentially infectious materials that may result from the
 performance of an employee‘s duties.‖

         2.2.2.1       Review/Update
 This plan is reviewed annually and updated accordingly with regards to University policy
 changes and changes in OSHA regulations.

         2.2.2.2       Exposure Determination
 The occupational exposure of each position is reviewed by the Office of Risk Management. All
 exposure determinations are made without regard for personal protective equipment (PPE).

 All employees belonging to the following job classifications can anticipate occupational
 exposure to blood or OPIM.
       Athletic Trainers
       Athletic Coaches
       Fitness Center Staff
       Pool Staff/Lifeguards
       Campus Security and Safety
       Health Center
 Some employees belonging to the following classification can anticipate an occupational
 exposure to blood or OPIM.
       Campus Life Staff
       Staff certified through Saint Leo Professional Development in AED/CPR and First
       Training

 The following tasks/procedures or groups of tasks and procedures provide occupational
 exposure:
        Responding to accidents on campus
        Responding to emergency events on campus


         2.2.2.3       Engineering and Work Practice Controls
 Engineering and work practice controls are utilized to eliminate or minimize exposure to
 employees. Where occupational exposure remains after institution of these controls, personal
 protective equipment must also be used. The following engineering controls are used at Saint
 Leo University:

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        sharps containers, splash guards, biosafety cabinets, mechanical pipetting devices, safety
        equipment for centrifuges, needleless devices
        Hand washing facilities are located throughout the campus. Each restroom is equipped
        with sinks, soap, and towels or electric dyers.
        In areas of very high likelihood of exposure, antiseptic hand sanitizer and/or antiseptic
        towelettes will be available. However, this does not substitute hand washing. Employees
        exposed to blood or OPIM should wash hands and other areas of contact as soon as
        possible.
        Additionally, mucous membranes that have come in contact with blood or OPIM must be
        flushed with water as soon as possible. Laboratories are equipped with sinks. Eyewash
        stations and showers can be found at the following locations:
                     DeChantal Hall 125
                     Lewis Hall 208 (eye wash only)
                     Lewis Hall 217
                     Lewis Hall 224 (eye wash only)
                     Lewis Hall 308
                     Lewis Hall 320


          2.2.2.4      Sharps
 Contaminated needles and other contaminated sharps must be discarded as soon as possible.
 They cannot be recapped, bent, removed, sheared or purposely broken. Do not remove needles
 from the syringe. Needles and other contaminated sharps may only be recapped, bent or
 removed unless there is no alternative or the action is required for a specific medical or dental
 procedure. Contaminated sharps must be placed directly into a red sharps container as soon as
 possible.

 Sharps containers provided by Saint Leo University are closable, puncture resistant, colored
 fluorescent orange-red with a biohazard label. The sharps containers are leakproof on the sides
 and bottom. Sharps containers are located
 at the following locations:
         Student Health Center, DeChantal Hall room 125
         Lewis Hall Room 208
         Lewis Hall Rome 217
         Athletic Training Room in Bowman Center

 Additional sharps containers can be requested through Student Health Center in the event they
 are needed in other locations.

 When a sharps container is close to becoming full please contact the Student Health Center to
 schedule a pick up. Close the container to prevent overflowing and replace with a clean,
 decontaminated sharps container in the upright position. All sharps containers will remain closed
 during removal, transport, or shipment. If the primary storage container is contaminated, the
 container must be placed in a secondary container which must be colored fluorescent orange-red
 and labeled with the biohazard symbol. If the primary storage container may leak, the container
 must be placed in a secondary container which must be colored fluorescent orange-red and
 labeled with the biohazard symbol.
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 Contaminated sharps that are reusable shall be placed in appropriate containers until they can be
 properly decontaminated. However, Saint Leo University does not and will not require
 employees to reach by hand into containers storing reusable contaminated sharps. The University
 will provide tongs and or forceps.

 Place all needles and sharps in properly labeled sharps disposal containers. These must be easily
 accessible to personnel, replaced before getting too full, puncture resistant, leak-proof, and
 closeable to assure containment.
      DO NOT throw sharps in wastebaskets, leave on work surfaces, or pockets of lab coats.
      Laundry, housekeeping, custod
 ial, and waste hauling personnel are at risk of acquiring a needle-stick due to carelessness on the
 part of others.


          2.2.2.5       Sharps Injury Log
 Any employee who is injured as a result of coming in contact with sharp that penetrates the skin
 must be reported to Human Resources All information regarding the injury will be recorded and
 maintained by Human Resources. The log will contain the following information:
        Type and brand of device involved
        Department or work area where exposure incident occurred
        Explanation of how it occurred

 Please see Appendix B for the Sharps Injury Log and Sharps Injury Form.


          2.2.2.6       Work Area Restrictions
 Food and drink are prohibited in any area where there is a reasonable likelihood of occupational
 exposure. In addition, all food and drink is prohibited from being stored in any refrigerators,
 freezers, shelves, cabinets or on countertops or benchtops where blood or OPMI are present.

 Additionally, it is prohibited to apply cosmetics or lip balm, handle contact lenses, or smoke in
 work areas where there is a reasonable likelihood of occupational exposure.


          2.2.2.7       Mouth Pipetting/Suctioning of Blood or OPIM
 All procedures will be conducted in a manner that will minimize splashing, spraying, splattering,
 and generation of droplets of blood or other potentially infectious materials. Due to this fact,
 mouth pipetting or suctioning of blood or OPIM is prohibited.


          2.2.2.8       Blood or OPIM specimens
 Specimens of blood or OPMI will be placed in a container which prevents leakage during
 collection, handling, processing, storage, transport or shipping. The container must be closed
 prior to storage, transport or shipping. The container will be colored fluorescent orange-red and
 labeled with the biohazard symbol.
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 If the primary storage container is contaminated, the container must be placed in a secondary
 container which must be colored fluorescent orange-red and labeled with the biohazard symbol.
 If the primary storage container can be punctured, the container must be placed in a secondary
 container which must be colored fluorescent orange-red and labeled with the biohazard symbol.


          2.2.2.9      Contaminated Equipment
 Equipment that has become contaminated with blood or other potentially infectious materials
 shall be examined prior to servicing or shipping and shall be decontaminated as necessary unless
 decontamination of the equipment is not feasible. Equipment that cannot be wholly
 decontaminated will be labeled with a fluorescent orange-red label with a biohazard label and list
 the portions that were not decontaminated. Any individual who becomes aware of contaminated
 equipment must report the contamination to his/her supervisor. The supervisor is responsible for
 coordinating with Housekeeping or other designated staff to have the equipment decontaminated.


          2.2.2.10     Personal Protective Equipment
 Saint Leo University provides personal protective equipment (PPE) to meet the exposure needs
 of its employees. All PPE will be provided free of cost to the employee. The University will only
 provide equipment that does not permit blood or OPIM to pass through to or reach the
 employee‘s skin or mucous membranes under normal conditions of use and for the duration of
 time for which the protective equipment will be used.

 If an employee declines the use of PPE, under extraordinary circumstances, and it was the
 employee‘s professional judgment in the specific instance it use would have prevented the
 delivery of health care of public safety services or would have posed an increased hazard to the
 safety of the worker or co-worker, the Office of Risk Management will investigate and document
 the event in order to determine what, if any changes, can be made to prevent future similar
 occurrences.

 Personal protective equipment will be stored in the following areas:
        Campus Security and Safety
        Health and Wellness Center
        Athletic Training Room
        Fitness Center
        Pool Office


          2.2.2.11     Cleaning, Laundering, and Disposal of Personal Protective
                       Equipment
 All personal protective equipment will be cleaned, laundered, repaired, replaced and/or disposed
 of by the employer at no cost to employees. Immediately (or as soon as feasible) remove
 garments penetrated by blood. All personal protective equipment will be removed prior to
 leaving the work area. The following protocol has been developed to facilitate leaving the
 equipment at the work area:

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        Clothing of assorted sizes will be stored at campus safety
        Biohazard bags will be stored at campus safety
        Employees who have come in contact with blood or OPIM
           o Remove PPE and place in small biohazard bag
           o Remove affected clothing and place in dissolvable laundry bag. The laundry bag
                containing clothing should then be placed in a large biohazard bag
        Biohazard bags (other than those containing clothing) will be collected by the Student
        Health Center and disposed of properly.
        Laundry will be cleaned by trained personnel using Saint Leo washing facilities in the
        Bowman Center in the method prescribed by the Center for Disease Control by the
        Athletic Training department.


          2.2.2.12      Gloves
 Gloves shall be worn where it is reasonable to anticipate employees will have hand contact with
 blood, other potentially infectious materials, non-intact skin, and mucous membranes.
 Disposable gloves are not to be washed or decontaminated for re-use and are to be replaced as
 soon as practical when they become contaminated. If they are torn, punctured, or when their
 ability to function as a barrier is compromised, they need to be replaced as soon as feasible.
 Utility gloves may be decontaminated for re-use provided that the integrity of the glove is not
 compromised. Utility gloves are to be discarded if they are cracked, peeling, torn, punctured, or
 exhibit other signs of deterioration or when their ability to function as a barrier is compromised.


          2.2.2.13      Eye and Face Protection
 Masks in combination with eye protection devices, such as goggles or glasses with solid side
 shields, or chin length face shields, are required to be worn whenever splashes, spray, splatter, or
 droplets of blood or other potentially infectious materials may be generated and eye, nose, or
 mouth contamination can be reasonably anticipated.


          2.2.2.14      Protective Clothing
 Appropriate protective clothing such as, but not limited to, gowns, aprons, lab coats, clinic
 jackets or similar outer garments shall be worn in occupational exposure situations. The type and
 characteristics will depend on the task and degree of exposure anticipated. In addition surgical
 caps or hoods and/or shoe covers of boots shall be worn in instances when gross contamination
 can reasonably be anticipated.


          2.2.2.15      Housekeeping
 Saint Leo University outsources its housekeeping duties to a third party to ensure worksites are
 maintained in a clean and sanitary condition. Housekeepers are scheduled daily to clean all areas
 of campus. However, in the event occupational exposure occurs it must be reported immediately
 to ensure speedy decontamination.



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 All equipment, working, and environmental surfaces will be decontaminated appropriately once
 housekeeping or other appropriate designated person is notified the surface has come in contact
 with blood or OPIM or at the end of the working day.

 Protective coverings over equipment, working, or environmental surfaces will be removed,
 replaced, and disposed of properly when they become overtly contaminated or it is likely they
 became contaminated during the working shift.

 All bins, pails, cans, and other similar receptacles are inspected and decontaminated on a regular
 scheduled basis. Furthermore, these items are decontaminated as soon as feasible upon visible
 contamination.


          2.2.2.16      Laundry Procedures
 Laundry contaminated with blood or other potentially infectious materials must be handled as
 little as possible. Such laundry must not be sorted or rinsed in the area of use, but placed directly
 into laundry bags.

 All employees who handle contaminated laundry will utilize personal protective equipment to
 prevent contact with blood or other potentially infectious materials. If laundry is wet with
 contaminated fluids, make sure the laundry bag will contain the fluid. If the bag leaks, place it
 inside another plastic bag.

 Laundry will be cleaned at the Bowman Center using the method prescribed by the Center for
 Disease Control by the Athletic Trainer department. Those individuals cleaning contaminated
 laundry will wear protective gloves and fluid resistant aprons or gowns while handling and
 sorting soiled linen.


          2.2.2.17      Hepatitis B Vaccination
 All employees who have potential exposure to blood or other potentially infectious materials will
 be offered the hepatitis B vaccine, at no cost. The vaccine will be offered within 10 working
 days of their initial assignment to work involving the potential for occupational exposure to
 blood or other potentially infectious materials. If the employee has previously received a
 hepatitis B or the vaccine is contraindicated for medical reasons, then the employee will not be
 provided the hepatitis B vaccine.

 Though, some individuals naturally carry immunity to hepatitis B, Saint Leo University will not
 ask an employee to submit to prescreening before providing the vaccination.

 Those employees who decline the vaccination must sign the waiver in Appendix A. Any
 employee who has previously declined the vaccination will still be eligible for the shot free of
 charge provided the employee still holds a position with occupational exposure.

 Additionally, if at any time a booster shot is deemed necessary for the hepatitis vaccination
 serious, Saint Leo University will provide this at no cost to the employee as well.

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          2.2.2.18     Post Exposure Evaluation and Follow Up
 Employees exposed to blood or OPIM must notify the Human Resource department as soon as
 feasible. Any employee exposed to blood or OPIM during the course of work, will received
 medical evaluations, follow up monitoring, and prophylaxis at no cost to the employee. This will
 be monitored by a licensed healthcare professional and will be provided following the
 recommendations of the US Public Health Services. The University will also ensure that all tests
 are conducted at an accredited laboratory at no cost to the employee.

 Upon notification of an exposure of an exposure incident, the University shall immediately make
 available to the exposed employee a confidential medical evaluation and follow up including
 documentation of the route(s) of expose, and the circumstances under which the exposure
 occurred, identification and documentation of the source individual, unless it is infeasible or
 prohibited by state or local law to do so.

 The sources blood shall be tested as soon as feasible after consent is obtained in order to
 determine HBV or HIV infectivity. If legally required consent cannot be obtained, the University
 will provide this information to the employee. However, if legal consent is not required, and the
 sources blood is available it shall be tested and the result documented. If the source is already
 known to be infected with HIV or HBV testing is not required.

 Results of the test will be provided to the impacted employee. The employee will be informed of
 applicable laws and regulations concerning disclosure of the identity and infectious status of the
 source individual. The employee‘s blood will be collected for testing as soon a possible after
 consent is obtained. The blood will be held for baseline HIV serologic testing for a maximum of
 90 days. The employee can elect for that sample to be tested during those 90 days.

 Employees will also be provided free of charge any post-exposure prophylaxis when
 recommended by the US Public Health Service, Counseling, and evaluation of reported illnesses.


          2.2.2.19     Information provide to Healthcare Professional
 The healthcare professional responsible for the employee‘s hepatitis B vaccination will be
 provided:
        a copy of 29 CFR 1910.1030
        description of the exposed employee‘s duties as they relate to the exposure incident
        documentation of route(s) of exposure and circumstance under which exposure occurred
        results of source individual‘s blood testing, if available
        all medical records relevant to the appropriate treatment of the employee including
        vaccination status

 Healthcare Professional Written Opinion
 The University shall obtain and provide the employee with a copy of the evaluating healthcare
 professional‘s written opinion within 15 days of the completion of the evaluation.

 For Hepatitis B vaccination:
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 The opinion shall be limited to whether the Hepatitis B vaccination is indicated for an employee
 and if the employee has received such vaccination.

 For Post Exposure Evaluation:
 The opinion shall be limited to the following:
        Employee informed of results
        Employee has been told about medical conditions resulting from exposure to blood or
        OPIM which require further evaluation or treatment
 **All other information shall remain confidential and will not be included in the written report.


          2.2.2.20     Training
 All employees with occupational exposure will be required to participate in an annual training
 program at no cost. Employees will be trained upon assignment to position with occupational
 exposure and will then be trained once annually thereafter by a knowledgeable individual.

 During the training session employees will:
        Be provided an accessible copy of 29 CFR 1910.1030,
        Background information on blood borne pathogens and their symptoms
        Modes of transmission
        Brief explanation of the exposure control plan and how to obtain a copy
        Appropriate methods for recognizing task and other activities that may involve exposure
        to blood or OPIM
        Explanations of use and limitations of methods to prevent and reduce exposure
        Types, proper use, location, removal, handling, decontamination and disposal of personal
        protective equipment
        Reason for selection of personal protective equipment
        Hepatitis B vaccination information, including its efficacy, safety, method of
        administration, benefits of being vaccinated, and it will be offered free of charge
        Appropriate actions to take and persons to contact in an emergency involving blood or
        OPIM
        Procedure to follow if an exposure incident occurs, including the method of reporting the
        incident and the medical follow up that will be made available
        Information on the post exposure evaluation and follow up that the University is required
        to provide for the employee following an exposure incident
        Explain signs and labels
        Question and Answer session


          2.2.2.21     Record Keeping
 For information on maintain health records and training records pertaining to the plan please see
 the Document Retention and Destruction Policy in the Policy Manual.




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            2.2.3   Health Insurance Portability and Accountability Act (HIPAA)
 The University complies with the Health Insurance Portability and Accountability Act (HIPAA)
 which governs employee and students‘ medical records, their review, and their dissemination.
 For a copy of the University‘s entire HIPAA policy, please contact Human Resources or the
 Health Center.

            2.2.4   Hepatitis B Vaccine (HBV)
 This policy is currently under consideration.

            2.2.5   Serious Disease Policy
 It is the policy of Saint Leo University to allow each student or employee to participate as a
 member of the University community as fully as possible. Cases of AIDS or other
 communicable diseases will be handled by weighing the individual‘s right to privacy, ability to
 function normally, the potential risk to other members of the University community, and the
 most current medical and legal information. A demonstrable effort will be made to protect a
 person‘s confidentially, except where required by law or deemed strictly necessary for the
 protection of other individuals.
 Any person with AIDS or other communicable diseases shall report the condition immediately to
 the Health Center. Individuals who believe they may have been exposed to the virus or is at risk
 should seek immediate assistance from the Health Center. It is the desire of Saint Leo University
 to assist all members of its community fairly and supportively. For more information about
 AIDS, other communicable diseases, or this policy, contact the Health Center, Human
 Resources, or Student Services.

            2.2.6   Smoking Policy (rev 5/27/2009)
 To promote the health and safety of employees, students, and visitors, the University maintains
 an environment that is reasonably free from tobacco smoke. To this end, the University adheres
 to applicable laws concerning smoking and has established smoking regulations to help protect
 the health of employees, students, and visitors. This includes the restrictions on smoking
 contained in the Florida Clean Indoor Air Act, Florida Statutes Chapter 386.
 The following rules apply to smoking:
 1. Smoking is prohibited in all enclosed workplace locations. An ―enclosed indoor workplace‖
    includes any place, including hallways, where one or more people work and which is
    bounded by physical barriers as follows:
    a.      More than 50% of the space is covered from above by a physical barrier that excludes
          ran, and
    b. More than 50% of the space‘s sides are covered by closed physical barriers.
         Under this requirement of the Florida Clean Indoor Air Act, the first and second floor
         hallways of St. Francis Hall are ―enclosed indoor workplaces.‖
 2. Smoking is allowed in outdoor locations, except those designated as no-smoking areas.
 3. Smokers may not smoke within 25 feet of any entrance to any campus building.

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 The University adheres to laws concerning posting of signs designating no smoking areas.
 Adequate signs are visible at entrances and inside of buildings and elevators to inform the public
 of applicable smoking regulations.
 University managers and supervisors must ensure that employees and students alike adhere to
 this policy. Faculty, staff, and students are responsible for informing visitors of this policy and
 directing smokers to designated smoking areas.

 2.3      Campus Safety and Security Policies

          2.3.1     Department of Campus Safety
 A University‘s campus is an important part of the local community that it serves. As in any
 neighborhood, it is important that the students, faculty, and staff realize they should take every
 possible precaution to prevent assault and crime against themselves or others.
 The Campus Safety staff of Saint Leo University recognizes that the University campus is part of
 the community and experiences the risks and threats of society as a whole. Saint Leo University
 has established programs and systems involving personnel, procedural methods, and physical
 means to provide as safe and secure an environment on campus as possible.
 The departments of Student Affairs, Residence Life, and Campus Safety provide information and
 assistance on self-protection to employees, students, and residents. However, each person also
 must take action to self-protect.
 Lack of vulnerability is the key to protection. A criminal, and especially the sexual assaulter,
 looks for and exploits perceived weaknesses. The less vulnerable the person, residence, or
 vehicle appears, the less chance of assault, loss, theft, or robbery is to occur. The information
 provided in this subsection is designed to inform, advise, and alert campus occupants about Saint
 Leo University policies and procedures on crime awareness and reporting. Also, crime
 methodology and crime prevention techniques are provided to assist in self-protection.

          2.3.1.1       General Campus Safety Department Policies
 The Saint Leo University Campus Safety Department is open 24 hours a day, seven days a week
 for the protection and service of the students, faculty, staff, and visitors. It also is an information
 center for visitors. Campus Safety officers patrol the campus by foot and also in a marked
 vehicle. Campus Safety has an emergency telephone extension (8333) for all individuals living
 and working on campus. This is a 24-hour telephone service always staffed for immediate
 response. Those students living off campus do not have this service. They should always utilize
 the 911 service for law enforcement, rescue, ambulance, and fire.
 The Saint Leo University Campus Safety Department personnel are not police officers and are
 not empowered as such, but they do work closely with local law enforcement in the event they
 are needed.
 The Campus Safety Department must be contacted as soon as possible in all instances of
 criminal occurrences, such as loss of property, threats, assaults, injury, or attempted crimes.
 Campus Safety, in turn, immediately contacts the local police to assist. The Assistant Vice
 President for Student Affairs is notified after the police are called.


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 Quick response and good communication with Campus Safety help eliminate threats and
 hazards. Therefore, all Saint Leo University students, employees, faculty, and staff members
 should contact Campus Safety with any and all concerns for safety and security at:
 352-588-8333 Emergency;
 352-588-8432 Non-emergency; or
 352-588-8432 Information.

               2.3.1.1.1     ALERTNOW Notification System
 The safety of the students, faculty, and staff at Saint Leo University is a top priority. For that
 reason, the University has chosen to adopt the Saf-T-Net ALERTNOW Notification Service.
 This service allows the University to quickly send a message to members of the campus
 community by either phone or email to alert them to emergency situations at Saint Leo
 University.
 The message will impart important information concerning urgent topics including hurricane
 related announcements. It may be used to give emergency instructions or delivery of other vital
 information concerning the University.
 Members of the campus community may choose to be notified by either phone and/or email,
 including text messages to a cell phone. The delivery success of the message is only as accurate
 as the contact information provided to the University. So, if this information changes throughout
 the year, please return to the ALERTNOW web page and update contact information.

               2.3.1.1.2     Arson, False Fire Alarm, or Endangering the Safety of Others
 Setting a fire or attempting to do so, setting of a false alarm or discharging or misusing fire
 fighting or fire safety equipment endangers the safety of others and cannot be tolerated. The
 unauthorized use of fire fighting or safety equipment will result in severe disciplinary action.
 Behavior that results in an endangerment to the safety of others will result in swift and severe
 action.

               2.3.1.1.3     Dishonesty
 Any dishonesty, cheating, forgery, lying, and willfully taking advantage of another person will
 result in disciplinary action. It is a violation to falsify records, documents, I.D. cards, or driver‘s
 licenses.

               2.3.1.1.4     Disorderly Conduct
 Academic enrichment must take place in an environment which respects the rights of others and
 the institution, even when individuals may have different personal views or standards.
 Behavior which disrupts the normal functioning of events or activities or infringes on the
 privacy, privileges, or rights of others is prohibited. This includes, but is not limited to,
 interfering with the freedom of movement of others; interfering or impeding the rights of others
 to enter, use, or leave a facility or activity; exhibiting conduct which is unbecoming of a Saint
 Leo University student or employee; interference with academic freedom or freedom of speech;
 and/or use of abusive, degrading or demeaning language, especially pertaining to race, color,

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 religion, ethnic or national origin, age, disability, genetic information, gender, or sexual
 orientation.

              2.3.1.1.5     Escort Services
 Campus Safety provides escorts (rides) from their main campus office as scheduled below (and
 10 minutes before each listed time from the Library) to the residence hall at the west side of
 campus:
                   8 pm – 10 pm – 12 Midnight – 2 am Sunday thru Saturday
 This is another step Saint Leo University takes in providing better safety.

              2.3.1.1.6     Firearms, Dangerous Weapons, Explosives, Lethal Materials
 Unauthorized use, possession, or storage of these or other potentially dangerous items on
 University premises or at University-sponsored activities, whether or not a federal or local
 license to possess the same has been issued, is strictly prohibited.

              2.3.1.1.7     Personal Safety Measures
 Listed below are some reminders of how to ensure better security:
 1. Keep doors locked at all times (residence and vehicle.)
 2. Do not prop doors open.
 3. Walk, jog or travel with a friend.
 4. Notice and be aware of suspicious persons and conditions.
 5. Stay in well-lit areas (on and off campus).
 6. Call Campus Safety (Ext 8333) to report any suspicious incident/crime. Note: If off campus,
    call local law enforcement (911).
 7. Avoid giving out personal information or making appointments with strangers over the
    phone.
 8. To help deter theft of personal property, engrave or mark all valuable property. Engravers
    are available at Campus Safety.
 9. Don‘t offer rides to strangers.
 10. If room or office keys are lost, report it immediately to Residence Life or Campus Safety.
 11. When using a personal vehicle, keep the doors locked at all times. Before entering a vehicle,
     always look under the vehicle and in the back seat.
 Special student programs and information are provided by the Departments of Student Affairs
 and Residence Life in the following forms:
 1. Personal contact;
 2. Student orientation;
 3. Information booklets; and
 4. Lectures by Residence Life and Security.
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          2.3.2     Clery Act
 The Federal Student Right-to-Know and Crime Awareness and Campus Security Act of 1990, is
 federal legislation requiring colleges and universities to disclose certain timely and annual
 information about campus crime and security policies. All public and private institutions of
 post-secondary education participating in federal student aid programs are subject to it and
 required to provide this information.
 Annual Campus Criminal Statistical Information is available from the Department of Campus
 Safety. The report can also be viewed on the University‘s Web Site.

          2.3.3     Emergency Response Policies

          2.3.3.1         Emergency or Disaster Procedures

              2.3.3.1.1      Medical Emergency Procedure
 1. Protect the victim from further injury by removing any persistent threat to the victim. Do not
    move the victim unnecessarily. Do not delay in obtaining trained medical assistance.
 2. Seek medical response by calling 9-911 and then notify Campus Safety of the location,
    nature, and extent of the injury by calling ext 8333. Always call from a safe location.
 3. Provide first aid until help arrives if appropriate training and equipment is available and it is
    safe to do so.
 4. Send someone outside to escort emergency responders to the appropriate location, if possible.

              2.3.3.1.2      Fire or Explosion Emergency Procedure
 1. In the event of an explosion:
    a. Take shelter against a desk or a sturdy table.
    b. Exit the building as soon as possible.
    c. Do not use elevators.
    d. Check for fire and other hazards.
 2. If trapped in debris:
    a. If possible, use a flashlight or whistle to signal a location to rescuers.
    b. Avoid unnecessary movement so dust is not kicked up.
    c. Cover nose and mouth with anything at hand.
    d. Tap on a pipe or wall so that rescuers can hear the proper location.
    e. Shout out only as a last resort. Shouting can cause a person to inhale dangerous amounts
       of dust.

              2.3.3.1.3      Hurricane Procedure
 See Volume VI, Subsection 6.3.2.4.65.

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               2.3.3.1.4     Tornado/Severe Weather Procedure
 1. Alert people to move to the lowest floor available in the building.
 2. Select the safest and most structurally sound parts of the building for safety (Interior
    Hallways or Interior Stairwells) which are away from glass if possible.
 3. After reaching the designated shelter, remain calm, be ready to shelter and protect vital areas
    of the body by kneeling down and covering the head if possible.
 4. Do not leave buildings until all clear has been announced.
 5. Remind people to stay away from all windows and glass cases.
 6. Give special assistance to disabled students and staff.

               2.3.3.1.5     Hazardous Materials, Biological, or Chemical Threat Emergency
                             Procedure
 A Hazardous Materials, Biological or Chemical Threat Emergency exists when:
 1. A spill of hazardous materials creates a situation that is immediately dangerous to the life and
    health of persons in the spill area or facility; or
 2. A deliberate release of germs or other biological substances occurs; or
 3. A deliberate release of a toxic gas, liquid or solid that can poison people and the environment
    occurs; or
 4. Cleanup of a spill of a hazardous material is beyond the level of knowledge, training or
    ability of the staff in the immediate area.
 In the event of a hazardous material spill or a biological or chemical threat:
 1. Alert people in the immediate area and evacuate the room or area. If an explosion hazard is
    present, take care not to create sparks by turning on or off electrical equipment.
 2. Confine the hazard by closing doors and windows as you leave the room. Do not lock them.
 3. Use eyewash or safety showers as needed to rinse spilled chemicals off people. Cover mouth
    and nose with layers of fabric that can filter the air but still allow breathing.
 4. Evacuate any nearby rooms/areas that may be affected. If the hazard will affect the entire
    building evacuate the entire building. If there is a chance of explosion from the chemical
    spill do not activate the building fire alarm. Evacuate the building manually by alerting
    others by voice. Take care not to turn electrical equipment on or off or otherwise cause
    sparks. If there is no chance of explosion, activate the building fire alarm system by pulling
    the handle on a local fire alarm box.
 5. Contact the fire department by calling 9-911 if using a campus line or 911 if using a non
    campus line and then notify Campus Safety of the hazardous material, location, and size of
    the spill calling ext (8333). Always call from a safe location.
 6. If building evacuation is required, evacuate the building using the Emergency Evacuation
    Procedure presented in this guide. Once outside, notify emergency responders of the
    location, nature, and size of the spill.
 7. Isolate contaminated persons. Avoid contamination or chemical exposure.
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 8. If possible, remove clothing from contaminated persons and wash exposed areas with soap
    and water. Seek medical attention.
 9. A biological attack may also occur through the mail. See ―Suspicious Package Procedures‖
    in subparagraph 2.3.3.1.9 below for suggested handling procedures.

              2.3.3.1.6     Power Outage Procedure
 1. Assess the extent of the outage in the department‘s area. The University has a main
    generator that supplies power to the main campus. Marmion Synder residence halls are too
    far from the generator to transmit power. During times when the generator is supplying
    power some areas of air conditioning will be off to insure power is available for critical
    services.
 2. Report the outage to Campus Safety at ext. 8333.
 3. Should areas of the main campus be without power:
    a. Assist other building occupants to move to safe locations. Loss of power to fume hoods
       may require the evacuation of laboratories and surrounding areas.
    b. Implement the department‘s power outage plan. Evaluate the department‘s work areas
       for hazards created by power outage. Secure hazardous materials. Take actions to
       preserve safety and health. Take actions to preserve research.
    c. Turn off and/or unplug non-essential electrical equipment, computer equipment, and
       appliances. Keep refrigerators and freezers closed throughout the outage to help keep
       them cold.
    d. If needed, open windows for additional light and ventilation.
    e. Release of faculty, staff, and students during an extended power outage is decided on by
       the President.

              2.3.3.1.7     Criminal Activity, Civil Disobedience, or Violence Emergency
                            Procedure
 1. Attempt to leave the area of danger.
 2. Notify Campus Safety by calling ext (8333). Try to call from a safe location, if possible.
 3. If possible, provide the following information:
    a. Location of crime;
    b. Nature of crime and specifics (number of people involved, any weapons, etc.);
    c. Any injuries;
    d. Description of suspect(s) (height, weight, sex, race, clothing, hair color etc.);
    e. Direction of travel of suspect(s); and
    f. Description of any vehicles involved in the crime.
 4. Do not pursue or attempt to detain suspects.


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               2.3.3.1.8    Bomb Threat Procedure
 Remain calm and obtain as much information as possible from the caller. Try to write down the
 caller‘s exact words. Ask for and try to obtain the following information:
 1. When is the bomb going to explode?
 2. Where is the bomb located right now?
 3. What does the bomb look like?
 4. What kind of bomb is it?
 5. What will cause the bomb to explode?
 6. Who placed the bomb?
 7. Why?
 8. Attempt to identify the individual‘s address?
 9. Attempt to identify the individual‘s name?
 10. Also record the following information:
    a. Exact time the call is received
    b. Information about caller including:
        i. Sex;
        ii. Age;
        iii. Education;
        iv. Accent;
        v. Location of caller;
        vi. Background noise;
        vii.   Speech impediments or traits; and
        viii. The caller‘s attitude.
 If possible, have someone else contact Campus Safety while the caller is still on the phone; if not
 possible, notify Campus Safety immediately upon the conclusion of the call at ext (8333).
 Always call from a safe location. Provide them with the context of the threat, telephone number
 on which it was received, your name, room number, and a telephone number. Take no other
 action unless directed to by Campus Safety.

               2.3.3.1.9    Suspicious Package Procedure
 If a suspicious letter or package is received or observed that is unexpected or unknown with the
 following characteristics:
 1. Excessive postage;
 2. Misspellings of common words;
 3. Excessive weight;
 4. Rigid envelope;
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 5. Foreign mail, air mail or special delivery;
 6. Hand written or poorly typed address;
 7. Restrictive markings such as confidential, personal, etc.;
 8. An excessive amount of securing material used, such as masking tape, string, etc.;
 9. Incorrect titles;
 10. Oily stains, discoloration, powdery discharge, or odor;
 11. Visual distractions or ticking sound;
 12. Lopsided or uneven;
 13. Titles but no names;
 14. No return address; and/or
 15. Protruding wires or tinfoil.
 Immediately:
 1. Notify Campus Safety immediately by calling ext, (8333). Always call from a safe
    location.
 2. Move people away from the package.
 3. Do not move or open the package.
 4. Do not investigate too closely.
 5. Do not cover, insulate, or place the package into a cabinet or drawer.

                2.3.3.1.10   Nuclear Blast or Radiation Threat Procedure
 A nuclear blast is an explosion with intense light and heat, a damaging pressure wave, and
 widespread radioactive material that can contaminate the air, water, and ground surfaces for
 miles around. A radiation threat or ―dirty bomb‖ is the use of common explosives to spread
 radioactive materials over a targeted area. It is not a nuclear blast. The force of the explosion
 and radioactive contamination will be more localized. If there is a nuclear blast or radiation
 threat:
 1. Limit the amount of radiation exposure.
 2. Take cover immediately, below ground if possible, though any shield or shelter will help
    protect someone from the immediate effects of the blast and the pressure wave.
 3. Quickly assess the situation.
 4. Consider if the area can be evacuated or if it would be better to ―shelter-in-place.‖

                    2.3.3.1.10.1 Sheltering-in-Place Procedure
 Sheltering-in-Place is the use of any classroom, office, or building for the purpose of
 providing temporary shelter. If a shelter in place announcement is issued:
 1. Immediately move indoors.            Go into an interior room with few windows, if
    possible.

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 2. Close all windows and doors to the shelter and seal the room, using towels,
       clothes, or paper.      Turn off fans, air conditioning, and forced air heating
       systems.
 3. If there appears to be air contamination within the shelter, place a paper mask,
       wet handkerchief, or wet paper towel over the nose and mouth for temporary
       respiratory protection.
 4. Continue to follow the instructions given by the response authorities.

           2.3.3.2      Student Specific Emergency Procedures
 See Volume VI, Subsection 6.4.1.

           2.3.4     Sexual Offender Registration Policy
 The Campus Sex Crimes Prevention Act (―Act‖) is a Federal law enacted in October 2002 that
 provides for the tracking of convicted, registered sex offenders who are either enrolled as
 students or working at institutions of higher education. The Act amended the Jacob Wetterling
 Crimes against Children and Sexually Violent Offender Registration Act. Under the provisions
 of the Act, any person who is required to register under a State sex offender registration program
 must notify the State when the registrant enrolls at an institution of higher education or is
 employed at such an institution. Additionally, the sex offender registrant must notify the State of
 any change in enrollment or employment at an institution of higher learning. The State will
 provide a list of registered sex offenders who have indicated they are either enrolled or employed
 at the University to the University‘s Office of Campus Safety.
 In accordance with the Jacob Wetterling Crimes against Children and Sexually Violent Offender
 Registration Act (as amended by the Campus Sex Crimes Prevention Act), the University shall
 publish a statement where the list of registered sex offenders can be found.
 The University encourages members of the campus community who wish to be informed of the
 identities of registered sex offenders residing in the surrounding area to contact [list the name of
 the local law enforcement agency responsible for maintaining registry list] at [provide agency‘s
 web site, telephone number, and address].

 2.4       Information Technology Policies

           2.4.1     Computer Use Guidelines
 Insert hotlink to the Computer Use Guidelines outlined in Section 1 of the 2007-2008 Catalog.

           2.4.2     Password Policy
 Saint Leo University issues passwords (e.g. Datatel, File Services, e-mail, my Saint Leo portal,
 etc.) to each user dependent on the user‘s position and/or affiliation with the University.
 Passwords are issued under the strictest confidence and are not to be shared, either directly or
 indirectly, with anyone. Failure to abide by this policy will result in disciplinary action up to and
 including termination or expulsion for both the holder of the password and the individual using
 it. Users shall take necessary steps to protect their passwords and to use passwords that are
 difficult to guess. The following guidelines shall be followed:
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 1. Passwords shall contain a combination of letters and numbers and shall be at least 6
    characters in length.
 2. Passwords shall be changed every 6 months - sooner if the system or information accessed
    with the password is of a sensitive nature (e.g. Financial Information).
 3. Passwords shall not contain familiar items associated with the user such as their name, pet
    name, address, car type.
 4. Do not write down passwords in an accessible location. If a username and passwords does
    need to be recorded, use pass-phrases as a reminder of what the password is instead of the
    actual password.
 5. Never provide a username and password to anyone via email. The University Technology
    Services will never request such information via email.
 See Appendix 2.4.2.1 for a copy of the Password Policy Form.

          2.4.3     Internet Access Policy
 Resident and commuter students, faculty, and staff may access the University‘s wireless network
 from most buildings and areas on the University Campus. Resident students may also access the
 Internet from their residence hall room.
 In general, access to Internet resources is not censored. However, University Technology
 Services manages network utilization to ensure good stewardship and fair use of Internet
 resources. As such, the University reserves the right to restrict access to some sites that cause
 network problems or are sources of viruses. For access assistance, contact University
 Technology Services Help Desk at extension 4357 (Help).

          2.4.4     Email and Electronic Communications
 This policy serves to provide a guiding reference to members of the Saint Leo University
 community on the appropriate use, privacy, and access of electronic communications. This
 policy will apply to all University electronic communication services, including stored files and
 other electronic means. Such services include but are not limited to e-mail, voice-mail, web
 portals, bulletin boards, and chat rooms operated by the University.
 Members of the University community who are given access to the University‘s electronic
 communication systems will be informed of the policies in this document and will be required to
 agree to applicable policies. Violations of this policy may result in loss of E-mail privileges at
 the University, disciplinary action, or legal action where applicable.

          2.4.4.1      University Electronic Mail Accounts
 1. The University uses E-mail to conduct official business and, therefore, every member of the
    University community shall be issued an electronic mail account available for use in
    executing their role and responsibilities.
 2. The University has a responsibility to protect students‘ and staff rights as well as ensure the
    accuracy of its business processes based on E-mail correspondence. Therefore, E-mail
    containing official business of the University shall be addressed to the person‘s official
    University E-mail address and shall not be addressed to alternative addresses. Users may
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    choose to forward their e-mail to alternate accounts (e.g. Hotmail, Yahoo, AOL, etc…).
    University Technology Services will provide documentation and support on how this can be
    accomplished.
    a. E-mail name addresses are generated from the user‘s legal name and must be unique. E-
       mail addresses take the form: firstname.lastnameNN@saintleo.edu where NN represents
       a numerical addition to resolve duplicate names. In certain cases, and at the discretion of
       the Chief Information Officer or a designee, duplicate names may also be resolved based
       on an alternate name selected by the affected user(s). In situations where long names or
       duplicate names exist, provisions will be made to establish an appropriate alias that
       closely approximates the user‘s legal name.
    b. E-mail addresses may be used to represent functional process. These addresses will take
       the         form:          location.function@saintleo.edu.         For         example,
       macdill.applications@saintleo.edu or saintleo.applications@saintleo.edu. These accounts
       may forward to a personal University account or alternatively, the password for these
       process accounts may be shared with responsible Universities employees. Any
       transactional system which employs such e-mail address will also blind copy a message
       to the form all.applications@saintleo.edu to ensure a backup copy of all e-mail based
       transactions exist.
    c. E-mail distribution lists will be maintained by University Technology Services for certain
       constituency groups, organizations and committees to facilitate communication among
       the campus community for official business purposes. The inclusion of faculty and staff
       in these distribution lists is mandatory.
        To distinguish between accounts and lists, distribution lists will take the form
        institution/Org-function-location@listserv.saintleo.edu using the dash ―-― separator
        instead of the period to clearly denote a list.          Example: SLU-Employees-
        MacDill@listserv.saintleo.edu.
 3. On termination, resignation or withdrawal, the University may terminate an individual‘s E-
    mail account, and all information not retained by the University will be deleted.
    a. The University, at its discretion, may retain an archived version of the information
       indefinitely.
    b. As a matter of good security practice, accounts not active for a six month period are
       considered expired and will be made inactive or deleted at the discretion of the
       University. There may be situations where faculty sabbaticals or teaching schedules
       warrant longer grace periods. Arrangements for extending account expiration must be
       approved by the Chief Information Officer.
    c. It is important that the University maintain relationships with members of the
       community. Therefore, students completing a degree program, staff who obtain
       retirement, and faculty who retire or obtain emeritus status shall be eligible to have their
       account remain active indefinitely. The University will determine the best location where
       this account is maintained. E.g. username@alumni.saintleo.edu.




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         2.4.4.2          Access to E-mail

              2.4.4.2.1       General Statements
 1. The University retains ownership of the records resident on the technological resources
    covered by this policy. The University retains the right to maintain ultimate control and
    authority over its technology resources, including E-mail, and to take appropriate actions to
    further institutional interests.
 2. E-mail communications may be subject to public access under Florida Law, when relevant to
    discovery in civil or criminal litigation. Any such disclosure of E-mail under these
    conditions will be approved by the President of the University or a designee.

              2.4.4.2.2       Privacy Statements
 1. It is the intent of the University to respect and preserve the privacy of E-mail
    communications within the University‘s policies and local, state, and federal laws. Given
    that the University places high value on open communication of ideas, including those new
    and controversial, the intention of the University is to maximize freedom of communication
    for the purposes that further the goals of the University.
 2. The University cannot guard the privacy of E-mail delivered to or through systems not
    managed by the institution. When sending e-mail to non-official University addresses,
    refrain from sending any non-public student information via e-mail unless that information is
    somehow encrypted. For information concerning secure transmissions, contact University
    Technology Services.

              2.4.4.2.3       Individual Expectations
 1. E-mail messages must be in compliance with University policies and the University‘s Style
    & Graphic Standards Manual. Individuals can expect the University to follow its policies
    when seeking access to E-mail communications.
 2. Individually addressed E-mail communications may not be intercepted (read) by any third
    party except as noted below. Any access of individual E-mail communications other than
    that noted below is in violation of University policy and appropriate action will be taken as
    defined in paragraph 2.4.4.6 of this policy.

              2.4.4.2.4       University Requirements
 1. University officials and supervisors shall have the right to read any E-mail when explicit
    permission for such access has been given by the individual.
 2. University officials shall have the right to access any E-mail to preserve life and ensure the
    safety of the University community. The President shall be notified of the access when
    conditions have warranted such action.
 3. Under certain circumstances, the Postmaster or System Administrator may, in the course of
    their professional duties, access an individual‘s E-mail for legitimate management or
    maintenance purposes (e.g. virus removal, backup, delivery resolution, etc…). The
    individual will be notified about the nature of the work performed under such circumstances.

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    If at all possible, the individual will be notified prior to the work being done or otherwise as
    soon as possible after the work is completed.
 4. The University reserves the right to inspect and remove e-mail that might contain viruses or
    other harmful content or otherwise interfere with the delivery of E-mail or normal operation
    of computer systems. It also reserves the right to filter known or suspected virus attachments
    in mass prior to delivery. In such cases, University Technology Services will notify the
    University as to the specific filtering being applied.
 5. The University reserves the right to inspect and remove e-mail that is considered an
    unsolicited offer otherwise known as ―SPAM.‖
 6. If an occasion arises when a University officer or supervisor believes that access to an
    individual‘s E-mail account is required for the conduct of urgent University business, the
    University individual is not available, and a system administrator is required to access the
    individual‘s E-mail account, the following procedure shall be followed:
    a. The University official or supervisor shall secure permission to access the E-mail account
       from the supervising Vice President or President of the University.
    b. An appropriate written order of the Vice President or President shall be presented to the
       system administrator allowing the system administrator to proceed to access the E-mail
       account.
    c. The individual whose E-mail account has been accessed will be notified as soon as
       possible by copy of the above referenced order.
 7. All E-mail communications and files on campus computers, accounts, and databases are
    University property. Upon employee termination, resignation, or withdrawal, these materials
    remain the property of the University.

          2.4.4.3          Use of E-mail

               2.4.4.3.1       Business Use
 As with other University resources, e-mail is appropriately used for purposes that further the
 mission and goals of the University. Persons are encouraged to be good stewards of this
 resource and refrain from excessive participation in the use of E-mail that is not related to the
 business of the University. Examples of such discouraged uses include but are not limited to:
 1. For personal commercial gain or solicitation except in cases of officially sanctioned
    University activities;
 2. For self-promotion in political campaigns; and
 3. Participation in chain-letters.

               2.4.4.3.2       Unlawful Use
 Persons may not use e-mail in violation of Saint Leo University policies, local, state, or federal
 laws. Such policies or laws may include but are not limited to:
 1. Stalking, harassment, hate speech or other unlawful activity.
 2. Fraudulent acts, including the use of a deceptive alias to disguise one‘s true identity.
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 3. Intentional distribution of viruses (real or simulated) and other destructive or intrusive
    software using E-mail.
 Applicable Federal laws include, but are not limited to, the CAN-SPAM Act of 2003 and
 Computer Fraud and Abuse Act (18 U.S.C. 1030 et seq.).

              2.4.4.3.3       Authentic Use
 All materials sent by campus e-mail must be attributed to the individual, office, or organization
 sending the material.

              2.4.4.3.4       Official University Use
 The University will regard the Saint Leo University address as the official e-mail address for
 members of the Saint Leo University community. Official University business among faculty,
 staff, and students will only be directed to Saint Leo University email addresses. Saint Leo
 University cannot ensure appropriate use, privacy practices, or availability of 3rd party email
 systems.

          2.4.4.4         Information Privacy
 Information protected by the Federal Education Rights of Privacy Act (FERPA) shall not be
 distributed to a non-University e-mail account.
 It is appropriate to direct students to eLion to retrieve grades, financial status, and other
 information that is sensitive or private rather than distribute information via email.
 There is a growing concern about the privacy of information and identity theft. It is important to
 respect individual‘s privacy and help guard against the misuse of such information. Hence,
 information that is sensitive or private to the individual should not be transmitted via email. This
 includes, but is not limited to:
 1. Social security numbers;
 2. Birth date;
 3. Drivers license number; and
 4. Financial account numbers.

          2.4.4.5         Violations and Sanctions
 1. Community members shall report violations of this policy to the Associate Vice President of
    Information Technology, Director of Human Resources, or the appropriate Vice President.
 2. Violation of this policy will be assessed by the appropriate Vice President in accordance with
    established University procedures as defined in Volume IV (Faculty Personnel Policies),
    Volume IV-A (Faculty Collective Bargaining Agreement), Volume III (Employee
    Handbook), and Volume VI (Student Life and Development Policies) of the University
    Policy Manual.




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          2.4.4.6         Email Lists and Web Discussion Forums

              2.4.4.6.1      Listserv Description and Definitions
 A listserv is an electronic mailing list which offers an efficient way to disseminate information to
 large numbers of people and hold long-distance discussions among many people. A discussion
 forum is similar to a listserv, except that the participants interact online using a web application.
 Mailing lists and forums are an easy way to communicate with large audiences quickly, by
 automating the distribution of e-mail to all those who subscribe to the mailing list. Mailing lists
 have become a critical component of scholarly collaboration. Many colleges and universities are
 also using them to facilitate and enhance classroom education as well as conducting the day to
 day administration of the University.
 An official listserv or web forum is a list that is established by academic and administrative
 offices to which members are pre-subscribed to by virtue of their positions and responsibilities at
 the institution, e.g. faculty@saintleo.edu.
 An Unofficial listserv or forum is a subset of the campus community which members of the list
 are not pre-subscribed and maintained by the requestor as outlined below. At the present time,
 course listservs are considered unofficial in that they are maintained by the faculty member and
 not populated automatically or otherwise managed by University Technology Services.
 Listserv™ is University Technology Services‘s supported listserv management software. The
 University operates several web discussion forums including those by Listerv™, uPortal,
 WebCT, and Estrada.
 For the purposes of this policy, listserv will generically refer to server-based e-mail or web-based
 discussion lists. It does not include personal e-mail distribution lists that may be maintained by
 individuals. Members of the University community are expected to use their personal list with
 consideration of the institutional values and the appropriate use of computing and technology
 resources.

              2.4.4.6.2      Purpose
 The purpose of listservs at Saint Leo University is to facilitate and disseminate information to
 eligible members and affiliates of the University. Listserv services are available to current
 faculty, staff, student and alumni organizations. The person responsible for managing a list is
 known as the list owner. If the list owner leaves the University, then the current list owner must
 find a new list owner and identify that new person to the listserv manager. If no new list owner
 can be identified, University Technology Services reserves the right to disable the list or to
 request that the list be moved to a non-Saint Leo University server.

              2.4.4.6.3      Requesting a List
 To request a list, complete the List Application Form. Applicants with questions about the form
 can request assistance by contacting the listservmanager. Not all requests will be honored with a
 list. The listserv manager may ask for additional documentation regarding the granting of a list.
 The listserv manager may recommend other electronic conferencing technology that would
 better serve the purpose of the request. Other considerations that will determine the status of a
 list request include the relevance of the list to the mission and values of the University and the

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 capacity of available resources within University Technology Services, including how the size of
 the proposed list will affect university electronic mail systems.
 Listserv requests initially rejected by University Technology Services may be appealed through
 the requestors respective Vice President.

               2.4.4.6.4      Policies
 If there is reason to believe that the list will be or is being used for illegal purposes, that list will
 not be established. If it is operational, it will be disabled after consultation with proper campus
 officials.
 Lists are subject to all University e-mail policies. List members should not be pre-subscribed to
 an unofficial list without their knowledge or permission. Subscribers who request to be
 unsubscribed from an unofficial list should be removed. Official lists are pre-subscribed lists
 maintained by Saint Leo University for administrative purposes.
 The distribution of large binary documents via listserv is discouraged. The Listserv host will
 refuse to send messages which are greater than 256K. Large binary files should be made
 available from either FTP or HTTP server.
 Unofficial lists will not be created by University Technology Services from the University
 databases. The list owner(s) or membership of the list are responsible for subscribing or
 unsubscribing members to the list.

                    2.4.4.6.4.1    Official List Names
 Official List Names will follow a standard convention:
 1. For institution-wide official lists the convention, SLU-Listname will be used. e.g. SLU-
    FACULTY
 2. For campus-based official lists the convention Campus-Listname will be used where campus
    will be an abbreviated, 2 letter campus acronym: e.g., SL-STUDENTS would refer to
    students on the University Campus in Saint Leo and SLU-STUDENTS-GAINESVILLE for
    Gainesville students.

                    2.4.4.6.4.2    Un-Official List Names
 Un-Official List Names will follow a simple naming convention that describes the list. E.g.
 FCA@listserv.saintleo.edu would refer to the Fellowship for Christian Athletes or University
 Technology Services could be used for University Technology Services staff purposes.

                    2.4.4.6.4.3    List Owners

 List owners are responsible for properly managing their list. The responsibilities of the list
 owner include:
 1. Advising individuals who will be presubscribed to the list of the list's purpose and how to
    unsubscribe themselves;
 2. Responding to subscribers‘ request for removal from the list;
 3. Assisting subscribers with subscribing or unsubscribing to the list;
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 4. Correcting subscriptions that are made incorrectly or in error;
 5. Creating and maintaining current and relevant information such as the subscribers or
    welcome messages;
 6. Responding to errors related to their list such as delivery and remove errors;
 7. Responding to requests made by the listserv manager;
 8. Staying informed about current listserv policy; and
 9. Attending list owner training or otherwise staying informed about list management.
 Membership to a list is not a right of the individual. List owners have the right and are
 responsible for unsubscribing list members who abuse a list by sending off-topic mail to the list,
 misuse or abuse the resource or are abusive of other list members. The list owner is responsible
 for determining what constitutes off-topic or abusive mailings.
 The listserv owner and University Technology Services are responsible for determining if a
 mailing is abusive of resources.
 Escalation procedures for disagreements regarding the interpretation and application of this
 policy shall be escalated through appropriate University channels, i.e., Student Affairs or
 department director/chair or Vice President. Abuse of a list should be brought to the attention of
 the listserv manager and/or other University authorities.
 Based on the information provided within the listserv application and Saint Leo University‘s
 naming conventions, University Technology Services will develop a listname.
 Lists will be periodically reviewed for activity and continued conformance to the current listserv
 policies. Lists that are inactive or fail to conform to policy will be removed. Lists will be
 reviewed for activity on annual basis. List with no activity for an extended period of time will be
 removed. Lists associated with courses will be removed at the end of each semester or at the
 conclusion of the course. List owners will be contacted by the listserv manager prior to removal
 of the list.
 To assist the list owner in performing these tasks the listserv manager will maintain on-line
 documentation for these and other functions.

          2.4.5    Virtual Private Network
 The purpose of this policy is to provide guidelines for Remote Access IPSec or L2TP Virtual
 Private Network (VPN) connections to the Saint Leo University network. This policy applies to
 all Saint Leo University employees, contractors, consultants, temporaries, and other workers
 including all personnel affiliated with third parties utilizing Virtual Private Networks to access
 the Saint Leo University network.
 Approved Saint Leo University employees and authorized third parties (customers, vendors, etc.)
 may utilize the benefits of Virtual Private Networks, which are a ―user managed‖ service. This
 means that the user is responsible for selecting an Internet Service Provider (ISP), coordinating
 installation, installing any required software, and paying associated fees.
 1. It is the responsibility of employees with Virtual Private Network privileges to ensure that
    unauthorized users are not allowed access to Saint Leo University internal networks.
 2. Virtual Private Network use is to be controlled using either a username/password
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    authentication or a public/private key system with a strong pass phrase.
 3. When actively connected to the corporate network, Virtual Private Networks will force all
    traffic to and from the PC over the Virtual Private Network tunnel: all other traffic will be
    dropped.
 4. Virtual Private Network gateways are established and managed by Saint Leo University
    Technology Services.
 5. All computers connected to Saint Leo University internal networks via Virtual Private
    Network or any other technology must use the most up-to-date University approved anti-
    virus software.
 6. Virtual Private Network users will be automatically disconnected from Saint Leo University's
    network after thirty minutes of inactivity. The user must then logon again to reconnect to the
    network. Pings or other artificial network processes are not to be used to keep the connection
    open.
 7. The Virtual Private Network concentrator is limited to an absolute connection time of 24
    hours.
 8. Users of computers that are not Saint Leo University-owned equipment must configure the
    equipment to comply with Saint Leo University‘s Virtual Private Network and Network
    policies.
 9. Only Cisco-approved Virtual Private Network clients may be used.
 10. By using Virtual Private Network technology with personal equipment, users must
     understand that their machines are a de facto extension of Saint Leo University‘s network,
     and as such are subject to the same rules and regulations that apply to Saint Leo University-
     owned equipment.
 For the protection of all Saint Leo University computer users, an individual‘s Virtual Private
 Network use privileges may be suspended or restricted upon the discovery of a possible violation
 of this policy. This policy is an extension of the existing computer usage guidelines.

         2.4.5.1       Username/Password
 University Technology Services will provide the user with a username and password. This
 authentication information is not to be shared with other employees, contractors or users.

         2.4.5.2       Blocked Applications
 University Technology Services blocks the use of some applications that are known to use
 spyware, adware, viruses, or otherwise interfere with the University‘s information systems and
 network. Questions concerning these applications should be directed to University Technology
 Services‘s help desk.




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          2.4.5.3         Reporting Spam, Viruses and Blacklistings

              2.4.5.3.1       Reporting Blacklist Complaints
 On receiving inquiries from non-Saint Leo University accounts about blacklist rejections,
 forwarded the bounce message to blacklist@saintleo.edu.

              2.4.5.3.2       Reporting Spam and Viruses
 Spam and viruses received, apparently from Saint Leo University email addresses, should be
 forwarded to spam@saintleo.edu and virus@saintleo.edu, respectively.

              2.4.5.3.3       How to Send Email with Full Headers
 In order to determine the actual source of the email, University Technology Services must
 examine the full header of the email message. Follow the instructions below for obtaining the
 full headers and forwarding via email.

              2.4.5.3.4       Instructions for Outlook
 1. Highlight the email (don‘t open it);
 2. Right click and select options;
 3. Highlight and copy the Internet headers: Click on the start of the text and drag the mouse to
    the end of the text, right click and select copy;
 4. Click the close button;
 5. Click the email Forward button;
 6. Right click and paste the internet headers: at the top of the email; and
 7. Send it to spam@saintleo.edu

          2.4.5.4         Security
 The Gramm-Leach Bliley Act (GLBA) requires financial institutions, including colleges and
 universities, to develop, implement, and maintain a comprehensive written information security
 program that contains administrative, technical, and physical safeguards appropriate to the size
 and complexity of the institution, the nature and scope of its activities, and the sensitivity of any
 customer-information issue. The scope of this act covers primarily financial institutions but also
 organizations containing financial functions such as colleges and universities.

          2.4.6     World Wide Web Policies

 Saint Leo University‘s World Wide Web server exists to provide significant, timely, and
 accurate information about the University to the campus community, University alumni, and to
 the general public. In addition, the Website supports those activities that contribute to the overall
 mission and purpose of the University, including intellectual, professional, social, and personal
 growth.


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 The Website enriches the instruction and research experiences of Saint Leo University students
 and faculty by providing paths to relevant internet resources and academic materials. The
 continuing development of Website materials by staff and faculty working together will in itself
 provide models for studying the intersection of communications and technology.

          2.4.6.1      General Guidelines
 The official portion of the Website is a public representation of the University and has a status
 comparable to that of the University Catalog and other traditional publications. Because it is an
 official communication of information about Saint Leo University, it is vital that any and all
 information presented be accurate, up-to-date, consistent, and meet the highest standards for
 organization, content, and design. While recognizing the importance of allowing for freedom of
 expression, the University must first ensure that both official and unofficial pages which are a
 part of the Saint Leo Website enhance the University‘s identity and mission. The University
 must strive to achieve the same editorial consistency and accuracy that govern the University‘s
 printed materials.
 The World Wide Web server, like all Saint Leo computing resources, is to be used for
 educational purposes only, including administrative, instructional, and professional activities
 integral to the educational mission of the institution. All pages published on the server must
 support the academic or administrative activities of the University.
 No material will be published that is in violation of any licensing or contractual agreement, law,
 or University regulation or policy.

          2.4.6.2      Official Pages

 A document that is official is one that purports to speak for the University and its official
 programs, academic departments, administrative offices, and recognized organizations. Such
 pages may be intended for distribution to both internal and external audiences. The principal
 goals are to provide information of importance to viewers, establish accuracy and consistency in
 University publications, and to provide an identity for Saint Leo University publications.
 Official pages must comply with the University‘s appropriate design template.
 Access to some subsidiary pages (i.e., below top-level) may be limited to local viewing, through
 password protection. Faculty, staff, or club pages will be classified as unofficial, and may be
 required to contain a disclaimer, such as, ―Saint Leo University is not responsible for the content
 of personal home pages. The views and opinions expressed are strictly those of the page
 authors.‖ Even in such instances the University reserves the right to suspend publishing
 privileges and/or to remove pages that are considered inconsistent with University policies and
 standards.

          2.4.6.3      Publishing Privileges

 Subject to these policies and guidelines, officially constituted academic departments, programs,
 administrative offices, student organizations and clubs, and individual faculty and staff may
 create Web pages accessed from the Saint Leo Website.
 Each administrative office and academic division has its own home page, linked to as many
 pages as that office deems necessary for providing all important information. The Director of

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 each office or division, or anyone designated by the Director, may create pages in support of that
 office‘s activities within the framework of the design template.
 Student organizations and clubs may create pages under the guidance of University Technology
 Services and are exempt from design constraints, though they are subject to content review
 before going live. Once a student organization or club is live, the site will not be monitored – it
 is the student club or organization‘s responsibility to ensure that the content on the site is
 appropriate. If there is any problem or complaint about student club or organization Websites,
 University Technology Services may revoke a student organization‘s right to publish on the
 Web. This does not require any notification be sent to the club Website editor(s).
 The University reserves the right to suspend publishing privileges and/or to remove pages that
 are considered inconsistent with official University policies and standards.

          2.4.6.4      Procedural Guidelines and Responsibility

 Because many of Saint Leo University‘s Web pages will be viewed by external audiences,
 academic and administrative offices should create their Web pages working within the
 framework of the official design. The chair/administrator for each department is responsible for
 ensuring that all pages fit within the framework of the design template, that there is no
 unnecessary duplication of information, and that all links are active.

          2.4.6.5      First-time Postings

 Persons or departments proposing first-time postings will submit material to, or consult with,
 University Technology Services. University Technology Services will review submissions and
 note any problems of content or design conformity. Following any necessary changes, the
 postings will go live.

          2.4.6.6      Subsequent Postings and Updates

 Since much of the information published on the Web is of a dynamic, rapidly changing nature,
 there is no review process for departments on the web beyond what the department uses
 internally.
 However, new pages and major changes to the style, structure, or substance of pages must be
 reviewed according to the process outlined above.
 Information on department home pages must be kept up-to-date as appropriate. Outdated
 information shall be replaced as needed. All official home pages should carry a stamp indicating
 when they were last updated and the e-mail address for the person responsible for the page. Each
 person creating pages on the Web is responsible for ensuring that their pages comply with all
 applicable U.S. laws and Saint Leo University policies, including, but not limited to, U.S. and
 International copyright law, and the Saint Leo University Information Technology Policies.
 When in doubt, Web publishers should contact University Technology Services with questions
 about applicable laws and policies.




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 2.5      University Communications Policies

          2.5.1     Office of University Communications
 The Office of University Communications supports Saint Leo University by communicating its
 achievements, strategic goals, and long-term needs to its many audiences and core constituency
 groups. These include campus and regional centers, alumni, local, regional, and national media.
 The Office of University Communications serves Saint Leo University by producing
 communication vehicles for high profile University initiatives, while also serving the
 communication needs of the University‘s various departments.
 The Office of University Communications is responsible for:
 1. Disseminating information about the University to the public through the press, radio
    television, magazines, special interest publications, and community agencies;
 2. Answering queries from the news media;
 3. Participating in community and public affairs affecting the University;
 4. Coordinating, planning, and producing University publications and printed materials; and
 5. Assisting in planning, promoting, and publicizing institutional programs and special events.
 For purposes of this policy, University publications are defined as magazines, bulletins,
 newsletters, brochures, flyers, handbooks, posters, stationery, audiovisual materials, the Website,
 and other types of published materials published in the name of Saint Leo University and
 intended for public distribution, with the exception of official forms and materials produced for
 classroom or student use. All University publications for off-campus distribution, including all
 bulk mail pieces, but excluding publications prepared and distributed by the Office of
 Admissions, must be approved by the Office of University Communications.

          2.5.1.1       University Logo
 The Saint Leo University logo consists of the nomenclature (―Saint Leo University‖ in the
 school‘s specialized type) and the symbol (a stylized lion‘s head), in the design and format
 adopted by the University. The logo may be used only as prescribed by the Style and Graphic
 Standards Manual established by the Office of University Communications. Any items
 displaying a logo inconsistent with the guidelines may be removed from public display or
 circulation at the request of the President, Vice President for University Advancement, or the
 Director of University Communications.

          2.5.1.2       University Spokesperson
 It is the policy of Saint Leo University that when one is speaking on behalf of the institution, all
 official contact with news media representatives shall be initiated and approved by the Director
 of University Communications, the President, or the President‘s designee. The President and/or
 designee will serve as official spokesperson in all matters pertaining to media contact.




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          2.5.2     Media Relations Policy
 The Office of University Communications has primary responsibility for media relations at Saint
 Leo University. The responsibility includes finding the appropriate administrator or faculty
 member to comment on behalf of the institution or as an expert resource as needed. In the case
 of faculty experts, the Office of University Communications‘ responsibility is to connect the
 news media (radio, newspaper, television, magazine, Web, etc.) with knowledgeable faculty
 sources. Key faculty members and administrators serve as resource persons for a variety of
 institutional issues.

          2.5.2.1      Faculty and Staff Response to Media Calls
 When a member of the news media contacts a faculty or staff member to comment on a topic that
 is within the employee‘s area of expertise (e.g., about a faculty member‘s academic research or
 area of academic specialization), the employee may answer questions immediately. However, if
 the faculty or staff member prefers to give some thought to the questions before answering, or if
 she/he has questions about the interview and how to respond, the Office of University
 Communications recommends the employee take the reporter‘s telephone number, inquire about
 the reporter‘s deadline and return the call at a later agreed-upon time. Faculty or staff may then
 contact the Director of University Communications at (352) 588-8121. A University
 Communications staff member will be glad to share information about the reporter, and any
 other background information that may be helpful in advance of the interview. While media
 representatives often work under deadlines, they sometimes can fax or e-mail questions in
 advance, and a few may be willing to read direct quotes back to those quoted before they go to
 press.
 While it is optional for a faculty or staff member to contact the Office of University
 Communications prior to talking with a reporter about the employee‘s area of expertise, it is very
 important that the University Communications Office be notified immediately after the faculty or
 staff member has spoken with a reporter. The University Communications staff monitors the
 progress of all Saint Leo University related stories in order to help reporters find sources and
 gather facts. Knowing whom a reporter has spoken with will assist in the tracking process. An
 archive of published news stories about the Saint Leo University is maintained by the Office of
 University Communications, and news articles are sent to members of President‘s staff, daily.
 When faculty and staff members are asked to comment or provide information on an institutional
 question or an issue that relates to the entire institution, the reporter should be referred to the
 Office of University Communications. The Director of University Communications, in
 cooperation with the Vice President of University Advancement and/or the President, will
 determine the appropriate spokesperson on behalf of the University. The Director will refer the
 reporter to the appropriate source for comment.

          2.5.2.2      Responding to Questions
 As an institution of higher education, Saint Leo University is governed by federal and state laws
 that limit the type of information that can be divulged about students and employees. The
 University does not allow its employees to release information concerning current or former
 students without the student‘s express permission.


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          2.5.2.3       News Releases
 News releases are prepared for all public events held on campus. Information and photos should
 be submitted at least three weeks prior to the event in order to meet print media deadlines. In
 addition, a calendar of events is sent to the news media several times during the academic year to
 announce upcoming public events. Information for the calendar of events or for news releases
 may be sent the Office of University Communications by e-mail to
 public.relations@saintleo.edu.

          2.5.2.4       University Crisis Communication Plan
 A crisis is any event that can have a major impact on the image and long-term reputation of Saint
 Leo University, if not handled promptly and correctly with the best interests of the University‘s
 community and the larger neighboring community at heart. A crisis can involve either one or a
 combination of people, programs, policies and/or property. Crises can take many different
 forms, ranging in severity from death, injury, assault, riot or property damage to ecological
 problems, controversial speakers, false accusations, personnel matters, loud music, parking
 problems, litter, and matters of poor taste.
 The University has developed an institutional crisis plan and a permanent committee has been
 established to implement it. In the event of a crisis, the committee will comprise the core
 members of a crisis management team to which other administrators or University personnel
 may be added, depending on the nature of the crisis. This group will then determine the
 institution‘s response to the crisis and formulate a course of action in the particular situation. At
 the conclusion of any crisis meeting of this committee, it will evaluate the response that was
 made and make recommendations to the President for improvements in both prevention and
 response.

          2.5.2.5       Website News and Information
 The University Communications staff maintains the University‘s external Website and the
 section that features news and events at Saint Leo University. The ―News‖ page features photos
 and news releases about events on campus that are of interest to the public as well as the
 University community, including lectures, workshops, music programs and theater productions.
 From the first page of the ―News‖ section, users are linked to the current calendar of events that
 lists campus programs open to the public, and a news release archive. In addition, online
 versions of several important University publications are available. Current issues of the Annual
 Report, Spirit magazine, and SLU News are available. Past issues of these publications also can
 be accessed through the online archive. The University‘s official Style and Graphic Standards
 Manual, which helps ensure that that the University maintains a unified graphic image, are
 available on the Intranet for use by University constituents for creating brochures, flyers, posters,
 etc.

 2.6      Scientific Research Policies

          2.6.1     Research Activities Policy
 See Volume IV, Subsection 4.8.6.


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 2.7      Copyright, Patent, and Invention Policies

          2.7.1     Copyright Guidelines
 It is Saint Leo University‘s policy to comply with United States copyright law, including the
 Digital Millennium Copyright Act (DMCA) and the Technology, Education and Copyright
 Harmonization Act (TEACH). The University further acknowledges that copyright law applies
 to digital resources and that any unauthorized distribution or redistribution of music, movies,
 text, software, or other protected media may be a violation of the law. The University‘s values
 encourage all members of the University community to exercise individual stewardship in
 understanding and upholding the provisions of the copyright law and respecting the copyrights of
 others.

          2.7.1.1       The TEACH Act
 The Technology, Education, and Copyright Harmonization Act (TEACH) was signed into law on
 November 2, 2002. The Act updates copyright law in the area of digital distance education and,
 if numerous requirements are met, facilitates the use of copyrighted materials in digital distance
 education efforts without having to obtain prior permission from the copyright owner. It is an
 effort to simulate fair use as allowed by copyright law.
 However, TEACH imposes certain requirements on the use of copyrighted materials in distance
 education. TEACH is more restrictive than the law allowing face-to-face instructional use of
 copyrighted materials. For uses that fall outside the scope of TEACH, the user should seek
 permission or evaluate the use under the fair use exemption of the copyright law.
 TEACH is a compromise between the needs of academe to make free use of copyrighted
 materials as an efficient and effective teaching tool, and the needs of copyright holders to protect
 the value of their work effort. Most of the TEACH requirements are designed to allow
 transmission of copyrighted works (or parts thereof) to a legitimate student audience for a limited
 time, without permission or license fees, while preventing dissemination that could undermine
 the market for the works.
 In general, faculty who want to incorporate works into digital transmissions for instructional
 purposes pursuant to TEACH must:
 1. Not use unlicensed commercial works that are sold or licensed for purposes of digital
    distance education.
 2. Not use pirated works or works where the faculty member otherwise has reason to know the
    copy was not lawfully made.
 3. Limit the use of works to an amount and duration comparable to what would be displayed or
    performed in a live physical classroom setting. TEACH does not authorize the digital
    transmission of textbooks or course packs to students.
 4. Faculty should interactively use the copyrighted work as part of a class assignment in the
    distance education course.      It should not be an entertainment add-on or passive
    background/optional reading.
 5. Use software tools provided by the University to limit access to the works to students
    enrolled in the course, to prevent downstream copying by those students, and to prevent the
    students from retaining the works for longer than a ―class session.‖
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 6. Notify the students that the works may be subject to copyright protection and that they may
    not violate the legal rights of the copyright holder.
 Use the Teach Checklist (See Appendix 2.7.1.1) to make sure all requirements have been met.

          2.7.1.2         Fair Use
 The University seeks to encourage the fair use of copyrighted materials, balancing the research
 needs of faculty, students, and staff while respecting the intellectual property rights of copyright
 holders and abiding by the pertinent laws governing usage of copyrighted materials. According
 to Title 17, Chapter 1, Section 107 of the U.S Copyright law:
 In determining whether the use made of a work in any particular case is a fair use the factors to
 be considered shall include:
 1. The purpose and character of the use, including whether such use is of a commercial nature
    or is for nonprofit educational purposes;
 2. The nature of the copyrighted work;
 3. The amount and substantiality of the portion used in relation to the copyrighted work as a
    whole; and
 4. The effect of the use upon the potential market for or value of the copyrighted work. The fact
    that a work is unpublished shall not itself bar a finding of fair use if such finding is made
    upon consideration of all the above factors.
 For a more complete set of guidelines, see Fair Use Guidelines for Educational Multimedia
 developed by The Consortium of College and University Media Centers.

          2.7.1.3         Peer to Peer Filing Sharing
 Campus computer networks are often used to reproduce and distribute copyrighted music,
 movies, television shows, pictures, and software through the use of peer-to-peer (P2P) networks.
 P2P file sharing applications allow a computer to connect to a P2P network, and once connected,
 make it possible to download and share files with other users on the network. When Saint Leo
 University receives a complaint from a copyright holder, the University notifies the individual
 involved and passes along any information received from the copyright holder to that individual.
 The University does not supply any information to the copyright holder about the individual
 involved unless a valid subpoena is presented.



              2.7.1.3.1       Legality of Peer-to-Peer Filing Sharing
 P2P technologies have many legitimate uses. For this reason, Saint Leo does not ban ―P2P‖
 programs from its network. The University believes, however, that the primary use of P2P
 technology has been copying of commercial music and video files, without the copyright holder's
 permission, for personal enjoyment. It is that type of activity that generally violates the
 Copyright Law.




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               2.7.1.3.2      Penalties for Violation of Copyright
 University Disciplinary Action: Copyright infringement can subject a student to disciplinary
 action under the Student Code of Conduct, since violation of law or University policy is grounds
 for discipline. First offenses will result in a notice from Computing Services to cease illegal
 activity. Failure to comply or further incidents of infringement may result in further disciplinary
 action including by not limited to suspension and loss of network access for the infringing
 computer. Sanctions may include suspension of network access (meaning loss of access to Saint
 Leo email account and course web site access) and formal University disciplinary action.
 Civil Liability: Persons found to have infringed may be held liable for substantial damages and
 attorneys‘ fees. The law entitles a plaintiff to seek statutory damages of $150,000 for each act of
 willful infringement.
 Criminal Liability: Copyright infringement also carries criminal penalties under the federal No
 Electronic Theft Act. Depending on the number and value of the products exchanged, penalties
 for a first offense may be as high as three years in prison and a fine of $250,000. Saint Leo is not
 the police; however, Saint Leo will cooperate with the law enforcement agencies when required.



               2.7.1.3.3      Obtaining Digital Music and Movie Files Legally
 Some music, movies and television shows can be legally obtained through online subscription
 services or from sites officially permitted by the copyright holders to offer certain downloads.
 Some of the ―pay for play" services from which these files can be legally obtained are listed
 below.
 Music
         Apple iTunes Music Store
         Rhapsody
         eMusic
         MP3.com

 Movies/TV
         AtomFilms
         CinemaNow
         MovieFlix
         Movielink
         NetFlix


          2.7.1.4          Resources
 For additional reading on intellectual property issues, and copyright in particular, see these
 online resources.
 1. The American Library Association;
 2. Bitlaw on technology law;

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 3. Digital Millennium Copyright Act at EDUCAUSE;
 4. Intellectual property law at www.intelproplaw.com; and
 5. U.S. Copyright Office.
 1.

          2.7.1.5         Guidelines for Off-Air Recordings
 In March 1979, a congressionally appointed committee determined the following guidelines
 concerning the application of ―fair use‖ to the recording, retention, and use of television
 broadcast programs for educational purposes. They specify periods of retention and use of such
 off-air recordings in classrooms and similar places devoted to instruction and for homebound
 instruction. The purpose of establishing these guidelines is to provide standards for both owners
 and users of copyrighted television programs.
 The guidelines were developed to apply only to off-air recording by nonprofit educational
 institutions.
 A broadcast program may be recorded off-air simultaneously with broadcast transmission
 (including simultaneous cable retransmission) and retained by a nonprofit educational institution
 for a period not to exceed the first forty-five (45) consecutive calendar days after date of
 recording. Upon conclusion of such retention period, all off-air recordings must be erased or
 destroyed immediately. ―Broadcast programs‖ are television programs transmitted by television
 stations for reception by the general public without charge.
 Off-air recordings may be used once by individual teachers in the course of relevant teaching
 activities, and repeated once only when instructional reinforcement is necessary, in classrooms
 and similar places devoted to instruction within a single building, cluster or campus, as well as in
 the homes of students receiving formalized home instruction, during the first ten (10)
 consecutive school days in the forty-five (45) day calendar day retention period. ―School days‖
 are school session days – not counting weekends, holidays, vacations, examination periods, and
 other scheduled interruptions - within the forty-five (45) calendar day retention period. Off-air
 recordings may be made only at the request of and used by individual teachers, and may not be
 regularly recorded in anticipation of requests. No broadcast program may be recorded off-air
 more than once at the request of the same teacher, regardless of the number of times the program
 may be broadcasted.
 A limited number of copies may be reproduced from each off-air recording to meet the
 legitimate needs of teachers under these guidelines. Each such additional copy shall be subject
 to all provisions governing the original recording.

          2.7.1.6         Copyright in Face-to-Face Instruction

              2.7.1.6.1       Exemption to Copyright
 17 U.S.C. 110 (1) of the copyright law creates an exception to the copyright holder‘s exclusive
 right of performance. The ―face-to-face‖ exemption allows an educator to perform a work
 (including home use video) in class, as long as the following criteria are met:
 1. Applies only to non-profit educational institutions;

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 2. Applies only to instructional activities in the classroom where the teacher and students are in
    the same location;
 3. Covers performances of copyrighted works by teachers, students, and guest lecturers;
 4. The audience must be composed of members of one class only;
 5. The performance must be part of ―systematic instruction,‖ which does not include
    recreational or cultural programs;
 6. The performance must take place in a classroom or similar place devoted to instruction (i.e.,
    not a gymnasium, auditorium, class play, graduation, athletic event, etc.); and
 7. Must use a lawfully made copy of the film or video. When a professor has taken parts of
    copyrighted materials to make the copy, whether or not the copy was lawfully made depends
    upon an analysis of the four ―fair use‖ factors. The face-to-face exemption itself does not
    authorize any copying.
 There are no exceptions to the above requirements. Further, the relationship between the film or
 video and the course must be explicit. Films or videos, even in a ―face-to-face‖ classroom
 setting, may not be used for entertainment or recreation, whatever the work‘s intellectual content.

          2.7.2     Ownership of Copyrightable Materials and Intellectual Property
 This document describes Saint Leo University‘s policies and associated administrative
 procedures for ownership of copyrightable materials and other intellectual property. Its
 objectives are:
 1. To enable the University to foster the free and creative expression and exchange of ideas and
    comment;
 2. To preserve traditional University practices and privileges with respect to the publication of
    scholarly works;
 3. To establish principles and procedures for sharing income derived from copyrightable
    material produced at the University; and
 4. To protect the University‘s assets and imprimatur.

          2.7.2.1       Overview
 Faculty at the University must be free to choose and pursue areas of study and concentration
 without interference, to share the results of their intellectual efforts with colleagues and students,
 to use and disseminate their own creations, and to take their created works with them should they
 leave the University.
 This copyright policy is intended to maintain those traditional norms and values that foster, in
 various ways, the open and free exchange of ideas and opinions. In this regard the policy
 formulated here is guided by a basic tenet of the 1940 Statement of Principles on Academic
 Freedom and Tenure of the American Association of University Professors:
 Institutions of higher education are conducted for the common good and not to further the
 interest of either the individual teacher or the institution as a whole. The common good depends
 upon the free search for truth and its free expression.

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 The ongoing revolution in the use of information technology for the production and
 dissemination of knowledge enables members of the University community to create new forms
 or types of scholarly works, to communicate with current audiences with new types of materials,
 and to reach new audiences. The dramatic changes in information technologies and the ways in
 which they are employed provide an occasion to examine and clarify policy for copyright of
 works of scholarship produced at the University. This copyright policy statement delineates the
 rights and responsibilities of the University and its faculty, employees, students, and other
 members of the community.
 By longstanding custom, faculty members hold copyright for books, monographs, articles, and
 similar works as delineated in the policy statement, whether distributed in print or electronically.
 This pattern will not change. This copyright policy retains and reasserts those rights.

          2.7.2.2       Copyright Ownership Policy
 Copyright is the ownership and control of the intellectual property in original works of
 authorship that are subject to copyright law. It is the policy of the University that all rights in
 copyright shall remain with the creator unless the work is a work-for-hire (and copyright vests in
 the University under copyright law), is supported by a direct allocation of funds through the
 University for the pursuit of a specific project, is commissioned by the University, makes
 significant use of University resources or personnel, or is otherwise subject to contractual
 obligations.
 1. Books, Articles, and Similar Works Including Unpatentable Software: In accord with
    academic tradition, except to the extent set forth in this policy, Saint Leo University does not
    claim ownership to pedagogical, scholarly, or artistic works, regardless of their form of
    expression. Such works include those of students created in the course of their education,
    such as dissertations, papers and articles. The University claims no ownership of popular
    nonfiction, novels, textbooks, poems, musical compositions, unpatentable software, or other
    works of artistic imagination that are not institutional works and did not make significant use
    of University resources or the services of University non-faculty employees working within
    the scope of their employment.
 2. Institutional Works: The University shall retain ownership of works created as institutional
    works. Institutional works include works that are supported by a specific allocation of
    University funds or that are created at the direction of the University for a specific University
    purpose. Institutional works also include works whose authorship cannot be attributed to one
    or a discrete number of authors but rather result from simultaneous or sequential
    contributions over time by multiple faculty and students. For example, software tools
    developed and improved over time by multiple faculty and students where authorship is not
    appropriately attributed to a single or defined group of authors would constitute an
    institutional work. The mere fact that multiple individuals have contributed to the creation of
    a work shall not cause the work to constitute an institutional work.
 3. Patent and Copyright Agreement: All faculty, staff, student employees, and students who
    participate or intend to participate in teaching and/or research or scholarship projects at Saint
    Leo University are bound by this policy. Except as described in #1 above, this agreement
    assigns rights to copyrightable works resulting from University projects to Saint Leo
    University. This policy applies, and those subject to this policy are deemed to assign their
    rights to copyrightable works, whether or not an Agreement is signed and is on file.
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 4. Works of Non-Employees: Under the Copyright Act, works of non-employees such as
    consultants, independent contractors, etc. generally are owned by the creator and not by the
    University, unless there is a written agreement to the contrary. As it is Saint Leo
    University‘s policy that the University shall retain ownership of such works (created as
    institutional rather than personal efforts, as described in #2 above), Saint Leo University will
    generally require a written agreement from non-employees that ownership of such works will
    be assigned to the University. Examples of works which the University may retain non-
    employees to prepare are:
    a. Reports by consultants or subcontractors;
    b. Computer software;
    c. Architectural or engineering drawings;
    d. Illustrations or designs; and
    e. Artistic works.
 5. Videotaping and Related Classroom Technology: Courses taught and coursewares developed
    for teaching at Saint Leo University belong to the University. Any courses which are
    videotaped or recorded using any other media are Saint Leo University property, and may not
    be further distributed without permission from the appropriate academic dean. Blanket
    permission is provided for the use of students, or for other University purposes. Prior to
    videotaping, permission should be obtained from anyone who will appear in the final
    program.
 6. Contractual Obligations of the University: This Copyright Ownership Policy shall not be
    interpreted to limit the University‘s ability to meet its obligations for deliverables under any
    contract, grant, or other arrangement with third parties, including sponsored research
    agreements, license agreements and the like. Copyrightable works that are subject to
    sponsored research agreements or other contractual obligations of the University shall be
    owned by the University, so that the University may satisfy its contractual obligations.
 7. Use of University Resources: Saint Leo University resources are to be used solely for
    University purposes and not for personal gain or personal commercial advantage, nor for any
    other non-University purposes. Therefore, if the creator of a copyrightable work makes
    significant use of the services of University non-faculty employees or University resources to
    create the work, the creator shall disclose the work to the Vice President of Academic Affairs
    and assign title to the University. Examples of non-significant use include ordinary use of
    desktop computers, the Library, and limited secretarial or administrative resources.
    Questions about what constitutes significant use shall be directed to the appropriate dean or
    the Vice President of Academic Affairs.
 8. Reconveyance of Copyright to the Creator: When copyright is assigned to the Saint Leo
    University because of the provisions of this policy, the creator of the copyrighted material
    may make a request to the Vice President of Academic Affairs that ownership be reconveyed
    back to the creator. Such a request can, at the discretion of the Vice President of Academic
    Affairs, be granted if it does not:
    a. Violate any legal obligations of or to the University,
    b. Limit appropriate University uses of the materials,

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    c. Create a real or potential conflict of interest for the creator, or
    d. Otherwise conflict with University goals or principles.

          2.7.2.3       Administration of Policy
 1. Determination of Ownership and Policy: The Vice President of Academic Affairs will
    resolve any questions of ownership or other matters pertaining to materials covered by this
    policy.
 2. Licensing and Income Sharing:
    a. Licensing: The Vice President of Academic Affairs seeks the most effective means of
       technology transfer for public use and benefit and, toward that end, handles the
       evaluation, marketing, negotiations and licensing of University-owned inventions or
       copyrightable materials with commercial potential. Computer databases, software and
       firmware, and other copyrightable works owned by the University, are licensed through
       the Vice President of Academic Affairs. The Vice President of Academic Affairs must
       approve in advance exceptions to this procedure.
    b. Royalty Distribution: The Vice President of Academic Affairs will allocate royalties
       assigned to the University. If copyright protection alone is claimed, royalties normally
       will be allocated in a similar manner, with the ―inventor‘s share‖ allocated among
       individuals identified by the investigator (or department head if not under a sponsored
       agreement), based on their relative contributions to the work. Where royalty distribution
       to individuals would be impracticable or inequitable (for example, when the
       copyrightable material has been developed as a laboratory project, or where individual
       royalty distribution could distort academic priorities), the ―inventor‘s share‖ may be
       allocated to a research or educational account in the laboratory where the copyrightable
       material was developed.
 3. Assignments: No assignment, license or other agreement may be entered into or will be
    considered valid with respect to copyrighted works owned by the University except by an
    official specifically authorized to do so.
 4. Use of the University Name in Copyright Notices: The following notice should be placed on
    University-owned materials in order to protect the copyright: Copyright © [year]. The Board
    of Trustees of Saint Leo University. All Rights Reserved.
    No other institutional or departmental name is to be used in the copyright notice,
    although the name and address of the department to which readers can direct inquiries
    may be listed below the copyright notice. The date in the notice should be the year in
    which the work is first published, i.e. distributed to the public or any sizable audience.
    Additionally, works may be registered with the United States Copyright Office using
    its official forms.
 5. Copying of Works Owned by Others: Members of the University community are cautioned
    to observe the rights of other copyright owners. Contact the Vice President of Academic
    Affairs‘ Office for University policies pertaining to copying for classroom use. Policies
    regarding copying for library purposes may be obtained from the Director of the Library.
 6. Sponsored Agreements: Contracts and grants frequently contain complex provisions relating
    to copyright, rights in data, royalties, publication and various categories of material including
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    proprietary data, computer software, licenses, etc. Questions regarding the specific terms and
    conditions of individual contracts and grants, or regarding rules, regulations and statutes
    applicable to the various government agencies, shall be addressed to the Vice President of
    Academic Affairs.

         2.7.2.4       Other Intellectual Property
 1. Trade and Service Marks: Trade and service marks are distinctive words or graphic symbols
    identifying the sources, product, producer, or distributor of goods or services. Trade or
    service marks relating to goods or services distributed by the University shall be owned by
    the University. Examples include names and symbols used in conjunction with computer
    programs or University activities and events. Consult the Vice President of Academic
    Affairs for information about registration, protection, and use of marks.
 2. Proprietary Information: Proprietary information arising out of University work (e.g., actual
    and proposed terms of research agreements, financial arrangements, or confidential business
    information) shall be owned by the University. ―Trade secret‖ is a legal term referring to any
    information, whether or not copyrightable or patentable, which is not generally known or
    accessible, and which gives competitive advantage to its owner. Trade secrets are
    proprietary information.

         2.7.2.5       Explanation of Terms
 1. Copyrightable Works: Under the federal copyright law, copyright subsists in ―original works
    of authorship‖ which have been fixed in any tangible medium of expression from which they
    can be perceived, reproduced, or otherwise communicated, either directly or with the aid of a
    machine or device. These works include:
    a. Literary works such as books, journal articles, poems, manuals, memoranda, tests,
       computer programs, instructional material, databases, bibliographies;
    b. Musical works including any accompanying words;
    c. Dramatic works, including any accompanying music;
    d. Pantomimes and choreographic works (if fixed, as in notation or videotape);
    e. Pictorial, graphic and sculptural works, including photographs, diagrams, sketches and
       integrated circuit masks;
    f. Motion pictures and other audiovisual works such as videotapes; and
    g. Sound recordings.
 2. Scope of Copyright Protection: Copyright protection does not extend to any idea, process,
    concept, discovery or the like, but only to the work in which it may be embodied, illustrated,
    or explained. For example, a written description of a manufacturing process is copyrightable,
    but the copyright only prevents unauthorized copying of the description; the process
    described could be freely copied unless it enjoys some other protection, such as patent.
    Subject to various exceptions and limitations provided for in the copyright law, the copyright
    owner has the exclusive right to reproduce the work, prepare derivative works, distribute
    copies by sale or otherwise, and display or perform the work publicly. Ownership of
    copyright is distinct from the ownership of any material object in which the work may be
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       embodied. For example, if one purchases a videotape, one does not necessarily obtain the
       right to make a public showing for profit.
       The term of copyright in works created on or after January 1, 1978, is the life of the author
       plus seventy years. Copyright in works-for-hire is for ninety-five years from the date of first
       publication or one hundred twenty years from creation, whichever period first expires.
 3. Works for Hire: ―Work for hire‖ is a legal term defined in the Copyright Act as ―a work
    prepared by an employee within the scope of employment.‖ This definition includes works
    prepared by employees in satisfaction of sponsored agreements between the University and
    outside agencies. Certain commissioned works also are works for hire if the parties so agree
    in writing.
 The employer (i.e., the University) by law is the ―author,‖ and hence the owner, of works for hire
 for copyright purposes. Works for hire subject to this principle include works that are
 developed, in whole or in part, by University employees. Where a work is jointly developed by
 University employees and a non-University third-party, the copyright in the resulting work
 typically will be jointly owned by the University and the third party. In such instances, both the
 University and the other party would have nonexclusive rights to exploit the work, subject to the
 duty to account to each other. Whether the University claims ownership of a work will be
 determined in accordance with the provisions of this policy, and not solely based upon whether
 the work constitutes a work-for-hire under the copyright law. For example, copyright in
 pedagogical, scholarly or artistic works to which the University disclaims ownership under this
 policy shall be held by the creators regardless of whether the work constitutes a work-for-hire
 under copyright law. Only the Vice President of Academic Affairs may relinquish University
 ownership in a work for hire.

 2.8        Institutional Advancement Policies
 The purpose of these policies is to specify procedures necessary for the solicitation, review, and
 acceptance of gifts and bequests to the University.

            2.8.1    Background and Authority
 The objective of the development program at the University is to encourage, accept, and hold
 gifts made to the University in the form of any and all types of real or personal property for the
 purpose of advancing the welfare and development of the University and to aid it in carrying out
 its commitment to provide educational opportunities.
 The Board of Trustees has authority over policies and procedures for all fund raising activities
 and acceptance of all gifts and grants from non-governmental sources. With certain exceptions
 provided for herein, such authority has been delegated to the University‘s President or the
 President‘s designees. The Board of Trustees retains the power of final approval of the policies
 and procedures that govern all fund raising activities and for such special Board decisions as are
 required by these policies and procedures.
 Members of the University community who may be involved in fund raising activities should be
 aware of development policies and procedures. This statement has been prepared as an aid to the
 approved policies and procedures.
 The Vice President for University Advancement will provide information regarding the
 interpretation and clarification of these policies and procedures.
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          2.8.2     Soliciting Charitable Contributions
 In soliciting charitable contributions, no staff member or representative of the University is
 authorized to commit the University to an agreement which is in conflict with established
 policies and procedures, or which compromises, in any manner, the position of any office or
 department in the performance of its assigned responsibilities.
 Any member of the campus community who wishes to seek a grant or other contribution of
 money, real and personal property, or gift-in-kind from an individual, corporation, foundation, or
 other non-governmental agency for the purpose of continuing, enlarging, or imitating an
 approved program, project or activity, will coordinate such solicitation effort from its inception
 with the Vice President for University Advancement. The Vice President for University
 Advancement will ensure that, in the solicitation of support from such sources, University
 priorities are observed and plans for such programs, projects or activities have been reviewed
 and approved in advance of solicitation by academic, financial, and other appropriate
 administrative officers.

          2.8.3     Acceptance of Charitable Contributions
 As a general rule, a solicitation for a gift or bequest should stress the advantages of an
 unrestricted gift. Prior to acceptance, a bequest or restricted gift must be appraised to assure that
 it does not place unreasonable constraints on the University. The language used in establishing
 restricted and endowed funds should be such that the terms can be modified to permit suitable
 use in the future as conditions require in the light of changed circumstances.
 While the University will accept gifts which are restricted so as to affirmatively assist particular
 individual or group efforts, it is the policy of the University to seek to persuade the donor, when
 appropriate, to allow language in the deed of gift permitting use of the funds for general
 purposes.
 Scholarship gifts may not be accepted by the University if they are offered on the condition, or
 with the understanding, that the award will be made to a student of the donor‘s choice.

          2.8.4     Gift Valuation
 Before acceptance, gifts will be assessed by the Vice President for University Advancement in
 coordination with appropriate department heads to assure that such gifts do not impose
 unreasonable constraints or conditions upon the University, and are in accord with capacity to
 provide the appropriate care for such property. No payment for the expense involved in
 accepting such a gift will be made without the express authorization of the Vice President for
 University Advancement. Whenever the acceptance commits the University to a major or
 extraordinary obligation not already provided herein, the acceptance must be approved by the
 Board of Trustees.
 In setting up or reviewing the terms of any gift with a donor, a representative of the University
 may suggest wording or terms that will assist the University in complying with the donor‘s
 wishes. The representative will not, however, give tax or legal advice. All prospective donors
 should be advised to seek the counsel of their attorneys and/or their tax and estate-planning
 advisors concerning all aspects of their proposed gift. If the donor refuses to employ that
 person‘s own counsel, the University‘s counsel should be contacted for procedural guidance.

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 Gifts will be valued by the University on the date the donor relinquishes control of the assets in
 favor of the University. The amount reported should be arrived at without regard to the donor‘s
 estimation of the gift‘s value, the worth and date of the gift as reported by the donor to the IRS,
 or the value placed on it by the IRS in reference to the donor‘s tax liability.
 In cases where gifts are made in cash, the valuation does not pose a problem. In cases where
 gifts are made with securities real and personal property, or bearing some real or implied
 obligation on the part of the University, the following guidelines will be observed:

          2.8.4.1       Securities
 The University will report gifts of securities at market value on the date the donor relinquishes
 assets in favor of the University. Neither losses nor gains realized by the University‘s sale of
 securities nor brokerage fees or other expenses associated with the transaction will affect the
 value reported.

          2.8.4.2       Real and Personal Property
 Major gifts of real and personal property — such as land, vehicles and works of art — will be
 reported at the fair market value placed on them by an independent, expert appraiser. Small gifts
 of real and personal property with apparent value of less than $2,500 may be valued by a
 member of the University‘s staff, and that informal valuation will be used for reporting purposes.

          2.8.5     Recording and Acknowledging Charitable Contributions
 The Vice President for University Advancement is responsible for the processing, recording,
 acknowledging and maintenance of records and files and related correspondence and documents
 for all gifts of cash, securities, gifts-in-kind, pledges, and grants from private sources including
 individuals, corporations and private foundations. Any member of the faculty or administrative
 staff reviewing such a gift or grant will promptly forward it and all pertinent correspondence to
 the Vice President for University Advancement for deposit, accounting and acknowledgment.
 After the recording of such gifts, securities and original documents (such as wills, trusts, deeds,
 annuity agreements, contracts and correspondence) establishing restrictions on such gifts will be
 deposited into the custody of the Treasurer of the Board of Trustees.
 All personal gift records identifying a donor will be treated with professional discretion and will
 be subject to the normal listings and uses of the University. Gift records of donors requesting
 confidentiality or anonymity will be accorded such. However, the Vice President for University
 Advancement may disclose such information or documentation as authorized by such a donor or
 as may be required by law.

          2.8.6     Use of University Name, Seal, and Logo
 Members of the University community, either individually or collectively, shall not officially use
 the name, seal or logo of Saint Leo University in any activity outside of the regular work of the
 University. Violation of this rule is regarded as sufficient cause for dismissal or expulsion. Saint
 Leo University‘s name, seal, and logo are the exclusive property of the University and,
 consequently, may not be used in connection with goods or services offered by any outside
 organization without the prior permission of the Vice President for University Advancement.
 Members of the campus community publish a considerable number of reports in the form of
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 bulletins, circulars, scientific articles, monographs, and books, some of which are copyrighted
 and others of which are not. Material from such recognized publications is, of course, quotable,
 and proper recognition should be given to both the individual author and to the University in
 connection with such quotations.
 Official stationery may not be used in connection with ―outside activities‖ except with respect to
 those academic and scholarly activities described above. No report or statement relating to
 outside activities may have the name of the University attributed to it. The use of official
 University titles for personal gain or publicity is prohibited without the written approval of the
 Vice President for University Advancement.

 2.9      Purchasing and Financial Policies

          2.9.1     Record Retention and Destruction Policy (Rev 12/2008)
 The purpose of this Record Retention and Destruction Policy is to ensure that necessary records
 and documents are adequately protected and maintained and to ensure that records that are no
 longer needed or of no value are discarded at the appropriate time.
 Each department head is responsible for comparing its retained documents that are used and
 maintained by the department with the documents listed in the Record Retention and Destruction
 Policy. The department head will annually review currently-used records and forms to determine
 the adequacy and appropriate of the department‘s records and forms. Each department head will
 refer to the University‘s Educational Records Policy to ensure departmental compliance with the
 Family Educational Rights and Privacy Act (FERPA).
 The Record Retention and Destruction Policy will periodically be reviewed by Business Affairs
 in consultation with each department head to determine any special circumstances that
 necessitate changes in the retention periods. Requests for changes in retention periods or
 deviations from specified retention periods shall be made to the Vice President of Business
 Affairs, and may be implemented only after approval by the University General Counsel.
 The General Counsel or the Vice President of Business Affairs may suspend record disposal in
 the event of a governmental audit, investigation, or pending litigation. In addition, the General
 Counsel should be notified of any situation related to University records that might give rise to
 legal action as soon as possible.

          2.9.1.1      Electronic Documents
 The provision of this policy shall apply to all documents, regardless of form. Electronic
 documents will be retained as if they were paper documents. Therefore, any electronic
 documents (including emails) that fall into one of the document types on the retention schedule
 set forth below will be maintained for the scheduled length of time.

          2.9.1.2      Document Storage
 Confidential paper documents shall be retained in a secure storage area. Where practical, boxes
 and file cabinets containing documents shall be labeled with a description of the documents and
 the date of destruction. Confidential electronic documents should be password protected in
 accordance with the University‘s password policy.

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           2.9.1.3      Document Destruction
 Absent a duty to the contrary arising under this policy or the law, the University shall destroy
 documents after expiration of the applicable retention periods. Departments are responsible for
 the destruction of their own records, with the oversight of the applicable Vice President. The
 University will, from time to time, coordinate and facilitate document destruction by engaging
 appropriate shredding and/or recycling services.
 Records can be destroyed in one of the following ways:
    1. Non-confidential paper records—Recycle
    2. Confidential paper records—Shred
    3. Electronically Stored Data—Erase or destroy. (University Technology Services (UTS)
       can assist you in effectively disposing of this data.)

           2.9.1.4      Email Retention
 Emails that fit into any category listed in the Retention Periods section of this policy shall be
 treated as such a document and shall be retained accordingly. Otherwise, all emails stored on
 desktop and laptops through Microsoft Outlook or other similar email software should ordinarily
 be deleted within 90 days unless relevant to an ongoing project or subject to a legal hold. Emails
 are backed up on the University‘s mail server for a period of 30 days, and cannot be accessed
 thereafter from the mail server.



           2.9.1.5      Retention Periods
 ACT = while active or employed
 ENR = while enrolled
 LIFE = life of the affected employee
 PERM = permanent
 FISOP = June 30 of the year the related FISOP/FISAP was submitted
 The retention schedule below indicates the minimum (MIN) retention period per law/regulation.
 Please note that in many cases the University has defined its retention period (SLU) in excess of
 a minimum requirement. Saint Leo University personnel should follow the SLU retention
 period.
 Document                                                                Retention Period

 INSTITUTIONAL AND LEGAL RECORDS

 Articles of Incorporation                                               PERM
 Charter                                                                 PERM
 By-Laws                                                                 PERM
 Minutes of Trustee Meetings                                             PERM
 Minutes of Trustee Committee Meetings                                   PERM

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 Licenses                                                                 ACT + 6 years
 Deeds and Titles                                                         PERM
 Attorney Opinion Letters (Property)                                      ACT + 4 years
 Leases                                                                   ACT + 6 years
 Policy Statements                                                        10 years
 Campus Crime Reports (Annual)                                            4 years
 Campus Crime Reports (Interim)                                           2 years
 Campus Fire Reports                                                      5 years
 Contracts and Agreements                                                 ACT + 6 years
 Patent and Trademark Records                                             ACT + 6 years
 Employee Directories (Maintained by Mail Services Dept.)                 5 years

 INDIVIDUAL STUDENT RECORDS

 Name Change Authorization                                                ENR + 6 years
 Tuition & Fee Charges (In Student A/R files)                             ENR + 6 years

 Medical Records                                                          7 years

 FINANCIAL AID RECORDS

 Student Files

 Applications                                                             5 years
 Financial Aid Awards including Federal or State Aid                      ENR + 6 years
 Financial Aid Awards consisting of only SLU sponsored Aid                ACT +1
 Financial Aid Transcripts                                                ENR + 6 years
 Lenders Name and Address                                                 ENR + 6 years
 FFEL Student or Parent Borrowers Records                                 ENR + 3 years
 Florida State Loan Records                                               5 years
 Perkins Promissory Notes (Cancellations due to Bankruptcy PERM
 Discharge or Permanent Disability)
 Perkins Promissory Notes (Paid-in-full)                                  ACT + 3 years
 Repayment History                                                        ACT + 5 years

 Student Employment

 Student Employment Agreements                                            6 years
 Student Employment Job Descriptions                                      6 years
 Timesheets                                                               6 years

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 Employment Eligibility Verification (I9 Form)                           the later of ACT + 1 year
                                                                         OR 3 years after hired

 FAO Departmental Reports and Records

 Administrative records related to State of Florida Aid (Including 6 years
 manuals & Unit Record data)
 Administrative records for Perkins, FWS, FSEOG & Pell                   Award year + 3 yrs
 FFEL Institution Participation Records                                  Award year + 3 yrs
 FISOP/FISAP                                                             FISOP + 3 years
 DOE Cash/GAPS Reports & Reconciliations                                 Award year + 3 yrs
 IPEDS(Integrated Postsecondary                                          3 years
 Education Data System)
 IPEDS (if charge of discrimination filed by EEOC)                       until    disposition    of
                                                                         charge/claim

 EMPLOYMENT APPLICATIONS/EMPLOYMENT LISTINGS

 Job Announcements and Advertisements                                    1 year

 Individual Applicants Who Are Not Hired

 Employment Applications                                                 1 year
 Background Investigation Results                                        1 year
 Resumes                                                                 1 year
 Letters of Recommendation                                               1 year

 Correspondence with Applicants

 Individual Applicants Who Are Hires

 Employment Applications                                                 ACT + 1 year
 Background Investigation Results                                        ACT + 1 year
 Resumes                                                                 ACT + 1 year
 Medical Examinations                                                    ACT + 1 year
 Letters of Recommendation                                               ACT + 6 years

 Offer Letters                                                           ACT+ 1 year

 PAYROLL RECORDS

 General Information

 Wage Rate Tables                                                        3 years


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 Cost of Living Tables                                                1 year

 Individual Employee Files

 Wage or Salary History                                               6 years
 Salary or Current Rate of Pay                                        6 years
 Payroll Deductions                                                   6 years
 Time Cards or Sheets                                                 5 years
 W-2 Form                                                             6 years
 W-4 Form                                                             6 years
 Garnishments                                                         ACT
 Payroll Register                                                     6 years
 State of Florida Employment Security Form 5208                       4 years
 Notices of Employment Security Claims                                4 years
 Form 941                                                             4 years
 Form 945                                                             4 years

 PERSONNEL FILES

 Individual Employee Files

 Employment Application or Resume                                     ACT
 Employment History                                                   ACT
 Beneficiary Designation                                              ACT
 Emergency Contacts                                                   ACT
 Medical Records                                                      ACT
 Promotions                                                           ACT
 Attendance Records                                                   3 years
 Employee Evaluations                                                 3 years
 Transfers                                                            3 years
 Personnel Actions                                                    3 years
 Disciplinary Warnings and Actions                                    3 years
 Layoff or Termination                                                3 years
 Employment Eligibility Verification (I9 Form)                        the later of ACT + 1 year
                                                                      or 3 years after hired
 General Files

 EEO-6 Reports (Now part of IPEDS)                                    3 years
 Superseded Employee Manuals                                          10 years
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 Superseded Job Descriptions                                          10 years

 EMPLOYEE MEDICAL, HEALTH AND SAFETY RECORDS

 Accident Reports                                                     6 years
 Employee Exposure Records                                            30 years
 Exposed Employee Medical Records                                     30 years
 Safety Records                                                       6 years
 Employee Medical Complaints                                          6 years
 Employee Injury Records                                              6 years

 BENEFIT RECORDS

 Individual Employee Files                                            LIFE
 Education Assistance                                                 LIFE
 Vesting                                                              6 years
 Sick Leave Benefits                                                  LIFE
 Retirement Benefits Accrued                                          LIFE
 403B Benefits Accrued                                                LIFE
 Disability Records                                                   LIFE

 General Files

 Actuarial Records                                                    6 years
 Incentive Plans (after expiration)                                   6 years
 Pension Plans (after expiration)                                     6 years
 Retirement Plans (after expiration)                                  6 years

 FEDERAL TAX RECORDS

 Form 990 and Support                                                 3 years
 Form 990-T and Support                                               3 years
 Antitrust Tax Returns and Support                                    3 years

 STATE AND LOCAL TAX RECORDS

 City & State Excise Tax Reports (Includes support documentation)     5 years
 Unclaimed Property Filings (Includes support documentation)          6 years
 REVENUE RECORDS

 Accounts Receivable (Includes Deposit and NCT Summaries)             6 years
 Accounts Receivable Subsidiary Ledgers                               6 years

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 A/R Fiscal Year End Report
 Receipts (for all gifts and sales from all sources on campus - 6 years
 Retained by the Department which effected the sale/gift)
 Each Department which processes Recharge or Cash Sales/Gift ACT + 5 years
 transactions must keep a record/ledger of all transactions
 Uncollected Accounts (Includes Charge Off files)                      ACT + 6 years
 ACCOUNTS PAYABLE RECORDS (Maintained in the A/P
 Office)

 Accounts Payable Vendor Files

 Processed/Paid Purchase Orders                                        5 years
 Original Invoices (Includes those records maintained by the 5 years
 Bookstore, Dining Services & Human Resources)
 Expense Reports                                                       5 years


 Accounts Payable Subsidiary Reports                                   5 years
 Accounts Payable Post Reports                                         5 years
 Accounts Payable Check Prep Reports                                   End of Annual Audit
 1099 and 1042 Reports                                                 7 years
 A/P Check Registers                                                   5 years
 BANK RECORDS

 Wire Transfer Records (Kept in the JV files)                          5 years
 Bank Statements                                                       5 years
 Deposit Records                                                       5 years
 Bank Reconciliations & Support                                        5 years
 Canceled Checks                                                       5 years
 GRANT AND GIFT RECORDS

 Government Grant Files                                                ACT + 3 years
 Private Grant Files                                                   ACT + 6 years
 Deeds and Titles for Donated Real Property subsequently sold          PERM
 Life Income Agreements (May need to retain as Endowment records) ACT+6
 ENDOWMENT RECORDS (And other Permanently Restricted
 Net Asset Records)

 CAPITAL PROPERTY RECORDS

 Property Records                                                      ACT + 5 years

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 Inventory                                                            ACT + 5 years
 Depreciation Schedules                                               ACT + 5 years
 Mortgage, Bonds and Other Long-Term Debt Records                     ACT + 5 years
 Property Improvement Records                                         ACT + 5 years
 Sales                                                                5 years
 Property Tax Exemption Records                                       PERM
 FINANCIAL RECORDS

 Description of Accounting System                                     ACT
 General Ledgers and Operating Ledgers                                ACT + 5 years
 Subsidiary Ledgers                                                   ACT + 5 years
 Journal Vouchers and backup (including budget entries)
 Account Reconciliations
 Annual Financial Report (audited)                                    ACT + 5 years
 Audit Reports and Work papers in support of the Annual Financial ACT + 5 years
 Report
 Unclaimed Property Records

 BUDGET RECORDS

 Annual Budget (and support)                                          ACT + 15 years
 Budget Reports                                                       ACT + 10 years
 FACILITIES RECORDS

 Building Permits

 Building Plans and Specifications                                    ACT + 5 years
 Office Layouts                                                       PERM
 Zoning Permits                                                       ACT
 Operating Permits                                                    ACT
 Maintenance Records                                                  ACT
 Motor Vehicle Records                                                ACT
 Air or Water Waste Emissions                                         ACT
 Hazardous Chemical Waste Records                                     3 years
 Laboratory Practices                                                 5 years
 LITIGATION RECORDS                                                   ACT

 Claims


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 Court Documents and Records                                             ACT
 Deposition Transcripts                                                  ACT
 Discovery Materials                                                     ACT
 Litigation Files                                                        ACT
 INSURANCE RECORDS                                                       ACT + 2 years

 Property Insurance Policies                                              PERM

 Liability Insurance Policies                                             PERM
 Insurance Claim Documents                                                PERM
 BOND DOCUMENTS                                                           PERM
 Form 1023
 501(c)(3) Determination Letter                                          Bond Life + 3 years
 Bond Transcripts, official Statements and other offering documents      PERM
 Minutes and Resolutions authorizing issuance                            Bond Life + 3 years
 Formal Elections for Bond Financings                                    Bond Life + 3 years
 Appraisals, demand surveys, or feasibility studies for bond-financed Bond Life + 3 years
 property
 Documents related to government grants associated with Bond Life + 3 years
 construction, renovation or purchase of bond financed facilities
 Publications, brochures, and newspaper articles for bond financing      Bond Life + 3 years
 Trustee Statements                                                      Bond Life + 3 years
 Correspondence (letters, e-mails, faxes, etc.)                          Bond Life + 3 years
 Reports of any prior IRS examinations of Saint Leo or its bond Bond Life + 3 years
 financings
 Documents related to investments of bond financing proceeds             PERM
 Copies of Arbitrage-Related Documents                                   Bond Life + 3 years
                                                                         Bond Life + 3 years



          2.9.2     Fixed (Capital) Asset Capitalization, Depreciation, and Disposition
                    Policy

          2.9.2.1       Overview
 All fixed (capital) assets obtained by the University are to be capitalized, depreciated, and
 disposed of in accordance with applicable laws or regulations, generally accepted accounting
 principles, and this policy. If this policy is ever inconsistent with the requirements of applicable
 laws or regulations or generally accepted accounting principles, the applicable laws or

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 regulations or generally accepted accounting principles, in that order, will take precedence over
 this policy.
 Capital assets obtained by the University include those that are purchased with University, gift,
 or grant funds, or acquired by other means.
 Tangible or intangible property acquired by the University that does not meet the definition of a
 fixed (capital) asset is to be expensed as incurred. Capital asset repair and maintenance costs
 that do not meet the definition of improvements to land, buildings, or leaseholds are to be
 expensed as incurred.
 Title to or ownership of all University property is deemed to be vested in Saint Leo University
 unless stipulated by the funding source. Title does not rest with any department, faculty, student,
 or staff member, regardless of the source of funds or donations associated with the acquisition.

          2.9.2.2       Purpose
 The purpose of this policy is to establish guidelines for the control of capital assets owned by the
 University. The purposes of the controls are to safeguard and preserve the life expectancy of
 fixed (capital) assets. The purpose of this policy is also to provide guidelines to ensure accurate
 and complete financial reporting for the acquisition of tangible and intangible property, and the
 depreciation and disposition of capital assets, in accordance with applicable laws and regulations
 and generally accepted accounting principles.

          2.9.2.3       Capitalization of Fixed (Capital) Assets
 Capital Asset Definition: A capital asset, for the purposes of this policy, is defined as tangible or
 intangible property owned by the University and property leased from others that qualify as a
 capital lease or leasehold improvement with a useful life that extends beyond the year it is placed
 in service and meets the definition and minimum dollar amount for capitalization per asset
 category as follows:
 Land: Land is real property that is purchased or acquired by gift or bequest for operating
 purposes. Land is accounted for and controlled by parcels that are identified by their legal
 description. All land costs are capitalized but not depreciated.
 All expenditures made to acquire land and to ready it for use are considered part of the land cost.
 Land costs typically include the purchase price; closing costs, such as title to the land, attorney
 and appraiser fees, and recording fees; and costs incurred to prepare the land for its intended use,
 such as grading, filling, draining, and clearing.
 When land is acquired with a building erected thereon, total cost is allocated between land and
 building in reasonable proportion at the date of acquisition. If the transfer document does not
 show the allocation other sources of information may be used, such as an expert appraisal or the
 real estate tax assessment record.
 Land Improvements: Land improvements include exhaustible modifications made to land and
 infrastructure to add to its value, enhance its functionality, or adapt it to new use. Land
 improvements with a total cost of $1,000.00 or more are capitalized.
 Land improvements typically include landscaping, roads, sidewalks, fences, curbs, bridges,
 irrigation and drainage systems, parking lots, lighting, sewer and electrical utility infrastructures,
 and athletic fields, tracks, and courts.
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 Buildings: Buildings are permanent, enclosed structures that house persons or personal property.
 Buildings are accounted for and controlled as individual buildings or structures. Buildings with a
 total cost of $1,000.00 or more are capitalized.
 The cost of buildings should include all expenditures related directly to their acquisition or
 construction. In addition to the purchase or construction costs directly identifiable with the
 building project, this would include legal and title fees, professional fees (e.g. attorneys,
 architects, engineers, etc.), surveying and appraisal fees, site preparation costs, broker‘s fees,
 closing costs, costs related to the demolition of unwanted structures, overhead and interest costs
 if new construction and any other costs necessary to place a building or structure into its intended
 location and condition for use.
 When land is acquired with a building erected thereon, total cost is allocated between land and
 building in reasonable proportion at the date of acquisition. If the transfer document does not
 show the allocation, other sources of information may be used, such as an expert appraisal or the
 real estate tax assessment record.
 Building Improvements: Building improvements include alterations, renovations, and repairs to
 existing structures that increase the value of the building or structure, make it more useful (i.e.
 increase its performance, capacity, or future service potential), or significantly increase the
 normal service life of the building or structure. Building improvements with a total cost of
 $1,000.00 or more are capitalized.
 Building improvements typically include the major replacement or upgrading of building
 systems or components necessitated by obsolescence, change in use, code requirements,
 deterioration, and/or related space modifications and aesthetic improvements. Building systems
 and components include all permanently attached fixtures, machinery, and other components that
 cannot be removed without damage to the building. Examples include boilers, furnaces, HVAC
 systems, elevators, plumbing, electrical wiring, telecommunication/data wiring, fire alarm and
 sprinkler systems, and lighting fixtures.
 Leasehold Improvements: Leasehold improvements include alterations, renovations, and repairs
 to leased facilities that increase the value of the leased facility, make it more useful (i.e. increase
 its performance, capacity, or future service potential), or significantly increase the normal service
 life of the facility. Leasehold improvements with a total cost of $1,000.00 or more are capitalized
 and amortized over the life of the lease.
 Additional guidance for building or leasehold improvements: Many times improvements and
 replacements result from a general policy to modernize or rehabilitate an older building,
 structure, or facility. Good judgment shall be used to differentiate these types of expenditures
 from normal repairs; i.e. does the expenditure increase the future service potential of the
 building, structure, or facility, enhance its efficiency, or prolong its service life, or does it merely
 maintain the existing level of service?
 Expenditures that maintain the existing level of service should be expensed as incurred.
 Expenditures that increase the future service potential of the asset should be capitalized.
 Examples of expenditures that should be capitalized (if the $1,000.00 capitalization threshold is
 met):
 1. Significant structural changes that increase the building‘s usefulness, efficiency, or useful life
    such as reinforcement of floors or walls, installation or replacement of beams, rafters, joists,
    steel grids, or other interior framing.
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 2. Improvements involving the removal of a major part or component of a building and the
    substitution of a different part or component with better or superior operating capability such
    as the replacement of single pane windows with thermal windows or the upgrading of
    plumbing and electrical wiring to meet new code requirements.
 3. Improvement costs to restore or improve buildings, such as the total or partial upgrade of a
    facility to higher standards of quality or efficiency than originally existed. Examples would
    include the complete interior renovation of a residence hall or the reconfiguration of an
    existing space to serve a new or different purpose. All costs associated with such renovation
    efforts should be capitalized as part of the building, including expenses like painting or re-
    carpeting that typically would be expensed.
 4.   The installation or complete replacement of siding, roofing, masonry, etc.:
 5.    Examples of expenditures that should be expensed as incurred (unless associated with a
      major renovation project, in which case all expenses, including those below would be
      capitalized as part of the total project cost):
      a. Work to maintain buildings and building improvements in existing condition, such as
         repainting, touch-up plastering, and any other maintenance-related expenditure that does
         not increase the value of the building.
      b. Repair or partial replacement of deteriorated siding, roofing, or masonry sections.
      c. Replacement of a part or component of a building with a new part of the same type and
         performance capabilities, such as the replacement of old windows with the same type or
         grade of windows.
      d. Replacement floor, window and wall coverings, such as linoleum, tile, carpeting, blinds,
         drapes, wallpaper, or paneling.
      e. Expenditures incurred to maintain assets in good operating condition.
 Construction in Progress: The costs of buildings or other real property assets under construction
 at a balance sheet date that meet or exceed the capitalization thresholds identified above will be
 capitalized and included on the University‘s balance sheet as ―Construction in Progress‖. When
 the constructed asset is substantially complete and put into use, accumulated construction-in-
 progress costs are capitalized and depreciated within their respective fixed (capital) asset
 category in accordance with this policy.
 Furniture and Equipment: Furniture and equipment is tangible personal property purchased or
 acquired by gift to be used for operating purposes with a total cost (fair value if donated) of
 $1,000 or more unless computer related when it is $500.00 or more, such as desks, filing
 cabinets, computer hardware, automobiles, musical instruments, and laboratory equipment.
 Personal property acquired for resale is not to be recorded as furniture or equipment but as
 merchandise inventory.
 The cost is net of any purchase discounts and includes all non-refundable purchase taxes, freight
 or transportation charges, and any costs necessary to place the asset in its intended location and
 condition for use. This includes costs paid to the vendor for installation and testing. Labor costs
 incurred by University personnel for installation and testing are not includable as part of the cost.
 Pieces of furniture with an individual cost of less than $1,000.00 that are purchased as a ―set‖ or
 ―group‖ that will be used together and have a combined cost of $1,000.00 or more should be

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 capitalized. Examples include tables and chairs for a meeting room, classroom desks, or
 bedroom sets for residence halls.
 Include the cost of extended maintenance or warranty contracts in the asset cost if the contract is
 purchased at the same time as the furniture or equipment.
 Property Leased From Others Under Capital Leases: A capital lease is a lease that is treated in a
 manner similar to a fixed (capital) asset purchase with a minimum capitalization cost of
 $1,000.00 per item. If the lease is non-cancelable and has at least one of the following
 characteristics, the leased asset is recorded on the books as a fixed (capital) asset of the
 University:
 1. It passes title to the lessee;
 2. It contains a bargain purchase option;
 3. Its lease term is at least 75% of the asset‘s estimated economic life;
 4. The present value of the minimum lease payments (discounted at the lower of the implicit
    interest rate or the incremental borrowing rate) equals or exceeds 90% of the asset‘s fair
    value.
 Similar consideration should be given to ―sets‖ or ―groups‖ of items as noted above.
 Computer Software: Computer Software is intangible property that is designed to cause a
 computer to perform a desired function. Computer software that is acquired from a third party
 shall be capitalized if the cost or fair value, if donated, is $500.00 or more.
 Library Resources: Library resources purchased for the Cannon Memorial Library are capitalized
 at their purchase price, net of any purchase discounts and including all non-refundable purchase
 taxes, freight or transportation charges, and any incidental costs.
 Library resources donated to the University to be used in the Cannon Memorial Library are
 recorded at fair value as of the date of the gift.
 Expenditures for library book binding, document delivery, electronic media disks and tapes, and
 electronic media online (Banner Finance system accounts 7052X) are expensed as incurred.
 Collections: Collection items may be acquired by either donation or purchase. Collections
 include works of art, rare books and documents, animal, botanical, or mineral specimens, and
 other items held for display or study. All collection items are capitalized, but are not depreciated.
 Collections are items that meet all of the following criteria:
 1. The collection is held for exhibition to the public or for educational purposes or research, and
    not for financial gain.
 2. The collection is protected, cared for, and preserved.
 3. At the time of acquisition, it is understood that should the collection item(s) ever be sold that
    the proceeds from the sale of the collection item(s) be reinvested in other collection items.
 Other Assets: Other assets include works of art, historical treasures, and similar assets with a cost
 of $1,000.00 or more that do not meet the definition of a collection.
 Exception to the above definition of fixed (capital) assets: If assets are purchased with federal
 funds, the institution will need to follow the applicable cost circular from the Office of
 Management and Budget for the capitalization threshold.

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          2.9.2.4       Acquisition of Fixed (Capital) Assets
 Purchases: Except Cannon Memorial Library resources, purchases are to be made using either a
 University purchase order created and approved using the Datatel online purchase order system
 or a contract between the University and the vendor. Purchases of Cannon Memorial Library
 resources are to be made using the University‘s library resources acquisition system.
 Donations: Fixed (capital) assets, donated to the University, will be recorded at the fair value of
 the property as of the date of the donation. The Office of University Relations will be notified of
 all donations of fixed (capital) assets prior to acceptance so that donations are accepted,
 documented, and acknowledged in accordance with Internal Revenue Service (IRS) regulations
 and the University‘s Gift Acceptance Policy. The Office of University Relations will coordinate
 with Financial Services to ensure that donations of fixed (capital) assets are recorded in the
 University‘s accounting records in accordance with generally accepted accounting principles, the
 University‘s gift acceptance policies, and this policy.
 Acquisition of land and buildings: For all land and building acquisitions, the Vice President for
 Business Affairs or the President will ensure that legal title to the land and/or building is
 appropriately transferred to the University. The Vice President for Business Affairs or the
 President will also coordinate with Financial Services to ensure the land or building is properly
 recorded in the University‘s accounting records.
 Acquisition of land, building, and leasehold improvements: All improvements made to
 University owned or leased land and buildings are to be managed and/or coordinated by a
 Facilities Services manager, as designated by the Associate Vice President for Business Affairs.
 The responsible Facilities Services project manager will ensure that purchases and expenditures
 related to the repair, maintenance, or improvement of land and buildings are coded in accordance
 with the coding procedures included in this policy.
 Acquisition of furniture, equipment, and computer software: University budget administrators
 and University department administrative support staff will ensure that purchases of and
 expenditures for furniture, equipment, and computer software are coded in accordance with the
 coding procedures in this policy. In the case of internally developed or implemented software,
 the responsible manager will coordinate with Financial Services to ensure that transactions are
 recorded and supporting records are maintained in accordance with generally accepted
 accounting principles.
 If a vehicle is purchased, the Controller has the responsibility to ensure that title to the vehicle is
 properly transferred and registered in the University‘s name in accordance with applicable laws
 and regulations. Facilities Services will add the vehicle to the University‘s list of fleet vehicles.
 Acquisition of library resources: The Budget Administrator for Cannon Memorial Library staff
 will ensure that purchases of and expenditures for library resources are coded in accordance with
 the coding procedures in this policy.
 Acquisition of collections, works of art, historical treasures, and other similar assets: The
 responsible University officer or manager will coordinate with Financial Services to ensure that
 purchases of and expenditures for collections, additions to collections, works of art, historical
 treasures, or other similar assets are coded in such a way to ensure they are accounted for in
 accordance with generally accepted accounting principles.



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          2.9.2.5       Coding Fixed (Capital) Asset Purchases and Expenditures
 Acquisitions of tangible or intangible personal property and real property are to be coded to the
 appropriate accounting system account code, to ensure accurate and complete financial reporting.
 Questions about appropriate account codes to use should be directed to the individuals identified
 at the end of this policy document.

          2.9.2.6       Disposition of Fixed (Capital) Assets
 When a University owned or leased fixed (capital) asset is sold or otherwise disposed (e.g. the
 asset has become obsolete, impaired, no longer has value, and/or is to be discarded), the
 responsible department manager will coordinate with Financial Services to ensure that sales or
 other tax, if applicable, is collected, and the proceeds from the sale or disposition, including sales
 tax are deposited and recorded to ensure accurate and timely financial and tax reporting. The
 responsible department manager will also ensure that legal title to the fixed (capital) asset is
 appropriately transferred to the purchaser, as applicable.
 If the asset sold or disposed of is 1) land, 2) a building, or 3) furniture, or equipment, whose cost
 at the time of acquisition was equal to or greater than $1,000.00, or software whose cost at the
 time of acquisition was equal to or greater than $500.00, Financial Services will make the
 accounting entries needed to remove the property and accumulated depreciation, if applicable,
 from the University‘s accounting records and record any gain or loss on the sale or disposition.
 Financial Services will also, if applicable, notify the appropriate government office and request
 that the University‘s name be removed from the property tax rolls as the owner of the property.


 When a vehicle is sold, the Associate Vice President of Business Affairs, or designee, has the
 responsibility to ensure that seller‘s reports and title and registration transfers are filed in
 accordance with applicable laws and regulations.

          2.9.2.7       Reporting Theft or Loss of Fixed (Capital) Assets
 When it is believed that furniture or equipment has been lost or stolen, it should be reported to
 both Security Services and the responsible department immediately.

          2.9.2.8       Responsibilities
 1. University Officers, Managers, Budget Administrators, Department Administrative Support
    Staff, and Facilities Services and Financial Services staff shall:
    a. Comply with this policy to capitalize, acquire, code, depreciate, and dispose of tangible
       and intangible personal and real property.
 2. Additional responsibilities of Financial Services staff, to be conducted in accordance with
    applicable laws and regulations, generally accepted accounting principles and this policy,
    include:
    a. Creating and maintaining the University‘s fixed (capital) asset acquisition, capitalization,
       depreciation, and disposition records, including required financial and tax reporting.



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    b. Conducting a periodic review of fixed (capital) asset expense accounts, including expense
       accounts for furniture, equipment, and computer acquisitions with a cost of less than
       $500.00, to ensure that the transactions recorded in those accounts are materially correct.
    c. Conducting periodic reconciliation of fixed (capital) asset and accumulated depreciation
       balance sheet accounts.
    d. Preparing capitalization and depreciation accounting entries at least annually and in
       conjunction with the close of the University‘s fiscal year.
    e. Preparation of fixed (capital) asset and depreciation analytical reviews, audit schedules,
       and financial statement and footnote disclosures.

         2.9.2.9       Regulatory or Authoritative References
 1. Financial Accounting Standards Board (FASB), Accounting Standards Current Text.
 2. FASB, Statement of Financial Accounting Standard (SFAS) No. 93.
 3. American Institute of Certified Public Accountants (AICPA), Accounting and Audit Guide
    for Not-for-Profit Organizations, with confirming changes as of May 1, 2002, Chapter 9.
 4. AICPA, Statement of Position 98-1: Accounting for Costs of Computer Software Developed
    for Internal Use.
 5. National Association of College and University Business Officers (NACUBO), Financial
    Reporting and Accounting Manual (FARM), ¶407.
 6. United States Office of Management and Budget (OMB), Cost Circulars, (as appropriate, if
    federal funding (grants or contracts) are involved.)

          2.9.3    Petty Cash and Cash Advance Policies

         2.9.3.1       Petty Cash
 In order to request petty cash funds or change petty cash officer, the budget officer or director
 shall e-mail the Dean or appropriate Vice President who will approve and forward approval to
 the Staff Accountant in charge of petty cash reconciliation. While a petty cash officer is
 assigned, the director or manager is ultimately responsible for the administration of petty cash
 funds.
 Petty cash funds may be set up in amounts ranging from $100.00 to $200.00. The purpose of a
 petty cash fund is to provide cash to departments/centers to cover minor expenditures, not to
 exceed $50.00, such as postage and office supplies when use of Office Depot is impossible.
 Petty cash must not be used as an operating fund (i.e. to pay invoices, goods or services), or to
 make advances or loans. The misuse of petty cash funds will result in fund termination.
 All departments/centers with approved petty cash funds must have an assigned petty cash officer
 to account for and administer such funds. The director or manager must ensure that the cash is
 kept in a secure/locked area in the center. Receipts for expenditures must be logged in the petty
 cash record and kept with remaining cash. The total of receipts, with cash on hand, must equal
 the total petty cash fund at all times, and is subject to unannounced audit.


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 Petty cash funds must be reconciled on a monthly basis and submitted to accounts payable,
 regardless of the amount spent. The petty cash reconciliation submitted to accounts payable
 must include original receipts attached to the Saint Leo University petty cash record, signed by
 the petty cash officer and the director or manager. When petty cash reconciliation is submitted,
 the total of receipts must not exceed the total value of the fund. If no petty cash is used in a
 given month, the petty cash reconciliation must be signed by the petty cash officer and director
 or manager and sent to Accounts Payable.
 Petty cash assigned to a center, department, or officer may not be reassigned to another
 department or employee. When a petty cash officer is no longer employed at the University, the
 director or immediate supervisor must reconcile funds and deposit funds separately from
 payment activity into Saint Leo University depository account. The director or immediate
 supervisor must forward petty cash record with expenditure receipts and bank cash deposit
 receipt to accounts payable. In order to assign a new petty cash officer, the appropriate request
 must be done through the Staff Accountant.

         2.9.3.2       Cash Advances
 Trane Stop at the University Campus is authorized to handle cash advance requests for $50 and
 under. Cash Advance Forms are available from Trane Stop and must be signed by the
 department manager. Cash advances will be given out to employees only, with the only
 exception being students who work in an official University capacity and have Vice President or
 Vice President designee approval.
 Unexpended cash and/or receipts must be returned to Trane Stop for reconciliation within 24
 hours of the advance. No additional cash advance requests will be accepted until all previous
 transactions are reconciled. All transactions will be charged to the requesting department‘s
 budget.
 For cash advances greater than $50, employees must follow the following steps:
 1. Complete an on-line requisition on Datatel:
    a. List the employee as the vendor (the check will be made payable to the employee).
    b. The vendor payment terms on the REQM screen will default to ―UR-Upon Receipt.‖
       Change the payment terms to ―CA-Cash Advance.‖
    c. For the item description, list the item as a cash advance and include the business purpose,
       event, and dates.
    d. GL number should be Travel Administrative 54814.
 2. Within 10 days of the event/trip, the employee must account for the advance with a Travel
    and Expense (T&E) Report, which can be found on Data Mart under Procurement Resources.
    a. Any excess cash shall be deposited at Trane Stop for employees located at University
       Campus, at which time Trane Stop will give you a receipt.
    b. For employees located at a Center; any excess cash shall be deposited in the daily
       session, charged to account number 1-0-000000-12321-0000, and a receipt printed out for
       the employee.
    c. The T&E Report must have all original receipts attached and be signed by the employee
       and supervisor, then forwarded to Accounts Payable.
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 If any cash advance is outstanding, no additional cash advances or expense reimbursements will
 be processed.

          2.9.4     Travel and Reimbursement Policies
 It is the responsibility of all employees to make their own travel arrangements. If an employee
 needs guidance, the Purchasing Department (ext 8520) can provide assistance. University credit
 cards can be used to pay for travel arrangements, otherwise contact the Purchasing Department
 to determine the best method of payment.

          2.9.4.1         University Credit Cards
 A request for a University credit card shall be made by the department head and approved by a
 Vice President. The University provides credit cards for those employees who, because of the
 nature of their position, must travel extensively on University business. Once an employee has
 been approved for a credit card, the Purchasing Department will send the employee the
 University Card Agreement that must be signed before a card is issued. The University Card
 Agreement outlines the employee‘s responsibility in regards to the credit card. The monthly
 statement will be forwarded to the employee‘s home address. The employee must make the
 monthly payments on time and in full directly to the credit card company. The University
 receives a copy of the billing sent to the employee‘s home. Should the credit card be misused in
 any way, including but not limited to, charging of personal items to the University or not paying
 in a timely manner, the University will have no choice but to cancel the credit card. The
 University does not reimburse any finance or late charges. The procedure for reimbursement of
 charges on the credit card is the same as the procedures for travel reimbursement. Specifically,
 receipts from credit card charges shall be attached to a reimbursement form and submitted to
 Accounts Payable for payment.
 Once an employee gives notice or is no longer employed, the credit card will be cancelled.

          2.9.4.2         Air Travel
 Travelers are expected to book the lowest-priced airfare available. Greater savings can be
 achieved by allowing maximum flexibility in travel planning. Most airlines have eliminated the
 discount for stay over a Saturday night. In those cases where a lower airline rate can be obtained
 by staying over a Saturday night, these savings must be weighed against the additional cost of
 meals and lodging associated with a longer stay.
 Tickets purchased with frequent flyer miles will not be reimbursed because it is difficult to
 determine the dollar value of these tickets. Frequent flyer memberships shall not influence
 travelers in flight selection.

              2.9.4.2.1       Dues for Airline Club Membership
 Dues for membership in an airline club are generally not reimbursable.        Exceptions may be
 made for those employees whose duties require them to travel abroad.




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               2.9.4.2.2      Lost Baggage
 The airlines are responsible for compensating the owners of lost baggage. The University will
 not reimburse travelers for personal items lost while traveling on business.

               2.9.4.2.3      Excess Baggage
 Employees will be reimbursed for excess baggage charges only when traveling with heavy or
 bulky materials or equipment necessary for business or when traveling for more than fourteen
 days.

               2.9.4.2.4      Cancellations
 When a trip is canceled after the ticket has been issued, the traveler shall inquire about using the
 same ticket for future travel. Travelers can reuse airline tickets if airfare eligibility requirements
 are met. These requirements shall be verified with the issuing agency. In some cases, airlines
 will credit a portion of the ticket price as a credit to be used within a specified time period. The
 ―ownership‖ of the credit depends upon if the employee received reimbursement for it. If the
 cancellation was not caused by the employee‘s direction, but rather a necessity of business, the
 lost fare will be reimbursable to the employee.

               2.9.4.2.5      Unused/Voided Airline Tickets
 Unused airline tickets or flight coupons have a cash value and therefore must not be discarded or
 destroyed. For a change fee, many non-refundable tickets can be used for future travel. The
 Purchasing Department shall be contacted if an airline ticket cannot be used. In some cases,
 airlines will credit a portion of the ticket price as a credit to be used within a specified time
 period. The ―ownership‖ of the credit depends upon if the employee received reimbursement for
 it. If the cancellation was not caused by the employee‘s direction, but rather a necessity of
 business, the lost fare will be reimbursable to the employee.

          2.9.4.3          Lodging
 Travelers may stay in a standard room at a non-luxury hotel. It is the traveler‘s responsibility to
 notify either the hotel or the agency with whom the reservation was made to cancel a room
 reservation. Travelers shall request and record the cancellation number in case of billing
 disputes. Travelers will not be reimbursed for ―no show‖ charges.

               2.9.4.3.1      Conference Reservations
 If there are several conference hotels, travelers shall stay at a non-luxury property. Many times
 discounts can be received when booking a conference hotel by using a code provided in the
 conference information.

               2.9.4.3.2      Hotel Personal Expenses
 Personal expenses incurred while traveling will not be reimbursed. Please refer to the list of
 Non-Reimbursable Expenses in paragraph 2.9.4.7.


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                 2.9.4.3.3       Lodging in a Private Residence
 If a traveler decides to stay at a private residence, travelers will be reimbursed for meals when
 receipts are provided. The University will reimburse the traveler for one ―thank you‖ dinner for
 a host family. The cost of this ―thank you‖ meal shall not exceed the cost of a hotel for one night
 which would have been utilized.

                 2.9.4.3.4       Hotel Frequent Guest Programs
 Many hotels have frequent guest programs that reward travelers with free accommodations in
 exchange for a specified number of paid room nights at the hotel. Reimbursement will not be
 given to travelers for the value of the free accommodations used for business travel.
 Membership fees associated with joining these programs are not reimbursable.

            2.9.4.4          Automobiles3
 Persons with serious driving violations are prohibited from driving University vehicles. Serious
 violations are defined as a suspended or restricted license or any drug or alcohol related violation
 in the past five (5) years. The University reserves the right to do periodic driving record checks
 for any person driving on University business. It is the employee‘s responsibility to notify the
 University immediately if a change in driving status occurs. Failure to comply with this
 provision may result in disciplinary action including dismissal.

                 2.9.4.4.1       Motor Pool Guidelines
 After deciding that traveling by car is the best option, travelers (main campus) are encouraged to
 reserve a Motor Pool car through Campus Safety. Gasoline credit cards are available for the
 Motor Pool cars.

                 2.9.4.4.2       Private Auto
 Travel by auto is reimbursable at a rate periodically determined by the University, provided such
 total reimbursement does not exceed equivalent coach fare or other reasonable available
 transportation. Reimbursable mileage shall be calculated as the lesser of the actual mileage from
 the University Center and back or from the place of departure if other than the University. Non-
 reimbursable costs include, but are not limited to, car maintenance or repair charges, tickets,
 fines, and traffic violations. Employees operating any personal or rental vehicle on University
 business are required to maintain insurance on their vehicle in the amount required by law.
 Employee insurance is primary, even on University business, when driving a personal or rental
 vehicle.

                 2.9.4.4.3       Rental Car
 Travelers may rent up to and including a full size vehicle. Car insurance shall be declined within
 the U.S. and accepted outside the U.S. Travelers may book a class of service above a full size
 vehicle:


        3
            Rental, motor pool and private vehicles.

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 1. When cars in the authorized category are not available;
 2. When additional space is required for transporting materials;
 3. For pre-approved medical reasons; and
 4. When the traveler can be upgraded at no extra cost to the University.

                    2.9.4.4.3.1    Rental Car Program
 The University may from time to time have an agreement with a major rental car provider. In
 some cases, this provider may extend discounts to Saint Leo University employees. Please check
 with the Purchasing Department to get current information. In some markets the agreement may
 not provide the lowest rate. As such, an employee should still consider checking prices to obtain
 the lower available rate.

                    2.9.4.4.3.2    Rental Car Costs
 Reimbursable costs include the daily rental fee, mileage fee, gasoline charges and tolls. Non-
 reimbursable costs include, but are not limited to, car repairs, tickets, fines, and traffic violations.

                    2.9.4.4.3.3    Rental Car Insurance
 Saint Leo University self-insures for liability arising from an employee‘s use of an automobile in
 the course and scope of his or her employment.
 Therefore employees traveling exclusively on University business in the United States will not
 be reimbursed for the purchase of insurance, including collision damage waiver and liability. The
 University‘s self-insurance will not apply to any personal trip taken in a rental car.

                    2.9.4.4.3.4    Rental Car Cancellation
 Travelers are responsible for canceling rental car reservations and must contact either the travel
 agency or the rental car company. Travelers shall request and record the cancellation number in
 case of billing disputes. No show billings will not be reimbursed.

                    2.9.4.4.3.5    Rental Car Pick Up
 Travelers shall check with the rental car agent for any last-minute specials or free upgrades. At
 the time of rental, the car shall be inspected with a rental agent; any damage found shall be noted
 on the contract before the vehicle is accepted.

                    2.9.4.4.3.6    Authorized Rental Car Drivers
 All individuals who intend to drive the rented vehicle must be listed with the rental agency for
 insurance. Only Saint Leo employees are covered under the University‘s insurance plan.
 Spouses, friends, and other non-employees listed as drivers are covered only under insurance
 provided by the rental company or under the driver‘s personal automobile insurance.




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                    2.9.4.4.3.7      Student Drivers
 If renting a car, students are expected to meet the rental company‘s minimum age requirement.
 If a student drives a Motor Pool car, the student must be cleared by Campus Safety as an
 acceptable driver.

                2.9.4.4.4      Commuting Expenses
 Travel from an employee‘s residence to a normal place of business is treated as a commuting
 expense and is not reimbursable. Any request for reimbursement of commuting expenses must
 be approved by the department head. This type of commuting expense will be treated as income
 to the recipient and reported to the IRS. Commuting trips are not covered by the University for
 collision damage or accidental death and dismemberment nor covered as Workers
 Compensation. The University frowns on reimbursing for commuting travel to an employee‘s
 primary work place.

          2.9.4.5           Meals
 Actual expenses for meals and tips are reimbursable. When on local travel, check with the
 department head to see if the noon meal will be reimbursed. Receipts from meal charges shall be
 attached to a reimbursement form and submitted to Accounts Payable for payment. If a meal
 receipt is lost, employees may still be reimbursed. The employee shall estimate the cost of the
 meal (including tip), however, the cost shall not exceed the following scale:
 1. Breakfast…………$5.50 if departure before 6 a.m.
 2. Lunch…………… $7.50
 3. Dinner…………. $12.00 if return after 7 p.m.
 As a guideline for meals, typical reimbursement shall not exceed twice the above scale.
 Exceptions may be approved at the Director level.

          2.9.4.6           Miscellaneous Reimbursable Expenses
 The following is a list of miscellaneous expenses that will be reimbursed if incurred while
 traveling on University business:
 1. Business office expenses (fax, copy services, telegrams/telexes, etc.);
 2. Business phone calls;
 3. Conference fees (include registration form with expense report);
 4. Currency conversion fees;
 5. Ground transportation (taxi, bus, subway, etc.);
 6. Laundry/dry cleaning/suit pressing for trips exceeding five days;
 7. Overnight delivery/postage;
 8. Parking and tolls;
 9. Tips; and
 10. Visa/passport consulate fees.
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          2.9.4.7          Non-Reimbursable Miscellaneous Expenses
 The following is a list of miscellaneous expenses that do not qualify for reimbursement.
 1. Airline club membership dues;
 2. Air phone usage;
 3. Annual fees for personal credit cards;
 4. Auto repairs;
 5. Baby-sitting;
 6. Barbers and hairdressers;
 7. Clothing or toiletry items;
 8. Corporate card delinquency fees or finance charges;
 9. Country club dues while traveling;
 10. Expenses related to vacation or personal days taken before, during, or after a business trip;
 11. Personal golf fees;
 12. Frequent flyer tickets;
 13. Laundry or valet services for travel of fewer than five days;
 14. Loss or theft of cash advance money or airline tickets;
 15. Loss or theft of personal funds or property;
 16. Lost baggage;
 17. Luggage, briefcases;
 18. Magazines, books, newspapers, personal reading materials;
 19. Medical expenses while traveling;
 20. Mini-bar alcoholic refreshments;
 21. Hotel in-house movies;
 22. ―No show‖ charges for hotel or car service;
 23. Optional travel or baggage insurance;
 24. Parking tickets or traffic violations;
 25. Personal accident insurance;
 26. Personal automobile routine maintenance/tune-ups;
 27. Personal entertainment, including sporting events;
 28. Personal property insurance;
 29. Personal telegrams;
 30. Personal telephone calls in excess of reasonable calls home;
 31. Pet care;

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 32. Rental car upgrades;
 33. Saunas, massages;
 34. Shoe shine;
 35. Souvenirs or personal gifts; and
 36. U.S. traveler‘s check fees.
 If an employee has any questions concerning whether an expense is reimbursable or not, it is best
 to check with the employee‘s department head before the expense is incurred.

 2.10     Identify Theft Prevention Policies

             2.10.1   Purpose

 The purpose of this policy is to establish an Identity Theft Prevention Program designed to
 detect, prevent, and mitigate identity theft to comply with Part 681 of Title 16 of the Code of
 Federal Regulations, which implement Sections 114 and 315 of the Fair and Accurate Credit
 Transactions Act (FACTA) of 2003.

             2.10.2   Definitions

 Identify theft means fraud committed or attempted using the identifying information of another
 person without authority.

 A covered account means:
 1. An account that a financial institution or creditor offers or maintains, primarily for personal,
 family, or household purposes that involves or is designed to permit multiple payments or
 transactions. Covered accounts include credit card accounts, mortgage loans, automobile loans,
 margin accounts, cell phone accounts, utility accounts, checking accounts and savings accounts; and

 2. Any other account that the financial institution or creditor offers or maintains for which there
 is a reasonably foreseeable risk to students or to the safety and soundness of the financial
 institution or creditor from identity theft, including financial, operational, compliance, reputation
 or litigation risks.

 A red flag means a pattern, practice or specific activity that indicates the possible existence
 of identity theft.

             2.10.3   Program Details

 Saint Leo University establishes this Identity Theft Prevention Program to detect, prevent, and
 mitigate identity theft. The Program shall include reasonable policies and procedures to:

        1.      Identify relevant red flags for covered accounts it offers or maintains and
                incorporate those red flags into the program;
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          2.         Detect red flags that have been incorporated into the Program;
          3.         Respond appropriately to any red flags that are detected to prevent and mitigate
                     identity theft; and
          4.         Ensure the Program is updated periodically to reflect changes in risks to students
                     and the soundness of the University‘s program to protect against identity theft.

 The program shall, as appropriate, incorporate existing policies and procedures that control
 reasonably foreseeable risks.

               2.10.4     Administration of Program
          1.         The Vice President of Business Affairs, the Associate Vice President of Student
                     Services, and the Associate Vice President/Chief Information Officer shall be
                     jointly responsible for the development, implementation, oversight, and continued
                     administration of the Program.
          2.         The Program shall train staff, as necessary, to effectively implement the Program;
                     and
          3.         The Program shall exercise appropriate and effective oversight of service
                     provider arrangements.

               2.10.5     Identification of Relevant Red Flags

     1.    The Program shall include relevant red flags from the following categories as
           appropriate:

                a.       Alerts, notifications, or other warnings received from consumer reporting
                         agencies or service providers, such as fraud detection services;
                b.       The presentation of suspicious documents;
                c.       The presentation of suspicious personal identifying information;
                d.       The unusual use of, or other suspicious activity related to, a covered
                         account; and
                e.       Notice from students, victims of identity theft, law enforcement authorities,
                         or other persons regarding possible identity theft in connection with covered
                         accounts.

     2.    The Program shall consider the following risk factors in identifying relevant            red
           flags for covered accounts as appropriate:

                a.       The types of covered accounts offered or maintained;
                b.       The methods provided to open covered accounts;
                c.       The methods provided to access covered accounts; and
                d.       Its previous experience with identity theft.

     3.    The Program shall incorporate relevant red flags from sources such as:

                a.       Incidents of identity theft previously experienced;
                b.       Methods of identity theft that reflect changes in risk; and

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           c.       Applicable supervisory guidance.

          2.10.6    Detection of Red Flags
 The Program shall address the detection of red flags in connection with the opening of covered
 accounts and existing covered accounts, such as by:

       1. Obtaining identifying information about, and verifying the identity of, a
          person opening a covered account; and

       2. Authenticating students, monitoring transactions, and verifying the validity of change of
          address requests in the case of existing covered accounts.

          2.10.7 Response

 The Program shall provide for appropriate responses to detected red flags to prevent and mitigate
 identity theft. The response shall be commensurate with the degree of risk posed.
 Appropriate responses may include:
          1.    Monitoring a covered account for evidence of identity theft;
          2.    Contacting the student;
          3.    Changing passwords, security codes, or other security devices that permit
                access to a covered account;
          4.    Reopening a covered account with a new account number;
          5.    Not opening a new covered account;
          6.    Closing an existing covered account;
          7.    Notifying law enforcement; or
          8.    Determining no response is warranted under the particular circumstances.

          2.10.8    Updating the Program

 The Program shall be updated periodically to reflect changes in risks to students or to the
 soundness of the University‘s program to protect against identity theft based on factors such as:

       1. The experiences of the University with identity theft;
       2. Changes in methods of identity theft;
       3. Changes in methods to detect, prevent and mitigate identity theft;
       4. Changes in the types of accounts that the University offers or maintains;
       5. Changes in the business arrangements of the University, including mergers,
          acquisitions, alliances, joint ventures, and service provider arrangements.



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          2.10.9    Oversight of the Program

       1. Oversight of the Program shall include:
          a.        Assignment of specific responsibility for implementation of the Program;
          b.        Review of reports prepared by staff regarding compliance; and
          c.        Approval of material changes to the Program as necessary to address
                    changing risks of identity theft.

       2. Reports shall be prepared as follows:
          a.        Staff responsible for development, implementation and administration of the
                    Program shall report to the Vice President of Business Affairs at least
                    annually on compliance by the University with the Program.

          b.        The report shall address material matters related to the Program and evaluate
                    issues such as:

               i.   The effectiveness of the policies and procedures in addressing the risk of
                    identity theft in connection with the opening of covered accounts and with
                    respect to existing covered accounts;
               ii. Service provider agreements;
               iii. Significant incidents involving identity theft and management‘s
                    response; and
               iv. Recommendations for material changes to the Program.

          2.10.10 Oversight of Service Provider Arrangements

 The University shall take steps to ensure that the activity of a service provider is conducted in
 accordance with reasonable policies and procedures designed to detect, prevent, and mitigate the
 risk of identity theft whenever the University engages a service provider to perform an activity
 in connection with one or more covered accounts.

          2.10.11 Duties Regarding Address Discrepancies

 The University shall develop policies and procedures designed to enable the University to form a
 reasonable belief that a credit report relates to the consumer for whom it was requested if the
 University receives a notice of address discrepancy from a nationwide consumer reporting agency
 indicating the address given by the consumer/student differs from the address contained in the
 consumer report.

 The University may reasonably confirm that an address is accurate by any of the following
 means:

       1. Verification of the address with the consumer/student;
       2. Review of the University‘s records;
       3. Verification of the address through third-party sources; or
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        4. Other reasonable means.


 If an accurate address is confirmed, the University shall furnish the student‘s address to the
 nationwide consumer reporting agency from which it received the notice of address discrepancy if:

     1. The University establishes a continuing relationship with the
     consumer/student; and
     2. The University, regularly and in the ordinary course of business, furnishes
     information to the consumer reporting agency.

 2.11     Miscellaneous Policies

          2.11.1     University Services

          2.11.1.1      Library
 For information regarding the Saint Leo University Library, please visit the following link:
 http://www.saintleo.edu/SaintLeo/Templates/Inner.aspx?pid=6388

          2.11.1.2      Office of University Ministry
 For information regarding the Office of University Ministry, please see the following link:
 http://www.saintleo.edu/SaintLeo/Templates/Inner.aspx?pid=190

          2.11.2     Children Unattended on Campus
 The University has an obligation to its students, faculty, staff, and visitors to conduct its
 operations and maintain its facilities in a manner consistent with its mission as an institution of
 higher education. There may be occasions when brief visits by children under the age of 17 of
 faculty, staff, and students may be necessary. Minor children may visit University offices and
 facilities, other than classrooms, for limited periods of time at the discretion of the supervisor of
 the office or facility which is the destination of the parents or child. On such occasions children
 will be subject to the same conditions as any other visitor to the University. Regular, repeated
 visits by children are not permitted. It is a parent‘s responsibility to supervise children at all
 times they are present on University premises. Children are not to be left unattended on campus.
 If children are unattended, Campus Safety shall be notified immediately.

          2.11.3     Demonstrations
 Saint Leo University recognizes the right of members of its campus community to dissent as
 long as it does not limit the freedom of others, cause a disruption to the well-being of the
 University community, damage the physical plant, or delay the opportunity of the student body
 to proceed regularly with its academic work. Public areas may be used for assembly so long as
 they do not restrict the movements of traffic. When a rally or other such gathering requires
 building space and public areas, clearance must be obtained in advance from the Assistant Vice
 President for Student Affairs. The University reserves the right to moderate the time, place,
 manner, and consent of orderly demonstration.
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          2.11.4   Dogs on Campus
 There are significant health and safety hazards and nuisances created by unrestrained dogs on
 campus. Accordingly, the following guidelines shall be enforced:
 1. Dogs shall not be brought on campus unless they are under the complete control of the owner
    and present no hazard to people. Its owner shall not regard the wearing of a muzzle by a dog
    as control.
 2. Dogs are not permitted in any campus building even though leashed except for guide dogs
    serving their owners.
 3. Dogs may not be brought onto the campus except when they are secured to a leash, cord,
    chain, or similar direct physical control of a maximum length of six (6) feet, the other end of
    which is retained by a person; or securely confined in a vehicle, cage or similar restrictive
    conveyance.
 4. Dogs may not be tethered on campus.
 5. Dogs must have a valid license and tags as evidence of current rabies vaccinations.
 6. Trained helping animals (sometimes referred to as service animals) such as guide dogs for
    the blind, as well as animals being trained as such, are permitted on the University campus
    and in University buildings for use by those employees and students with registered
    disabilities. See paragraph 2.1.5.3 for the University‘s Service Animals policy.
 7. Animals used for approved research projects are permitted on the University campus and in
    certain University buildings.

          2.11.5   Electronic Devices
 Cellular phones, pages, and other electronic devices shall not be used in a manner that causes
 disruption in the classroom, library, or within any University owned or University operated
 facility. Abuse of cellular devices with photographic capabilities, use of devices for purposes of
 photographing test questions or other notes, and materials is prohibited.           Photographing
 individuals in secured areas such as bathrooms, locker rooms or other areas where there is a
 reasonable expectation of privacy, and/or taking photographs of an individual against their will is
 strictly prohibited. Electronic transmission of photographs of any person without express
 permission is strictly prohibited.

          2.11.6   Legal Liability of the University
 The University is not legally liable for damages or loss of personal property or failure or
 interruption of services due to weather or acts of God.
 The University does not assume responsibility for lost, stolen, or damaged property. This policy
 covers not only personal possessions, but also those items in an individual‘s charge (e.g. keys to
 the residence hall room, residence hall furniture), as well as damage or theft of parked cars,
 motorcycles, and bicycles on the University‘s campuses. See the University‘s Parking
 Handbook for additional information regarding liability issues pertaining to vehicles parked on
 campus.
 Students are strongly encouraged to provide their own personal and property loss insurance.

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          2.11.7     Lost and Found
 All lost articles, found anywhere on campus, shall be given to the Campus Safety officer on duty.
 Individuals are encouraged to put their names on all personal articles.

          2.11.8     Political Activities Policy
 Saint Leo University, as an institution of higher education, supports open dialogue on political
 issues. The University reserves the right to support or oppose issues that affect its values,
 welfare, the University itself, and/or values and welfare of higher education. The University
 encourages its faculty, staff, trustees, students, and recognized campus organizations to
 participate actively in political activities on an individual basis. The policies of Saint Leo
 University do not restrict the rights and privileges of faculty, staff, students, and recognized
 campus organizations to express their opinions freely. The University is committed to
 preserving and encouraging a diversity of point of view and political opinion.
 Political activities on campus must be conducted in a neutral and nonpartisan manner, and in
 furtherance of the organization‘s legitimate exempt function (education).
 To preserve the integrity of Saint Leo University and to protect the neutrality of the University in
 political contests, the following guidelines shall apply. The Vice President of Academic Affairs
 is responsible for monitoring the guidelines.

          2.11.8.1       Guidelines
 1. In order to preserve not for profit (501C-3) status, the law requires that the University not
    participate in or intervene in any political campaign on behalf of any candidate for public
    office.
 2. The University shall not endorse any candidate for political office.
 3. All address lists used by the University are considered confidential and shall not be shared
    with candidates or parties. Individuals may personally deliver campaign literature, but mail
    room facilities are not to be used for addressing or distributing political materials.
 4. No campaign posters shall be posted in or on any of the Saint Leo University buildings or on
    campus grounds prior to or during election times, with the exception of those used for
    historical displays or educational purposes.
 5. University buildings and grounds shall not be rented or used for political fund raising.
    Further, University facilities and services may not be used by or on behalf of an outside
    organization or outside individual whose purpose is to further the cause of a particular
    candidate or political party. For example, a meeting on campus with an organizer for a
    specific candidate that is focused on recruiting campaign workers from the student
    population would be a violation of these guidelines. On the other hand, a Saint Leo
    University graduate now working for a particular candidate speaking on campus to a group of
    students about what it has been like to be in the political arena, and what the candidate‘s
    particular experience has been, would be allowable. The fact that this person casually offers
    an invitation at the end of the speech to join in on the campaign would not negate the overall
    educational focus of the event.
 6. Campus organizations may use campus communications to announce political forums and
    discussions sponsored by officially constituted campus groups.
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 7. No campus political activities, including services and materials, may be paid for with
    University funds.
 8. Use of University properties is subject to University scheduling policy.
 9. Funds or contributions for political candidates or campaigns may not under any
    circumstances be solicited in the name of Saint Leo University or on a Saint Leo University
    campus or center, and University resources may not be used in soliciting such funds. If Saint
    Leo University students, faculty, or staff make political contributions, they must do so as
    individuals and not on behalf of Saint Leo University.
 10. Campus communications, including those provided by the University‘s postal service, phone
     system, or its computer network, shall not be used in support of one particular candidate.
 11. Students of the University are free to express their individual and collective political views
     provided they understand and make clear they are not speaking for or in the name of Saint
     Leo University. Endorsement of a particular candidate by a registered student group is not
     permissible.
 12. The Saint Leo University name and insignia may not appear on stationery or any other
     material used or intended for support of a particular candidate. This prohibition also applies
     to any Saint Leo University entities supported in whole or part by University funds, such as
     registered student organizations.
 13. Appearance of a candidate for public office on campus must be for an educational or
     informational talk to the University community and must be sponsored by a registered
     student, faculty or staff organization. Appearances must be coordinated with Saint Leo
     University, who will ensure that opportunities to appear on campus are extended to all viable
     candidates running for a particular public office. The event shall not be conducted as a
     campaign rally, and the moderator shall make it clear that the institution does not support or
     oppose the candidate.

          2.11.9   Postings Policy
 The University encourages organizations to creatively advertise events and meetings. The
 following policy exists to manage and mitigate damage caused by improper posting and to
 maintain equal access to the University population.
 1. All advertisements must be approved in advance and must display the ―Approved‖ stamp
    received from the Office of Student Involvement.
 2. All postings must be placed on bulletin boards that are designated for all campus posting.
    Posting in other areas will be removed.
 3. Stuffing flyers in student mailboxes is not permitted. Flyers can only be put in the plastic
    holders mounted on the walls in the student lounge or on the bulletin boards located at the
    student mailboxes.
 4. Posting on glass/painted surfaces is strictly prohibited.
 5. Advertisements may not conceal/obscure other items.
 6. Advertisements may not indicate the sale or service of alcohol and may not depict alcohol
    use.

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 7. Staplers are the recommended method of posting.
 8. Posting must be removed by the sponsoring organization within 24 hours of the end of the
    event.
 9. Sidewalk chalking must be approved in advance by the Office of Student Involvement and
    must be cleaned by the sponsoring organization within 24 hours of the end of the event.
 10. Banners may be hung across painted surfaces with advance permission. The sponsoring
     organization may be held responsible for the costs associated with returning the surface its
     original condition.
 11. Posting in the Residence Halls must conform to the Residence Life posting policy.
 12. Failure to abide by the Posting Policy may result in holding the sponsoring organization
     responsible for the costs associated with returning any damaged surface to its original
     condition or loss of posting rights to be determined by the Office of Student Involvement.

          2.11.9.1     Posting Policy for Residence Halls
 Flyers posted in the residence halls for programs sponsored by Residence Hall Association,
 Residence Hall Councils, or Residence Life do not need to be approved by Student Involvement.
 If such flyers are to be distributed outside the residence halls, they must follow the campus
 posting policy, and be approved by the Student Involvement Office in deChantal Hall. Student
 organizations that wish to post advertisements in the residence halls need to follow campus-
 posting policy.

          2.11.9.2     Postings for Off-campus Groups or Individuals
 1. Advertisements for babysitters or off-campus apartments must be submitted to the Office of
    Student Involvement. One copy of each approved flyer will be posted in a designated
    location on campus by the Office of Student Involvement staff.
 2. Non-babysitting job and internship-related postings are handled through the Career Center
    Office.
 3. Off-campus organizations advertising lectures or workshops must receive prior approval
    through the Office of Student Involvement.
 Please note that there are specific locations on the University campus and centers for postings.
 See the Office of Student Involvement for more information.

          2.11.10 Scheduling of Facilities
 [TBA]

          2.11.11 Seat Belt Policy
 Saint Leo University recognizes that seat belts are extremely effective in preventing injuries and
 loss of life. We care about our employees and students, and want to make sure that no one is
 injured or killed in a tragedy that could have been prevented by the use of seat belts. Therefore,
 all employees and students of Saint Leo University must wear seat belts when operating a
 company-owned vehicle, or any vehicle on company premises or on company business; and all
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 occupants must wear seat belts or, where appropriate, child restraints when riding in a company-
 owned vehicle, or in a personal vehicle being used for company business. All employees,
 students, and their families are strongly encouraged to always use seat belts and the proper child
 restraints whenever they are driving or riding in any vehicle.

          2.11.12 Solicitation Policy
 The purpose of the Solicitation Policy is to ensure that the Saint Leo University community:
 1. Lives by the core values of Respect and Responsible Stewardship in regard to solicitation
    activity;
 2. Conducts solicitations for all contributions in consistent, excellent manner;
 3. Properly recognizes all contributors;
 4. Properly administers private dollars and gifts in kind;
 5. Does not over-solicit current and prospective contributors (internal and external); and
 6. Adheres to all standards and regulations in regard to philanthropic and marketing support.

          2.11.12.1     Definition
 Solicitations include but are not limited to the following activities that seek contributions of
 funding or specific items through:
 1. Personal visits, telephone, mail and e-mail communication;
 2. Sponsorships, underwriting, memberships;
 3. Events (including dinners, golf tournaments, etc.);
 4. Raffles and sales (including car washes, tee shirts, etc.).

          2.11.12.2     Review of Proposed Activities
 Activities to solicit monetary support or gift items from students, faculty, staff, alumni, friends,
 businesses, corporations, foundations, or other groups must be approved by the Division of
 University Advancement prior to solicitation.
 In consultation with appropriate individuals, the vice president of University Advancement will
 review each solicitation proposal that is to summarize: the amount to be raised, fund-raising
 costs, listing of individuals and/or groups to be solicited, solicitation materials, timeline, and the
 benefits (including benefit costs) to be received by the donor. Approval decisions will be based
 on factors to include timing of solicitation, audience, thoroughness of plan, program budget, etc.

          2.11.12.3     Deposit and receipt of revenue
 The University‘s policy is to process all gifts within 48 hours of receipt. Proceeds of activities
 are to be deposited and acknowledged as follows:
 1. Philanthropic Contributions: All private gifts (including gifts-in-kind and marketing support)
    are to be processed through the Division of University Advancement. Proceeds of event


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    tickets that include a philanthropic gift as a portion of the admission cost are processed
    through University Advancement.
 2. Raffles, Sales, Events (with no philanthropic contribution): Proceeds from raffles, sales, and
    revenues from events that do not include a gift as part of ticket price are not philanthropic
    contributions as defined by the IRS and are to be processed through Trane Stop.

          2.11.12.4     Resources Accessed in Datamart
 1. Gift Acceptance and Stewardship Policies Statement;
 2. Gift Transmittal Form;
 3. Solicitation Proposal.

          2.11.12.5     Scope of Policy
 All Saint Leo University organizations and programs are to adhere to this policy. University
 recognized student organizations are to work through the Director of Student Involvement who
 will coordinate with the Vice President of University Advancement. See Volume VI for specific
 student guidelines.

          2.11.13 Unclaimed Property Policy
 States require that all unclaimed property (checks not cashed, credit balances, etc) be turned over
 to the state of residence (last known address) of the owner of the property. Property becomes
 unclaimed if it has been held for a specified period of time without any action or attention by the
 owner.
 The holder of the property has the obligation to perform due diligence, file a report with the
 state, and remit the property to the state. Until the property is transferred it is necessary to ensure
 that proper internal controls are in place. The implementation of these controls and procedures
 will help reduce the property that must be reported to the state.
 The following procedures have been established for the performance of due diligence and the
 disposition of property determined to be abandoned.

          2.11.13.1     Unclaimed Payroll Checks
 Payroll checks are required by Florida Statutes to be reported and turned over to the state after a
 one year dormancy period. This means that any check dated from January 1 to December 31 of
 2001 would be reported and remitted to the state by May 1st of 2003. Checks dated January 1 to
 December 31 of 2002 would be reported on or before May 1st of 2004, and so forth. Because
 payroll checks have the shortest period of dormancy, due diligence for these checks should begin
 sooner than other abandoned items. If a check has not been cashed by the end of the month
 following the month in which the check was written, documentation should show that the owner
 was contacted by phone or mail and the owner‘s response recorded. For checks in the amount of
 $100 or less, at least two attempts should be made to contact the owner, with follow up if
 necessary. For checks over $100, due diligence should include a minimum of three attempts to
 contact the owner, with follow up if necessary. One attempt should be by first class mail. The


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 payroll coordinator is responsible for supervising the performance of due diligence on payroll
 checks.

          2.11.13.2    Accounts Payable Checks
 Payments to vendors are required to be reported and turned over to the state after a five year
 dormancy period. Any check dated from January 1 to December 31 of 2001 would be reported
 and remitted to the state on or before May 1st of 2007. Checks dated January 1 to December 31
 of 2002 would be reported on or before May 1st of 2008. Due diligence for these checks should
 begin in the quarter following the quarter in which the check was written. It should first be
 determined that the check is truly outstanding by checking bank records to verify that the check
 was not cashed. The vendor file should be checked to ensure that the payment was not included
 in a subsequent check and that the amount is a valid payment to the vendor. Any and all contact
 with the owner should be documented. Contact can be made by email, mail and/or phone. For
 all checks under $100, a least two attempts should be made to contact the owner, with follow up
 when necessary. For all checks over $100, a minimum of three attempts should be made, with
 follow up when necessary. Accounts payable is responsible for initiating and/or performing due
 diligence on vendor AP checks.

          2.11.13.3    Student Refund Checks
 Payments of student refunds are required to be reported and turned over to the state after a five
 year dormancy period, with the same rules applying as those for vendor checks. Due diligence
 should begin in the quarter following the quarter in which the check was written. It should first
 be determined that the check is truly outstanding by checking bank records to verify that the
 check was not cashed. The student‘s account should be checked to ensure that the payment is
 valid and has not been duplicated. Any and all contact with the owner should be documented.
 Contact can be made by email, mail and/or phone. For all checks under $100, a least two
 attempts should be made to contact the owner, with follow up when necessary. For all checks
 over $100, a minimum of three attempts should be made, with follow up when necessary. The
 Bursar is responsible for initiating and supervising the performance of due diligence on student
 refund checks.

          2.11.13.4    Credit Balances
 Credit balances in accounts with no action or attention by the owner for a five year period are to
 be reported and turned over to the state. Statements should be sent on a regular basis so that
 students will be aware of credit balances and can request a refund. After a six month period with
 no activity and no request for payment, the balance should be refunded to the student. If the
 refund is unclaimed (check returned or not cashed) the same due diligence should apply as with
 other student refund checks.

          2.11.13.5    Performance of Due Diligence
 The steps that shall be taken in performing due diligence, include:
 1. Ensure that the payment is outstanding by checking bank records and cancelled checks.
 2. Ensure that the payment was not duplicated.

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 3. Contact the owner.
 4. Resolve, if possible, or include in list of unclaimed items to be reported.

          2.11.14 Catering Policy (Rev. 5/27/2009)
 This policy applies to any event hosted by Saint Leo University where any vendor is hired to
 provide catering services.
 Catering services for the purpose of this policy are defined as ―as the preparation and delivery of
 food for a party of more than 10 people using University funds.‖ This policy is not intended to
 impact potluck lunches or order and pay for yourself meals from vendors.
 Departments/organizations/campus groups wishing to hire an outside party to provide catering
 services at an event must do the following:
          Contact the Director of Dining Services for caterer approval
         Department/organization/campus group is responsible for negotiating and coordinating
        event and catering services
 Director of Dining services will make the ultimate decision using the criteria set forth below.
 Cater must:
          Hold all licenses as required by law
          Provide proof of general liability insurance including premises, products, food borne
        illness and contamination coverage in limits designated by the University
          Provide proof of auto liability
          Provide proof of workers compensation
          Be compliant with local, federal and state law
          Have all employees trained in safe food handling
          Sign Saint Leo University Catering Agreement


          2.11.15 Vehicle Policies

          2.11.15.1     Parking
 See the University‘s Parking Handbook.

          2.11.15.2     Unlocking Locked Vehicles
 Unlocking locked cars is not a service provided by Campus Safety. They do not have the
 equipment to do this. It may be advisable to have an extra set of car keys in the safe at Campus
 Safety in the event such a situation should occur. If assistance is needed in the regard, Campus
 Safety will provide telephone numbers for AAA or local locksmiths.



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 Appendix 2.4.2.1: Password Policy Form
 Saint Leo University issues passwords (Datatel, Novell and email) to each system user dependent
 on the individual‘s position within the University.
 Passwords are issued under the strictest confidence and are not to be shared, either directly
 or indirectly, with anyone.
 Failure to abide by this policy will result in disciplinary action up to and including termination or
 dismissal for both the holder of the password and the individual using it.
 I am fully aware of and understand the University password policy and accept full responsibility
 for the proper use of all passwords issued to me by Saint Leo University.
 _________________________________________________                    _________
 Signature                           Date


 Print Name




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       Appendix 2.7.1.1: TEACH Act Checklist
                                               Generally
 1. Is the work a digital educational work, i.e., a work produced or marketed primarily for
    performance/display as part of mediated instructional activities transmitted via digital
    networks?
      No: Proceed
      Yes: evaluate Fair Use, Permissions, or pursue Licensing
 2.    Is the work lawfully made and acquired?
          Yes: Proceed
          No: Stop
 Don‘t Know: Would a reasonable evaluation indicate the origin of the work to be questionable?
 If so, stop.
 3.    Is the work
          An integral part of the class session?
          Part of systematic mediated instructional activities?
          Directly related and of material assistance to the teaching content?
          Yes: Proceed
          No: Reevaluate use of the work or evaluate Fair Use, Permissions, or pursue Licensing.
                                              Specifically
 Amounts allowed:
          Nondramatic literary works: All
          Nondramatic musical works: All
      Any other works:
                 Performances – Reasonable portions in an amount comparable to that performed
                 in live classroom
                 Displays – Amount comparable to that performed in live classroom
          Yes: Proceed
          No: Stop; go evaluate Fair Use, Permissions, or pursue Licensing
                                            Authentication
 Is transmission of the work limited, as technically feasible, to students enrolled in the course?
          Yes: Proceed
          No: Stop; evaluate Fair Use, Permissions, or pursue Licensing


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                                            Downstream Controls
 Have you implemented reasonable measures to prevent retention of the works for longer than the
 class session?
 Have you implemented reasonable measure to prevent unauthorized further dissemination in
 accessible form by the recipients?
        Yes: Proceed
        No: Stop; evaluate Fair Use ,Permissions, or pursue Licensing
                                       Conversion: Analog to Digital
 Is there a digital version of the work available to the institution?
        No: Conversion of analog to digital permitted
        Yes: Is the digital version technologically protected to prevent TEACH uses?
        Yes: Conversion of analog to digital permitted
        No: Conversion of analog to digital not permitted
                                              Notice to Students
 Is there a notice accompanying the work notifying students that the work may be protected by
 copyright?
        Yes: Proceed
        No: Provide a statement.




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     Appendix 2.9.1.1: Asset Capitalization and Depreciation Thresholds
                          Schedule A: Asset Capitalization Thresholds
 The thresholds represent the dollar value at which an asset is capitalized. Purchases less than the
 dollar value thresholds should be treated as an expense.
 Note: Threshold dollar values do not apply to ―Land‖ assets. All ―Land‖ acquisitions are
 capitalized.


       Asset Category                           Capital Threshold
       Land                                     $0
       Land Improvements                        $10,000
       Buildings                                $25,000
       Tangible Personal Property               $1,000
       Building Improvements                    $10,000
       Leasehold Improvements                   $10.000
       Software                                 $5,000
                            Schedule B: Asset Depreciation Methods
 With the exception of land, the historical cost of all capitalized assets should be depreciated
 using the straight-line method over the useful life of the asset class. An asset‘s life is the period
 of time over which services are expected to be rendered by the asset. The calculation of
 depreciation should be based on historical cost. Salvage value should generally not be utilized in
 calculating depreciation, unless the salvage value is specifically known.
                                     Depreciation        Useful         Yearly
       Asset Category                Method              life           Rate
       Buildings                     Straight Line       40 yrs.        2.5%
       Building Improvements         Straight Line       40 yrs.        2.5%
       Leasehold Improvements        Straight Line       40 yrs *       2.5%
       Land Improvements             Straight Line       15 yrs         6.7%
       Minor Equipment               Straight Line       5 yrs          20.0%
       Major Equipment               Straight Line       20 yrs         5%
       Computer equipment            Straight Line       5 yrs          33.3%
       Furnishings & Fixtures        Straight Line       4 yrs          25.0%
          Residential
       Furnishings & Fixtures        Straight Line       10 yrs         10.0%
          Office


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       Vehicles                 Straight Line     5 yrs          20.0%
       Software                 Straight Line     7 yrs          14.3%
       Library Books            Straight Line     7 yrs          14.3%
 * Lease hold improvements should be depreciated over 40 years or the term of the lease,
 whichever is shorter.




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                                          Volume III
                                       Employee Handbook


    3.0            Introduction
 The information contained in the Employee Handbook applies to all Saint Leo University
 employees. If a conflict between a policy in the Faculty Collective Bargaining Agreement and
 any other volume of the Policy Manual occurs, the Faculty Collective Bargaining Agreement
 controls for members of the collective bargaining unit to interpret, change, modify, add, or delete
 all or part of the policies in the Employee Handbook at any time without prior notice to the
 employee, and to implement such changes prior to the publication of a new Employee
 Handbook. Whenever possible, the University will make an effort to inform employees of
 changes to the policies and procedures contained in both the Employee Handbook and Volume II
 of the Policy Manual prior to implementation of the changes.
 Circumstances not specifically addressed in the Employee Handbook will be handled on a case
 by case basis, in accordance with established practice. Any questions regarding the information
 contained in the Employee Handbook shall be referred to Human Resources. An important
 effort has been made to recognize the differences present in the various campuses and areas of
 the University; however, these policies were developed by focusing on the rules and
 responsibilities our one organization has in common. If a campus or area of the University
 wishes to issue its own memoranda or other statements related to employment policies, they
 must be consistent with the Employee Handbook unless the Director of Human Resources grants
 approval. The Employee Handbook supersedes all inconsistent memoranda and statements as
 well as prior personnel policies and procedures.
 To the extent that University policies have applied to Union employees before the issuance of
 these policies, whether by practice or by contract, these policies shall also apply to Union
 employees in the same regard in accordance with the collective bargaining agreement.

    3.1        Definitions and Policies Pertaining to Employment Status

       3.1.1           At Will Employment
 Employment at the University may be terminated at the will of the employee or the University at
 any time without notice or cause. Therefore, except as provided in Volume IV or in any
 individual administrative contract signed by the President of the University, none of the Saint
 Leo University‘s policies, procedures or practices, including those set forth in this Employee
 Handbook, are to be viewed as a contract or as creating any promises or contractual rights of any
 kind. Rather, they are guidelines that can be changed by the University at its discretion at any
 time and without prior notice or agreement. This version of the Employee Handbook supersedes
 and replaces all previous handbooks and other statements of Saint Leo University policy, rules,
 and procedures. No representative of the University has the authority to enter a contrary
 agreement except the President or a designee and the employee. Any such contrary agreement
 must be in writing and signed by the President or a designee and the employee.




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       3.1.2           Employment Classification Definitions
 The University abides by and classifies employees in accordance with the Fair Labor Standards
 Act (FLSA) of 1938 as set forth by the Department of Labor. Employees will fall into one of
 three classifications:

  3.1.2.1                   Non-Exempt
 Employees paid on an hourly basis for hours worked in a standard 40-hour workweek. Non-
 exempt employees are eligible to receive overtime payment at one and one-half their hourly rate
 of pay for all hours worked over 40 hours in a standard workweek.

  3.1.2.2                   Administrative Exempt
 Employees paid on a salary basis for all worked performed in a standard 40-hour work week.
 Administrative exempt employees are eligible to receive overtime payment at one and one-half
 their hourly rate of pay for all hours worked over 40 hours in a standard workweek.

  3.1.2.3                   Exempt
 Employees paid on a salary basis for all hours worked. Exempt employees are not eligible to
 receive overtime payment for hours worked beyond 40 hours in a standard workweek. Exempt
 employees are expected to work the hours required to complete their responsibilities without
 additional compensation.

       3.1.3           Reclassification
 Employees, who feel that their job is more properly described by a classification which is
 different from the existing classification, should discuss this concern with their manager. At the
 discretion of the manager, a formal, written request for reclassification shall be submitted to
 Human Resources. Each request for reclassification will be reviewed by Human Resources.

       3.1.4           Continuous Service

  3.1.4.1                   Consideration
 Except in unusual circumstances, former University employees will be considered for
 employment in the same manner as other external job candidates. The former employee‘s
 employment eligibility at the time of separation determines whether the individual will be
 considered for reemployment.

  3.1.4.2                   Start Date
 Rehired former University employees (with at least two years prior service and less than six
 month‘s break in service) will be given an adjusted employment start date. The date will be
 based on the individual‘s start date, brought forward for the period between termination and
 reemployment. The adjusted start date determines length of service for leave accrual, tuition
 benefits, and other personnel actions.


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  3.1.4.3                  Retirees
 Reemployment may affect Social Security and University retirement benefits. Retirees should
 contact Human Resource for further information before reemployment with the University.

  3.1.4.4                  Evaluation Period
 A former employee will serve an evaluation period in the position into which the individual is
 rehired in accordance with the Evaluation Period policy (see paragraph 3.2.1.4).

  3.1.4.5                  Termination of Employment
 Former employees (rehired under this policy), who again terminate employment, must have
 completed at least two years of service during the reemployment period to be eligible for prior
 service credit if rehired in the future.
 Former employees who have been laid off may be reemployed as outlined in the Layoffs policy
 (see paragraph 3.10.1.1). Individuals who terminate for military duty may be reemployed in
 accordance with the Leave for Uniformed Services policy (see paragraph 3.5.4.1).

  3.1.4.6                  Office Responsibility
 Human Resources administers the University‘s reemployment policy and follows the procedures
 outlined above.

  3.1.4.7                  Resource
 Contact Human Resources with questions or if more information about this policy is needed.

      3.1.5            Teaching Assignments
 Employees who hold faculty rank but serve in non-faculty positions are subject to the terms and
 conditions of employment specified in the Employee Handbook with respect to their non-faculty
 appointment. Solely with regard to academic freedom matters, they have both the rights and
 responsibilities of faculty members set forth in Volumes IV and IV-A, including access to the
 faculty grievance procedure. Such persons do not accrue any rights to continuing employment or
 any greater rights than those specified in the Employee Handbook with respect to such non-
 faculty positions.

3.2           Employee Selection and Appointment Policies

      3.2.1            Administrative and Staff Employee Selection and Assignment

  3.2.1.1                  Administrative and Staff Employee Job Posting Policy
 The University strives to enhance opportunities for qualified candidates to apply, and to be
 considered for job openings within the University.
 The goal of the University‘s hiring policy is to recruit, hire, transfer, and promote using these
 guidelines:

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 1. To consider candidates without discrimination based on race, color, creed, national or ethnic
    origin, gender, religion, disability, age, genetic information, disabled veteran status, veteran
    of the Vietnam era status, or citizenship, marital status, family responsibilities matriculation,
    political affiliation, military service obligation or any other legally-protected category.
 2. To use good faith efforts to achieve the University‘s affirmative action goals for minority
    persons and women.
 3. To select the individual who best meets the needs of the hiring department and the
    University.
 4. To enhance opportunities for mobility and promotion of qualified candidates who are current
    University employees.
 A job notice for a vacant position will be posted for at least five working days before a
 department may make an employment offer to any candidate. All positions will be posted on the
 University‘s website under Employment Opportunities, on the posting board located outside
 Human Resources, or by some other method used by Human Resources.
 Exceptions to the job-posting requirement may include situations such as reclassifications due to
 change in duties, reorganizations, or a reassignment to accommodate an individual with
 disabilities pursuant to the American with Disabilities Act. Human Resources reviews and
 approves any exceptions.
 Selecting departments are responsible for following the procedures and spirit of this policy.
 Human Resources assists selecting departments to recruit, hire, transfer and promote candidates.
 Contact Human Resources with questions or if more information about this policy is needed.

  3.2.1.2                   Administrative and Staff Employee Job Application and Selection
                Process
 The University will recruit, hire, transfer, and promote according to Equal Employment
 Opportunity/Affirmative Action and Job Posting policies (see Volume II, Subsection 2.1.1. and
 Volume III, paragraph 3.3.1.4, respectively), as well as follow established guidelines outlined
 below to ensure that equitable selection practices are used throughout the University.

  3.2.1.2.1                      Administrative and Staff Employee Application Process
 All applications for employment are processed through Human Resources. This includes written
 expressions of interest, resumes, or employment applications for a specific position.
 Internal candidates must submit a letter of interest and current resume to Human Resources in
 application for a position with the University. Employees may also discuss general employment
 opportunities by contacting the appropriate representatives in Human Resources.

  3.2.1.2.2                      Background Checks
 Prior to employment, a candidate for employment must satisfactorily complete a background
 check. See Subsection 3.3.1 for additional details.




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  3.2.1.2.3                     References - External Candidates
 Human Resources, or the selecting department, will check references of external finalists.

  3.2.1.2.4                     References - Internal Candidates
 In the case of job candidates who are current employees of the University, Human Resources
 will provide a copy of the last annual evaluation to the selecting supervisor or search committee
 chair. Additional information may be provided if the Human Resources representative
 determines it is relevant.
 If an internal candidate becomes a finalist, the selecting department (or Human Resources) may
 contact the individual‘s current supervisor before an offer is extended.

  3.2.1.2.5                     Employment Agencies
 A selecting department who chooses to retain a search firm must first submit a written request to
 the appropriate Vice President. Upon approval by the Vice President, the request will be
 forwarded to the President for final approval. Search firms or employment agencies must follow
 all applicable University hiring procedures in coordination with Human Resources. Job offers,
 including salary and benefit commitments, must also be reviewed by Human Resources.

  3.2.1.2.6                     Notice - Internal Candidates
 An internal candidate who applies for a position internally must notify the supervisor in the
 current department that an application has been made.

  3.2.1.2.7                     Relocation Expenses
 The University does not generally pay moving and relocation expenses for newly hired
 individuals except within specific position categories at the director level or higher in the
 organization. Exceptions may be made by departments with difficult to fill positions. Refer to
 paragraph 3.5.7.2 or Human Resources for moving and relocation payment guidelines and
 procedures.

  3.2.1.2.8                     Employment Eligibility Information
 Federal law requires all new hires to complete an Employment Eligibility Form (I-9) and provide
 documents that establish identity and employment eligibility, prior to or on the first day of
 employment. See Subsection 3.3.10 for additional details.

  3.2.1.2.9                     Responsibility
 Selecting departments are responsible for following the procedures and spirit of this policy.
 Human Resources assists departments to recruit, hire, transfer, and promote candidates.

  3.2.1.2.10                    Resource
 Contact Human Resources with questions or if more information about this policy is needed.


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  3.2.1.3                   Temporary Employee Selection and Assignment
 University departments may, with the appropriate Vice President approval, hire temporary
 employees to perform special projects, cover for extended absences of regular employees, or
 meet additional workloads. Additional information is available in Human Resources.

  3.2.1.3.1                     Recruitment
 Departments may hire a temporary employee and the use of outside employment agencies is
 strongly recommended. The hiring of temporary employees directly is strongly discouraged. To
 request recruitment assistance, contact Human Resources.

  3.2.1.3.2                     Duration of Employment
 Temporary employment may not exceed 3 months in length. Departments that require longer
 employment should contact Human Resources in advance to review term or regular employment.
 No individual may be employed as a temporary worker longer than 6 months in any 12-month
 period.

  3.2.1.3.3                     Salary
 Temporary employees hired through an outside employment agency shall be paid by the
 employment agency. In the event that a temporary worker is hired directly by the University and
 appointed to an existing job classification, the temporary employee may not be paid more than
 the same pay level/grade as the existing classification. Human Resources must review
 exceptions.
 If the temporary employment includes duties that are not the same as an existing job
 classification, the department shall provide a brief description of the duties to Human Resources.
 Human Resources will establish a pay rate consistent with the pay for regular employees
 performing similar work.

  3.2.1.3.4                     Benefits
 Temporary employees hired directly by the University will receive only employment benefits
 required by law. An example includes worker‘s compensation if the employee were injured on
 the job.

  3.2.1.3.5                     Responsibility
 Supervisors are responsible for complying with this policy when hiring temporary employees.

  3.2.1.3.6                     Resource
 For more information concerning casual labor payments or temporary employment issues,
 contact Human Resources.

  3.2.1.4                   Administrative and Staff Employee Evaluation Period
 Employees who are newly hired, re-hired, promoted, demoted, or laterally transferred will serve
 an evaluation period. The evaluation period allows an employee time to become proficient in the
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 basic responsibilities of a new position and permits the supervisor to assess the individual‘s
 performance. The employee and supervisor are encouraged to communicate frequently during
 the evaluation period. Results of the evaluation period may be successful completion, extension
 of the period, or termination of employment.

  3.2.1.4.1                       Length of Evaluation Period
 Except in unusual circumstances, non-exempt positions have a three-month evaluation period
 and exempt positions have a six-month evaluation period. The selecting department, subject to
 the approval of Human Resources, may extend or identify different evaluation periods related to
 training requirements. An evaluation period may be extended as described below in
 subparagraph 3.2.1.4.3.2. An evaluation period will not exceed twelve months. This policy does
 not apply to senior executive positions.
 If a position is reclassified, an evaluation period will be required even if the incumbent has
 satisfactorily performed the duties of the position for a period of time equal to, or greater than,
 the evaluation period.

  3.2.1.4.2                       Termination of Employment during Evaluation Period
 Except in unusual circumstances, an employee will be allowed to complete the evaluation period
 before any decision is made to continue or end employment. However, the University operates
 under employment-at-will and has the right to terminate the employee at any time without notice
 or cause for any lawful reason. If the department determines that performance indicates that the
 employee cannot accomplish the job or if the department determines that the individual‘s
 behavior is unacceptable, the University may terminate employment at any time during the
 evaluation period. The selecting department must obtain the approval of Human Resources
 before the termination of the employee.
 An employee may resign during an evaluation period. Advance notice is not required but
 employees are encouraged to notify the department head in advance, when possible, to allow for
 a smooth transition.

  3.2.1.4.3                       Coaching
 If an employee‘s performance or conduct during the evaluation period is not satisfactory, the
 supervisor shall promptly couch the individual. Documentation of the counseling shall be kept,
 including:

                   3.2.1.4.3.1            Successful Completion
 The individual has performed satisfactorily the duties assigned during the evaluation, and the
 evaluation period is complete.

                   3.2.1.4.3.2            Extend Evaluation
 The individual shall be placed on an extended evaluation period for up to three additional
 months. An Evaluation Form must be completed, including the length of and reason for the
 extension. Extensions beyond three months must be requested by the appropriate department
 head and forwarded in writing to Human Resources.

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 Reasons for extension of evaluation periods include:
 1. The employee has not performed up to expectations, but there is reason to believe the
    employee may be able to do so if allowed additional time. Documentation of employee
    couching must be maintained and a copy forwarded to Human Resources to be included in
    the employee‘s personnel file.
 2. The supervisor has not had sufficient opportunity to fully assess the employee‘s performance
    or the employee has not had adequate opportunity to demonstrate abilities. The reason for
    the delay must be stated in writing and a copy submitted to Human Resources to be included
    in the employee‘s personnel file.
 3. The employee has not obtained a required license or certification, or has not met other
    specific time related requirements of the job.

                   3.2.1.4.3.3            Termination
 The individual‘s performance does not meet requirements for continued employment. The
 individual‘s employment will be terminated without notice. The department must obtain the
 approval of Human Resources before termination of an employee.
 The Employment at Will Policy (see Subsection 3.1.1) remains in effect during and after the
 evaluation period.

  3.2.1.4.4                       Responsibility
 All University departments are responsible for following the procedures outlined above.

  3.2.1.4.5                       Resource
 Contact Human Resources with questions or if more information about this policy is needed.

       3.2.2            Faculty Selection and Appointment Policies
 See Article 10 of the Faculty Collective Bargaining Agreement (Volume IV-A, Subsection
 4A.1.1.10) and Volume IV, Section 4.3.

3.3            General Employment Policies

       3.3.1            Background Checks
 A background check of a candidate is an important part of the selection process when hiring new
 employees and retaining employees hired after March 1, 2003. Background checks may also be
 required for current employees and student-workers whose jobs are defined as ―security
 sensitive‖ (see definition below in paragraph 3.3.1.2).
 A background check is conducted to promote a safe work environment and to protect the
 University‘s most important assets: the people the University serves.
 A satisfactory background check is defined as the absence of a criminal history record which
 bears a significant relationship to the applicant‘s or employee‘s suitability to perform the
 required duties and responsibilities of the position. In the case of an individual that may function
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 within a financial capacity or have job duties that handle financial accounts, a background check
 related to their financial and credit history may also be required.

  3.3.1.1                    Employees Subject to Background Checks
 Employees subject to pre-employment or concurrent employment background checks include the
 following:
 1. All future regular (benefits-eligible) faculty and staff in all University locations;
 2. All future employees (non-benefits-eligible), including part-time, temporary, seasonal and
    volunteer; and
 3. Employees who are returning to employment after more than a twelve-month break in
    service or employees transferring within University jobs.

  3.3.1.2                    Security-Sensitive Positions
 Vice Presidents are responsible for determining which positions in their areas shall be designated
 as security-sensitive based on the responsibilities of those positions. Persons being considered
 for employment in these areas will be required to authorize a credit check.

  3.3.1.3                    Recordkeeping
 Human Resources will maintain a log of all background checks. The log will include the
 following: name, department, position title, hiring official, date of background check, and
 employment date. Copies of Background Check Consent Forms and Background Reports will be
 maintained in a separate and confidential file.

  3.3.1.4                    Job Postings/Recruitments
 All recruitment information (job posting, flyers, external advertising) must state that employment
 is contingent upon obtaining and maintaining a satisfactory background check.

  3.3.1.5                    Job Applications
 All applicants must complete and sign the appropriate Saint Leo University Background Check
 Consent Form. Falsification of information submitted on University application materials may
 be grounds for disqualification or separation. See Subsection 3.4.2 for additional information
 regarding the University‘s Personnel Data Accuracy Statement.

  3.3.1.6                    Final Interviews
 During the final interview process, all candidates will be notified that any job offer is contingent
 upon successful completion of the background check. (e.g., ―Successful completion of a
 background check is required for employment.‖)

  3.3.1.7                    Criminal Convictions
 1. Only criminal convictions, guilty pleas, and pleas of no contest will be considered in
    determining an applicant‘s suitability for employment. Detention or arrest without
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    conviction or plea of no contest typically do not constitute valid grounds for employment
    decisions or play a part in the decision-making process.
 2. In determining an applicant‘s suitability for employment where the applicant has criminal
    convictions on the applicant‘s record, consideration will be given to the specific duties of the
    position, the number of offenses and circumstances of each, the length of time since the
    conviction(s), and the accuracy of the explanation on the application.
 3. In instances where information is obtained that may result in a release from employment, or
    if there has been falsification of information submitted on University application materials
    that may be grounds for disqualification or separation, Human Resources will provide
    guidance and a recommendation to the hiring department.
 4. If a completed background check regarding a current University employee reveals adverse
    information that bears a significant relationship to the employee‘s suitability to perform the
    required duties and responsibilities of the employee‘s current position, or if there has been
    falsification of information submitted on University application materials that may be
    grounds for disqualification or separation, Human Resources will provide guidance and a
    recommendation to the appropriate managers.
 5. If a current employee is terminated or resigns as a result of information obtained from the
    initial background check, and there has been no falsification of information submitted on
    University application materials, the employee will receive the employee‘s accrued, unused
    annual leave in accordance with University policy.
 6. Human Resources will serve as the ―office of record‖ for background checks.

  3.3.1.8                   Dispute Information
 If a candidate or current employee disputes the accuracy of any information obtained in a
 background check (including criminal records), the employee shall be referred to the agency that
 provided the information. Such dispute will not necessarily impact the hiring process. A
 candidate disputing the accuracy of information will have three (3) business days to conclusively
 demonstrate the inaccuracy of the information obtained in a background check, after which time
 an employment decision may be made.

  3.3.1.9                   Subsequent Criminal Convictions
 In the event that an employee subject to this policy receives a criminal conviction after
 successful completion of the initial background check, that employee must inform Human
 Resources. Human Resources will then determine whether or not the conviction is relevant to
 the employee‘s job under this policy. If the conviction is not relevant, no adverse action will be
 taken. If the conviction is relevant, employment may be terminated or the employee may resign.
 In either case, the employee will receive accrued, unused annual leave in accordance with
 University Policy. Employees who fail to notify Human Resources about a ―subsequent criminal
 conviction‖ will be terminated for cause and will forfeit eligibility to receive payment for
 accrued, unused annual leave in accordance with University Policy.




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       3.3.2            Campus Safety and Security Policies
 See Volume II, Section 2.3 for general safety and security policies applicable to all members of
 the campus community.

  3.3.2.1                   General Campus Safety Department Policies
 See Volume II, paragraph 2.3.1.1.

  3.3.2.2                   Clery Act
 See Volume II, Subsection 2.3.2.

  3.3.2.3                   Emergency Response Policies
 See Volume II, Subsection 2.3.3.

  3.3.2.4                   Sex Offender Registration Policy
 See Volume II, Subsection 2.3.4.

       3.3.3            Code of Ethics

  3.3.3.1                   Statement of Purpose
 It is the policy of the University to conduct itself with the highest degree of integrity and honesty
 in all of its transactions. As a University Community, this responsibility is shared. Each trustee,
 administrative or staff employee, student, or faculty member must agree to be bound by our
 common duty in the pursuit of individual responsibility to the objectives of the University.
 We owe this duty not only to each other, but also to our community. Our ethical conduct and
 responsibilities are grounded in Saint Leo University‘s Core Values that include an obligation
 and duty to abide by the following:
 Excellence - Saint Leo University is an educational enterprise. All of us, individually and
 collectively, work hard to ensure that our students develop the character, learn the skills and
 assimilate the knowledge essential to become morally responsible leaders. The success of our
 University depends upon a conscientious commitment to our mission, vision, and goals.
 Community - Saint Leo University develops hospitable Christian learning communities
 everywhere we serve. We foster a spirit of belonging, unity and interdependence based on
 mutual trust and respect to create socially responsible environments that challenge all of us to
 listen, to learn, to change and to serve.
 Respect - Animated in the spirit of Jesus Christ, we value all individuals‘ unique talents, respect
 their dignity and strive to foster their commitment to excellence in our work. Our community‘s
 strength depends on the unity and diversity of our people, on the free exchange of ideas and on
 learning, living and working harmoniously.
 Personal Development - Saint Leo University stresses the development of every person‘s mind,
 spirit and body for a balanced life. All members of the Saint Leo University community must

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 demonstrate their commitment to personal development in order to strengthen the character of
 our community.
 Responsible Stewardship - Our Creator blesses us with an abundance of resources. We foster a
 spirit of service to employ our resources to university and community development. We must be
 resourceful. We must optimize and apply all of the resources of our community to fulfill Saint
 Leo University‘s mission and goals.
 Integrity - The commitment of Saint Leo University to excellence demands that its members
 live its mission and deliver on its promise. The faculty, staff, and students pledge to be honest,
 just and consistent in word and deed.

  3.3.3.2                   Applicability

  3.3.3.2.1                     Officers and Employees Covered by the Code of Ethics and
                Conduct
 1. Because of the sensitive nature of some positions and the high degree of trust placed in those
    people occupying such positions, this Code places special responsibilities on trustees and
    senior administrative personnel. For the purposes of this document, the term ―senior
    administrative personnel‖ shall mean the President, all Vice Presidents, Associate and
    Assistant Vice Presidents, Deans, Directors, and the General Counsel. The provisions of this
    Code shall apply to all part-time and full-time employees of the University, without regard to
    the source of funding, including, but not limited to, the following:
    a. Members of the Board of Trustees of the University;
    b. President of the University;
    c. Vice Presidents of the University;
    d. Deans of the University;
    e. Managerial and Non-managerial employees;
    f. Members of the Staff; and
    g. Student employees.
    The Board of Trustees is responsible for the governance of Saint Leo University. In carrying
    out this public trust, conferred by the By-laws of the University Charter, trustees bring to the
    task their own varied backgrounds and expertise. Nevertheless, trustees are expected to put
    aside parochial interests and keep the welfare of the entire University, not a particular
    constituency, paramount at all times.
    University faculty members who are not part of the Union bargaining unit are not excluded
    from the compliance requirements of this Code of Ethics. Those faculty members must
    comply with both this Code and the American Association of University Professors
    Professional Ethics requirements. Union faculty members must continue to comply with the
    American Association of University Professors Professional Ethics requirements.
 2. Each employee presently in service at the University shall receive and acknowledge in
    writing receipt of the Code of Ethics within 30 days after adoption by the Board of Trustees.
    Each employee hired after adoption of the respective Code of Ethics and Conduct shall

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    receive and acknowledge in writing receipt of the respective Code on the commencement of
    employment.
 3. Each employee shall execute an acknowledgement of having read the Code of Ethics and
    Conduct Policy and in addition, if faculty, the American Association of University Professors
    Professional Ethics statement and indicate that they understand and agree to abide by the
    policies.
 4. This document is not intended to be a procedural manual or an exacting account of
    prescribed conduct. Guidance can be obtained from the Assistant to the President for
    inquiries requiring a greater degree of specificity.

  3.3.3.3                   Responsibilities
 Each employee agrees under the Code of Ethics and Conduct that they share in the following
 fundamental responsibilities:
 To Our Community -- We must operate our facilities in a way that does not unjustly deprive any
 of our neighbors of a valid property right. At all times, we must conduct ourselves in a manner
 that maintains the quality of our neighboring communities.
 To Our Students -- We owe the right of fair access to all educational opportunities and benefits
 available at the University in an environment that is free of invidious harassment, discrimination,
 or intimidation.
 To Our Faculty -- We must create an environment that supports a high level of academic
 freedom necessary to cultivate teaching ideas, methods and opportunities, scholarship and
 service to the community.
 To Our Administrative Staff -- We must establish opportunities for staff to serve the institution to
 their fullest potential and in a work environment that is safe and free from illegal discrimination.
 To Our Trustees -- We owe our honesty and prudent judgment in the exercise of our duties. We
 must manage the University‘s assets prudently and fairly in accordance with the Trustees
 direction and within the constraints of the law.

  3.3.3.4                   Required Conduct
 All members of the University shall conform their conduct to the following standards and avoid
 any conduct that gives the appearance of a violation or an actual violation of these standards.
 1. Proper Use of University Resources -- University resources shall not be used for other than
    their intended purpose. These resources shall be prudently utilized and managed and shall
    not be improperly converted for any personal use or that of another. University resources
    shall not be used in order to obtain unfair advantage or in any manner or under circumstances
    that would establish a violation of law or University Policy.
 2. Relationship With Vendors -- No member of the University may approve, recommend, or
    promote a business transaction in which that person has a direct personal interest, or
    otherwise cause the University to do business with a firm in which that person is an officer or
    senior management employee or in which that person (directly or indirectly) owns more than
    a 5 percent equity interest (hereinafter an ―affiliated firm‖), unless such person first discloses


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    the relationship and the relevant circumstances of the contemplated activity, in writing, to the
    President and the compliance officer of the University and:
    a. It is determined that the proposed activity is fair to the University and will not result in
       the University foregoing revenues, or incurring costs in excess of the costs that would be
       incurred for goods, property, or services of like quality if acquired from another source;
       and
    b. The compliance officer shall report to the board of trustees, audit committee, all
       disclosures made under this section and the circumstances of all related matters, for
       disposition as deemed appropriate. Where practicable, reports to the committee shall take
       place before the proposed activity takes place, but in no event less than quarterly. In
       exceptional circumstances, however, compelled by exigent time restraints, the
       compliance officer, with the concurrence of the President, may give tentative approval of
       an activity covered by this paragraph subject to subsequent ratification by the audit
       committee. The secretary or the assistant secretary of the Board of Trustees shall
       maintain records and minutes of all disclosures and dispositions made under this
       paragraph.
    Under no circumstances may a member of the University approve a relationship with, order
    or authorize purchases from, or approve or make payments to an affiliated firm or person on
    behalf of the University. For the purposes of this paragraph the terms ―person‖ and
    ―affiliated person‖ includes an individual‘s immediate family members, close personal
    acquaintances, and others living within such individual‘s household.
 3. Gratuities -- No Trustee, member of the Faculty, or employee of the University shall receive
    or solicit anything of value in return for influencing or exercising their discretion in a
    particular way on a University matter. In addition, trustees and senior administrative
    personnel are prohibited from accepting or soliciting any gratuity, favor, service,
    accommodation, or thing of value (for which a fair market price has not been paid) for or
    because of any official act performed or to be performed by the trustee or senior employee in
    their official capacity with the University under circumstances from which it might
    reasonably be inferred that such gift, service or other thing of value was given or offered for
    the purpose of influencing the trustee or senior employee in the discharge of official duties.
    A trustee may, however, accept complimentary tickets to University-sponsored events. This
    provision does not prohibit the acceptance of an item having a nominal value or ceremonial
    gifts received by senior administrators or trustees of the University in their official capacity.
    Nominal value shall be determined by the current applicable IRS Code.
 4. Confidentiality and Maintenance of Accurate Accounts and Records -- The accounts and
    records of the University shall be maintained in a manner that provide an accurate and
    auditable record of all financial transactions in conformity with generally accepted
    accounting principles, established business practices, and all relevant provisions of
    controlling law and University policy. No false or deceptive entries may be made and all
    entries must contain an appropriate description of the underlying transaction. To the extent
    not needed for daily operating transactions, all University funds must be retained in the
    appropriate University accounts with appropriately designated financial institutions and no
    undisclosed or unrecorded fund or asset shall be established or maintained for any purpose.
    All reports, vouchers, bills, invoices, payroll information, personnel records, and other
    essential business records must be prepared with care and honesty. Since the unauthorized

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    use of the records and accounts described in the preceding paragraph can cause the
    University harm, access to such data should be closely controlled. Members of the
    University who improperly convert these records and accounts for their own personal use or
    for the personal use of another, or who wrongfully discloses such records or accounts will be
    subject to appropriate legal sanctions by the University. To further the enforcement of this
    standard of conduct, the President may direct that certain employees who occupy sensitive or
    confidential positions execute confidentiality agreements with the University as a condition
    for employment or continued employment, or require a financial background check.
 5. Educational Benefits and Opportunities -- No member of the University shall deny any
    member of the University fair access to the educational opportunities and benefits available
    at the University. Invidious harassment, discrimination, or intimidation of any University
    members that deny or impede their right of access to these benefits and opportunities will not
    be tolerated and will be subject to disciplinary action.
 6. Government Relations -- All members of the University are expected to recognize the
    obligations associated with being an employee of the University and conform their actions to
    the requirements of the law. Whether or not an illegal act is committed, in a person's capacity
    as a member of the University, and regardless of whether a violation occurs on or off
    campus, if that violation of law reflects unfavorably on the University, it will be deemed a
    breach of this Code of Ethics and Conduct. No member of the University will withhold
    material information from the government, or engage in any other course of conduct that may
    be or appear to be deceptive or misleading. If the University is requesting government
    funding or grants, each member has an affirmative obligation to make full, accurate, and
    honest representations concerning all relevant information submitted to or requested by the
    government. The University record keeping and accounts must be in accord with generally
    accepted accounting principles and otherwise in compliance with all pertinent government
    directives and regulations.
 7. Employment Practices and University Communications – No member of the University
    shall engage in any employment practice that is a violation of Federal law, the law of the
    State of Florida, or the law of any other state or local jurisdiction where the University may
    have employees. No one in a supervisory position, or in any position of higher authority in
    the University, is to use his or her position to intimidate subordinate employees or to exact
    personal favors or things of value (for which a fair-market price has not been paid) from
    employees of lesser rank within the University. Every member of the University is expected
    to treat each other and members of the public with respect, courtesy, professionalism and
    civility.
 8. Duty to Cooperate -- Every member of the University has a duty to cooperate with the
    University‘s compliance officer in the initiation and defense of actual or contemplated
    litigation affecting the interests of the University and in the conduct of any investigation of a
    violation of this Code of Ethics and Conduct. Trustees and senior administrative personnel
    are under an affirmative obligation to report reasonably suspected violations of this Code of
    Ethics and Conduct to the University‘s compliance officer.
 9. Conflict of Interest -- University members shall avoid favoritism and any potential conflict
    of interest or appearance of a conflict of interest through the following requirements:
    a. Trustees Duties:

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       i. Elements of a conflict. A trustee has a conflict of interest whenever the trustee or a
          family member or a business associated with a trustee or a family member (insofar as
          may be known to the trustee) has an existing or potential financial or other interest in a
          matter pending before the board of trustees that might reasonably be expected to
          impair the trustee‘s independence of judgment or objectivity in the discharge of
          governance responsibilities.
       ii. ―Family member‖ includes spouse; parents; siblings; children; aunts and uncles;
           grandparents; grandchildren; nieces and nephews; mothers- and fathers-in-law;
           daughters- and sons-in-law; sisters- and brothers-in-law; first cousins, whether in
           whole or half blood, by marriage, adoption or natural relationship and the spouse of
           any such person; domestic partner; and any person residing in the trustee‘s household.
       iii. ―Business associated with a trustee‖ means an organization, corporation, partnership,
            proprietorship or other business entity with respect to which either the trustee or
            (insofar as may be known to the trustee) a member of the trustee‘s family:
          a) Receives compensation in excess of $500 in any month or has any contractual right
              to future income in excess of $6,000 per year excluding compensation from the
              University, any governmental source, investment or savings income, retirement or
              insurance benefits or alimony.
          b) Serves as an officer, director, partner, or employee.
          c) Holds a financial interest valued in excess of $10,000.
       iv. ―Financial interest‖ means a foreseeable nontrivial financial effect that may result
           from a board action.
       v. Incompatible employment or service. No trustee shall undertake any employment or
          service, whether compensated or not, that might reasonably be expected to impair the
          trustee‘s objectivity and independence of judgment in the exercise of official duties.
       vi. Representation. No trustee, nor any partnership, business entity, or corporation in
           which the trustee has an interest, nor any partner, officer or employee of such
           partnership, business entity or corporation, shall appear for or negotiate on behalf of,
           any person or party other than the University in connection with any cause,
           proceeding, application or other matter pending before the board.
       vii. No trustee, subsequent to termination of membership on the board, shall agree to or
           actually represent, appear for, negotiate on behalf of, or provide information not
           generally available to members of the public, whether personally or through any
           partnership, business entity, or corporation in which the trustee has an interest, to any
           person or party other than the University in connection with any cause, proceeding,
           application or other matter with respect to which such trustee shall have made any
           investigation, rendered any ruling, given any opinion, or otherwise been substantially
           and directly involved at any time during the course of the trustee‘s membership on the
           board.
    b. Board Recusal:
       i. Implications of recusal: Conflict of interest comes in many forms and cannot be
          avoided entirely. Recusal on a particular matter because of a conflict does not reflect
          adversely on the involved trustee. Rather, it is simply recognition that, in a complex
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          and interconnected society, conflicts will occur. When this happens, recusal is
          necessary to assure that a trustee‘s independence of judgment is not compromised, that
          the public‘s confidence in the integrity of the board of trustees is preserved, and that
          the University‘s public mission is protected.
       ii. Trustee‘s authority: A trustee shall not use the authority, title or prestige of office to
           solicit or otherwise obtain a private financial, social or political benefit that in any
           manner would be inconsistent with the public interest or to secure unwarranted
           privileges or advantages for the trustee or others.
       iii. Prohibited activities: A trustee shall not have any interest (financial or otherwise,
            direct or indirect) or engage in any business transaction or professional activity that is
            in substantial conflict with the proper discharge of the trustee‘s duties in the public
            interest and shall not act in the trustee‘s official capacity in any manner wherein the
            trustee has a direct or indirect personal financial interest that might reasonably be
            expected to impair the trustee‘s objectivity or independence of judgment.
       iv. Use and disclosure of information: No trustee shall willfully disclose any information
           not generally available to members of the public that the trustee receives or acquires in
           connection with the trustee‘s official duties, nor shall the trustee use such information
           for the purpose of securing financial gain for the trustee or others with whom the
           trustee is associated.
       v. Conduct: A trustee shall not knowingly act in any way that might reasonably be
          expected to create an appearance of suspicion or a suspicion among the public having
          knowledge of the trustee‘s acts that the trustee may be engaged in conduct violative of
          trust as a trustee.
    c. Conflict of interest and recusal procedures:
       i. Review of procedures: The Board of Trustees, with the assistance of the University
          counsel, shall review annually at a board meeting the requirements and procedures
          provided in this policy. Each trustee shall sign a receipt indicating the date the Code
          was received and acknowledging that they are responsible for reading the Code and is
          bound by it. Trustees can seek clarification of the Code‘s provisions from the
          University Compliance Officer.
       ii. Recusal: A trustee must self recuse from a matter if the trustee has:
           a) Any financial interest, direct or indirect, that is incompatible with the discharge of
              the trustee‘s public duties, or
           b) Any personal interest, direct or indirect, that is incompatible with the discharge of
              the trustee‘s public duties.
       iii. Acknowledgment of conflict: An actual or possible conflict of interest shall be called
            to the attention of the chair of the Board of Trustees at the earliest opportunity by the
            individual trustee or by any other person.
       iv. Conflict of interest question: A trustee regarding whom a conflict-of-interest question
           arises is encouraged to consult with the chair, who may request a written opinion from
           the University compliance officer on whether a conflict of interest exists under this
           policy. If the existence of the conflict involves the Chair, the Chair shall consult with
           the Vice Chair who may request a written opinion from the University Compliance
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          Officer regarding the existence of a conflict. A trustee must seek the advice of the
          University Compliance Officer as to the propriety of participation in a matter if a
          person requests that trustee to self recuse from that matter.
       v. Review of question of conflict: Any disputed issues relating to the existence of a
          conflict of interest requiring recusal shall be considered by the chair or vice chair, as
          the case may be, who, at the trustee‘s discretion, may refer the question to the
          executive committee of the board.
       vi. Final authority on Conflict: The chair or the executive committee, as the case may be,
           shall make a recommendation regarding the conflict of interest issue to the board of
           trustees in executive session. The board shall decide the conflict of interest issue in
           executive session. The board is the final authority on all conflict questions.
       vii. Participation in deliberations: A trustee with a possible conflict of interest shall not
           participate in the deliberations or vote of the executive committee or the board
           concerning the legitimacy of the conflict of interest.
       viii. Deliberations and voting: A trustee who declares or has been found to have a conflict
           of interest shall be absent from any deliberations or vote on the matter determined to
           be a conflict, and the trustee shall not take any action to influence the outcome of the
           matter.
       ix. Procedure following recusal: A trustee who has self recused shall not receive meeting
           materials including a matter from which the trustee has been recused. At the board
           meeting, the trustee must place the trustee‘s recusal and the reason for such recusal on
           the record prior to any discussion of the matter and must leave the room during any
           closed session held by the board to discuss the matter in question.
    d. University Members Expected Behavior:
       i. No employee shall have any interest, financial or otherwise, direct or indirect, or
          engage in any business transaction or professional activity, that is in substantial
          conflict with the proper discharge of the employee‘s duties.
       ii. No employee shall use or attempt to use the employee‘s official position to secure
           unwarranted privileges or advantages for himself, herself or others.
       iii. No employee shall act in the employee‘s official capacity in any manner in which the
            employee has a direct or indirect personal financial interest that might reasonably
            impair the employee‘s objectivity or independence of judgment.
       iv. No employee shall undertake any employment or service, whether or not compensated,
           that might reasonably be expected to impair the employee‘s objectivity and
           independence of judgment in the exercise of the employee‘s official duties. In
           connection with this obligation, no employee may undertake to perform any personal
           services, whether or not compensated, for a subordinate employee. Additionally, the
           President, Vice Presidents and the Deans of the University are prohibited from having
           a personal contractual or business relationship with another employee of the
           University.
       v. All employees shall report in writing to their divisional Vice President the names of
          any relatives, domestic partners or members of the same household over whom they
          have direct or indirect managerial or supervisory authority including, but not limited
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          to, any role in their personnel review. Vice Presidents shall report in writing the
          names of such persons to the President of the University, and the President shall report
          in writing the names of such persons to the chair of the board of trustees. Members of
          the board shall report the names of such persons to the full board.
       vi. No employee shall act in the employee‘s official capacity in any University matter
           where the employee or an immediate family member or domestic partner of the
           employee has a direct or indirect interest that might be reasonably expected to impair
           the employee‘s objectivity or independence of judgment.
       vii. Direct interest includes, but is not limited to, initial employment, retention, job
           classification, salary, performance appraisals and work assignments. Therefore, no
           employee shall directly supervise a member of the employee‘s own family or domestic
           partner. It is the intent of the University to avoid instances that could be influenced by
           the family relationship in hiring, performance evaluation, promotion, reclassification,
           discipline, grievance, or dismissal processes.
       viii. No employee shall participate, directly or indirectly, in decisions involving a
           benefit or detriment to a member of the employee‘s family, domestic partner or
           member of the employee‘s household. It shall be an exception to the requirements of
           this paragraph for an employee to directly provide academic or student support
           services to a member of the employee's family, domestic partner or member of the
           employee‘s household, provided however, that the employee shall describe the
           academic or student support services provided and the name of the recipient to the
           compliance officer.
       ix. Use and disclosure of information. No employee shall willfully disclose any
           information not generally available to members of the public that the employee
           receives or acquires in connection with the employee‘s official duties, nor shall the
           employee use such information for the purpose of securing financial gain for the
           employee or others with whom the employee is associated.
       x. Abide by the laws and University Policies prohibiting discrimination, sexual
          harassment, age discrimination, Americans with Disability Act or any other state or
          federal laws or policies under which the University operates.
       xi. Saint Leo University‘s mission recognizes the importance of establishing and
           enforcing acceptable community standards of behavior. In doing so, all members of
           the University Community should know they will be held accountable for their off-
           campus actions and/or behaviors as they relate to federal, state and local agencies,
           laws and regulations, as well as University policies.
       xii. In this connection, employees have a responsibility to represent themselves in a
           lawful and responsible manner at all times, both on and off the campus. Further, the
           University reserves the right to take necessary and appropriate action to protect the
           safety and well-being of the campus community.
       xiii. The University will not routinely invoke disciplinary action for individual
           misbehavior occurring on or off University premises. Nonetheless, it will be
           necessary in order to protect the campus community when there are reasonable
           grounds to believe that an individual‘s behavior indicates that the employee poses a
           serious and substantial danger to others. Normally, such ―substantial danger‖ will be
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            manifested by a pending civil or criminal charge, including but not limited to, or
            relating to a crime of violence, sexual assault and/or predatory behavior, deviant
            behavior, any type of pornographic exposure including use of the University internet
            for such purposes, burglary, substantial theft or fraud, the distribution of illegal drugs,
            or the possession of substantial quantities of illegal drugs, or any other offense of
            similar kind.

  3.3.3.5                    Additional Obligations
 Trustees and senior administrative personnel have a duty to the University to always act in good
 faith, with the care an ordinarily prudent person in a like position would exercise under similar
 circumstances, and in a manner reasonably believed to be in the best interests of the University.
 Persons occupying these positions of trust shall complete and submit, on at least an annual basis,
 a Conflict of Interest Disclosure Form (―form‖). The form shall be amended more frequently, as
 needed, whenever there is a material change in the circumstances of the reporting person that
 would make the form then on file materially false or misleading. In addition, all Trustees must
 agree and sign a Statement of Responsibilities (―statement‖) that will provide some guidance on
 the special responsibilities attended to that office. The form and the statement may be changed
 from time to time by the Board.

  3.3.3.6                    University Compliance Officer
 The University compliance officer shall be the assistant to the President of the University.
 1. Information (University webpage). The compliance officer shall be responsible for placing
    on the University‘s webpage a copy of the Code, including forms. The compliance officer
    will keep the information updated on a current basis. The compliance officer may from time
    to time inform the University community on the website with regard to the substance of
    decisions rendered at the University-level, which may be of general interest.
 2. Forms. Forms may be downloaded from the University webpage, printed out, signed, and
    filed with the compliance officer of the University.

  3.3.3.7                    Responsibility for Administration of the Code of Ethics and
                Conduct
 1. Responsibility of the University Compliance Officer. The President shall appoint a manager
    to serve as University compliance officer who shall have daily responsibility for
    administration of the provisions of the Code of Ethics and Conduct. The compliance officer
    will advise the President and the appropriate Vice President with respect to all issues related
    to an employee‘s receipt of gifts and outside employment or activity as set forth above. In
    addition, the compliance officer will keep employees regularly informed as to requirements
    of the Code of Ethics and Conduct and any changes in the Conflicts of Interest Law or
    Regulations through communications and training sessions. The University compliance
    officer shall be available at reasonable times to discuss with employees matters related to the
    Code and to provide informal advice and counsel with regard to particular matters, and if
    appropriate, refer a particular matter to the Human Resources Director, campus hearing board
    or other University officer or body for appropriate resolution. Finally, the University
    compliance officer shall maintain complete and accurate records of all matters related to the

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    Code of Ethics and Conduct and coordinate Ethics issues with the Office of Audit and the
    University‘s ―Ethics HotLine‖ employee accountability activity (whistle blower).
 2. Responsibility of the Employee and University Compliance Officer (Gifts). Each
    employee shall have the responsibility to make full disclosure in writing to the University
    compliance officer of any gift, product, or service of value upon receipt from a person or
    business entity with whom or which the employee has had or may expect to have in the
    future contact in the employee‘s official capacity. The gift or thing of value, if tangible, also
    shall be delivered to the University compliance officer. The University compliance officer
    shall then determine whether the gift constitutes a conflict or interest. If the University
    compliance officer determines that the receipt of the gift violated the Code of Ethics and
    Conduct, the compliance officer shall direct the employee to return the gift forthwith.
 3. Responsibility of the Employee, Vice President and University Compliance Officer
    (Outside Employment). Each employee shall report outside activity in writing and in advance
    to the University compliance officer, or the President as the case may be, who shall review
    the outside employment as being consistent with the Code of Ethics and Conduct and make a
    recommendation to the appropriate vice President or to the President. The Vice President or
    President, as the case maybe, shall then inform the employee of the determination of
    University compliance officer as to whether the outside employment or other activity
    constitutes a conflict of interest. If the employee disagrees with the determination of the
    University compliance officer, the matter will be referred to the President of the University,
    who shall make the final determination on the matter. All determinations shall be filed with
    the University compliance officer.
 4. Employee Self-Reporting to University Compliance Officer. An employee may self-report
    directly to the University compliance officer any issue covered under the Code of Ethics and
    Conduct Policy may effect their employment. The University compliance officer will
    provide an opinion letter after review or where the ethics committee is convened after the
    committee makes a determination outlining whether there is a violation and recommended
    corrective behavior or action.
 5. Third Party Reporting to University Compliance Officer. An individual who suspects a
    violation of the Code of Ethics and Conduct Policy may file a request for an ethics review
    directly with the University compliance officer. The University compliance officer will
    provide an opinion letter after review or where the ethics committee is convened after the
    committee makes a determination outlining whether there is a violation and recommended
    corrective behavior or action.
 6. Reporting Violations “Ethics HotLine” Procedures:
    a. How an employee can report an issue: There will be two ways that an employee will be
       able to make a report. One way is by calling a toll free number. An operator will be
       available 24 hours a day. The second way is through our Saint Leo website. By using
       DataMart, the Ethics HotLine can be further restricted to employees only. An annual
       email will be sent to all employees in order to remind them of this service and to educate
       new hires.
    b. Notification of a Report: When a report has been made, a copy will be sent to the
       President and the internal auditor. The internal auditor will be expected to resolve the
       issue. The President‘s main role is to ensure that all reports are resolved in a timely
       manner. The President will not receive any reports naming the President. If a report
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        names the President, the report will go directly to the audit committee. The internal
        auditor will not receive any reports naming the internal auditor. If the internal auditor is
        named, the President would be expected to follow up on the report. Summary reports
        will be provided to the audit committee at a minimum during regularly scheduled
        meeting. Special interim reports will be scheduled if deemed necessary by the President
        or the designated compliance officer.
    c. Timing of Response: All reports will be responded to within 24 hours. The response
       may be in the form of additional questions to the person who is reporting. The response
       may be to forward the report to a manager who is better equipped to research the
       incident. If the response is forwarded, it is the responsibility of internal audit to follow
       up on how the matter was resolved.
    d. Nature of Response: Internal audit‘s function will be to determine if a report can be
       confirmed. If a report can be confirmed, it will be brought to the attention of
       management. It will then be management‘s responsibility to determine what action, if
       any, is appropriate.

  3.3.3.8                    Violations and Sanctions
 Any employee who violates the Code of Ethics may be subject to disciplinary action in
 accordance with the University‘s Progressive Disciplinary Rules. Discipline may include fines,
 suspension, removal, demotion, or other disciplinary action, including termination. The
 President shall appoint a campus
 Ethics Policy Committee, to review issues pertaining to this document. For purposes of Board
 issues the Board shall designate a committee to review board ethics issues.
 All employees shall sign a receipt indicating the date the Code of Ethics and Conduct was
 received and acknowledge that he or she is responsible for reading the Code and is bound by it.
 Receipts shall be maintained in the employee‘s personnel file.
 To report a potential ethics violation or to seek advice, please contact:
 The University Compliance Officer
 Or, through the University ―Code of Ethics and Conduct HotLine‖

  3.3.3.9                    Implementation
 The President of the University shall issue such directives or instructions as may be need to
 implement this Code of Ethics and Conduct. The Board of Trustees Audit Committee shall be
 advised of such directives and instructions on, at least, a quarterly basis. At the request of the
 Committee the full board of trustees may consider the President‘s directives and instructions and
 take such action in response thereto as it may deem appropriate.

  3.3.3.10                   Amendments
 This Code is voluntarily adopted by the board of trustees and may be amended by the board of
 trustees at any time, with or without notice, and without the provision of consideration to any
 party.


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       3.3.4           Confidential Information
 The University will safeguard confidential information concerning students, employees,
 University business and other matters. Unauthorized accessing and/or disclosure of confidential
 information by University employees are prohibited and may result in legal penalties. Access to
 and release of information must be in compliance with legal requirements and policy.

  3.3.4.1                   Types of Confidential Information
 Confidential information includes, but is not limited to information concerning:
 1. Prospective, current or former students;
 2. Current, former and prospective employees (employment, pay, health, insurance data, and
    other personnel information);
 3. Current, former and prospective faculty, and adjunct faculty (employment, pay, health,
    insurance data, and other personal information);
 4. Verifications of employment;
 5. University business, finances, or operations; and
 6. Alumni and donors.

  3.3.4.2                   Restrictions and Violations
 Specific laws, University policies, and guidelines govern the release of confidential information.
 Therefore, University employees may not obtain accesses to or provide confidential information
 unless their positions within the University authorize them to do so. Employees who receive
 requests for confidential information shall seek direction from a supervisor before responding.
 Employees who violate the University‘s Confidential Information policy may be disciplined up
 to and including dismissal. Unauthorized accessing or disclosure of legally protected
 information may result in civil liability or criminal prosecution.

  3.3.4.3                   Employment and Income Verification
 It is the policy of Saint Leo University to protect the privacy of each employee. Organizations
 who wish to verify the employment of a Saint Leo University current or past employee will use
 an automated external employment verification service designated by Saint Leo University.
 Saint Leo University uses The Work Number® to provide automated employment and income
 verifications on our employees.


 Employment and income verifications may be required when applying for a mortgage or loan,
 for reference checking, leasing an apartment, establishing credit, or any other instance where
 proof of employment or income is needed. The individual employee is responsible for
 authorizing the release of this information to the verifying organization.


        Information for Employees:
        Saint Leo University Employer Code:       13333
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        The Work Number Access Information: www.theworknumber.com
                                            1-866-604-6572
        The Work Number Customer Service:   1-866-604-6572
                                            1-800-424-0253 (TTY-Deaf)
        Information for Verifiers:
        Saint Leo University Employer Code: 13333
        The Work Number Access Information: www.theworknumber.com
                                            1-800-367-5690
        The Work Number Customer Service:   1-866-604-6572
                                            1-800-424-0253 (TTY-Deaf)

        Information for Social Services Agencies:
        Saint Leo University Employer Code: 13333
        The Work Number Access Information: www.theworknumber.com
                                                 1-800-660-3399
        The Work Number Customer Service:        1-866-604-6572
                                                 1-800-424-0253 (TTY-Deaf)

 All employment and income verification requests must use this automated service. Saint
 Leo University will provide Federal, State, and local government agencies any employee
 information required by law.
 As an employee of Saint Leo University, you may handle a variety of confidential matters
 regarding other employees, clients, and other information. When doing so, it is your
 responsibility to respect the highest level of privacy for your fellow employees. Employees are
 prohibited from releasing employment or income verification information. This policy is
 designed to protect the company and employee from any potential liability.



  3.3.4.4                  Media Contacts
 Employees may not comment on University business to representatives of the press (radio,
 television, or print media) without authorization from the University Communications Office.
 Inquiries from campus or other media must be referred to the University Communications
 Office.
 Employees may not represent themselves as spokesperson for the University unless authorized to
 do so by the University Communications Office.

  3.3.4.5                  Subpoenas
 Subpoenas and any other request or demand for the release of information for legal proceeding
 must be referred to the Vice President of Business Affairs with the exception of subpoenas for
 copies of employment related documents which shall be submitted to the Director of Human
 Resources.




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  3.3.4.6                   Responsibility
 Supervisors are responsible for knowing the confidentiality laws, policies, and guidelines that
 pertain to their area. Supervisors are also responsible for informing employees about restrictions
 on confidential information. University employees must comply with this policy.

  3.3.4.7                   Resource
 Contact Human Resources if questions or more information about this policy is needed. Contact
 the University Communications Office concerning media contacts or the Office of Business
 Affairs concerning subpoenas.

       3.3.5          Controlled Substance and Alcohol Use Prohibition and Testing
               for Security Personnel and Motor Vehicle Operators
 To maintain a safe, healthy, and productive working environment, the University will act to
 eliminate substance abuse by employees who operate University motor vehicles or vehicles
 rented or leased by the University for the transportation of student and employees. This policy is
 in addition to the University‘s Drug-free Workplace policy (See Volume II, paragraph 2.2.1.1)
 and conforms to applicable federal and local laws.

  3.3.5.1                   Prohibited Use of Alcohol and Controlled Substances
 Use of illegal drugs, prescription medications, or any other substance, including alcohol that can
 impair the ability of an employee who operates a University vehicle to perform job functions
 safely and effectively, is prohibited. The following additional specific rules are also in force for
 drivers of commercial vehicles:
 1. No driver may drive or repair a University vehicle, or perform other safety-sensitive
    functions, within four hours after using alcohol;
 2. No driver may report to duty or remain on duty while having an alcohol concentration of
    0.04 or greater;
 3. No driver may use alcohol while on duty;
 4. No driver may be on duty or operate a commercial motor vehicle while the driver possesses
    alcohol;
 5. No driver who is required to take a post-accident test under University regulations may use
    alcohol for eight hours following the accident, or until the driver undergoes a post-accident
    alcohol test, whichever occurs first;
 6. No driver may report for duty or remain on duty if the driver uses any controlled substance,
    except when the use is pursuant to the instructions of a physician who has advised the driver
    that the substance does not adversely affect the driver's ability to safely operate a motor
    vehicle;
 7. No driver shall report for duty or remain on duty if the driver tests positive for controlled
    substances; and
 8. No driver may refuse to submit to any of the alcohol or controlled substances tests required
    under University rules.

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  3.3.5.2                        Pre-employment Testing4
 1. Prospective employees (whose responsibilities will include providing security for the
    University or operation of a University vehicle) will be informed of the Alcohol and
    Controlled Substance Use Testing policy. These individuals will be asked to sign a statement
    authorizing testing - persons who refuse to take such tests will not be hired.
 2. The selecting department will schedule substance abuse testing for prospective employees.
 3. Individuals who are determined to have a substance abuse condition (controlled substances or
    alcohol) will not be hired by the University.
 4. An employee who provides security or operates a University provided motor vehicle and
    who has engaged in conduct prohibited by a University rule concerning controlled substances
    may not return to work until the employee undergoes a return-to-duty controlled substances
    use test with a result indicating a verified negative result for controlled substances.
 5. Human Resources will schedule alcohol and controlled substance use testing for prospective
    employees with an approved health facility.
 6. Individuals who do not receive a verified negative test result for controlled substances will
    not be hired by the University for security or motor vehicle operator positions.
 7. Individuals whose alcohol tests indicate an alcohol concentration of 0.04 or greater will not
    be hired by the University security or motor vehicle operator positions.
 8. Individuals whose alcohol tests indicate an alcohol content of 0.02 or greater but less than
    0.04 may be hired by the University but a condition of their employment may be to undergo
    random alcohol and controlled substance testing during the first 12 months of their
    employment. A positive test result during this period will result in corrective action, up to
    and including dismissal.

  3.3.5.3                        Reasonable Suspicion Testing
 If reasonable cause exists to suspect that security personnel or a driver is under the influence of
 or impaired by drugs or alcohol, or has violated the specific prohibitions stated above, the
 employee will be directed to report to an approved health facility for substance abuse testing.
 Reasonable cause may be established by a supervisor or other individual observing indications of
 possible substance abuse. When practical, reasonable cause shall be supported by the
 observations of at least two individuals. The supervisor must document the behavior or
 symptoms observed and arrange for the employee to be escorted to the approved health facility.
 The approved health facility will determine whether testing is warranted. Employees who refuse
 testing may not perform or continue to perform safety-sensitive functions, and are subject to
 corrective action, up to and including dismissal.




        4
            This policy is not applicable to employees hired prior to May 31, 2002. University employees hired prior
             to May 31, 2002 who terminate their employment and then subsequently return to the University are
             required to undergo pre-employment testing pursuant to this policy.

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  3.3.5.4                   Post-accident Testing
 An employee who is involved in an accident while operating a motor vehicle must report to the
 appropriate supervisor immediately and be tested as described below if the accident involved the
 loss of human life or the driver receives a citation for a moving traffic violation arising from the
 accident. In all other cases the employee must report within 32 hours of the accident and may be
 tested. The supervisor arranges to have employees tested by an approved health facility.
 Alcohol testing shall be administered within two hours following an accident, although such
 testing may be done up to eight hours after an accident. Controlled substances use testing must
 be administered within 32 hours following an accident.
 This policy should not be construed to require the delay of necessary medical attention for
 injured people following an accident, or to prohibit a driver from leaving the scene of an accident
 for the period necessary to obtain assistance responding to the accident, or to obtain necessary
 emergency medical care.
 The University may consider the results of breath or blood test for the use of alcohol, or a urine
 test for the use of controlled substances, conducted by federal, state or local officials having
 independent authority for the test, to meet the post-accident testing requirements, provided such
 tests conform to applicable federal, state or local requirements, and the results of the tests are
 obtained by the University.

  3.3.5.5                   Return-to-duty Testing
 An employee who provides security or operates a University provided motor vehicle and who
 has engaged in conduct prohibited by a University rule concerning alcohol or drugs may not
 return to work until the employee undergoes a return-to-duty alcohol or drug test with negative
 results.

  3.3.5.6                   Follow-up Testing
 Security personnel or vehicle operators who have violated the University alcohol or controlled
 substances use rules must be evaluated by a substance abuse professional. If the substance abuse
 professional determines that the driver is in need of assistance in resolving problems associated
 with alcohol misuse and/or use of controlled substances, the driver will be subject to at least six
 tests in the first 12 months following the employee‘s return to duty.

  3.3.5.7                   Responsibility
 Security personnel and employees who provide security or operate a University provided motor
 vehicles, as well as appropriate supervisors, are responsible for understanding and adhering to
 this policy.

  3.3.5.8                   Resource
 Contact Human Resources with questions or if more information about this policy is needed.
 Individuals with substance abuse problems may contact the Employee Assistance Program for
 assistance.


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       3.3.6           Dogs on Campus
 See Volume II, Subsection 2.10.4.

       3.3.7           Employees with Disabilities
 Section 504 of the 1973 Federal Rehabilitation Act and the 1990 American with Disabilities Act
 (ADA) require that Saint Leo University makes reasonable modifications of policies and
 practices and provide certain individualized services to otherwise qualified employees with
 disabilities. To have a covered disability under ADA, a person must have a condition that
 substantially limits a major life activity, have a history of such a condition, or be regarded as
 having such a condition. To be qualified under ADA, a person with a disability must be able to
 perform the essential functions of a job or meet the essential eligibility requirements of the
 program or public accommodation, with or without an accommodation to the person‘s condition.
 Individuals with disabilities may include, but are not limited to, those with learning disabilities
 (including Attention Deficit Disorder), visual or auditory impairments, speech impairments,
 mobility impairments, emotional illness, head trauma or medical conditions that substantially
 limit one or more major life activities as specified in the law. Specific accommodations will be
 decided on a case-by-case basis, in accordance with federal law, depending on the type and
 extent of the disability. Contact Human Resources for additional information. See Appendix
 3.3.7.1 for the Employees with Disabilities Policies and Procedures Manual .

       3.3.8           Employment of Family Members
 Employment decisions at the University are based on individual merit. The University,
 therefore, will consider employment of family members. Individuals may not, however, directly
 supervise family members or participate in employment decisions concerning a family member.

  3.3.8.1                   Definition and Application
 For purposes of this policy, a family member is any person related by blood, adoption or
 marriage (i.e., a parent, child, brother, sister, spouse, any member of the same household, or any
 person whose relationship with the employee is similar to that of persons who are related by
 blood or marriage). This policy applies to newly hired employees and to current employees who
 have changes in relationships (marrying another employee, for example), or changes in work
 assignments effective July 1, 2002.

  3.3.8.2                   Supervisory Role
 A University employee may not directly supervise a family member.
 If a situation occurs where family members are employed in the same work area (but one does
 not supervise the other), each family member must arrange to be removed from processes
 concerning any other family member, such as:
 1. Evaluating the performance of the family member;
 2. Considering the family member for reappointment, promotion or salary adjustment;
 3. Approving a leave of absence for the family member; or


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 4. Participating in other decisions that present a possible conflict of interest or appearance of
    conflict of interest or impropriety (see Code of Ethics Policy, Subsection 3.3.3).

  3.3.8.3                  Grandfather Clause
 Family members employed on or before July 1, 2002 by the University who work within the
 same department/division or center location are subject to the following provisions:
 1. The family members will not be allowed promotion within the department/division or center
    location which would place them in a supervisory role over another family member.
 2. All rules as outlined in ―Supervisor Role‖ (above) will apply to the working relationships
    between family members.

  3.3.8.4                  Responsibility
 An employee is responsible for complying with this policy when involved in employment
 decisions concerning a family member. All potential or existing situations concerning
 employment of a family member must be reported to Human Resources by the employee(s)
 affected by this policy.

  3.3.8.5                  Resource
 For more information concerning employment of family members, contact Human Resources.
 Refer to the University‘s policies on Sexual Harassment (Volume II, Subsection 2.1.2) and Code
 of Ethics Policy (Subsection 3.3.3) for other relationships not covered in this policy.

      3.3.9            Employment of Minors
 Saint Leo University has established guidelines concerning the employment of any individuals
 under the age of 18. The guidelines apply to student employees and to other minors under 18
 years of age. The law prohibits employment of minors under age 14.

  3.3.9.1                  Philosophy
 The University will adhere to applicable laws concerning employment of minors. Supervisors
 will ensure that:
 1. Employment is not detrimental to the minor‘s health or welfare;
 2. The minor will be adequately supervised; and
 3. Employment does not interfere with the minor‘s education.

  3.3.9.2                  Laws and Regulations
 This policy outlines legal requirements under federal, state or local law that generally apply to
 employment of minors in Florida, Virginia, Georgia, South Carolina, and Texas. While federal
 law applies in all cases, the location of the job site determines which state laws may apply.




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  3.3.9.3                   Work Permit
 Before employment, minors under the age of 18 (age 16 in Virginia) must obtain a work permit
 from the school district in which the job site is located. Work permit procedures vary according
 to age:
 16 or 17 Year Olds: The University department must complete an Intention to Employ Card,
 indicating the type of work the individual will perform, the work schedule, and the hours of work
 per week the individual will perform. The individual must take the completed card, together
 with a birth certificate or other proof of age, to the appropriate school or work permit office (in
 the jurisdiction where the job site is located).
 Departments employing a minor must submit the work permit along with other hiring documents
 to Human Resources. Work permits will be kept on file by Human Resources and will be
 available for inspection by authorized individuals.

  3.3.9.4                   Hours of Work
 The following restrictions apply to the number of hours per day or week that a minor may work:
 School Schedule          Age(s)                    State                     Maximum hours per
                                                                              day or week
                                                                              Non school hours: 15
 School/hrs                                                                   All non school
                          14, 15                    Florida
 Week Days                                                                    hours/day: 3
                                                                              18 hours/week
 Non School Hours         14, 15                    All                       8 hours/day
                                                                              40 hours/week
 All days                 16, 17                                              12 hours/day (work
                                                                              plus school time)

 In addition, there are limitations on the work schedule starting and ending times for minors.
 Age(s)                             State                            Work Times
 14, 15                             Florida                          7:00 am to 7:00 pm during the
                                                                     school year
                                                                     7:00 am to 9:00 pm from June
                                                                     1 to the first day of classes for
                                                                     the school year in August
 14, 15                             All                              7:00 am to 7:00 pm
 16, 17                             Florida                          6:30 am to 11:00 pm
 16, 17                             All                              6:00 am to 10 pm

  3.3.9.5                   Lunch Periods
 Florida requires that minors be given a one-half hour lunch period for every four hours of
 continuous work.
 Virginia requires that minors be given a one-half hour lunch period for every five hours worked.




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  3.3.9.6                   Occupational Restrictions
 Employers may not employ minors to perform certain job tasks.                 Restrictions vary by
 jurisdiction; however, examples of prohibited tasks include:
 1. Working on scaffolding;
 2. Using toxic chemicals or gases; and
 3. Operating power machinery (except office equipment).
 Due to the varying state, federal and local law compliance issues, the University minimizes and
 discourages the use of employing minors.

  3.3.9.7                   Responsibility
 Supervisors are responsible for complying with this policy when employing minors. Supervisors
 are responsible for verifying with local jurisdictions any limitations and/or restrictions in the
 work activities of minors.

  3.3.9.8                   Resource
 For more information concerning employment of minors, and for additional details concerning
 occupational restrictions, contact Human Resources.

       3.3.10           Immigration Law Compliance
 The University is committed to employing only United States citizens and aliens who are
 authorized to work in the United States and does not unlawfully discriminate on the basis of
 citizenship or national origin.
 In compliance with the Immigration Reform and Control Act of 1986, each new employee, as a
 condition of employment, must complete the Employment Eligibility Verification Form I-9 and
 present documentation establishing identity and employment eligibility within 72 hours of being
 hired. Any employee who is returning to the University after a break in service of one year or
 more must also renew their paperwork in Human Resources before they begin work. Employees
 without the necessary paperwork will not be allowed to continue work.
 It is essential that all international students, scholars and staff ensure that current INS paperwork
 is on file in Human Resources. If an employee renews a Visa, I-20, I-90, or any other such
 paperwork, the employee must also renew their records of that paperwork in Human Resources.
 Employees with questions or seeking more information on immigration law issues are
 encouraged to contact Human Resources. Employees may raise questions or complaints about
 immigration law compliance without fear of reprisal.

       3.3.11           Inclement Weather Related Shutdown
 In view of the fact that many services provided by the University are required seven days a week
 on a twenty-four hour basis, the University will make every effort to remain open at all times. In
 order to remain open at all times, the University has designated certain employees as ―emergency
 employees.‖ Regardless of weather conditions, these employees must report to work as
 scheduled. When conditions dictate, the University may modify the normal work schedule of
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 employees not designated as emergency employees by permitting early departures from work, by
 excusing late arrivals to work, by permitting the discretionary use of paid leave, or by closing a
 part of the University.
 The University recognizes that transportation problems can result from severe weather
 conditions and will modify normal work schedules of employees not designated ―emergency
 employees‖ as appropriate. Saint Leo will use the area Emergency Management
 recommendations as a general guideline when considering whether to open or close all or part of
 the University during hurricanes and extremely severe weather conditions, including snow and
 ice storms. A decision may vary between center locations and will depend on the University‘s
 ability to provide for the on-campus safety of students, faculty, and staff and on the ability to
 maintain adequate utilities in University buildings. In addition, there can be specific instances
 when local facilities or military installations request that local businesses delay opening or close
 early to conserve power or to respond to another community emergency.
 When an employee is hired, transferred, promoted, or changes status, it is important that the
 employee be advised of the employee‘s status as it relates to this policy. Each fall, department
 heads shall review the Inclement Weather and Shutdown Policy with their employees and ensure
 that each employee knows and understands the employee‘s status as it relates to the term
 ―designated emergency employee.‖

  3.3.11.1                  Notification of Change in Schedule
 When parts of the University are to be closed or the work schedule modified with respect to
 employees not designated as emergency employees, the Department of University
 Communications will contact television and radio stations and post information on the website.
 A telephone weather line is set up with a recorded message for employees to call that will outline
 the University‘s plan related to the inclement weather or shutdown situations. The message on
 the telephone line is the official University status.
 The main number for the University is: (352) 588-8200
 For main contact numbers at Center locations, please contact the appropriate Center Director or a
 supervisor.

  3.3.11.2                  Plan
 The University‘s Plan related to the inclement weather or shutdown situations will include one of
 the following options:
 1. Remain Open: The weather line and media announcement will state: ―Saint Leo University is
    open.‖
 2. Liberal Leave: The weather line will state: ―Liberal leave is in effect. Day classes will begin
    at their normal time.‖ Designated emergency employees must report to work on time. All
    other employees may report up to two hours after their normal scheduled start time or may
    choose not to report to work. Employees who do not report to work may use their accrued
    paid leave for the time. Employees who report within two hours of their normal start time
    will be paid for those hours.
 3. Delayed Arrival: Should it be necessary to delay the start of classes or work due to weather
    conditions or other situations beyond our control, the weather line will state: ―Saint Leo
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    University is open. Classes will begin at [time designated]. Non emergency employees
    should report to work at [time designated], but they are expected to report to work. All
    designated emergency employees must report to work on time.‖ If needed, the weather line
    will contain more detailed information about scheduling of classes on individual campuses.
 4. Closure: The weather line will state, ―Saint Leo University is closed and classes are canceled.
    Designated emergency employees must report to work.‖ Employees who are excused from
    work due to the closing will receive their regular compensation for the time lost due to the
    closing.

  3.3.11.3                  Early Departure
 When a decision is made to permit early departures, employees will be paid for the authorized
 excused hours.

  3.3.11.4                  Employees on Scheduled/Unscheduled Leave
 Employees who are off work due to scheduled/unscheduled sick leave or vacation will not be
 compensated or have their leave adjusted due to early departure or closure of the University.

  3.3.11.5                  Evening Classes
 The decision to cancel evening classes will be made by the Vice President of Academic Affairs
 in conjunction with other University personnel. A decision shall be made at the earliest possible
 time and will be communicated to the Department of University Communications for appropriate
 dissemination.

  3.3.11.6                  Responsibility
 Each department must identify and notify its designated emergency employees. Announcement
 of the decision to modify the work schedule or to close all or a part of the University with respect
 to employees not designated as emergency will be made by the President, and/or a designated
 representative(s).
 It will be the responsibility of each employee to secure information regarding the University‘s
 posture during an individual inclement weather or shutdown situation.

  3.3.11.7                  Resource
 Human Resources, University Communications Department, or Security.

       3.3.12           Information Technology Policies
 See Volume II, Section 2.4.

       3.3.13           Physical Examinations
 A physical examination, in addition to pre-employment testing (see paragraph 3.3.5.2), may be
 required of a new employee once an offer of employment has been made, especially for positions
 requiring greater than minimal physical activity. Incumbent employees selected for new

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 positions with significantly different demands may also be required to have a physical
 examination based on the new position‘s requirements.
 Arrangements will be made by Human Resources for a physical examination to be conducted at
 a medical facility designated by the University. The medical examination will be provided at no
 cost to the candidate, and may include examination, testing and/or immunizations deemed by the
 University to be appropriate for the particular employment position. At the discretion of the
 University, additional periodic exams or testing may be requested, especially on the occasion of
 an employee injury in the workplace (see paragraph 3.3.5.4 for additional information regarding
 post accident testing).

       3.3.14          Professional Conduct
 Saint Leo University employees are expected to behave in a professional, business-like manner
 at work, on University premises, and whenever representing the University. Employees are
 accountable for behavior outside of work that has a negative impact on the individual‘s ability to
 perform the employee‘s responsibilities at work.
 To avoid damage to the integrity of Saint Leo University or its employees and to protect the
 rights of employees and the public, the University has established guidelines concerning
 professional conduct of employees. Areas of conduct covered by this policy and standards of
 conduct include, but are not limited to, the following:

  3.3.14.1                  Misconduct (rev 5/28/2009)
 The University reserves the right to discipline employees for misconduct including, but not
 limited to, termination of employment. ―Misconduct‖ includes: (1) an on-the-job activity
 performed by a University employee that violates state and/or federal laws or regulations, local
 ordinances, or University policy; (2) willful failure to perform duties, paying or receiving money
 for hours not worked, falsification of documents, theft of University property, or personal use of
 University resources; and (3) any willful action that subjects the University to liability.

  3.3.14.2                  University Resources
 The unauthorized use of University Resources is prohibited. Misuse of University Resources
 includes, but is not limited to the unauthorized use of telephones, copiers, fax machines,
 computers, courier services, postage, office supplies, and other business equipment and supplies.

  3.3.14.3                  Personal Business
 Employees are requested not to conduct personal business during work hours or use University
 resources for personal business.

  3.3.14.4                  Professional Organizations
 Employees who belong to outside professional organizations should ensure that association with
 the organization, its conduct or membership, does not negatively impact on the individual‘s
 ability to perform job duties. Employees shall not represent themselves as official spokespersons
 for Saint Leo University unless authorized by the University.

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  3.3.14.5                  Firearms, Dangerous Weapons, Explosives, Lethal Materials
 See Volume II, subparagraph 2.3.1.1.6.

  3.3.14.6                  Alcohol and Other Drugs
 Being under the influence of alcohol or illegal or controlled substances when reporting to work,
 while on the job, or in connection with carrying out University responsibilities or on University
 premises is prohibited. In addition, processing or selling illegal or controlled substances while
 on the job, in connection with carrying out University responsibilities or on University premises
 is also prohibited. This procedure is in addition to other University policies, including those
 concerning a drug free workplace, and substance abuse by vehicle operators (see Volume II,
 paragraph 2.2.1.1 and Subsection 3.3.5, respectively).

  3.3.14.7                  Dress Code
 An employee‘s dress and appearance shall be appropriate at all times to give a positive
 impression of the University. All employees are required to practice good grooming and
 personal hygiene. Employees, in conjunction with their supervisors, may use their judgment
 regarding appropriate dress as determined by their schedule of activities and duties. University
 expectations will not conflict with applicable federal or local statutes, including those prohibiting
 discrimination based on national origins or religious belief.
 Appropriate Dress: The University wants Saint Leo administrators and staff to feel comfortably
 dressed at work, yet appropriate for an office environment. Greeting important visitors often
 requires suit jackets and ties, dress suits or dresses for women. Examples of appropriate dress
 include slacks, blouses/shirts, skirts, shirts with collars, khakis, dresses, polo and cotton shirts.
 Clothing that is not appropriate for a professional office environment include jeans (may be
 allowed when short term manual work is being performed), tee shirts, beach sandals, any sandal
 resembling a ―flip flop,‖ beach wear, halter tops, shorts, and athletic attire (Coaches and trainers
 in Athletics are asked to adhere to this policy when outside of performing their playing/training
 duties). On Fridays and when appropriate, more casual professional attire is fine. All
 supervisors shall inform current employees and orient new staff members to specific
 departmental guidelines for dress.

  3.3.14.8                  Responsibility
 All University employees must follow the procedures outlined above, as well as other University
 policies concerning employee conduct, and specific departmental guidelines.

  3.3.14.9                  Resource
 Contact Human Resources with questions or if more information about this policy is needed.

       3.3.15           Orientation, Training, and Development
 The University strives to assimilate new employees into the organization through an active
 orientation program. Further, the University supports continued training and development for
 employees; however, the University recognizes there are organizational limits, such as budget,
 time, and staffing that dictate the extent of resources available.
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 As an academic organization, Saint Leo University is committed to the orientation, growth, and
 development of the individual and supports targeting resources to accomplish that end.
 Recognizing that the organization is only as effective as its members and work teams, Saint Leo
 University supports orientation and ongoing training and development efforts designed to:
 1. Provide practical information in a timely manner;
 2. Educate employees about relevant legal and regulatory issues;
 3. Enhance the skills an employee uses in the current position;
 4. Expand an employee‘s existing knowledge and skills to prepare for a modification or change
    in the current position;
 5. Broaden an employee‘s existing knowledge and skills to prepare for future needs of the
    organization;
 6. Encourage, respect and foster an appreciation of individual differences; and
 7. Encourage an employee to pursue personal educational goals.

  3.3.15.1                  Orientation
 University orientation occurs at two levels: Organizational orientation and department
 orientation. Human Resources will arrange for new employees to attend the University‘s
 Orientation Program during the first month of employment. The supervisor or department head
 should arrange department orientations.

  3.3.15.2                  Computer Training
 Department supervisors will evaluate and schedule for Datatel and User Interface or other
 computer training all newly hired, transferred or promoted employees.
 User Interface training is required for all employees who will work with the Datatel system prior
 to their being enrolled in other Datatel training programs.
 Department Specific Datatel Training includes, but is not limited to:
 1. CORE;
 2. Admission module;
 3. Student module;
 4. Financial Aid module;
 5. Accounting and Finance module;
 6. Requisition and Purchasing module;
 7. Budgeting modules;
 8. Human Resources module; and
 9. Faculty module.
 All employees will be required to sign the University‘s Password policy (See Volume II,
 Subsection 2.4.2) and complete training before passwords will be issued by University

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 Technology Services. Failure to abide by the University‘s Password policy will result in
 disciplinary action up to and including termination.

  3.3.15.3                  Training and Development Program Costs
 The department, depending on the nature of the program and the financial resources available,
 may pay training and development costs for programs offered outside the University. In some
 cases, the cost of a course may be paid through the University tuition benefit program.

  3.3.15.3.1                     Time Away From Work
 Time away from work for attending a class or training program may be considered work time
 and paid accordingly if the following conditions are met:
 1. The training program or class is approved and related to the employee‘s current job or an
    approved career development program; and
 2. The employee‘s attendance is required by an immediate supervisor
 All other requests for time away from work to attend training programs or classes must be
 processed in accordance with the current leave policies.

  3.3.15.4                  Resources

  3.3.15.4.1                     Internal Educational Programs
 A variety of on-campus and on-site training and development resources are available at Saint
 Leo University, including:
 1. Training and Organizational Development;
 2. School Continuing Education;
 3. Saint Leo degree programs;
 4. University-sponsored seminars and programs;
 5. Academic Computer Center; and
 6. Continuing Professional Education.
 Contact the school or center directly for information about courses and enrollment.

  3.3.15.5                  Responsibility
 The employee and the supervisor share the responsibility for departmental and individual
 training including, but not limited to Datatel modules, work-related skill development and career
 growth development.
 The Training Department will be responsible for coordinating with the supervisor for the
 scheduling of employee training.
 Human Resources and the Financial Aid Department are responsible for administering the tuition
 remission program.


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 Each department is responsible for approving and communicating the policy for departmentally
 funded training and development programs.

  3.3.15.6                  Resource
 Contact Human Resources with questions about this policy or for additional information.
 Contact Human Resources for information about the Tuition Benefit Program.

       3.3.16          Security Inspections
 The University wishes to maintain a work environment that is free of illegal drugs, misuse of
 alcohol, firearms, explosives, or other improper materials. To this end, the University prohibits
 the possession, transfer, sale, or use of such materials on its premises. The University requires
 the cooperation of all employees in administering this policy.
 Desks, lockers, bookshelves, file cabinets and other storage devices may be provided for the
 convenience of employees, but remain the sole property of the University. Accordingly, any
 agent or representative of the University can inspect them, as well as any articles found within
 them, at any time, either with or without prior notice. (See Volume II, Campus Community
 Policies for Drug and Alcohol and other policies related to health and safety).

       3.3.17          Union Organizing Activities
 University employees (except for supervisors, managerial employees and confidential
 employees, as those terms are defined under federal labor law) have the right to freely vote for or
 against joining a union. Accordingly, the University will strive to respect the rights of
 employees to vote for or against union representation without intimidation, unjust pressure, or
 hindrance in accordance with applicable law.

  3.3.17.1                  Organizing Activity
 The University will follow procedures established by the National Labor Relations Board
 concerning union organizing activities in the workplace. The University will exercise its right as
 an employer to assist employees to obtain adequate information upon which to base a decision to
 accept or reject union representation.
 Supervisors who are aware of union organizing activities must contact Human Resources.

  3.3.17.2                  Solicitation and/or Distribution Activities
 University employees may solicit and/or distribute written material for the purpose of supporting
 or organizing in accordance with the National Labor Relations Act without obtaining prior
 approval as follows: Solicitation activities, unaccompanied by distribution of written materials,
 may be conducted on non-working time (periods when an employee is not properly engaged in
 performing work tasks such as break periods or mealtimes) in areas that are not immediate work
 areas. Immediate work areas include, but are not limited to, University offices, corridors and
 sitting areas adjoining University offices.
 Distribution of written materials may be conducted on non-working time in non-working areas.
 Distribution of written materials in work areas is prohibited at all times unless otherwise
 approved in advance.
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  3.3.17.3                  Responsibility
 University employees, supervisors, and managers must comply with this policy.

  3.3.17.4                  Resource
 Contact Human Resources with questions or if additional information about this policy is
 needed.

       3.3.18          University-Sponsored Memberships in Career-Related
                Organizations
 Saint Leo University has established guidelines concerning support of employee memberships in
 career-related organizations.
 The University will support employees who wish to join and participate in career-related
 organizations when:
 1. The affiliation is consistent with the mission and values of the University;
 2. Membership will benefit the employee and the University; and
 3. Adequate funding is available to sponsor the membership.
 An employee may request the University to sponsor membership in an appropriate organization
 by submitting a request to the immediate supervisor. The request shall include:
 1. A description of the organization;
 2. An explanation of how the membership would benefit the University and the employee;
 3. The complete cost of membership; and
 4. An estimate of the amount of University work time the employee will spend participating in
    the organization(s).
 The supervisor will review the request and forward it with a recommendation to the department
 head. The department head will promptly approve or disapprove the request and inform the
 employee and supervisor.
 A department head (or higher level employee) who wishes to join a career-related organization
 shall send a request to the appropriate supervisor.
 Membership payments must be processed according to the University‘s fiscal procedures.
 Participation in some membership organizations may be qualified by the Internal Revenue
 Service as a taxable fringe benefit. Taxes are the responsibility of the employee and will be
 handled through payroll.

  3.3.18.1                  Responsibility
 Department heads are responsible for approving or disapproving requests for University-
 sponsored memberships in career-related organizations. A copy is to be forwarded to the Human
 Resources inclusion in the employee‘s personnel file.



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  3.3.18.2                  Resource
 For more information concerning this policy, contact Human Resources.

       3.3.19          Volunteer Policy
 University volunteers are considered unpaid impendent individuals and are not entitled to salary,
 employee benefits, or unemployment compensation.
 The University encourages community members to donate their time and expertise as volunteers
 with the University. Departments and divisions are also encouraged to explore all avenues of
 community involvement through the use of volunteers.
 An employee cannot ―volunteer‖ to perform duties after hours without compensation, if those
 duties are the same type duties that the individual is employed to perform. An employee may,
 however, volunteer to perform duties for the University that are outside of the scope of their job
 duties.
 Students may not be considered volunteers if the service to be performed is required as part of
 their course work.
 Volunteers are not subject to any provisions of laws relating to state or public employment,
 collective bargaining agreements, hours of work, leave time, or benefits, except as described
 below.
 Volunteers are covered by Workers‘ Compensation and state liability protection in accordance
 with the definition of a volunteer and the provisions of Section 768.28, Florida Statutes.
 Volunteers are not entitled to replacement of lost wages under Workers‘ Compensation for their
 University volunteer work because they receive no wages.
 Volunteers acting in the course and scope of their duties are also covered by Section 768.1355 of
 the Florida Volunteer Protection Act, provided they behave as a reasonably prudent person
 would under the circumstances and they do not willfully or wantonly cause any personal injury
 or property damage.

  3.3.19.1                  Delegation of Authority
 Authority is delegated to supervisors for the selection, appropriate use of, and termination of
 volunteers.

  3.3.19.2                  Selecting a Volunteer
 Departments may contact Human Resources to make it aware that the department is interested in
 volunteer workers. Human Resources will keep a listing of such departments. Individuals who
 inquire about volunteer work at the University will be referred directly to the departments on the
 listing.
 When selected for volunteer work, a volunteer is to complete the Application for volunteer
 Services and authorization for background check. These forms are to be submitted to Human
 Resources upon completion approval of background check the department requesting will be
 notified, the volunteer is authorized. The applicant is authorized to begin volunteering.


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 Supervisors shall inform volunteers of their rights and benefits to comply with University
 policies and procedures, including those related to safety. Volunteers who have access to
 documents or systems containing confidential records must be made aware of the expectation for
 maintaining confidentiality. If confidentiality is applicable, the volunteer must sign a statement
 of confidentiality.
 Any equipment, keys, etc. issued to the volunteer will be recorded on an equipment
 acknowledgement form and sent to Office of Human Resources.
 Volunteers with a valid driver‘s license may use University vehicles when performing University
 duties as determined by the supervisor, Director of Campus Safety, and in accordance with
 University policies. A commercial driver‘s license and a substance abuse test are required by
 federal law when operating a vehicle transporting 16 or more passengers, transporting hazardous
 materials, or utilizing with a gross weight of 26,001 or more pounds.

  3.3.19.3                  Volunteer Benefits and Length of Service
 All volunteers are required to obtain an identification card with the volunteer Registration. The
 authorization for the ID card must be obtained through Human Resources. Volunteers are not
 eligible for University benefits. Authorization and/or access for Library Card, Dining Services,
 Email, Parking Permit or other University equipment or programs must be requested by the
 department supervisor. The length of volunteer services should be mutually agreed upon by the
 supervisor and volunteer. There is no limit on the length of the volunteer service provided the
 supervisor is satisfied with the volunteer‘s work.
 Once voluntary services end, the department must notify Human Resources of the volunteer‘s
 last day of service and obtain any keys, equipment, parking permit and ID card. The ID card will
 be sent to Human Resources to be deactivated along with equipment return acknowledgement
 form.

  3.3.19.4                  Recordkeeping Requirements
 Upon termination, the volunteer‘s records are to be retained in Human Resources for three years
 and are to be destroyed in accordance with the department‘s record retention schedule for such
 files. These are the only records of the volunteer‘s service Human Resources is to be contacted
 by potential supervisors who wish to confirm the experience or obtain a recommendation or
 evaluation of the volunteer‘s services. Such records may also be required to support a Worker‘s
 Compensation claim.

3.4            Employee/Student Use of University Vehicles and Golf Carts

       3.4.1           Driver Approval Process for University Vehicles

  3.4.1.1                   Student Employee Driver Approval Process
 Only students who are employed by a department at Saint Leo University or are active in an
 organization on campus are eligible to become a certified driver of University vehicles. In order
 to request a student be certified as a driver the department/organization must first notify Human
 Resources (HR) and the Director of Campus Safety of their intent to have a student certified as a

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 driver. The student at that time must take his/her Driver‘s License to HR to have a Motor Vehicle
 Report (MVR) run. In addition to having a satisfactory MVR, students will also be required to
 submit to and pass a on the road Driver Certification Test. Upon completion of the MVR, HR
 will notify the Director of Campus Safety of the results. Provided the student has a satisfactory
 MVR, the Director will notify the Driver Certification Test (DCT) Administer. The DCT
 Administer will contact the student for a list of convenient times to conduct the driver
 certification test.


 The DCT Administer will contact Campus Safety to arrange the time and vehicle for the
 certification.


 The student will meet the DCT Administer at Campus Safety at the agreed upon time. The
 student will be required to bring his/her Driver‘s License and a current copy of their personal
 vehicle insurance. The DCT administer will be required to bring the DCT Test Sheet.


 The DCT Administer will take the student out in a University 12 passenger van. During the test,
 the Administer will grade the student on a number of different objective tasks. If the student is
 successful, the DCT Administer will turn in the Dated DCT Results to Campus Safety. The
 student will then be provided with copy of his/her DCT results. Campus safety will then make a
 copy of the student‘s driver‘s license and insurance card. Also, the student must sign an Annual
 Driver License and Record Update form. All of these documents will be filed in Campus Safety
 in a secured cabinet. Also, Campus Safety will be required to complete and maintain an excel
 spreadsheet with the following information.
          Last and First Name
          DL Number
          State of DL
          Name of Ins. Carrier
          Date of Certification
          Date of the MVR
          Preferred Email Address
          Date of Graduation
          Dept/Org Association

 The list of drivers must be reviewed in May every year by a Campus Safety Staff member. If a
 student is believed to have graduated, their record should be verified. For the remaining students
 a list of names should be sent to respective departments/organizations to verify the student is still
 needed as a driver. Those students who are still needed must have an MVR check done again.
 Those students who are not needed must be removed from the list.


 Students with a MVR more than a year old are not permitted to drive any University vehicle until
 a more recent MVR is on record.


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  3.4.1.1.1                     Student Driver Certification Requirements
               Must have a Satisfactory MVR
               Must have at least 3 years of driving experience
               Must successfully complete Driver Certification Test
               Must turn in a copy of Driver‘s License and Insurance Card to Campus Safety
               Complete and Sign Saint Leo University Annual Driver‘s License and Record
               Update (see Annual Driver Agreement on the Intranet under the Human
               Resources Tab)

  3.4.1.2                   Staff/Faculty Driver Approval Process
 In order to become a certified driver an employee at Saint Leo University must have a
 satisfactory MVR. The process for approval begins by an employee‘s supervisor or department
 head requesting he/she is certified as a driver. A faculty/staff member can also be elected if they
 serve as an advisor to an organization or club on campus and can provide documentation they
 advise to a club/organization. The request for an employee to become a certified driver should be
 sent directly to Human Resources and copied to Campus Safety.
 If HR receives satisfactory results from the MVR, HR will notify the employee and send a copy
 of the MVR to the Director of Campus Safety. Campus Safety at that point will request the
 employee come by to provide a copy of his/her driver‘s license and personal vehicle insurance.
 An employee will not be permitted to drive until this information is provided.
 This information is to be kept on record. Once all the information is obtain Campus Safety will
 enter in the information in the Master Driving List spreadsheet for the respective year.
 Information on the worksheet should contain the following:
            Last and First Name
            DL Number
            State of DL
            Name of Ins. Carrier
            Date of Certification
            Date of the MVR
            Preferred Email Address
            Dept/Org Association

                4.1.1.1.1   Staff/Faculty Certification Requirements
        Must have a Satisfactory MVR
        Must have at least 2 years of driving experience
        Must successfully complete Driver Certification Test (if requested to do so)
        Must turn in a copy of Driver‘s License and Vehicle Insurance Card to Campus Safety
        Complete and Sign Saint Leo University Annual Driver’s License and Record
        Update(see Annual Driver Agreement on the Intranet under the Human Resources
        Tab)




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  3.4.1.3                   Motor Vehicles Reports
 Persons with serious driving violations are prohibited from driving University Vehicles. Such
 violations include but are not limited to a suspended/restricted license, any drug or alcohol
 related violation, or multiple driving offenses. Saint Leo reserves the right to review the past five
 (5) years. It is the responsibility of the employee or student to notify Campus Safety and HR
 immediately if a change in driving status occurs. Failure to comply with this provision may result
 in disciplinary action including dismissal.

  3.4.1.4                   Driver Certification Test
 This is test administered by the elected University Driver Certification Test Administer. The
 Department of Campus Safety reserves the right to have any employee/student submit to a Driver
 Certification Test. Refusal will result refusal of motor-pool driving privileges.

  3.4.1.5                   Accident Reporting Procedures
 In the event that an individual is in an accident while driving a University vehicle or there is
 physical damage done to a vehicle, the driver is required to report the incident to a dispatcher or
 officer on duty at the earliest possible time.

 Materials for the driver to take down details of an accident when it occurs are located in the
 binders of each motor pool vehicles.

 The dispatcher/officer receiving information regarding an incident is required to complete an
 Incident Report. The report must have a log entry number and as much completed information as
 possible. If the incident is reported via telephone the individual reporting the incident must be
 interviewed upon his/her return to campus. If the vehicle is able to be driven back to campus it
 must be checked by a mechanic to ensure there are no mechanical or operational defects.

 Upon completion a copy of the Incident Report and any related documents must be promptly
 submitted to the Risk Management Coordinator.

 Any vehicle that has been in an accident or has any physical damage must be inspected by a
 mechanic for mechanical and operational integrity. The vehicle cannot be released for use until
 this inspection is completed.

  3.4.1.6                   Mechanical or Operational Reporting Procedures
 All drivers are required to notify the Office of Campus Safety of any mechanical or operational
 defects that occur while using a motor pool vehicle.

 The Officer or Dispatcher on duty must have the individual fill out completely a Motor Pool
 Mechanical or Operational Defect Report.
 A copy of this form must be submitted to the Risk Management Coordinator promptly after its
 completion.

 Any vehicle that is reported to have a mechanical or operational defect may not be released for
 use until it has been inspected by a mechanic and released as free from defect.


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 The Officer/Dispatcher who took in the report is responsible for notifying the Director of
 Campus Safety of the vehicle in need of inspection, for completing the ―For Official Use Only‖
 section of the Motor Pool Mechanical or Operational defect report, and promptly notifying the
 Risk Management Coordinator of the reported defect and the inspection of said defect.

       3.4.2             University Golf Cart Policies
 This policy establishes the safety measures to be followed by Saint Leo employees, including
 student employees and guests who operate golf carts/utility vehicles on campus. The intent of
 this policy is to prevent injuries to pedestrians, golf cart/utility vehicle operators, and reduce the
 risk of property damage.

 The Saint Leo University Golf Cart/Utility Vehicle Policy applies to four-wheeled, low-speed
 vehicles whose top speed is not greater than 25 mph. Specific examples, of vehicles covered by
 this policy include, but are not limited to, gas powered and electric golf carts.

  3.4.2.1                     Operator Requirements
 All employees, including student employees, must meet the following requirements to operate a
 University golf cart or utility vehicle:
        Read the Saint Leo University Golf Cart/Utility Vehicle Policy
        Sign the Golf Cart Training Verification Form (see Golf Cart Form on the Intranet under the
        Human Resources tab)
        Receive hands-on instruction from their immediate supervisor
        Possess a valid driver‘s license

 Individuals who do not meet these requirements are not permitted to operate golf carts/utility vehicles on
 campus. Student owned golf carts/utility vehicles may not be driven or parked on campus.

  3.4.2.2                     Responsibilities
 Supervisors and operators have special responsibilities for ensuring these carts/vehicles are
 operated in a safe manner and maintained in accordance with the manufacturer‘s specifications.

  3.4.2.3                     Department Responsibilities
 The departments assigned golf carts and/or utility vehicles are responsible for:
        All repairs and maintenance costs
        All preventative maintenance and repair records for their carts/vehicles
        Keeping all original equipment and safety features in good working order

  3.4.2.4                     Supervisor Responsibilities
 Supervisors are responsible for:
        Ensuring that employee drivers and students are properly licensed and that they have
        completed the required safety training prior to operating a golf cart/utility vehicle
        Ensuring that a training verification form has been signed by the employee and a copy
        sent to the Office of Risk Management
        Ensuring that operators review the manufacturer‘s manual

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        Taking timely action to correct operator misuse of a golf cart/utility vehicle
        Ensuring that all equipment on the golf cart/utility vehicle is working properly and that
        the cart/utility vehicle is taken out of service when there are deficiencies that could
        contribute to an unsafe condition

  3.4.2.5                   Authorized Operator Responsibilities
 Operators are responsible for:
    1. Inspecting the golf cart/utility vehicle before operation and documenting any deficiencies
    2. Completing Golf Cart/Utility Vehicle safety training prior to operating a cart/utility
        vehicle
    3. Signing a Golf Cart/Utility Vehicle Training Verification Form and returning it to his/her
        supervisor
    4. Operating the cart/vehicle in a safe manner
    5. Reporting accidents to his/her immediate supervisor and Campus Safety

  3.4.2.6                   Safe Operating Procedures
    1. An operator should conduct a safety check on the cart/utility vehicle prior to operation.
    2. Operators are to use extreme caution at all times.
    3. Golf carts should be operated on campus roadways. Sidewalks should be used only where
        roadways and/or parking lots are not available, and then only to the nearest adjacent
        street or parking lot.
    4. When approaching a blind corner, such as a building or wall, slow down and use caution.
    5. Golf carts can turn corners very sharply, go slow and keep all four wheels on the ground.
    6. Operators are responsible for ignition keys for the period of time in which they are using
        the vehicle. Keys shall not be left in golf carts/utility vehicles.
    7. In the State of Florida, pedestrians always have the right of way. Operators will permit
        this right of way.
    8. Never back up without making sure there is no person or obstructions behind the cart
    9. Never shift gears while the vehicle is in motion
    10. The parking brake must be set when not in transit.
    11. Use of cell phones and pagers are prohibited while driving a cart/utility vehicle. Operator
        must pull over and stop to make or receive calls.
    12. Operators must account for conditions that may make driving surfaces slippery.
    13. Golf carts/utility vehicles shall not block exits, entrances, stairs, sidewalks, fire hydrants,
        fire lanes or handicap ramps.
    14. Do not carry more passengers than the golf cart/utility vehicle is designed to hold.
        Do not permit passengers to ride in the bed of a golf cart/utility vehicle.
    15. Occupants are to remain seated until the golf cart/utility vehicle comes to a complete
        stop, no jumping on or off a moving cart is allowed.
    16. Operators and passengers must keep their bodies inside the cab of the golf cart/utility
        vehicle (except when using hand signals).
    17. Do not overload the golf cart/utility vehicle by exceeding the recommended carrying or
        load capacity.



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      18. Loads shall not extend more than one foot from either side or front of the vehicle. Loads
          that extend more than three feet from the rear of the golf cart/utility vehicle must be
          flagged.
      19. A golf cart/utility vehicle should be operated on campus at a speed equivalent to a well-
          paced walk and should not exceed 15 mph. Reduce speed to compensate for inclines,
          pedestrians, and weather conditions.
      20. Golf cart operators shall possess a valid driver’s license and observe all Florida vehicle
          traffic laws such as lane travel, stop signs, legal passing of other vehicles, etc.

  3.4.2.7                    Pedestrian Considerations
      1. The golf cart/utility vehicle must come to a complete stop before proceeding through
         intersecting sidewalks or other areas that have blind spots.
      2. Operators must yield to pedestrians at all times.
      3. Operators must account for the fact that a pedestrian may be physically impaired (unable
         to move quickly) or unable to hear or see the golf cart/utility vehicle.
      4. Operators must reduce speed in heavy pedestrian traffic or stop until the traffic has
         lessened.
      5. Operators must never attempt to get pedestrians out of their way by intimidating them.
      6. Whenever an operator feels he/she cannot predict the actions of a pedestrian or other
         vehicle operator, he/she must come to a complete stop.

  3.4.2.8                    Enforcement
 All operators will be expected to perform their job in conformance with safe operating
 procedures. Violations of safe operating procedures will be treated under the University‘s
 existing disciplinary procedures. The privilege of operating a golf cart/utility vehicle may be
 revoked at any time. Violations of this policy involving Saint Leo University Campus Safety and
 Security will be immediately addressed with the operator and his/her supervisor.

3.5             Personnel Records

        3.5.1            Personal Data, Records, and Changes
 The University complies with all laws that govern personnel records, their review, and their
 dissemination. Official personnel records of staff are maintained in Human Resource. Only
 information relevant to University personnel decisions or necessary to meet legal requirements is
 kept. Only authorized personnel may handle confidential personal data. All medical records,
 including any genetic information, are kept separate from personnel records and are treated as
 confidential.
 Employees may review their personnel file at reasonable intervals by making an appointment
 with Human Resources.

        3.5.2            Personal Data Accuracy Statement
 Every employee is responsible for providing current information regarding name, address,
 telephone number, marital status and/or information regarding dependents and beneficiaries for
 group insurance purposes. All changes must be submitted to Human Resources. The University
 relies upon the accuracy of information contained in the employment application, as well as the
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 accuracy of other data presented throughout the hiring process and employment. Any
 misrepresentations, falsifications, or material omissions in any of this information or data may
 result in the exclusion of the individual from further consideration for employment or, if the
 person has been hired, termination of employment.

       3.5.3            Faculty Personnel Records
 In addition to the above policies, faculty personnel records are governed by the provisions of
 Article 5 of the Faculty Collective Bargaining Agreement (Volume IV-A, Subsection 4A.1.1.5).

3.6            Employee Holiday, Vacation, Leave, and Benefit Policies
 Eligible employees at the University are provided a wide range of benefits. A number of the
 programs (such as Social Security, worker‘ compensation, disability, and unemployment
 insurance) cover all employees in the manner prescribed by law.

       3.6.1            Holiday Policy
 Saint Leo University, recognizing the value of time off for employees to celebrate religious and
 national holidays, grants holiday pay to employees. Holiday pay for any scheduled holiday is
 equal to an employee‘s regular compensation and the number of hours the employee is normally
 scheduled to work. Employees may request holiday leave for other religious observances that
 are not part of the Holiday Schedule.
 Scheduled Holidays are determined on an annual basis and approved by the President.
 Additional holidays may be scheduled at the discretion of the President.
 The current Holiday Schedule is posted annually in Data Mart. When a holiday falls on a
 weekend, another day may be scheduled.
 Employees who work at facilities with holiday schedules that are different than the published
 Holiday Schedule will only receive holiday pay compensation for those days granted by the
 University. All other time will be reported as vacation leave. If a holiday falls on a full time
 employee‘s regularly scheduled day off, the employee will normally receive the next workday
 off. If departmental needs preclude allowing the next work day to be the employee‘s ―holiday‖,
 then the employee shall receive another day off within 30 days following the scheduled holiday.

  3.6.1.1                   Holidays for Three-Quarter Time Employees
 Three-Quarter time employees filling a 12-month regular employment position will receive ¾
 time for holidays.

  3.6.1.2                   Nine (9) and Ten (10) Month Full-Time Employees
 Nine (9) and Ten (10) Month regular full-time employees are eligible for Holiday pay for those
 holidays that fall within their regularly scheduled nine or ten month work schedule.

  3.6.1.3                   Holidays for Part-Time Employees
 Part-time employees are not eligible for eligible for holiday pay.

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  3.6.1.4                  Nonscheduled Religious Holidays
 Employees may request time off for religious observances that are not part of the published
 Holiday Schedule. Employees shall provide supervisors with adequate notice regarding the need
 for time off for these religious holidays. Employees may use paid leave for a nonscheduled
 religious holiday; or, the employee may be permitted to work outside of the employee‘s regularly
 scheduled hours to make up for the time off.

  3.6.1.5                  Scheduled to Work
 Many departments do not close on scheduled holidays and consequently not all employees can
 be off on the same day. In these departments, the supervisor will schedule holidays equitably
 consistent with department needs.
 Exempt employees who work on a scheduled holiday are not entitled to additional compensation
 but should be provided time off when the work load permits for the hours worked up to 8 hours.
 Non-exempt employees who work on a holiday are paid at their regular hourly rate for the hours
 worked, and may be given another day off from work with pay, which must be used within the
 following 30 day period.
 At the department‘s discretion, exempt or non-exempt employees may be paid straight time for
 the holiday hours worked up to eight hours in lieu of another day off.

  3.6.1.6                  Responsibility
 Each department must inform its employees about the department‘s holiday schedule and holiday
 leave policy.

  3.6.1.7                  Resource
 Contact Human Resources with questions or if additional information about this policy is
 needed.

      3.6.2            Vacation Policy
 The University recognizes the importance and value of vacation leave so that employees may
 have paid time away from work for a variety of reasons. Accordingly, Saint Leo University
 grants to eligible administrative and staff employees vacation leave for rest and recreation;
 personal reasons; health maintenance; illness, injury or disability; family and medical leave;
 religious observances; or emergencies.

  3.6.2.1                  Eligibility
 Vacation leave is available to all administrative and staff employees who are regularly scheduled
 to work at least 30 hours each week. Refer to the Vacation Leave Schedules in the chart below
 to determine individual accrual rates.




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  3.6.2.2                  Accrual and Accrual Rate
 All eligible administrative and staff employees accrue vacation leave according to the designated
 leave schedule based on position and length of service. Vacation Leave begins accruing in the
 first full month following the completion of 90 days of employment.
 Paid leave is accrued on a semi-monthly basis on the 15th and the last day of each month for all
 staff.

  3.6.2.3                  Paid Leave Accrual Schedule
                            Semi-Monthly            First         Year Sixth        Year Eleventh
                            Accrual (hours)         Accrual            Accrual           Year Accrual
  Full-time Regular Employees
  Senior Executive          6.75                    4 weeks/160          No Change          No Change
                                                    hours
  Senior Professional          6.75                 4 weeks/160          No Change          No Change
                                                    hours
  Professional                 5.0                  3 weeks/120          6.75               No Change
                                                    hours                (4weeks/160
                                                                         hours)
  Staff                        3.5                  2 weeks/80 hours     5.0 (3 weeks       6.75 (4
                                                                         120/hours)         weeks/160
                                                                                            hours)
  Three Quarter Time (30 house/week) Regular Employees
  Professional              3.75              3 weeks/90 hours           5.0 (4             No Change
                                                                         weeks/120
                                                                         hours)
  Staff                        2.75                 2 weeks/66 hours     3.75 (3            5.0 (4
                                                                         weeks/90 hours     weeks/120
                                                                                            hours
  Term Full-time Regular Employees
  10-Month Full-time                             40 (1 week)        No Change         No Change
 *10-Month-Full-Time employees are provided an annual leave of allowance of 40 hours for the
 10-Month Full-time term. Leave must be used during the 10 month employment period and will
 not carry forward from year-to-year. Use of leave shall be reported in accordance with the
 guidelines as set forth below.
 Employees not covered by one of the schedules above are not eligible for vacation leave.

  3.6.2.4                  Grandfather Clause
 The Vacation Leave schedule represents a change from prior practice. Employees hired prior to
 May 1, 2002, will continue to accrue vacation leave at their current rates and classification.




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  3.6.2.5                   Use of Vacation Leave

  3.6.2.5.1                     Scheduled Vacation Leave
 Vacation leave is paid leave and must be requested and approved in advance. Supervisors must
 schedule paid leave according to the operating requirements of the department, with attention to
 length of service and other relevant factors and when possible, to accommodate the employee‘s
 request. Vacation leave may not be used in advance.

  3.6.2.5.2                     Leave for Religious Observances
 Employees may request the use of vacation leave for religious observances that are not part of
 the holiday schedule. Vacation leave for religious observances is paid leave and must be
 requested in writing and approved in advance. Employees shall provide managers with adequate
 notice of such a request.

  3.6.2.5.3                     Unscheduled Leave
 Unscheduled leave is not approved in advance and is normally for a short period of time. For
 example, unexpected illness, or a personal emergency would require use of unscheduled paid
 leave. To qualify for unscheduled paid leave, an employee must follow the department‘s
 established call-in procedure. If an employee fails to follow the established procedure, the
 absence is treated as unauthorized and unpaid leave.
 Managers will monitor unscheduled leave use to identify possible abuse of leave. Abusive use of
 unscheduled leave may result in corrective action.

  3.6.2.5.4                     Monitoring Leave
 In order to meet the business needs of the department, managers may establish more specific
 regulations related to paid leave usage.
 Employees may be required to present documentation for certain absences.
 1. If the employee uses more than three, consecutive days of leave related to medical reasons;
    the employee may be required to present a physician‘s certificate.
 2. If a supervisor identifies a pattern of leave use related to medical reasons, a physician‘s
    certificate may be required for absences of less than three days.
 3. When a physician‘s certificate is required and the employee fails to provide the certificate,
    the employee will not be paid for leave or may be subject to further discipline.
 4. Appropriate documentation for absences due to other reasons may also be required.
 5. Availability of leave does not justify excessive absence.

  3.6.2.5.5                     Vacation Leave Accrual
 Vacation leave is calculated according to the employee‘s base rate and is exclusive of overtime
 premiums.


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  3.6.2.5.6                     Maximum Leave Accrual
 The maximum accrual that may be carried over as of July 1st of each year is 264 hours. Any
 accrued vacation leave over 264 hours as of June 30th of each year will be lost.

  3.6.2.5.7                     Restrictions
 1. Vacation leave will not accrue during any month for which an employee is not paid.
 2. Vacation leave will not be paid in advance of accrual.
 3. Vacation leave will be applied against accruals current with the time period that the leave
    was taken.
 4. Vacation leave will not be allowed to fall into a negative balance. Time off outside of
    available accrued balances will be considered Leave without Pay.
 5. Vacation leave will accrue when an employee is receiving University Short-Term Disability
    in accordance with Family and Medical Leave Act policy (see paragraph 3.6.6.2).
 6. Vacation Leave will not accrue when an employee is receiving Long-Term Disability
    benefits (see paragraph 3.6.5.2).
 7. To allow for proper orientation, an employee will not be eligible to begin accruing paid leave
    until the employee has successfully completed the applicable evaluation period for the
    position (see paragraph 3.2.1.4).

  3.6.2.6                  Payment of Leave

  3.6.2.6.1                     With Regular Earnings
 Vacation leave is paid with the employee‘s regular earnings. The University will not pay leave
 in advance.

  3.6.2.6.2                     At Termination
 Upon termination of employment, unused accrued vacation leave, up to a maximum of 264
 hours, will be paid in a lump sum in the pay period following the employee‘s last regular pay
 period.

  3.6.2.7                  Responsibility
 Employees are responsible for completing and submitting all leave in accordance with University
 procedures. Department heads are responsible for ensuring proper administration of paid leave
 and leave scheduling and the proper reporting and submission of Leave Request Forms to
 Human Resources.

  3.6.2.8                  Resource
 Contact Human Resources with questions or if more information about this policy is needed.



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       3.6.3            Paid Leave Policies

  3.6.3.1                   Sick Leave

  3.6.3.1.1                       Employee Sick Leave
 Saint Leo University grants paid sick leave to eligible employees to use for personal illness,
 health maintenance appointments or personal injury or the personal illness, health maintenance
 appointments or personal injury of an immediate family member residing in the employee‘s
 household. In certain instances, accrued sick leave may also be used to care for an ill or injured
 family member.
 For the purpose of this policy, immediate family is defined as the employee‘s spouse, parents,
 legal guardian, children, grandparents, siblings, or any person who stands in the same
 relationship.

                   3.6.3.1.1.1            Eligibility
 Employees, who have completed the evaluation period, will begin accruing sick leave benefits at
 the following rates:
 1. Full-Time Regular employees: 4 hours per pay period;
 2. Three-Quarter Time Regular employees: 3.0 hours per pay period.
    Accruals will begin in the first payroll period following the completion of the 90 days of
    employment. Leave requests/use are submitted on a Leave Request Form to the Human
    Resources Office. Absences for periods longer than available benefits will be considered
    leave without pay or unpaid leave.
    The maximum accrual for sick leave is 96.0 hours.

                   3.6.3.1.1.2            Use of Sick Leave
 Eligible employees who have retained accrued sick leave hours may use such hours for:
 1. Absence due to personal illness, injury, or disability, including:
    a. Absence covered by the Family and Medical Leave policy (see paragraph 3.5.6.2); and
    b. Health maintenance.
 2. Absence due to the illness, injury or health maintenance of an employee‘s immediate family
    member, including absence covered by the Family and Medical Leave policy.
 3. The first seven days absence related to a workers‘ compensation injury.
 To use sick leave, an employee must follow the departments‘ established call-in procedure or
 scheduling procedure for health maintenance appointments.
 Employees out sick may be required by their manager to bring in a doctors note after 3 days of
 absence upon returning to work. Employees out sick for 5 days must bring in doctors note upon
 returning.
 Sick leave may not be used while an employee is on other approved paid leave or on an
 approved, unpaid leave of absence for education or personal reasons.
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 Sick leave is not available in advance of when the actual leave time is accrued.

                   3.6.3.1.1.3             Documentation
 Departments will monitor leave records to prevent abuse of the Sick Leave policy.
 If the employee uses more than three consecutive days of sick leave, the employee may be
 required to present a physician‘s certificate. If a supervisor identifies a pattern of sick leave use,
 a physician‘s certificate may be required for absences of less than three days. When a
 physician‘s certificate is required and the employee fails to provide the certificate, the employee
 will not be paid for sick leave.

                   3.6.3.1.1.4             Transfer, Termination, and Reinstatement
 When an employee transfers positions within the organization, all unused sick leave transfers to
 the new department.
 Sick leave is not a termination benefit and no payment for unused sick leave will be made upon
 termination of employment or retirement.
 Following termination, if an employee returns to work within six months to an employment
 status other than temporary worker, any unused sick leave will be reinstated.

                   3.6.3.1.1.5             Responsibility
 Department heads are responsible for ensuring proper administration of the Sick Leave policy
 and sick leave scheduling.
 Employees are responsible for following established department scheduling and call-in
 procedures.
 Supervisors and employees are responsible for the appropriate use of sick leave and the proper
 submission of Leave Request Forms in a timely manner.

                   3.6.3.1.1.6             Resource
 Contact Human Resources with questions or if additional information about this policy
 is needed.


  3.6.3.1.2                       Collective Bargaining Unit Faculty Sick Leave
 See Article 15, Section 6 of the Faculty Collective Bargaining Agreement (Volume IV-A,
 paragraph 4A.1.1.15.6).

  3.6.3.1.3                       Collective Bargaining Unit Librarian Sick Leave
 See Article 15, Section 4 of the Faculty Collective Bargaining Agreement (Volume IV-A,
 paragraph 4A.1.1.15.4).

  3.6.3.2                    Compassion and Bereavement Leave
 Saint Leo University grants paid compassion leave to eligible employees when a death occurs in
 an employee‘s immediate family. The University also allows eligible employees to use paid
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 leave or unpaid leave to attend observances or conduct personal business related to the death of
 friends or family members who are not in the employee‘s immediate family.
 For the purpose of this policy, immediate family is defined as the employee‘s spouse, parents,
 legal guardian, children, grand parents, siblings, or any person who stands in the same
 relationship. Additionally included are parents, legal guardian, grand parents, and siblings of the
 employee‘s spouse.

  3.6.3.2.1                       Eligibility
 All employees who are not currently on any form of unpaid leave are eligible to use compassion
 leave.

  3.6.3.2.2                       Notification
 An administrative and staff employee must promptly notify the manager regarding the use of
 compassion leave so that adequate job coverage can be arranged during the employee‘s absence.

  3.6.3.2.3                       Length of Leave
 Full-time employees are granted up to five working days of compassion leave (paid
 administrative leave) for a death-related occurrence. Days off may be intermittent or
 consecutive.
 If additional time is required, the employee may use paid leave or request leave without pay
 subject to the provisions of that policy.

                   3.6.3.2.3.1             Responsibility
 Employees who need to use compassion leave must promptly notify the department and the
 supervisor about departure and return dates. The department must administer this policy
 reasonably and equitably.

                   3.6.3.2.3.2             Resource
 Contact Human Resources with questions or if additional information about this policy
 is needed.


  3.6.3.2.4                       Faculty Compassion and Bereavement Leave
 See Article 15, Section 10 of the Faculty Collective Bargaining Agreement (Volume IV-A,
 paragraph 4A.1.1.15.10).

  3.6.3.3                   Domestic Violence Leave
 SLU is committed to providing a workplace environment in which domestic violence is not
 tolerated or excused. The workplace should be a safe environment. This policy is intended to
 help respond to the needs of employees who are domestic violence victims.




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  3.6.3.3.1                      Definition of Domestic Violence
 For purposes of this policy, domestic violence is an act, threat, tactic, or statement that results is
 physical, emotional, sexual, or economic harm and emotional abuse to an employee. Domestic
 violence is perpetrated by one person against a family or household member with the intent of
 establishing or maintaining power and control over the victim.

  3.6.3.3.2                      Performance Management
 Saint Leo University recognizes that employees who are working through the challenges
 associated with domestic violence may experience difficulties in carrying out their job duties.
 Saint Leo University is committed to providing accommodations to employees so that they may
 satisfactorily fulfill their job duties during these difficulties. This necessitates a partnership
 between employee, supervisor, and Human Resources that is specific to each employee‘s
 situation.

  3.6.3.3.3                      Leave Options
 Saint Leo University will make reasonable efforts to help employees experiencing a domestic
 violence situation who need time off for medical and legal assistance, court appearances,
 counseling, relocation, or to make other safety-related arrangements. Where employees do not
 have sufficient paid leave time, other alternatives may exist depending on each employee‘s
 particular situation. Utilization of any alternative, such as a leave of absence, necessitates a
 partnership between employee, supervisor, and Human Resources that is specific to each
 employee‘s situation.

  3.6.3.3.4                      Confidentiality
 Employees who disclose that they are or have been experiencing a domestic violence situation
 can expect that their disclosure will be kept confidential. The employee‘s supervisor and Human
 Resources are obligated to uphold the employee‘s right of confidentiality and will not disclose
 such information to any other parties without written authorization from the employee.

  3.6.3.3.5                      Anti-Discrimination
 Saint Leo University will not discriminate against a victim of domestic violence in hiring,
 staffing, or other terms, conditions, or privileges of employment.

  3.6.3.4                    Jury Duty and Court Appearances
 The University grants paid administrative leave when employees are summoned to serve jury
 duty or appear in court as a state witness (to testify on behalf of the federal, state or local
 government in a criminal case.) Employees who are summoned to appear in court for other
 reasons may request to use paid leave or leave without pay.
 The University supports employees who are fulfilling their civil and legal obligations as jurors
 and witnesses.




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      3.6.3.4.1                   Jury Duty
 1. Notification: When an employee receives a summons to serve as a juror, the individual shall
    promptly inform the immediate manager. The employee must provide the supervisor with a
    copy of the notification.
        In some jurisdictions, an employee may be summoned to serve jury duty on a standby or call-
        in basis. In this situation, the employee is expected to report for work every day that the
        employee is not needed for jury duty. When an employee on standby is advised to report for
        jury duty, the employee must notify the supervisor using the notice of absence procedures
        established in the employee‘s department.
 2. Service as a Juror: When an employee is released by the courts for a half day or more, the
    employee must notify the supervisor and be prepared to report for work.
        During extended periods of jury duty, the employee is expected to stay in contact with the
        manager on a regular basis, and assist in coordinating work during the employee‘s absence.
 3. Payment: While on approved jury duty, the employee is paid administrative leave at the
    individual‘s normal salary rate. In addition to the employee‘s normal salary, the employee
    may be required to submit any expense money or compensation paid by the jurisdiction in
    which the employee is serving on jury duty back to the University.

      3.6.3.4.2                   Other Court Appearances
 1.
        Notification: When an employee is summoned or subpoenaed to appear in court, the
        employee must inform the immediate supervisor as soon as possible regarding the anticipated
        absence from work. A copy of the summons must be provided by the employee to the
        manager.
 2. Payment/Leave: When an employee is summoned or subpoenaed to appear in court as a state
    witness (to testify on behalf of the federal, state or local government in a criminal case), the
    employee is paid administrative leave at the individual‘s normal salary rate.
        An employee who receives a summons or a subpoena to appear in court for any other reason
        may request to use accrued paid leave or leave without pay for the period of time spent in
        court.

      3.6.3.4.3                   Responsibility
 Employees must promptly notify their supervisors and departments regarding absences related to
 jury duty or other court appearances. Employees must stay in regular contact with their manager
 during jury duty assignments and court appearances.
 Managers must secure a copy of the summons when an employee is unable to report for work
 due to jury duty or court appearance.

      3.6.3.4.4                   Resource
 Contact Human Resources with questions or if additional information about this policy
 is needed.




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  3.6.3.5                   Voting Time
 Saint Leo University encourages eligible employees to register and vote in national, state, and
 local elections. In cases where unusual working hours or distant travel is involved, the
 University will permit an employee to arrive late or to depart early from work to exercise the
 right to vote.

  3.6.3.5.1                       Advance Notice
 If an employee is unable to vote before or after work hours due to an extended work schedule,
 the employee must inform the immediate supervisor and arrange for time off to vote.

  3.6.3.5.2                       Leave Used
 Time off from work for voting must be recorded as administrative leave with pay.

  3.6.3.5.3                       Responsibility
 Each department is responsible for providing time away from work for an employee to vote if the
 employee‘s work schedule does not permit sufficient time to vote before or after work.

  3.6.3.5.4                       Resource
 For more information concerning voting time, contact Human Resources.

       3.6.4           Leaves of Absence without Pay

  3.6.4.1                   Leave for Uniformed Services (Military) Duty
 Saint Leo University, in compliance with the Uniformed Services Employment and Re-
 employment Rights Act (USERRA), and other applicable state and local laws, grants leaves of
 absence for military duty to employees who are members of the uniformed services.
 The University encourages individuals to fulfill military obligations by providing equitable
 treatment to employees who have military obligations.

  3.6.4.1.1                       Administrative and Staff Employee Military Leave

                   3.6.4.1.1.1              Leave of Absence for Training in the National Guard or
                                  Military Reserves
 1. Notification: An administrative or staff employee who has been called for active duty
    training shall submit an application to the department for a leave of absence before the report
    for service or training date. Employees who are called upon to perform training (other than
    initial active duty training for 12 weeks or more) must request leave to be entitled
    reinstatement. A copy of the military orders shall accompany the application. After receipt,
    the application will be processed for approval.
 2. Compensation: An employee returning from military leave for training will not be
    compensated during the period of military leave.

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      During the leave period, the employee is not entitled to receive compensation from the
      University (including holiday pay), unless the employee has voluntarily elected to use paid
      leave during the period of military duty. The paid leave amount may not exceed the
      difference between the employee‘s military compensation and their normal rate of
      compensation collectively. The employee will be required to provide documentation
      verifying military compensation for the periods in order to be provided paid leave
      supplements.
 3. Reinstatement: Reservists and National Guard members returning from initial active duty
    training for 12 weeks or more must apply for reinstatement within 31 days of release from
    such duty or of being discharged from hospitalization incident to such duty that does not
    exceed one year. Those who are returning from all other training must report to work on the
    first scheduled working day following return from training or hospitalization incident to the
    training.
      Employees (other than temporary employees) who satisfy all legal requirements for
      reinstatement after the leave will be reinstated.

                   3.6.4.1.1.2            Leave of Absence for Active Duty from Guard or
                                  Reserve Status
 1. Notification: An employee who has been called for active duty military service from the
    National Guard or Reserves shall notify the supervisor and the department head promptly.
 2.   Compensation: An employee will not be compensated during this leave period.
      During the leave period, the employee is not entitled to receive other compensation from the
      University (including holiday pay).
 3. Reemployment Rights after Active Duty: The University will reinstate employees (except
    those in temporary positions) who satisfactorily complete their military service without
    reduction in seniority, status, or pay, if all the other conditions required by law are met
    including a timely application for reinstatement.
 4. Retention after Reinstatement: A veteran returning from a call to active duty is protected by
    federal law against discharge without cause for a period of one year. A Reservist or National
    Guard member returning from a period of initial active duty for training of not less than 12
    weeks has similar statutory protection, but only for six months. There is no comparable
    period of immunity for Reservists and National Guard members who perform weekly or
    weekend drills, annual tours of training duty, and other types of military training.
      A Reservist or National Guard member cannot be discharged from employment or denied
      any promotions or other employment benefits or advantages because of any obligations
      arising out of the employee‘s service or because of any absence from work that result from
      such military obligation.

                   3.6.4.1.1.3            Leave of Absence for Other Military Service
 Military leave will also be provided for other types of military service in accordance with federal
 or other applicable law. Employees on such leave will be reinstated if all legal requirements are
 met.


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                   3.6.4.1.1.4            Responsibility
 Employees called to military service or training are responsible for providing all requested
 documentation in a timely manner.
 The department will process each request in a timely manner and must comply with all federal
 reemployment rights.

                   3.6.4.1.1.5            Resource
 All questions about leaves of absence for military duty and related reemployment rights shall be
 directed to Human Resources.

  3.6.4.1.2                       Faculty Military Leave
 See Article 15, Section 7 of the Faculty Collective Bargaining Agreement (Volume IV-A,
 paragraph 4A.1.1.15.70).

  3.6.4.2                   Leave without Pay

  3.6.4.2.1                       Administrative and Staff Employees Leave without Pay
 The University may provide leave without pay under certain circumstances and at the discretion
 of the supervisor or department head. Reasons for leave may include but are not limited to
 education pursuits, civic activities, or personal situations.
 The University recognizes the importance and value of unpaid leave so that employees may have
 unpaid time away from work for a variety of reasons.

                   3.6.4.2.1.1            Eligibility
 Individuals who have been employed by the University as a full-time employee for at least 24
 months are eligible to request an unpaid leave of absence. All unpaid leave is granted at the
 discretion of the supervisor or department head.

                   3.6.4.2.1.2            Leave Reasons and Length
 Except in unusual circumstances, leaves of absence are granted for 7 to 120 calendar days for
 personal reasons; or for 7 to 270 calendar days (or one academic year) for educational reasons.
 Usually, leaves of absence maybe granted for:
 1. Education Pursuits: To continue full time undergraduate or graduate studies at an accredited
    college or university;
 2. Public Service: To participate in a civic, community, or governmental program on a full-time
    basis;
 3. Personal Emergencies: To take care of matters such as serious personal or family problems;
    or
 4. Personal Convenience: To take an extended trip or to participate in cultural or athletic events.


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 A request for unpaid leave that qualifies under the Family and Medical Leave Policy (see
 paragraph 3.5.6.2) will be governed by the terms of that policy.

                   3.6.4.2.1.3            Return to Work Following Leave
 Failure to return to work immediately after an unpaid leave will result in termination of
 employment.
 An employee returning from an approved leave is returned to the same position if the leave is 30
 calendar days or less. If the leave is longer than 30 calendar days, the employee may be returned
 to a comparable paid position within the University. If circumstances prevent the department
 from returning the employee, the employee will be notified.

                   3.6.4.2.1.4            Benefits While on Leave
 Individuals who wish to continue benefit coverage while on leave without pay must continue
 their benefits under COBRA (see paragraph 3.5.6.1) and will be responsible for paying the entire
 (employee and the employer share) cost of health, dental and other insured benefits.
 Individuals do not accrue paid leave during periods of unpaid leave lasting longer than one pay
 period nor are they eligible for increases during the leave period.

                   3.6.4.2.1.5            Responsibility
 Managers are responsible for administration of leave without pay and filing the proper
 documentation with Human Resources prior to the employee‘s departure and upon the
 employee‘s return to work at the end of the leave period. Decisions about granting unpaid leave
 may be based on the work needs of the department balanced against the needs of the employee.
 Employees on leave without pay are responsible for returning from leave on the date agreed
 upon with the supervisor. Failure to return from an unpaid leave on the agreed upon date may
 result in termination of employment.

                   3.6.4.2.1.6            Resource
 Contact Human Resources with questions or if additional information about this policy
 is needed.


  3.6.4.3                   Faculty Leave without Pay
 See Article 15, Section 9 of the Faculty Collective Bargaining Agreement (Volume IV-A,
 paragraph 4A.1.1.15.9).

       3.6.5            Insurance Benefits

  3.6.5.1                   Health and Life Insurance Benefits
 The University offers several employee benefit programs that are not detailed in this volume and
 that may be changed from time to time. They include insurance benefits such as health care,
 disability benefits, and life insurance. Please note that carrier and other third party benefits are
 subject to change pursuant to alterations in the terms of agreement entered into with those

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 carriers or other third party providers. For details about the University‘s insurance programs,
 refer to summary plan descriptions or contact Human Resources. The Human Resources staff
 can answer specific questions about the University‘s benefit programs.

  3.6.5.2                   Short and Long-Term Disability Benefits

  3.6.5.2.1                     Administrative and Staff Employee Short and Long-Term
                Disability Benefits
 The University provides short-and long-term disability benefits for eligible employees. The
 eligibility terms and conditions of disability benefits are contained in the summary plan
 descriptions available through Human Resources. Please note that carrier and other third party
 benefits are subject to change pursuant to alterations in the terms of agreement entered into with
 those carriers or other third party providers. The period of time an employee is absent and
 receiving benefits is considered short-and/or long-term disability leave.
 Short-and long-term disability benefits are intended to provide continuation of income for
 periods of time an employee is medically disabled and unable to work.

                   3.6.5.2.1.1            Application for Benefits
 Employees must contact Human Resources to apply for short-and/or long-term disability
 benefits. There is a separate application process for short-term and long-term disability benefits.

                   3.6.5.2.1.2            Eligibility for Coverage- Short and Long Term Disability
 An employee must meet the grace period requirement of one full year of continuous employment
 in order to be eligible for short term or long term disability coverage.

                   3.6.5.2.1.3            Notification to Department
 An employee must notify the department when applying for short-and/or long-term disability
 benefits. Human Resources will inform the employee and the department when an application
 for benefits has been approved. In addition, Human Resources will inform the employee‘s
 department when the benefit has expired.

                   3.6.5.2.1.4            Waiting Period-Short Term Disability
 A fourteen day grace period is required to be met prior to receipt of benefits under the short-term
 disability program. An employee is eligible to use accrued paid leave hours during the waiting
 period for short-term disability benefits. If an employee does not have sufficient accrued leave,
 then the waiting period will be Leave without Pay or unpaid leave. An employee is also eligible
 to use accrued leave benefits upon the expiration of short-term disability benefits while waiting
 for a determination on an application for long-term disability benefits.

                   3.6.5.2.1.5            Coordination with Family and Medical Leave
 1. An eligible employee who is medically disabled and unable to work will be required to apply
    for the medical leave under the Family and Medical Leave Policy (see paragraph 3.5.6.2) and

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    apply for disability benefits. Approval of a medical leave does not guarantee that disability
    benefits will be paid.
 2. Leave covered by short-or long-term disability benefits that also qualifies as medical leave
    under the Family and Medical Leave Policy: The time is counted against the employee‘s 12-
    week leave entitlement for Family and Medical Leave.

                   3.6.5.2.1.6            Resignation of Employment during Short Term Disability
 An employee who intends to resign during or after a short-term disability leave shall promptly
 inform an immediate supervisor or the Director of Human Resources of the employee‘s intent to
 not return. This notice allows for proper staffing. Employees who provide notice of intent not to
 return at the completion of a short term disability period will continue to be eligible to receive
 previously approved short term disability benefits for the approved short term disability period.

                   3.6.5.2.1.7            Termination of Employment
 An employee who is covered by short-disability benefits may be terminated if the employee fails
 to return from leave at the end of the approved leave period. All employees, who are approved
 for long-term disability, will be terminated from employment at the beginning of the long-term
 disability period. Reasonable accommodations to enable the employee to return to work within a
 year will be considered when relevant. Any termination decision must be in accordance with any
 applicable federal, state, and local law.
 An employee who is in the evaluation period may be terminated at any time in accordance with
 the Evaluation Period Policy (see paragraph 3.2.1.4).
 Termination of employment will result in the termination of short-term disability benefits.
 Termination of employment, in itself, will not result in the termination of long-term disability
 benefits.

                   3.6.5.2.1.8            Responsibility
 It is the responsibility of an employee to follow the application and notification procedures
 outlined in this policy. It is the responsibility of a supervisor to inform Human Resources that an
 employee may be eligible for disability benefits in the event of the employee‘s disability.

                   3.6.5.2.1.9            Resource
 Questions concerning short-and/or long-term disability benefits, as well as the application of this
 policy, should be directed to Human Resources.

  3.6.5.2.2                       Faculty Short and Long-Term Disability Benefits
 See Article 15, Section 8 of the Faculty Collective Bargaining Agreement (Volume IV-A,
 paragraph 4A.1.1.15.8).




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      3.6.6            Legislated Benefits

  3.6.6.1                  Continuation Coverage Rights
 The University complies with the Consolidated Omnibus Budget Act (COBRA) and the Heath
 Insurance Portability and Accountability Act (HIPAA). These laws insure that employees are
 given an opportunity to continue medical and dental insurance coverage under group plans when
 certain qualifying events occur. The employee (or eligible dependent) is responsible for the
 entire premium cost, plus a 2% administrative fee. The qualifying events are termination of
 employment for any reason except gross misconduct; loss of eligibility due to reduction in work
 hours; death of employee; divorce or legal separation; or dependent child ceasing to be
 dependent because of age or loss of full-time student status.
 Employees should consult with Human Resources for further details regarding their rights and
 obligations.

  3.6.6.2                  Family and Medical Leave (rev 01/09)
 Saint Leo University provides family and medical leave to eligible employees according to the
 Family and Medical Leave Act of 1993 and its subsequent amendments. The University also
 recognizes the Family and Medical Leave laws of any local jurisdiction covering University
 employees. Applicable federal, state, or local law will be applied.

  3.6.6.2.1                      Administrative and Staff Employee Family and Medical Leave

                  3.6.6.2.1.1            Definitions
 For definitions related to this policy, please review the definitions portions of FMLA at
 http://www.dol.gov/esa/whd/regs/statutes/fmla.htm.

                  3.6.6.2.1.2            Eligibility
 An employee is eligible for family and medical leave after completing one year of employment
 without a break in service except for holidays or other paid leave. The employee must have
 worked at least 1,250 hours during the 12 months preceding the request for family or medical
 leave.

                  3.6.6.2.1.3            Federal Family and Medical Leave Law
 The federal Family and Medical Leave Act provides eligible employees entitlement to a total of
 12 work weeks of family and medical leave combined during any 12-month period when leave is
 taken for one or more of the following reasons:
 1. The birth of a son or daughter of an employee and to care for the child. (Entitlement expires
    12 months after birth.)
 2. The placement of a son or daughter with an employee for adoption or foster care.
    (Entitlement expires 12 months after placement.)
 3. To care for the spouse, son, daughter, or parent of an employee, if the family member has a
    serious health condition.
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 4. An employee is unable to perform the functions of the employee‘s position because of the
    employee‘s own serious health condition.
 5. Employees may use federal family and medical leave to care for a seriously ill family
    member or because of the employee‘s own serious health condition whenever medically
    necessary.
 6. Leave may be used on an intermittent or a reduced leave schedule if certified as medically
    necessary by the attending health care provider. If the employee is performing light duty
    hours, those hours are not considered part of the employee‘s leave.

                   3.6.6.2.1.4              Military Caregiver Leave
 Eligible employees who are family members of covered service members will be able to take up
 to 26 workweeks of leave in a single 12 month period to provide care for a covered service
 member with a serious illness or injury received in the line of duty on active duty.



                   3.6.6.2.1.5              Qualifying Exigency Leave
 Eligible employees with family members in the National Guard and Reserves may take time
 under FMLA for any qualifying exigency arising out of the fact that the covered military
 member is on active duty or called to active duty status in support of contingency operation.
 Qualifying leave is as follows:
        1.     short-notice deployment
        2.     military events and related activities
        3.     childcare and school activities
        4.     financial and legal arrangements
        5.     counseling
        6.     rest and recuperations
        7.     post-deployment activities
        8.     additional activities not encompassed in the other categories but agreed on by the
             employee and Saint Leo University.

                   3.6.6.2.1.6              Substitution of Paid Leave
 All family and medical leave (federal, state, or local) is unpaid, although an employee may also
 be eligible for paid vacation leave (see paragraph 3.6.2), paid sick leave (see paragraph
 3.6.3.1),may apply for short- and/or long-term disability benefits (see paragraph 3.5.5.2), or may
 be eligible for workers‘ compensation benefits (see paragraph 3.5.6.5). The University requires
 employees to take any accrued paid leave concurrently with any FMLA leave.

                   3.6.6.2.1.7              Calculation of the Leave Period
 The leave period begins on the first work day of the employee‘s first qualifying leave within the
 past 12-month period, as applicable.

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                   3.6.6.2.1.8            Continuation of Benefits
 During an approved family/medical leave, the University will maintain the employee‘s health
 and other insurance benefits as if the employee continued to be actively employed. Employees
 on paid leave will continue to have the contributory portion of the premium deducted from the
 paycheck. If the employee is on unpaid leave, the employee is responsible for paying the
 employee contribution directly to Human Resources for the remainder of the leave period.
 If the employee elects not to return to work at the end of a leave that is covered under the Federal
 Family and Medical Leave Act only, the employee will be required to reimburse the University
 for the cost of the premiums paid by the University for maintaining coverage during the leave;
 however, this payment will be waived if the employee cannot return to work because of a serious
 health condition or other circumstances beyond the individual‘s control.
 An employee on family/medical leave is not eligible for COBRA coverage during the leave. If
 the employee does not return from the leave and terminates employment, the employee is
 eligible for COBRA coverage on the last day of FMLA leave or when the employee fails to
 return to work.

                   3.6.6.2.1.9            Notice of Leave
 If the need for family/medical leave is foreseeable, the employee must give the University 30
 day‘s prior written notice. Where the need for leave is not foreseeable, the employee must notify
 the supervisor within 72 hours. The employee must notify the University of unexpected leave
 must follow the University‘s typical call-in procedure.

                   3.6.6.2.1.10           Medical Certification/Military Family Certification
 When an employee requests family/medical leave because of the employee‘s own serious health
 condition, or the serious health condition of a covered relative, the employee must provide
 appropriate medical certification (as requested by the University) in a timely manner. Failure to
 timely provide satisfactory medical certification will result in denial of leave until appropriate
 medical certification is provided. The University will notify the employee of an incomplete or
 insufficient medical certification in writing. The employee then has seven (7) days to remedy the
 deficiency.
 When leave is foreseeable and the employee provides the University with at least 30 days‘
 notice, medical certification should be submitted prior to the commencement of the leave. When
 this is not possible, the employee must provide medication certification within 15 days of the
 University‘s request. When the employee provides the University with less than 30 days‘ notice,
 medical certification must be submitted within 15 days of the University‘s request.
 When an employee requests military family leave, the employee must provide certification to the
 Human Resources.
 The University may request a new medical certification each leave year for medical conditions
 that last longer than one year and may request certification of an ongoing condition every six
 months in conjunction with an absence.




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                   3.6.6.2.1.11          Additional Documentation
 Second or third medical opinions and periodic recertification at the University‘s expense may
 also be required.

                   3.6.6.2.1.12          Returning from Leave
 An employee returning from a medical leave due to the employee‘s own serious health condition
 must supply satisfactory medical certification from the health care provider addressing the
 employee‘s ability to perform the essential functions of his or her job or, where safety is a
 concern, the University may require ‖fitness for duty‖ certification before an employee may
 return to work when the employee has taken intermittent leave. The documentation must be
 provided to Human Resources prior to or on the first day returning to work before reporting to
 their work area.
 An employee returning from an approved family/medical leave will be restored to the same
 position that the employee held when the leave started, or to an equivalent position, with
 equivalent benefits, pay and other terms and conditions of employment.
 An employee who exceeds the 12-week FMLA entitlement may be subject to termination of
 employment.
 The duration of leave, availability of benefits, opportunity for job restoration, and other rights
 and privileges associated with FMLA leave are limited by the requirements of applicable state
 and federal law. No express or implied contractual rights should be inferred from this policy.
 The University reserves the right to modify this or any other policy as necessary, in its sole
 discretion.

                   3.6.6.2.1.13          Outside Employment during FMLA
 Outside employment during approved FMLA leave is strictly prohibited and is subject to
 disciplinary action up to and including termination of employment.

                   3.6.6.2.1.14          Responsibility
 Managers are responsible for notifying Human Resources when a request for leave is made to
 determine if such leave is covered by this policy and if so, Human Resources will promptly
 inform the employee.
 In addition, managers are responsible generally for complying with the terms and conditions of
 this policy and the applicable federal, state, and local laws.
 Employees shall inform supervisors whenever their need for leave may be covered by the Family
 and Medical Leave Act or other local jurisdiction‘s laws.

                   3.6.6.2.1.15          Resource
 Contact Human Resources with questions or if additional information about this policy
 is needed.




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  3.6.6.2.2                     Faculty Family and Medical Leave
 See Article 15, Section 8 of the Faculty Collective Bargaining Agreement (Volume IV-A,
 paragraph 4A.1.1.15.8).

  3.6.6.3                  Social Security and Medicare
 The University pays Social Security taxes on the employee‘s earnings. Each employee also pays
 a social security tax, which is withheld from the employee‘s paycheck. These taxes contribute to
 the employee‘s Social Security benefit at retirement or upon total disability.

  3.6.6.4                  Unemployment Compensation
 Employees are covered by Unemployment Insurance. This is a State insurance which provides
 monetary benefits for a defined period of time for those who are unemployed generally through
 no fault or choice of their own. Decisions regarding eligibility and amount of benefits are made
 by the State of Florida.

  3.6.6.5                  Workers’ Compensation
 Employees of Saint Leo University may be eligible for coverage of medical expenses and loss of
 income resulting from work-related accidents.
 The University strives to provide a safe work environment for all employees. In the event of a
 work-related accident or occupational disease, employees may be eligible for coverage of
 medical expenses and loss of income in accordance with the Worker‘s Compensation Act of the
 jurisdiction in which they work.

  3.6.6.5.1                     Notification
 An employee shall immediately notify an immediate supervisor of a work-related accident. The
 supervisor shall immediately notify Human Resources.
 The employee must visit an approved workers‘ compensation medical provider within three days
 of the accident to complete a report of the injury. If the employee is located at an off-campus
 site, the supervisor shall contact Human Resources or the Workers‘ Compensation Carrier at the
 number listed on the required posting on the employee bulletin board.

  3.6.6.5.2                     Medical Treatment
 If the nature of the injury is serious or causes severe bleeding, the employee shall report or be
 transported to the closest medical facility emergency room or to the nearest hospital emergency
 room, for treatment.
 If the injury is minor, the employee shall contact the workers‘ compensation provider for a
 referral to a medical facility. If the workers‘ compensation medical facility is closed, the
 employee shall report or be transported to the emergency room or the hospital.
 The emergency room shall be informed that this is a worker‘s compensation claim.



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  3.6.6.5.3                      Absence from Work
 An employee who is unable to work must keep an immediate supervisor informed of the
 employee‘s status. An employee must be cleared through the workers‘ compensation assigned
 physician prior to returning to work if they have been absent for more than five consecutive
 days.

  3.6.6.5.4                      Continuation of Salary and Benefits
 An employee who is unable to work will receive two-thirds of average weekly pay up to a
 maximum benefit established by law. The first seven (7) calendar days (in Texas, compensation
 must begin promptly) of an absence will not be paid by worker‘s compensation unless total lost
 time for a specific injury exceeds 21 days (14 days in South Carolina; seven days in Texas). If
 an employee wishes to continue income during this initial period, the employee may use accrued
 leave. If the employee is subsequently paid for these days by the worker‘s compensation
 insurance carrier, the employee will be restored the leave charged and will pay back the
 difference between the amount of the worker‘s compensation payment and the normal salary.
 Paid leave and retirement credits will continue to accrue while an employee is absent from work
 until the employee returns to work or is terminated. The employee is not eligible for holiday
 pay.

  3.6.6.5.5                      Coordination with Family and Medical Leave Policy
 An employee who is absent from work and is receiving worker‘s compensation benefits shall
 also be placed on medical leave under the Family and Medical Leave policy. Leave that
 qualifies as worker‘s compensation benefits that also qualifies as medical leave under the Family
 and Medical Leave Policy (see paragraph 3.5.6.2) is counted against the employee‘s Family and
 Medical Leave entitlement. Approval of medical leave does not guarantee that worker‘s
 compensation benefits will be paid.

  3.6.6.5.6                      Termination of Administrative and Staff Employment
 An employee covered by worker‘s compensation may be terminated if the employee has been
 absent from the job for a period of one year.
 Reasonable accommodation to enable the employee to return to work within a year will be
 considered when relevant. Change in employment status or termination of an employee
 receiving worker‘s compensation must be reviewed with the appropriate Office of Human
 Resources. Any termination decision must be in accordance with applicable federal, state or
 local law.

  3.6.6.5.7                      Responsibility
 It is the responsibility of each employee to report any injury on the job or occupational disease to
 an immediate supervisor. If the employee is unable to work, the employee must follow all the
 reporting provisions of the policy and keep the supervisor informed of the individual‘s status. It
 is the responsibility of the supervisor to ensure that each injury or occupational disease is
 reported to Human Resources.


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  3.6.6.5.8                     Resource
 Questions concerning reporting of injuries or length of an employee‘s absence should be directed
 to Human Resources. Questions concerning payment of a claim should be directed to Human
 Resources. Questions concerning termination of employment or other change in an employee‘s
 status should be directed to Human Resources. Issues surrounding unsafe working conditions
 should be directed to the Safety Officer in the Vice President of Business Affairs Office.

       3.6.7           Additional University Benefits

  3.6.7.1                   Employee Assistance Program
 Saint Leo University is sincerely interested in the well being of all its employees. As a result,
 Saint Leo University has established a program to assist employees who may have personal
 problems that would benefit from professional attention. Personal problems that the Employee
 Assistance Program deals with include but are not limited to marital or family difficulties,
 financial concerns, alcohol or drug use, and emotional or medical conditions.

  3.6.7.1.1                     Referral
 The Employee Assistance Program is designed to assist employees who may be experiencing
 personal problems. Employee Assistance Program services include screening of employees,
 referrals to potential sources of treatment, or, in some cases, direct counseling.
 Employees may be referred to the program by a supervisor or may directly contact an Employee
 Assistance Program counselor for an appointment. Use of the Employee Assistance Program is
 voluntary.
 A supervisor will refer an employee to the Employee Assistance Program when there is a decline
 in job performance or a specific on-the-job incident the supervisor believes may indicate a
 personal problem. Depending on the nature of the suspected problem, the supervisor may:
 1. Contact the Employee Assistance Program counselor and make an appointment for the
    employee; or
 2. Suggest that the employee contact the Employee Assistance Program counselor.
 3. Supervisors may also contact the Employee Assistance Program counselor for advice in
    handling employee referrals.
 4. If the supervisor believes the employee may have a disability that may need reasonable
    accommodation, the supervisor shall contact Human Resources.

  3.6.7.1.2                     Corrective Action
 The appropriate corrective action for a performance, time and attendance, or conduct problem
 will, except in unusual circumstances, be imposed whether or not the employee is referred to the
 Employee Assistance Program. However, if the referral is related to a corrective action situation,
 the supervisor shall document that the employee was offered assistance through referral to the
 Employee Assistance Program. Refusal to accept a referral or to participate in the Employee
 Assistance Program is not a basis for corrective or other adverse action.

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 If the employee accepts the referral, the Employee Assistance Program counselor will advise the
 supervisor whether the employee:
 1. Keeps the appointment,
 2. Will need time away from work (and provide the expected date of return).
 Whether or not an employee accepts a referral to the Employee Assistance Program, if the
 individual‘s job performance, time and attendance or behavior does not improve, the supervisor
 shall consult with Human Resources. Based on the performance, conduct or time and
 attendance, the supervisor may take further corrective action, if warranted.

  3.6.7.1.3                     Time Off for Participation
 Employees who are referred to the Employee Assistance Program by a supervisor will be granted
 release time to attend one or more initial assessment appointments with an Employee Assistance
 Program counselor.
 Employees who contact the Employee Assistance Program directly must arrange release time,
 leave, or administrative leave. Employees may also schedule appointments outside of normal
 work hours. Except for initial assessments, employees participating in the Employee Assistance
 Program must arrange time off from work according to Saint Leo University‘s leave policies.

  3.6.7.1.4                     Costs
 There is no charge to the employee for the assessment and referral services provided by an
 Employee Assistance Program counselor. If the employee is referred to other services by the
 Employee Assistance Program, the cost will be paid by the employee (unless covered by health
 insurance).

  3.6.7.1.5                     Confidentiality
 Records kept by Employee Assistance Program counselors will not become part of an
 employee‘s permanent personnel file.
 The Employee Assistance Program will obtain written approval from the employee before
 making a referral that identifies the individual and the nature of the health or personal issues.
 The Employee Assistance Program counselor may contact the appropriate University official if
 the counselor is aware that:
 1. The employee has committed an illegal act; and/or
 2. The employee‘s problem is serious and could jeopardize the health and safety of the
    employee, coworkers, students, or others, or could seriously jeopardize University
    operations.

  3.6.7.1.6                     Responsibility
 Supervisors are responsible for identifying and referring employees with apparent health or
 personal issues that affect job performance.



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  3.6.7.1.7                     Resource
 For more information, contact Human Resources for assistance.

  3.6.7.2                   Moving Expenses
 The University, at its discretion, will pay for certain costs directly related to relocation when
 providing a moving allowance is necessary for an individual to accept employment with the
 University.
 Moving expense reimbursements are subject to the terms consistent with the provisions outlined
 in this policy. Payment of qualified moving expenses, as defined by the IRS, Publication 521,
 will be limited to no more than 10% of the employee‘s annual base pay.
 If a moving expense allowance is not contained in the employment offer letter, a letter of
 justification and approval must be obtained from the responsible Vice President.
 Expenses and allowances as provided in this policy shall not be allowed unless and until the
 employee agrees in writing to remain in the service of the institution for a period of twelve (12)
 months following the effective date of the move unless the employee is separated for reasons
 beyond the employee‘s control and such circumstances are acceptable to the University.
 Non-taxable, qualified moving expense reimbursements will not be included as taxable wages,
 but will be included on the employee‘s W-2 in box 13. The University is not required to report
 any qualified moving expenses paid directly to a third party (i.e. van lines).
 Moving expenses can be paid by either of two methods:
 1. Direct payment to vendor (preferred method) and not to exceed the approved amount.
 2. Reimbursement directly to the new employee (receipts documenting moving expenses must
    be attached to the expense reimbursement form to qualify as a non-taxable reimbursement.
    Otherwise, the reimbursement amount is taxable to the employee and subject to immediate
    tax withholding and Form W-2 reporting).

  3.6.7.2.1                     Eligible Moving Expenses
 Expenses associated with the transportation of household goods and personal effects from prior
 residence to a new residence are eligible as moving expenses, including costs of packing,
 shipping, and unloading. Note that special, optional, ―unpacking services‖ offered by some
 moving companies do not qualify as reimbursable expenses. Storage of household goods for the
 first 30 days only is a qualified reimbursable expense.

  3.6.7.2.2                     Eligible Travel Expenses
 Expenses of traveling from the former residence to the first new place of residence are
 reimbursable as moving expenses. The actual costs of transportation and lodging for employee
 and immediate family members residing in the household incurred in route are eligible. Mileage
 reimbursements will be made based on the IRS guidelines.
 Helpful Hints for the New Employee in determining qualified moving expenses:
 1. Meals are always taxable and not qualified;
 2. House hunting expenses are always taxable and not qualified;
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 3. Storage of household goods beyond 30 days of move is not qualified;
 4. Lodging beyond the first night at destination is not qualified;
 5. Temporary living expenses are taxable and not qualified;
 6. Tape, boxes, and packaging materials are qualified; and
 7. Costs of shipping car and household pets are qualified.
 Internal Revenue Service (IRS) guidelines for the actual moving trip for household members are
 specific to one (one-way) trip per household member, including the employee. The trip must
 also be taken in the most direct route to qualify for non-taxable, qualified reimbursement.
 All moving payments and reimbursements shall be accomplished as soon as possible. All
 payments or reimbursement must be made within the fiscal year of the date employment begins
 for new employees.
 The University shall assume no liability whatsoever for personal injuries, property damages or
 other losses which may be sustained in connection with any move undertaken pursuant to these
 regulations.

  3.6.7.3                   Retirement Benefits
 The University offers several employee benefit programs, including a retirement benefit
 program, that are not detailed in this volume and that may be changed from time to time. For
 details about the retirement benefit program, contact Office of Human Resources. The Human
 Resources staff can answer specific questions about the University‘s benefit programs.

  3.6.7.3.1                      Faculty Retirement Funds
 See Article 15, Section 5 of Faculty Collective Bargaining Agreement (Volume IV-A, paragraph
 4A1.1.15.5).

  3.6.7.4                   Flexible Spending Account
 The University offers several employee benefit programs, including a flexible spending account
 program, that are not detailed in this volume and that may be changed from time to time. For
 details about the flexible spending account program, contact Human Resources. The Human
 Resources staff can answer specific questions about the University‘s benefit programs.

  3.6.7.5                   Tuition Remission (rev 02/15/2010)
 It is the policy of the University to provide tuition remission benefits to employees and their
 qualifying dependents where its use would not result in a decrease in revenue to the University.
 Accordingly, full-time or three-quarter time regular employees are eligible for 100% tuition
 remission at the undergraduate or graduate level if the employee or qualifying dependents
 enrollment does not exclude a paying student from taking any course. Tuition remission is not
 available where it would result in any out-of-pocket costs to the University. Room, board, other
 non-instructional fees and books, as listed in the University Catalog are excluded from tuition
 remission. Overseas programs are also excluded, as is, private instruction. Minimum
 requirements for admittance, satisfactory academic progress, student conduct and financial aid
 eligibility as determined by the University must be maintained.
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 Employees may receive Tuition Remission for a maximum of:
 1. Six (6) credit hours (2-class equivalency) per standard 15 week term;
 2. Three (3) credit hours (1 class equivalency) per standard 8-9 week term;
 3. Three (3) credit hours (1 class equivalency) per Distance Learning term; and
 An employee may choose to take more classes than the designated maximum for tuition
 remission. The cost of tuition for the additional classes will be the responsibility of the
 employee.
 Tuition remission forms must be completed, approved by supervisor, and submitted to the Office
 of Human Resources at least two weeks prior to the start of the term.
 Eligibility for Full-Time Faculty and Staff Tuition Remission
 1. Employee must work at least 30 hours per week and be classified as a full-time regular
    employee.
 2. Employee has completed the 90-day evaluation period for their position.
 3. Employee is required to apply for all external financial aid for which they may be eligible
    through the Office of Financial Aid. The Director of Financial Aid shall be responsible for
    determining whether or not a formal application will be forwarded to an external agency.
 4. An employee may request approval to attend class during the regular work schedule only if
    both of the following conditions are met:
    a. The supervisor approves the employee‘s request to attend class during the regular work
       week schedule;
    b. Only one three-credit hour course may be taken during the regular work week schedule;
       and
    c. An alternative work schedule must be submitted and approved by the supervisor. The
       alternative work schedule must be attached to the tuition remission application.
 The spouses and dependent children of full-time or three-quarter time regular employees are
 eligible for 100% tuition remission at the undergraduate and graduate level. Tuition remission is
 available on a space available basis only. Space available is defined as a course, which meets the
 minimum enrollment requirements prior to the employee‘s spouse or dependent being enrolled in
 the class. Room, board, other non-instructional fees and books, as listed in the university
 catalog, will not be included in tuition remission. Minimum requirements for admittance,
 satisfactory academic progress, student conduct and financial aid eligibility as determined by the
 University must be maintained. Spouses and dependents may take up to a full-time equivalent
 class load, currently 12 to 17 credit hours per semester for traditional students or as defined in
 the University Catalog.

  3.6.7.5.1                      Eligibility for Spouse and Dependent Tuition Remission
 1. The eligible full-time employee must have completed one full year of continuous
    employment with the university prior to the beginning of the spouse or dependents
    enrollment in the first eligible term.
 2. Eligibility requirements:

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    a. Spouse shall be defined as follows (all must apply):
         i) A person of the opposite sex who is legally married to the employee (documentation
            may be required to establish eligibility); and
         ii) Living in the employee‘s household.
    b. Dependents for employees who are not active members of a Roman Catholic religious
       order shall be defined as follows (all must apply):
         i) Unmarried children of the employee or employee‘s spouse;
         ii) Must be under 24 years of age;
         iii)Children must be living in the same household as the employee while enrolled as a
             student, unless living in campus housing;
         iv) Children must meet the definition of a dependent as defined by IRS guidelines;
         v) Children must be claimed as a dependent on the employee‘s prior and current year tax
            form or employee must be legally responsible for the child‘s education
            (documentation may be required to establish eligibility); and
         vi) Must maintain academic and student conduct standards of the University.
    c. Dependents for employees who are active members of a Roman Catholic religious order
       shall be defined as follows (all must apply):
       i) Unmarried niece or nephew of employee, up to a cumulative maximum of two per
            employee over the employee’s total service with the University;
       ii) Must be under 24 years of age;
       iii) Must meet the definition of a dependent of their parent/s as defined by IRS
            guidelines; and
       iv) Must maintain academic and student conduct standards of the University.
    d.

  3.6.7.5.2                      Eligibility for Part-Time Regular Staff
 Part-Time regular employees who work a 20-hour a week regular schedule are eligible for 100%
 tuition remission at the undergraduate or graduate level. Tuition remission is available on a
 space available basis only. Space available is defined as a course, which meets the minimum
 enrollment requirements prior to the employee being enrolled in the class. Non instructional
 Fees as listed in the university catalog will not be included in tuition remission. Minimum
 requirements for admittance, satisfactory academic progress, student conduct and financial aid
 eligibility as determined by the University must be maintained.
 Part-time regular employees may receive Tuition Remission for a maximum of:
 1. Six (6) credit hours (2 class equivalency) per standard 15 week term;
 2. Three (3) credit hours (1 class equivalency) per standard 8-9 week term;
 3. Three (3) credit hours (1 class equivalency) per distance learning term; and
 4. Courses offered through the Center for On-Line Learning are not eligible for tuition
    remission benefits.

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 Classes may not be taken during their regularly scheduled work hours. Part-time regular
 employees must have completed their 90-day evaluation period prior to being eligible for tuition
 remission.

  3.6.7.5.3                     Contract Adjunct Faculty Tuition Remission
 Contract Adjunct Faculty are eligible for 100% tuition remission at the undergraduate or
 graduate level. Tuition remission is available on a space available basis only. Space available is
 defined as a course, which meets the minimum enrollment requirements prior to the employee
 being enrolled in the class. Non instructional Fees as listed in the university catalog will not be
 included in tuition remission. Minimum requirements for admittance, satisfactory academic
 progress, student conduct and financial aid eligibility as determined by the University must be
 maintained. Contract Adjunct Faculty may receive a one for one exchange in tuition remission.
 For each course taught by the faculty member, they will receive eligibility for one three- (3)
 credit hour class through tuition remission. Tuition remission exchange classes must be used
 within one term of when the qualifying class was taught.
 Contract Adjunct Faculty may receive Tuition Remission for a maximum of:
 1. Six (6) credit hours (2 class equivalency) per standard 15 week term;
 2. Three (3) credit hours (1 class equivalency) per standard 8-9 week term;
 3. Three (3) credit hours (1 class equivalency) per distance learning term; and
 4. Courses offered through the center for on-line learning are not eligible for tuition remission
    benefits.

  3.6.7.5.4                     Contract Adjunct Faculty Spouse or Dependent(s) Eligibility
 The Contract Adjunct may allow the Contract Adjunct‘s spouse or dependent(s) to use the tuition
 remission exchange credit in the Contract Adjunct‘s place. The exchange will be at the one for
 one rate; one tuition remission exchange credit for each class taught in accordance with the
 maximums as defined above. Tuition exchange classes for spouse or dependent must be used in
 the term in which the classes are taught.
 The eligible Contract Adjunct Faculty must have successfully completed two terms and a
 minimum of four (4)-teaching assignments with the University prior to being eligible for tuition
 remission. Spouse and dependents will be eligible for tuition remission following the completion
 of the contract adjunct‘s first full-year of employment (based on initial hire anniversary date or
 rehire date).

  3.6.7.5.5                     Eligibility for Adjunct Faculty Tuition Remission
 Adjunct faculty with 20 years of cumulative service with the University are eligible for 100%
 tuition remission at the undergraduate or graduate level. Tuition remission is available on a
 space available basis only. Space available is defined as a course, which meets the minimum
 enrollment requirements prior to the employee being enrolled in the class. Non instructional
 Fees as listed in the university catalog will not be included in tuition remission. Minimum
 requirements for admittance, satisfactory academic progress, student conduct and financial aid
 eligibility as determined by the University must be maintained.

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 Adjunct Faculty may receive a one for one exchange in Tuition Remission to a maximum of:
 1. Six (6) credit hours (2 class equivalency) per standard 15 week term;
 2. Three (3) credit hours (1 class equivalency) per standard 8-9 week term;
 3. Three (3) credit hours (1 class equivalency) per distance learning term; and
 4. Courses offered through the Center for On-Line Learning are not eligible for tuition
    remission benefits
 Tuition remission exchange classes must be used in the term in which the adjunct faculty is
 currently teaching.

  3.6.7.5.6                       Adjunct Faculty Spouse or Dependent(s) Eligibility
 An eligible adjunct may allow adjunct‘s spouse or dependent(s) to use the tuition remission
 exchange credit in the adjunct‘s place. The exchange will be at the one for one rate; one tuition
 remission exchange credit for each class taught in accordance with the maximums as defined
 above. Tuition exchange classes must be used in the term in which the classes are taught.

  3.6.7.5.7                       Financial Obligation for Employee, Spouse and Dependents
 1. All financial obligations incurred by an employee or dependent, which are not covered by
    tuition remission, will be the responsibility of the employee. The University reserves the
    right to deduct any unpaid obligations from the employee‘s pay.
 2. If an employee or dependent is suspended from the University for disciplinary reasons,
    tuition remission will be withdrawn for the term and the employee will be responsible for the
    amount of remission withdrawn.
 3. Tuition remission for graduate courses is taxable and subject to IRS reporting. The employee
    is responsible for the taxable portion of a spouse and/or dependent‘s tuition remission
    benefit. Reporting and withholding will be against the employee‘s payroll and charged
    during the term in which the student is enrolled.
 4. Tuition remission granted to certain individuals as outlined in Section 117(d) of the Internal
    Revenue Code requires the University to report the value of the tuition remission benefit on
    Form 1099 to the IRS. The recipient of the remission, whether employee or qualifying
    dependent, is responsible for any tax arising from the tuition remission benefit.
 5. Financial Aid may be deducted from tuition remission granted by the University. Please
    contact the Financial Aid Office for details pertaining to this deduction.

                   3.6.7.5.7.1            Employees
 An employee will be able to retain 100% of any Federal Pell Grant or Federal Stafford Loan
 funds for which the employee is entitled. In compliance with Florida Resident Access Grant
 (FRAG) regulations, the amount of tuition remission will be reduced by the FRAG award, if an
 employee attends full time and meets FRAG eligibility requirements.

                   3.6.7.5.7.2            Spouses and Dependents
 1. Pell Grant: A percentage of the Pell Grant will reduce the tuition remission amount.
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 2. Florida Resident Access Grant: In compliance with Florida Resident Access Grant (FRAG)
    regulations, the amount of tuition remission will be reduced by the Florida Resident Access
    Grant award if the student attends full time and meets Florida Resident Access Grant
    eligibility requirements.
 3. Bright Future:
    a. For University College students residing on campus: A percentage of the Bright Futures
       Scholarships award.
    b. For all students not residing on campus: A book and supply allowance will be subtracted
       from the Bright Futures Scholarship award.
    c. The remaining amount will be applied toward tuition costs.

  3.6.7.5.8                     Adoption Reimbursement Policy
 Saint Leo University offers eligible employees adoption assistance that reimburses up to $5,000
 per adoption for ―qualified adoption expenses.‖ Any expenses incurred on or after the
 employee's first day of Saint Leo University employment, but not before July 1, 2010, are
 eligible for reimbursement consideration.

    3.6.7.5.8.1                 Eligibility
 All full time employees regularly scheduled to work at least 30 hours per week and are qualified
 to apply for reimbursement under the Adoption Assistance Program.

    3.6.7.5.8.2                 Eligible Child
 The adopted child must be under the age of 18 at the time a ―qualified adoption expense‖ is paid
 or incurred and may not be the child of the employee‘s spouse or live-in partner.

    3.6.7.5.8.3                 Benefit Amount
 Documented ―qualified adoption expenses‖ for an eligible child will be reimbursed to a
 maximum of $5,000 per adoption and up to two adoptions per family. In the case of the
 simultaneous adoption of two eligible children, the maximum reimbursement will be $5,000 for
 all combined ―qualified adoption expenses‖ and counts as one adoption.
 If the employee and his/her spouse receive adoption assistance from any source other than the
 Saint Leo University Adoption Assistance Program for ―qualified adoption expenses,‖ those
 same expenses will not be eligible for reimbursement under the Saint Leo University Adoption
 Assistance Program.

    3.6.7.5.8.4                 Qualified Adoption Expenses
 ―Qualified adoption expenses‖ are reasonable and necessary adoption fees, court costs,
 attorneys‘ fees, and other expenses directly related to, and whose principal purpose is for, the
 legal adoption of an eligible child, such as:
         Reasonable and customary public and private adoption agency fees permitted or
           required under the law of the state having jurisdiction over the adoption.
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          Reasonable and customary legal and court fees.

          Reasonable and customary fees for medical and hospital services provided to the child
            (not otherwise covered by insurance).

          Travelling expenses associated with the adoption, including transportation, meals, and
            lodging.

          Immigration, child's immunization, and translation fees.

          Temporary foster care charges provided before placement of the eligible child in the
            employee's home.


    3.6.7.5.8.5                  Non Qualified Expenses
 Saint Leo University will not reimburse nonqualified adoption expenses, which include
 expenses:
          That violate state or federal law.

          For carrying out any surrogate parenting arrangement.

          For the adoption of your spouse‘s child.

          Paid using funds received from any federal, state, or local program.

          Allowed as a credit or deduction under any other federal income tax rule.


    3.6.7.5.8.6                  Tax Treatment of Reimbursement
 For more information concerning the tax implications of adoption expense reimbursement, see
 the IRS Web site at: http://www.irs.gov.

    3.6.7.5.8.7                  Reimbursement Procedures
 Eligible employees may apply for reimbursement of ―qualified adoption expenses‖ upon
 placement of the eligible child in the employee‘s home by contacting the Human Resources
 Office and completing the Adoption Expense Reimbursement Form. Applications for
 reimbursement must be made within six (6) months following the finalization of the adoption.
 In the case of an unsuccessful adoption, qualified adoption expenses may be reimbursed with
 authorizing documentation. The reimbursement will be considered part of the maximum amount
 allowed per employee.

  3.6.7.5.9                      Policy Review
 This policy may be reviewed periodically to determine its effectiveness. The University reserves
 the right to revise tuition remission policies, including eligibility standards, or to discontinue
 tuition remission benefits altogether. In the event of policy revisions, the revisions will be
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 effective at the start of the next academic term. In the event of tuition remission discontinuance,
 discontinuance will be effective at the end of the academic year. The University will publish
 notice of tuition remission discontinuance as soon as practically possible.

3.7            Employee Performance Evaluations Policies

       3.7.1           Administrative and Staff Employee Performance Evaluation
               Policies
 The University has established guidelines for the completion of performance evaluations for all
 administrative and staff employees of the University. The evaluation period allows an employee
 and the supervisor to assess the individual‘s performance. The employee and supervisor are
 encouraged to communicate frequently during the evaluation period.

  3.7.1.1                   Annual Performance Review
 The University has a program to evaluate employee job performance annually. The focus of the
 review is whether the employee met, exceeded, or did not meet the principal objectives or
 standards for the position. The performance review allows the manager and the employee to
 examine the employee‘s job performance during the year.

  3.7.1.2                   Review Timeframes
 Departments will conduct annual employee performance evaluations throughout the year. The
 specific time frame will be determined by the Vice President of each division in coordination
 with each director. A 30-day time frame for completion of performance evaluations will be
 designated on a department basis.

  3.7.1.3                   Filing of Evaluations
 Annual and intermittent employee evaluations will be filed with Human Resources and placed in
 the employee‘s personnel file upon completion of the evaluation process.

  3.7.1.4                   Responsibility
 Human Resources is responsible for the administration of the Performance Evaluation process.
 Each department manager will be responsible for conducting the annual performance evaluation
 on the approved Performance Evaluation Form in accordance with the approved schedule.
 Completed Evaluation Forms will be submitted to Human Resources for inclusion in the
 employee‘s personnel file.

  3.7.1.5                   Resource
 Contact Human Resources with any questions or if more information about this policy is needed.

       3.7.2           Faculty Performance Evaluation Policies
 See Article 11 of the Faculty Collective Bargaining Agreement (Volume IV-A, Subsection
 4A1.1.11) and Section 4.5 of Volume IV.
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3.8             Promotion, Lateral Transfer, and Demotion Policies

        3.8.1          Promotion, Lateral Transfer, and Demotion of Administrative
                and Staff Employees
 The University has established definitions concerning employee promotions, lateral transfers,
 and demotions.
 1. Promotion: A promotion is any movement of an employee from one position to another
    position that is assigned a higher position classification or a higher rate of pay.
 2. Demotion: A demotion is any movement of an employee from one position to another
    position that is assigned a lower classification or lower rate of pay.
      In the case of promotion or demotion, the amount of salary change will be determined by the
      department‘s budgeted salary line for the position in conjunction with the employee‘s
      expected performance in the new position and the employee‘s positions in the salary range.
      However, if the employee‘s salary exceeds the maximum of the range for the new position,
      the Vice President and the Director of Human Resources must approve the salary for the new
      position.
 3. Lateral Transfer: A lateral transfer is any movement between jobs other than a promotion or
    demotion. The receiving department will determine any salary change based on guidance
    from Human Resources.

  3.8.1.1                   Eligibility for Promotion or Lateral Transfer
 An employee will be eligible to make application for promotion or lateral transfer if the
 following conditions are met:
 1. The employee has been employed in the current position for at least six months of continuous
    service;
 2. The employee meets all the minimum requirements of the promotion or lateral transfer
    position; and
 3. The employee has not been under any type of corrective action plan for at least six months.

        3.8.2           Promotion of Faculty
 See Article 11 of the Faculty Collective Bargaining Agreement (Volume IV-A, Subsection
 4A1.1.11) and Section 4.6 of Volume IV.

3.9             Employee Rights and Responsibilities

        3.9.1           Administrative and Staff Employee Rights and Responsibilities

  3.9.1.1                   Attendance and Punctuality
 To accomplish its business objectives, the University depends on employees to report to work
 regularly and on time. Accordingly, Saint Leo University requires employees to be punctual and
 maintain satisfactory attendance. Employees must notify their immediate supervisor in advance,
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 and obtain approval for anticipated absences. Frequent or unscheduled absences and repeated
 lateness may result in disciplinary action including up to termination.
 Alternative workweek schedules may be assigned by the supervisor based on business
 requirements.

  3.9.1.1.1                      Absence Notification
 Employees are required to notify immediate supervisors of absences:

                  3.9.1.1.1.1            Scheduled Absences
 An employee must notify in writing the immediate supervisor to request approval in advance
 when an absence is expected for a full day or part of a day.

                  3.9.1.1.1.2            Unscheduled Absences
 When advance notice is not possible (because of sudden illness or emergency), the employee
 must call the immediate supervisor within the first two hours on the first day of absence. The
 employee should provide the reason for the absence, the expected return date, and respond to any
 reasonable questions asked by the supervisor. Departmental call-in procedures shall be followed.
 If the employee is physically unable to contact the supervisor, because of illness or other
 unforeseen circumstances, the employee must have someone else call the supervisor and provide
 the information outlined above.

                  3.9.1.1.1.3            Subsequent Notification
 An employee who is absent (without prior approval) for more than one day must contact the
 immediate supervisor daily to report the status of the absence. The supervisor may waive this
 requirement or designate another contact person for absence reporting.

  3.9.1.1.2                      Absence without Notification
 Employees who do not notify their supervisors of unscheduled absences may be disciplined up to
 and including termination. More than three consecutive workdays‘ absence without notice is
 considered job abandonment. The department may terminate the employee at the close of
 business on the third day. Job abandonment is a voluntary termination.

  3.9.1.1.3                      Lateness Notification
 Employees must follow department call-in procedures to notify the department of the reason for
 lateness and expected arrival time. Repeated violations of this policy may subject the employee
 to discipline up to and including termination. Employees who are late may be disciplined.

                  3.9.1.1.3.1            Recording Absences for Non-exempt Employees
 All absences must be recorded daily on the University Employee Time and Attendance Sheet:
 1. Scheduled paid leave will be used for all approved and planned paid leave (vacations,
    scheduled medical procedures, health maintenance, etc.).

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 2. Unscheduled paid leave will be used when prior notification of an approved paid leave is not
    possible. Scheduled leave may be used after the unscheduled event, if it is related.
 3. Leave without Pay will be used when an employee has no paid leave available to cover an
    absence or when an employee‘s request for unscheduled paid leave is not approved.

  3.9.1.1.4                     Recording Lateness for Non-exempt Employees
 Departments may allow non-exempt employees to make up time, permit the employee to use
 available paid leave, or deduct pay for time missed due to lateness. The Employee Time and
 Attendance Sheet will be completed as follows:
 1. Employees who are allowed to make the time up will record actual hours worked.
 2. Employees who are allowed to use available paid leave will charge the time as unscheduled
    leave for the time that the employee is late or unavailable for work. Deduction for time lost
    should be indicated on the Time and Attendance Sheet. When pay is deducted for lateness
    the employee will not be permitted to make up the time over the lunch period or at the end of
    the workday.

  3.9.1.1.5                     Recording Absences and Lateness for Exempt Employees
 Leave for exempt employees shall be reported in all instances of absence. Exempt employees
 should follow the above procedures regarding notification and approval of absence or lateness.

  3.9.1.1.6                     Responsibility
 All University departments follow the guidelines outlined above. Departments may establish
 specific procedures concerning absences and lateness to meet operational needs, however the
 specific procedure must be equal to or greater than the University procedure and documented in
 writing to the employee and Human Resources.

  3.9.1.1.7                     Resource
 Contact Human Resources with questions or if more information about this policy is needed.

  3.9.1.2                  Meal Period, Rest Breaks, and Break Time for Nursing Mothers
 Non-exempt employees who work a full day are allowed an unpaid meal period and two breaks.
 A full day is considered eight or more hours, exclusive of the unpaid meal period.
 Non-exempt employees scheduled to work less than a full day are entitled to one 15-minute rest
 period for every four hours worked.
 The standard University meal period is one (1) hour. Break periods are 15 minutes each.

  3.9.1.2.1                     Use of Meal Periods and Rest Breaks
 Non-exempt employees may not skip meal or rest periods in order to shorten the workday, or to
 earn extra paid leave. Rest periods may not be saved for later use, accumulated, or used to
 compute additional pay.

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 Except in unusual circumstance, breaks should be taken, but they may be omitted occasionally if
 required by the workload. Extra compensation is not provided if breaks are missed.

  3.9.1.2.2                      Use of Break Time for Nursing Mothers
 Women who are nursing an infant less than one year of age may take reasonable unpaid breaks
 to express milk for their infants. Individuals utilizing these break periods will still be expected to
 complete all work as usual.
 Women planning to take advantage of these break periods must provide advance notification to
 Human Resources of their intent to do so. Nursing mothers are eligible to take break periods to
 express milk until the infant is one year of age.

  3.9.1.2.3                      Scheduling
 Break practices may be set by individual departments, within the framework of this policy, and
 must be communicated to affected employees.
 Department heads shall schedule meal and rest periods to avoid disrupting normal operations.
 Department heads may extend the meal period by reducing or eliminating rest periods.

  3.9.1.2.4                      Responsibility
 Departments must administer the University‘s policy on meal and rest breaks and follow the
 procedures outlined above. Departments may adjust meal and rest breaks to meet operational
 needs.

  3.9.1.2.5                      Resource
 Contact Human Resources with questions about this policy or if more information is needed.

  3.9.1.3                    Outside Employment
 Staff and administrative employees may hold outside jobs as long as they meet the performance
 standards of their job with the University. All staff and administrative employees will be judged
 by the same performance standards and will be subject to the University‘s scheduling demands,
 regardless of any existing outside work requirements.
 If the University determines that an employee‘s outside work interferes with performance or the
 ability to meet the requirements of the University as they are modified from time to time, the
 employee may be asked to terminate the outside employment if the employee wishes to remain
 with the University.
 Outside employment that constitutes a conflict of interest is prohibited. The receipt of income
 derived from work partially or completely developed/performed within the University, utilizing
 substantial resources such as secretarial services and/or equipment belonging to the University,
 and/or developed/performed by the employee during time reimbursed for by the University is
 governed by the University‘s Ownership of Copyrightable Intellectual Property Policy (see
 Volume II, Subsection 2.7.2).



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  3.9.1.4                  Work Week, Work Day, and Work Shift Changes
 Each department of the University establishes the normal workdays and work shifts for positions
 within the department.
 The official work weeks shall be defined as Sunday at 12:00 a.m. (midnight) to Saturday at 11:59
 p.m.
 The traditional work day shall be 8:00 a.m. – 5:00 p.m., Monday through Friday, with one hour
 for a meal break.
 Staff employees shall be advised of their normal work days and work shifts before they are hired;
 however, department heads may change the established workday or shift according to the
 business needs of the business unit.
 An employee‘s workday and work shift are determined based on the needs of the University.
 Once an employee‘s schedule is established, the employee‘s work shift should remain constant
 where this meets the needs of the department. During an individual‘s employment, the
 scheduling needs of the department and/or the employee may change. When such changes
 occur, the University has the right to establish a new schedule for an employee; also, an
 employee may request a schedule change.

  3.9.1.4.1                     Emergencies, Staffing Shortages, or Temporary Scheduling
 During emergencies, staffing shortages, or other temporary situations, a supervisor may require
 an employee to work different workdays or a different shift without advance notice. Although
 no formal notice is required for such short-term changes, supervisors shall give employees as
 much notice as possible.
 If an employee cannot comply with a short-term change in schedule, the employee should
 discuss the situation with the supervisors. If the employee has a valid reason for not complying,
 the supervisors should consider other means to meet the temporary requirement. Unresolved
 problems will be referred to the department head.

  3.9.1.4.2                     Changes in Normal Schedule
 Managers may change an employee‘s normal work day and work shift to meet the needs of the
 department. The employee will be given at least two weeks written notice of any changes. The
 change in schedule shall be documented and a copy forwarded to Human Resources for inclusion
 in the employee‘s personnel file. Supervisors are encouraged to be sensitive to an employee‘s
 personal situation (childcare arrangements, transportation, family life, etc.) when making
 changes to established schedules.
 If an employee requests a change to the employee‘s normal schedule, the supervisors shall
 consider the individual‘s request based on the operational needs of the department.

  3.9.1.4.3                     Responsibility
 Departments must administer the University‘s policy on work day and work shift and follow the
 procedures outlined above. The appropriate University administrative units and Human
 Resources must approve changes to these procedures.


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  3.9.1.4.4                      Resource
 Contact the Office of Office of Human Resources with questions about this policy or if more
 information is needed.

       3.9.2           Faculty Rights and Responsibilities
 See Articles 5 and 14 of the Faculty Collective Bargaining Agreement (Volume IV-A,
 Subsections 4A1.1.5 and 4A.1.1.14) and Section 4.8 of Volume IV.

3.10            Wage and Payroll Policies

       3.10.1          Employment Categories
 The University uses the following employment categories for vacation and sick accrual:

  3.10.1.1                  Senior Executive
 An individual who is hired into a position of: Vice President, Associate Vice President, Assistant
 Vice President.

  3.10.1.2                  Senior Professional
 An individual who is hired into a professional position, exclusive of those at the executive level,
 and the position directs a function of substantial magnitude and impact on the institution as a
 whole or on a significant unit thereof (such as a center).

  3.10.1.3                  Professional
 An individual, who is hired into a position that deals directly with the intellectual substance of
 the curricular and research functions of the University, advises on academic matters or is
 responsible for other aspects of student life that support students‘ academic success or
 supplement their curricular activities.

  3.10.1.4                  Staff Employee
 An individual who is hired into a University position that is responsible for administrative
 support and is expected to be ongoing.

  3.10.1.5                  Temporary Employee
 An individual hired as a temporary replacement for a regular employee, for a special project or to
 meet additional workloads. Temporary employees are employed for three months or less, unless
 an exception is requested and authorized by the Director of Human Resources. Temporary
 employees should be hired through a Temporary Employment Agency.




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  3.10.1.6                 Term Employee
 An individual hired into a University position that is expected to be for a fixed period greater
 than three months, but less than six months. Term status does not guarantee employment for the
 period in question.

  3.10.1.7                 10 Month Employee
 An individual hired into a University position, generally for the academic year. 10-Month status
 does not guarantee employment for the entire period in question.

  3.10.1.8                 Part-time Employee
 A part-time employee may work a maximum of 20 hours a week and is not eligible to perform
 other work for the University outside of the part-time employment responsibilities.

  3.10.1.9                 Hours of Work
 Within employment categories, employees are identified by hours of work (hours of work do not
 include unpaid meal time):

    3.10.1.9.1                  Full-Time
 An individual with a regularly scheduled 40-hour work week (or alternate full-time equivalent
 schedule as designated by the University).

    3.10.1.9.2                  Three-Quarter Time
 An individual with a regularly scheduled 30-hour workweek.

    3.10.1.9.3                  Part-time
 An individual regularly scheduled to work less than 20 hours per week.

  3.10.1.10                Work Year
 The standard work year for functions performed by regular, term, senior level executive and a
 senior level professional employee is twelve months. Where needed for proper functioning,
 departments may establish a work year of ten to twelve months (or the academic year).

  3.10.1.11                Academic Year
 The standard academic year is August 16th through August 15th of the following year.
 Paid leave benefits will be under a separate schedule for individuals who work less than twelve
 months per year.

  3.10.1.12                Change in Status
 The following guidelines govern changes in employee status:


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 1. Individuals, who switch between staff, term, professional, senior professional or senior
    executive will have no break in service for the purpose of University employment benefits.
 2. Individuals who move to a new employment category will continue to receive the University
    benefits, if eligible, unless the new category is one in which benefits are not offered to
    regular employees.
 3. Individuals, who switch from full-time employment to part-time employment, will not be
    eligible for University provided benefit coverage. COBRA coverage will be available for
    continuation of benefits, when applicable.
 4. An Evaluation Period will be required for all newly hired employees or changes in
    employment position or status for current employees. Refer to Evaluation Employment
    Period in paragraph 3.2.1.4 for a complete definition of the evaluation period guidelines.

  3.10.1.13                  Office of Responsibility
 Human Resources is responsible for administering the University‘s employment categories
 policy.

  3.10.1.14                  Resource
 For more information concerning employment categories, contact Human Resources. For
 additional specific information, refer to the University‘s policies on temporary and special
 employment.

         3.10.2          Employee Compensation
 Saint Leo University‘s compensation policy is grounded in the University‘s mission, values,
 vision and business and market realities. The principles for the University to compensate its
 employees include:


    1.     Everyone who works for or at the University as a full-time permanent employee should
          earn a base wage and receive benefits adequate to provide a decent life for themselves
          and their families.


    2.     The University seeks to establish salaries, and pay rates and benefits that contribute to
          excellence and employee retention.


    3.     The University seeks to reward performance commensurate to the individual‘s
          contributions to the University‘s success. Consequently with the exception of the
          collectively bargained agreement with faculty, annual increases are awarded differentially
          based on merit.


    4.     The University‘s Catholic mission and values motivate the University to provide higher
          percentage increase pools for those earning lower incomes (defined as under $40,000 in
          annual base earnings 2009).
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    5.     The University grants additional merit bonuses when resources allow to the top 10% to
          20% of non-faculty performers including contract workers.


    6.     The University seeks to establish salaries, pay rates and benefits levels competitive in
          national and local markets and that attract superior candidates.


 Vice presidents and the president‘s direct reports will make recommendations for salary and
 wage increases to the President in December based on the budgeted salary pool for January
 implementation. Bonus recommendations are made by the vice presidents to the President in
 August for September implementation.


 The president makes recommendations of salary increases and bonuses for vice presidents, deans
 and other highly compensated officers to the Board of Trustees‘ Compensation Committee. The
 president consults national comparative salary data when making recommendations.


 This policy applies to all University employees, provided that the compensation of executive
 employees shall also be governed by the Saint Leo University Executive Compensation Policy.
 In the event of any variance between this policy and the Executive Compensation Policy, the
 latter shall control.



         3.10.3         Deductions
 Payroll processes all mandatory deductions from an employee‘s paycheck in compliance with
 government regulations, and processes voluntary deductions in accordance with employee
 election. As required by law, the University will deduct all legal wage assignments, attachments,
 and levies.

  3.10.3.1                   Collective Bargaining Unit Faculty Payroll Deduction for NEA
                  Benefits
 See Articles 15 of the Faculty Collective Bargaining Agreement (Volume IV-A, paragraph
 4A1.1.15.1)

         3.10.4         Direct Deposit of Paycheck
 Employees are encouraged to have their paychecks transmitted to their bank account(s) via direct
 deposit. Contact Human Resource for more information.

         3.10.5         Overtime
 Saint Leo University conforms with the Fair Labor Standards Act (FLSA) of 1938 (as amended)
 and state and local overtime laws in calculating and paying overtime to employees.

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 Non-exempt employees are entitled to overtime pay. Overtime is paid for all hours worked over
 40 hours in one workweek. Overtime pay equals one and one half times the employee‘s regular
 rate of pay. For an individual employed in more than one job, the overtime rate is based on the
 weighted average rate of pay for all positions.
 For overtime calculation purposes the work week is defined as Sunday at 12:00 a.m. (midnight)
 through Saturday at 11:59 p.m.
 Exempt employees are not entitled to overtime pay.

  3.10.5.1                 Compensatory Time Off
 The Fair Labor Standards Act (FLSA) does not allow for compensatory time off for employees
 who work for private institutions.

  3.10.5.2                 Philosophy
 The University is required to pay overtime in compliance with the Federal Fair Labor Standards
 Act of 1938 (as amended), similar state, and local laws. The University‘s overtime policy
 reflects the provisions of these laws.

  3.10.5.3                 Approval for Overtime
 Since overtime is a variance from a non-exempt employee‘s normal work schedule, the
 employees‘ supervisor must approve all overtime by non- exempt employees before the hours
 are worked. An employee who works overtime without supervisory approval is in violation of
 this policy.
 A supervisor may require an employee to work overtime. When possible, the supervisor shall
 provide advance notice to the employee concerning the date and amount of overtime required.
 However, an employee may be required to work overtime without prior notice. In either case,
 employees are expected to work overtime as directed.
 An employee may request overtime to complete an assignment; however, the employee must
 obtain the supervisor‘s approval in advance.

  3.10.5.4                 Flexible Scheduling in Lieu of Overtime during the Same Pay
               Week
 A non-exempt employee who works in excess of the employee‘s normal daily schedule may be
 permitted to take up to the equivalent amount of time off during the same workweek as flexible
 scheduling.
 Flexible scheduling may only be given when the supervisor and the employee have agreed,
 before the extra hours are worked, that flexible scheduling off will be provided instead of
 overtime pay.
 Flexible scheduling will not exceed the actual extra time worked and must be recorded as such
 on the appropriate Time Recordkeeping Form submitted to payroll.




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  3.10.5.5                  Computing Overtime
 For the purpose of computing whether more than 40 hours were worked only actually worked
 hours will be counted. Excluded are any paid leave, unpaid leave, scheduled or unscheduled
 leaves. The only exception is time away from work for approved training as outlined in
 subparagraph 3.3.15.3.1.
 When calculating overtime, the University includes all hours worked by an employee, even when
 the hours are worked in more than one job and/or department of the University. The overtime
 rate for an individual employed in more than one job at the University is based on the weighted
 average rate of pay for all positions.

  3.10.5.6                  Compliance
 Any employee violating this policy is subject to corrective action up to and including termination
 of employment.

  3.10.5.7                  Responsibility
 Each supervisor is responsible for assuring compliance with this policy. Supervisors are
 responsible for scheduling and recording overtime correctly. Each employee is responsible for
 working overtime hours when required and securing supervisory approval, in advance, for
 overtime work.

  3.10.5.8                  Resource
 Contact Human Resources with questions about this policy or if more information is needed.

       3.10.6          Special Recognition Awards and Other Salary Increases
 The University seeks to recognize through special compensation employees whose work or
 working conditions are exceptional. Accordingly, additional pay may be granted to employees
 in certain cases where job performance greatly exceeds normal levels. The University also
 recognizes the importance of adjusting pay to resolve inequities. Thus, other salary adjustments
 may also be made to resolve salary inequities, meet market conditions, or for other reasons.

  3.10.6.1                  Special Recognition Awards
 When employees distinguish themselves, their departments, or the University, by exceptional job
 performance, special bonus pay may be awarded. In such cases, a lump-sum award may be
 made in an appropriate amount recommended by the department head and approved by the
 appropriate Vice President and President.
 The special recognition award does not affect the employee‘s base salary.

  3.10.6.2                  Special Situations for Exempt Employees
 In certain circumstances, additional pay may be awarded to an exempt employee whose
 workload has significantly deviated from the job‘s normal expectations. Examples of special
 situations include:

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 1. Long-term special projects;
 2. Significant accomplishments;
 3. Assigned work in another department; and
 4. Performing a specific job or function that is significantly different from the position for
    which the employee was originally hired.
 Supervisors who wish to recognize these special situations shall consult with Human Resources
 for direction and guidance before arranging for additional pay.

  3.10.6.3                 Other Salary Increases
 Occasionally, a department may adjust specific salaries to resolve inequities or meet job market
 conditions. These adjustments do not include normal merit increases, promotions, transfers,
 general wage adjustments, or job reevaluations. This mechanism can be used to reward
 employees who have salaries that are at or near the maximum of their pay range.
 Department heads may make such salary adjustments if funds are available (other than funds
 budgeted for merit increases). Such salary adjustments must be coordinated with Human
 Resources and approved by the appropriate Vice President and the President.

  3.10.6.4                 Responsibility
 Human Resources administers the University‘s Special Recognition Awards and Other Salary
 Increases Policy. Human Resources and other University departments follow the procedures
 outlined above.

  3.10.6.5                 Resource
 Contact Human Resources with questions or if more information about this policy is needed.

       3.10.7          Wage Assignments (Garnishments)
 The University hopes that employees will manage their financial affairs so that the University
 will not be obligated to execute any court-ordered wage assignment or garnishment against an
 employee‘s wages. However, whenever court-ordered deductions are to be taken from an
 employee‘s paycheck, the employee will be notified. According to the Federal Wage
 Garnishment Act, three (3) or more garnishments may be cause for dismissal.

3.11            Separation from Employment and Disciplinary Measures Policies

       3.11.1         Administrative and Staff Employee                    Separation       from
                Employment and Disciplinary Measures Policies

  3.11.1.1                 Layoffs
 If layoffs are required, Saint Leo University will follow the layoff procedures outlined in this
 policy. The procedures are designed to administer layoffs in an equitable manner and in
 conformance with applicable laws and regulations.
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 Reasons for layoffs may include, but are not limited to, shortage of funds, shortage of work,
 reallocation of resources, the elimination of one or more positions, or other material changes in
 duties within a position or within the organizational structure of a department, program, or other
 administrative unit.
 If regular employee positions are eliminated in a department or unit as a result of outsourcing
 and a regular employee whose position is eliminated is offered a comparable position with the
 University, then that employee shall not be deemed to have been laid off and the provisions of
 this layoff policy shall not be applicable. If the employee is offered a comparable position at the
 University but does not accept it, then the employee will be considered to have voluntarily
 separated from University service. If the employee is not offered a comparable position by the
 University, then the employee will be considered to have been laid off and the provisions of this
 layoff policy shall be applicable. As used in this paragraph, the term ―comparable position‖
 means a position that:
 1. Offers a salary that is not less than ninety percent of the employee‘s final salary as a
    University employee.
 2. Offers weekly or monthly hours of employment that are equivalent to the employee‘s final
    hours as a University employee (in other words, represent a full-time position if the
    employee held a full-time position).
 3. Qualifies the employee for employee benefits if:
    a. The employee qualified for health and welfare benefits at the University; and
    b. The University offers a health and welfare benefit plan.
 4. Entails the performance of job duties that are similar to or at the same classification level as
    the duties the employee performed in the employee‘s current position at the University.
 Departments are responsible for management decisions about what work needs to be done and
 how best to carry out that work. Each department must administer the policy on layoffs in
 accordance with the procedures outlined below.

  3.11.1.1.1                     Definitions
 As used in this policy, the following definitions apply:
 Layoff Unit: A department or other programmatic unit in which one or more layoffs occur. A
 layoff unit may be a department or a programmatic unit that is larger or smaller than a
 department. Where the layoff unit is different from a department, the layoff unit must represent
 a discrete, coherent, programmatically justifiable grouping of people.
 Department Head: The person designated by the Vice President of an area to be immediately
 responsible for the administration of a layoff unit.
 Vice President: The President, Vice President or Dean in whose area one or more layoffs occur.
 Human Resources: Human Resources for layoffs occurring at the Saint Leo University Campus
 or Regional Centers or Offices.
 Outsourcing: The process, embodied in a formal, written contract executed by the Vice President
 of Business Affairs or designee, by which the function or functions performed by a department
 or other unit are assigned on a permanent basis to a company or organization external to the

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 University, with the resulting elimination of one or more regular employee positions at the
 University.

  3.11.1.1.2                     Layoff Plan
 The President shall make the determination that layoffs are necessary at the University. The
 President will then notify the Vice Presidents of this decision and assign them the responsibility
 of presenting a plan that meets the outlined goals. The department head will work with the Vice
 President to be responsible for:
 1. The decision that one or more employees should be laid off;
 2. Designating the layoff unit or units in which layoffs will occur; and
 3. Applying the criteria set forth below for the selection of the individuals to be laid off.
 If new positions must be defined or old positions reclassified to carry out the work after layoffs
 are affected, the department head must provide the rationale for the reorganization in writing and
 submit such to Human Resources for review before the individual employees are selected for
 layoff.
 Any layoff of employees at any one time within a single Vice Presidential area requires the
 concurrence of the Vice President and must be discussed with and approved in concept in
 advance by the President.

  3.11.1.1.3                     Order of Layoff
 The selection of employees for layoff within a designated layoff unit and within a particular job
 classification and grade level will be made in the following sequence and in accordance with the
 following criteria:
 1. Temporary employees will be eliminated first. Other sections of this policy do not apply to
    this employee group.
 2. Newly hired regular employees who have not completed their evaluation periods will be laid
    off before employees who have completed their evaluation periods.
 3. Regular employees who have completed their evaluation periods will be selected for layoff in
    accordance with the following criteria:
    a. Qualifications (knowledge, skills, and abilities needed to staff the positions remaining);
    b. Level of performance, as determined on the basis of documented performance
       evaluations and complete personnel files;
    c. Presence or absence of documentation of poor job performance or unsatisfactory conduct;
       and
    d. If all other factors are equal, seniority will govern (least senior employees will be
       selected for layoff first, with seniority measured by years of continuous University
       service).
        The department must provide a written justification of the application of these criteria,
        including documentation for each individual layoff decision when selecting among
        employees who are in the same classification and grade level.

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 4. In determining the order of layoff, there will be no presumption that an employee is entitled
    to be retained if the employee is not qualified for or does not possess the ability to perform
    the duties of the position in which the employee would be retained.
 5. Layoff of senior-level executives and managers may occur based on operational needs and
    without regard to job classification or level.

  3.11.1.1.4                      Internal Review of the Layoff Plan Prior to Implementation
 The layoff plan must be submitted to the Vice Presidents/Deans and then to the President prior to
 implementation. Human Resources will work in conjunction with the Vice Presidents/Deans and
 President to assure the plan meets University and legal guidelines, including sufficient
 supporting documentation to define the layoff decisions. In the case of the layoff of 25
 employees or more from a single Vice Presidential area, the layoff plan must also be submitted
 to the University assigned legal counsel. Human Resources will be responsible for coordinating
 the review process. The pertinent reviewing offices will review the layoff plan to ensure that the
 plan:
 1. Is consistent with Equal Employment Opportunity policies;
 2. Provides adequate and appropriately documented programmatic justification for the
    identification of layoff units; and
 3. Provides appropriate documented justification for the selection of particular employees for
    layoff within a classification and grade level.
 A layoff plan cannot be implemented until it has received the approval of the appropriate
 reviewing offices.

  3.11.1.1.5                      Implementation

                   3.11.1.1.5.1           Notice to Affected Employees
 Written notification of layoff must be given to affected employees at least two weeks before the
 effective date of the layoff. A department may, however, provide two weeks pay in lieu of this
 notice. The notification must include:
 1. The effective date of the layoff;
 2. A summary of the reasons for the layoff;
 3. An explanation of the amount of severance pay and accrued paid leave for which the
    employee qualifies; and
 An explanation of the employee‘s appeals process, if otherwise eligible.

                   3.11.1.1.5.2           Severance Pay
 Severance pay will be awarded in addition to pay for the notice period. The amount of severance
 pay will be requested by the appropriate Vice President and approved by the President. Payment
 shall be made in a lump sum.



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                   3.11.1.1.5.3           Tuition Benefits
 An employee who is laid off and who is receiving tuition benefits is eligible to receive tuition
 benefits during the semester in which the layoff occurs. An employee who is laid off is eligible
 to receive tuition benefits for dependent children for the remainder of the academic year in which
 the layoff occurs. An employee shall consult with the Payroll Department about taxes for which
 the employee may be liable.

                   3.11.1.1.5.4           Competitive Placement
 At any time during the layoff notice period or after the effective date of layoff, an employee has
 the right to apply and compete, without prejudice, with other internal applicants (and, where
 appropriate, external applicants) for any open posted position for which the employee is
 qualified.

                   3.11.1.1.5.5           Recall
 Following layoff, a regular employee will be recalled if a position in the same classification and
 grade level and in the same department or layoff unit becomes available. An individual will be
 eligible for recall for up to 12 months after the effective date of layoff, or a period of time
 equivalent to the employee‘s length of continuous employment with the University, whichever is
 less. If more than one employee is on layoff status in that classification and grade level, the
 same criteria used in determining order of layoff will be used in determining order of recall. A
 regular employee with documented less-than-satisfactory performance on the last annual review
 and/or an active formal administrative action prior to the effective date of lay off is not eligible
 for recall. It is the responsibility of each employee to provide Human Resources with current
 contact information during the recall period. Notification will be made to the last known address
 and telephone number on file with Human Resources.

                   3.11.1.1.5.6           Re-employment Rights
 A former regular employee, who is recalled or re-employed within 12 months of the date of
 layoff, or within a period of time equivalent to the employee‘s length of continuous employment
 with the University, whichever is less, will be given the employee‘s original start date and the
 period of layoff will be treated as a non-paid leave of absence. This will not effect the terms and
 conditions of benefits plans unless inconsistent with benefit plans.

                   3.11.1.1.5.7           Paid Leave
 An employee who is laid off will be paid for unused accrued vacation leave in accordance with
 the Vacation policy (see Subsection 3.5.2).

  3.11.1.1.6                      Evaluation Period
 An employee who is laid off and subsequently re-employed will serve an evaluation period
 unless the employee is recalled to the same position in the same layoff unit from which the
 employee was laid off.




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  3.11.1.1.7                     Waiving rights
 If during the period of eligibility for recall or the period described in the re-employment rights
 section of this policy the individual rejects the offer of an equivalent or higher-level position for
 which the individual is qualified, the individual waives the individual‘s right to recall. The
 University will have fulfilled its responsibility to recall and the individual will not receive any
 further notification.

  3.11.1.1.8                     Right to Invoke the Dispute Resolution Process
 An employee who is otherwise eligible to seek formal dispute resolution under the Dispute
 Resolution Policy is entitled to submit the dispute under the policy contesting the employee‘s
 layoff. The issue to be appealed is limited to factors in part three of the ―Order of Layoff‖
 section of this policy.

  3.11.1.1.9                     Consolidation of Disputes
 Disputes from employees in the same layoff unit may be consolidated and treated as a single
 dispute as provided in the Dispute Resolution policy.

  3.11.1.1.10                    Responsibility
 All University departments must follow the procedures outlined above.

  3.11.1.1.11                    Resource
 Contact Human Resources with questions or if more information about this policy is needed.

  3.11.1.2                  Progressive Discipline Policy
 Saint Leo University recognizes the need to assist employees improve poor, declining job
 performance, time and attendance problems, or policy violations. The University ordinarily
 follows a progressive discipline plan to correct these problems.
 Violations that are sufficiently serious may result in the suspension of the normal progressive
 disciplinary process. In these instances, any step in the progressive disciplinary process may be
 used, including dismissal.
 In normal circumstances, the employee‘s immediate supervisor will administer the disciplinary
 action. Appropriate actions will be determined based on the seriousness of the offense, the
 circumstances under which it occurred, prior problems, duties of the employee, and the
 employee‘s overall work history with Saint Leo. This policy does not limit the University from
 taking actions other those provided in this section.
 The forms of disciplinary action are:
    1.   Verbal counseling
    2.   Verbal warning
    3.   Written warning
    4.   Disciplinary suspension (optional at the discretion of the supervisor and upon prior
         approval by the Human Resources department).
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    5. Dismissal

 The Human Resource department should be consulted when the supervisor determines that
 disciplinary action with an employee is necessary.

    3.11.1.2.1              Verbal Counseling
 Verbal counseling is used to offer direction and encouragement in situations that are deemed less
 serious in nature. The goal is for a positive conversation aimed at accomplishing goals. The
 conversation between supervisor and employee needs to be documented and maintained by the
 supervisor for future reference.

    3.11.1.2.2              Verbal Warning
 A verbal warning is issued when repeated violations have occurred or an action has occurred that
 impacts departmental or University priorities or objectives. This could include, but is not limited
 to, attendance and tardiness problems, poor job performance, or misconduct. A formal meeting
 occurs between the employee and the supervisor where the employee is told the behavior is
 unacceptable.
 The meeting is followed up with written documentation prepared immediately after the meeting
 (Disciplinary Form). A copy of the form is submitted to Human Resources for the personnel file.

    3.11.1.2.3              Written Warning (Suspension Optional)
 If the supervisor determines that a written warning is appropriate, it is recommended to have a
 representative from the Human Resources department present. The purpose of this meeting is to
 clearly convey to the employee that his or her job is at risk until the issue is resolved. The
 supervisor prepares and presents to the employee a disciplinary form with a follow up schedule.
 The plan will provide any direction or training needed to improve the situation. The
 documentation will include: the reason for the action, any previous counseling regarding the
 problem, the steps the employee must take to correct the situation, and the next step if the
 problem is not resolved within the specified time.
 Employees may be suspended pending investigations and/or where circumstances warrant.
 Employee suspension may be with pay or without pay depending on the circumstances.
 Suspension notices must include the reason for the suspension, the inclusive dates of the
 suspension, and whether the suspension is with pay or without pay. Human Resources approval
 must be obtained before an employee may be suspended.
 A copy of the written warning and any notice of suspension must be submitted to Human
 Resources for the personnel file. All written warnings will become inactive if no subsequent
 action is issued within 12 months of the date of the completion of the plan.

    3.11.1.2.4              Dismissal
 An employee‘s employment may be terminated in the event previous disciplinary measures have
 failed, or when other circumstances warrant. If an employee has received a written warning
 within the past 12 months, the employee may be terminated without any further disciplinary
 action upon the occurrence of the same issue giving rise to the written warning.

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    3.11.1.2.5              Approval Must be Obtained from Human Resources before the
                 dismissal of an employee.
 The use of progressive discipline before dismissal is left to the discretion of University
 administrations based on all relevant factors. In some cases, the University may decide demotion
 is appropriate. Any or all of the steps listed above may be omitted, as the University considers
 appropriate. By establishing these procedures for administrative actions and dismissals, the
 University does not waive or limit its right to discharge employees with or without notice or
 cause or under the Employment at Will Policy

    3.11.1.2.6                    Resource
 Contact Human Resources with questions or if more information about this policy is needed.

  3.11.1.3                     Termination of Employment
 Individuals who leave employment with the University are expected to provide adequate notice,
 return University property, and satisfy outstanding financial or other obligations before the last
 workday. The University will pay employees for unused, accumulated vacation leave according
 to this policy. Unused, accumulated sick leave will not be paid upon termination of employment.
 Separation from employment, whether voluntary or involuntary, must be handled in a
 responsible manner by all individuals involved.

  3.11.1.3.1                      Notice of Separation
 Employees who voluntarily leave the University are expected to provide written advance notice.
 Minimum requested notice is two weeks for regular employees and 10-month employees and one
 week for part-time employees.

  3.11.1.3.2                      Return of University Property and Satisfying Financial
                 Obligations
 Individuals who terminate employment must return all University property. These items are to
 be returned to the appropriate supervisor or Human Resources. The individual is also
 responsible for satisfying all financial obligations on or before the last workday. Examples
 include, but are not limited to:
 1. Identification cards, keys to buildings, vehicles, and equipment;
 2. Beepers, pagers, cellular telephones, and other communications equipment;
 3. Policy manuals, handbooks, and other confidential material;
 4. Books and other materials owned by the University, library books, computers, software,
    documentation, supplies, and other computer-related materials;
 5. Uniforms and tools issued by the University;
 6. Credit, telephone, and other cards; and
 7. Tuition grants, outstanding advances, library and parking fines.
 Supervisors and managers are responsible for ensuring that all University property is obtained
 from terminating employees and financial obligations are satisfied.
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  3.11.1.3.3                     Access to Computerized Information Systems
 Upon notice of termination, supervisors must make appropriate arrangements to discontinue an
 employee‘s password and/or access to all University information systems. This may include but
 is not limited to financial, employee, departmental local area networks and student information
 systems.

  3.11.1.3.4                     Payment of Leave
 Employees will be paid for unused, accumulated vacation leave, when terminating employment
 with the University in accordance with applicable federal, state or local laws. Hours paid cannot
 exceed the maximum leave accrual of 264 hours. No payment will be made for unused sick
 leave.

    3.11.1.3.5                   Termination Paperwork Deadlines

                  3.11.1.3.5.1           Involuntary Termination
 Departments must hand deliver termination paperwork to Human Resources prior to the end of
 the affected employee‘s final day of employment.

                  3.11.1.3.5.2           Voluntary Termination
 Departments must deliver completed paperwork to Human Resources within three days of the
 date the notice of termination is received.

                  3.11.1.3.5.3           Deceased Employees
 Departments should complete and forward termination paperwork to Human Resources within
 24 hours after being notified of the death of an employee.

  3.11.1.3.6                     Responsibility
 All departments shall follow the University‘s Termination of Employment policy and the
 procedures outlined above. Employees are responsible for providing advance notice of voluntary
 termination and for settling outstanding financial obligations and returning University property
 before leaving employment.

  3.11.1.3.7                     Resource
 Contact Human Resources with questions or if more information about this policy is needed.
 Refer to the policy on Progressive Discipline for information on involuntary terminations.

  3.11.1.4                 References Following Separation of Employment
 Former employees of the University seeking to have personnel records or employment references
 from University personnel forwarded to prospective employers or schools must first submit a
 written request for release of the information or documents to Human Resources.
 Supervisors should not respond to verbal requests for references and should refer such requests
 to Human Resources.
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       3.11.2            Faculty Separation and Disciplinary Measures Policies
 See Article 10 of the Faculty Collective Bargaining Agreement (Volume IV-A, Subsection
 4A1.1.10) and Section 4.7 of Volume IV.

  3.11.2.1                  Collective Bargaining Unit Faculty Employment Phase-Out
 See Article 15, Section 11 of the Faculty Collective Bargaining Agreement (Volume IV-A,
 paragraph 4A1.1.15.11).

3.12            Grievance Policies

       3.12.1            Administrative and Staff Employee Dispute Resolution Policy
 The University‘s dispute resolution policy provides employees with a systematic review process
 to help resolve complaints about inappropriate treatment or actions that have not been resolved.
 Every employee should discuss and attempt to solve disputes with the immediate supervisor or
 department head. If the issue cannot be resolved within the department, the employee may
 contact Human Resources.

  3.12.1.1                  Eligibility
 All University administrative and staff employees are eligible to seek formal dispute resolution,
 except the following:
 1. Newly hired, evaluation period employees;
 2. Senior executives;
 3. Faculty; and
 4. Temporary employees.
 Employees who believe they have been discriminated against or harassed in violation of
 University equal employment, affirmative action or sexual harassment policies should contact
 the Equity Officer or the Director of Human Resources. The University maintains a separate
 dispute resolution process for discrimination and sexual harassment cases in accordance with the
 University‘s Equal Employment and Sexual Harassment Policies.

  3.12.1.2                  Timing
 Human Resources must receive written notice of a dispute within 30 calendar days of the
 disputed event.

  3.12.1.3                  Departmental Problem Resolution
 An employee will first seek informal problem resolution with the supervisor. If the dispute
 specifically involves the supervisor, the employee will discuss the problem with the next level of
 management.
 The supervisor or higher level manager in consultation with Human Resources will investigate
 the complaint and take steps to resolve the problem. Supervisors and managers are strongly
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 encouraged to resolve disputes within the department. The supervisor or higher level manager
 will document the issue, steps taken to attempt to resolve the problem, and the outcome. A
 written response will be presented to the employee.
 If the employee believes the problem has not been resolved within the department, the next level
 of dispute resolution is available.

  3.12.1.4                 Human Resources Level Dispute Resolution
 All dispute resolution must be initiated within 30 calendar days of the event with the Human
 Resources representative designated to hear disputes. The representative will notify the
 employee‘s department that a dispute has been filed. Employees who notify the Director of
 Human Resources will no be subjected to any reprisal for good faith reporting of any disputes.
 The Human Resources representative will facilitate communication about the dispute between
 the employee and the department. The representative and the department will investigate the
 problem and take steps to attempt to resolve the complaint.
 A written response to the dispute will be given to the employee by the appropriate Human
 Resources representative within 30 working days of the date the dispute was filed, unless
 additional time is needed in which case the employee will be informed of the expected date of
 response.

  3.12.1.5                 Responsibility
 Employees, supervisors, department heads, Human Resources, the Dispute Resolution
 committees and hearing boards, hearing officers, the Vice President and President are
 responsible for performing the tasks and duties outlined in this policy. Any dispute concerning
 proper procedures or standards under this policy is to be resolved by the Vice President or
 President in consultation with the Director of Human Resources.

  3.12.1.6                 Resource
 Contact Human Resources if with questions about this policy or if more information is needed.

      3.12.2           Faculty Grievance Policy
 See Article 8 of the Faculty Collective Bargaining Agreement (Volume IV-A, Subsection
 4A.1.1.8.




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 2.12         Appendix 3.3.7.1: Employees with Disabilities Policies and Procedures
 Manual
                        Formal Procedures to Request Accommodations
 Saint Leo University recognizes that the decision to self-identify any disability is a personal one
 and we respect an individual‘s decision not to do so. The University does, however, encourage
 all individuals with disabilities to self-identify and provide supporting documentation. It is,
 however, the responsibility of the applicant or employee with a disability to inform the employer
 that an accommodation is needed to participate in the application process, to perform essential
 job functions, or to receive equal benefits and privileges of employment. An employee with
 disabilities should tell one of the following: an immediate supervisor, Human Resources
 personnel, or the Director of Disability Services. The individual will be referred to this manual
 or the Director of Disability Services.
 To be eligible for reasonable accommodations, an employee must complete the Identification of
 Disability Form and turn in appropriate documentation that explains the functional limitations of
 the individual. Once the documentation is reviewed, the Director will meet with the employee to
 clarify what the individual needs and together will agree on appropriate accommodations. For
 information about job accommodations for employees with disabilities, an excellent resource is
 Job Accommodation Network (http://janweb.lcdi.wvu.edu).
 Once accommodations are approved, a confidential letter is sent to the appropriate supervisor
 informing the supervisor of the approved accommodations. It is the responsibility of the
 supervisor to ensure that the accommodation is implemented.
 Required Documentation:
 The Office of Disability Services provides reasonable accommodations for individuals with
 documented disabilities. Individuals must provide sufficient documentation of disability before
 services or accommodations can be provided. Documentation must contain a diagnosis of the
 specific disability, an explanation of the functional limitations, and a rationale for requested
 accommodations. Testing must be current. Therefore, we strongly encourage individuals to
 include documentation that has been completed within the last three years, especially for
 disabilities that fluctuate throughout an individual‘s life. Older documentation may not be
 acceptable. Because the provision of all accommodations and services is based on an assessment
 of the impact of the individual‘s disabilities on the individual‘s performance, it is in the
 individual‘s best interest to provide recent and appropriate documentation.
 1. Employee with a Physical, Visual, Speech or Medical Disability: Documentation shall
    include a copy of medical reports and/or a letter from a physician stating specific diagnosis,
    prognosis, medications, if applicable, and the functional limitations for the individual.
 2. Employee with a Hearing Loss: Documentation must include an audiogram showing the
    extent of the loss and the functional limitations to the individual.




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 3. Employee with a Mental Impairment:5 Documentation shall include a statement from a
    licensed mental health practitioner and a statement of medication from the prescribing
    psychiatrist. The report shall include summaries of the following:
    a. Diagnostic interview;
    b. Assessment of mental status including test results;
    c. DSM IV diagnosis; and
    d. Functional limitations.
 4. Employee with a Learning Disability or an Attention Deficit Disorder: Documentation must
    be provided by a professional experienced in diagnosing learning disabilities, preferably a
    licensed psychologist who will provide a psycho-educational evaluation. In addition, so that
    the Office of Disability Services can best meet an individual‘s needs, it is important that
    documentation include the following information:
    a. A standardized measure of general intelligence, preferable the WAIS-R;
    b. Results of academic achievement tests;
    c. Results of specialized testing in perceptual, processing, and motor skills (as appropriate);
    d. A case history including parent, teacher, and student input;
    e. Functional limitations; and
    f. A description of recommended accommodations.
 Saint Leo University has the right to review documentation and determine individual
 accommodations and services. The Director of Disability Services reserves the right to require
 additional information from the individual, at the individual‘s cost, if documentation is not
 sufficient. Previous provision of service, or lack of it, does not guarantee or preclude university
 services.
              Reasonable Accommodations Available to Employees with Disabilities
 A reasonable accommodation is a modification or adjustment to the job, the work environment,
 or the way things are done that enables a qualified individual with a disability to enjoy an equal
 employment opportunity. The ADA requires reasonable accommodation in three aspects of
 employment:
 1. To ensure equal opportunity in the application process;
 2. To enable a qualified individual with a disability to perform the essential functions of a job;
    and
 3. To enable an employee with a disability to enjoy equal benefits and privileges of
    employment (EEOC Technical Assistance Manual).
 Determination of reasonable accommodations will be made on a case by case basis. Individuals
 may appeal the decision of the Director of Disability Services (see the Appeal Process).


        5
            E.g., Emotional/Psychological Disorder.

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                                          Appeal Process
 If an individual follows proper procedures and is still denied an accommodation, the individual
 may wish to appeal the decision. The appeals process follows:
 1. The individual must submit an appeal, in writing, to the Human Resource Director within 10
    working days of when the accommodation was denied. The appeal shall include a statement
    of the requested accommodation and an explanation of why the accommodation is needed.
 2. The Human Resources Director will assemble a panel to review the appeal within 10 working
    days of its filing. The review panel will include the individual‘s immediate supervisor and
    the appropriate dean or director.
 3. The panel will review the individual‘s appeal and the explanation for denial and make a
    decision to uphold or reverse the decision.
 4. To appeal the panel‘s decision, the individual must send a letter of appeal to the appropriate
    Vice President within 10 working days of receiving the decision. The Vice President will
    examine the appeal and the procedure and communicate the final decision.
 5. For further action, the individual should contact the Regional Office of Civil Rights.
                                          Confidentiality
 The Office of Disability Services recognizes and honors the importance of the confidentiality of
 documents containing disability- related information. Section 504 of the 1973 Federal
 Rehabilitation Act guarantees this confidentiality, but recognizes that there are situations where
 releasing partial information to appropriate individuals is in the best interest of the individual.
 Information may be released at the discretion of the Director of Disability Services when there is
 a compelling reason that the information is necessary to best accommodate the needs of an
 individual.
 The Office of Disability Services will send a confidential letter to the immediate supervisor
 concerning the approved accommodation(s) for the employee or applicant. A copy of the letter
 will become part of the confidential file housed in the Office of Disability Services. It will not
 become part of the personnel file.




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                              Availability of Services Contract
 I, _____________________________, have read the Saint Leo University Policies and
 Procedures Manual for Employees with Disabilities, including the section entitled Formal
 Procedures to request accommodations. I understand the accommodations and services offered
 at Saint Leo University as well as the documentation required to receive services. I am also
 aware of the proper procedures I must follow to request and receive accommodations. I realize
 that if I do not follow these policies and procedures in the required timeframe, services and
 accommodations may not be provided.
 Signed ________________________                           Date _______




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                                Identification of Disability Form
                                   Office of Disability Services
                              Employee Request for Accommodations
 Name: __________________ Current Employee or Applicant (circle one)
 Location:     _______________
 Supervisor _______________
 Job Title: ______________
 Date of Request ___________
 Reported Disabilities:
 Requested Accommodations:
 What evidence of disability has bee or will be provided?
 Service Provider:                    Type of records:                  Date received:
 1.                                  1.                              1.
 2.                                  2.                              2.
 3.                                  3.                              3.
                                  Employee: do not write below this line
 Eligibility Determination
 Is there a disability present?
 NO Date employee notified:
 YES Disability
 Is the person ―otherwise qualified‖ for the job in question?                  YES    NO
 If NO, on what basis was the rejection made?

 If YES, what accommodations will be provided?

 Signatures indicate agreement:
 Requesting individual:                                  Date
 Director of Disability Services                         Date
 Director of Human Resources                             Date
 Please submit form to:
                                      Director of Disability Services
                                          Lewis Hall, Room 125
                                        P.O. Box 6665, MC 2010
                                           Saint Leo, FL 33574




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                                        Disability Verification Forms
 TO THE DIAGNOSTICIAN: The Office of Disability Services at Saint Leo University requires that
 a psychological disorder be documented by a psychiatrists, licensed psychologists, or neurologists
 who have had training and experience in the diagnosis of such disorders. Medical disabilities must
 be diagnosed by the appropriate specialist.
 1. Patient:
 2. Diagnosis
 3. Date of Diagnosis:            Date of last patient contact:
 4. Assessment Procedures Used:
 5. Describe the impact of the disability on a major life activity (e.g. Learning/ test taking)



 6. Co-existing Disability Diagnosis:
 (If Learning Disability, please enclose a psycho-educational evaluation report.)
 7. Prescribed medication(s)
 8. Please list functional limitations and SUGGESTED accommodations appropriate for the work
 environment of this individual. Each accommodation must be explicitly supported by the diagnostic
 information.    FINAL DECISIONS REGARDING AN INDIVIDUAL‘S ELIGIBILITY FOR
 ACCOMMODATIONS WILL BE DETERMINED BY THE DIRECTOR OF DISABILITY SERVICES.



 Please attach an interpretive summary containing any information that would assist the Director
 of Disability Services in making decisions about accommodations. The summary should
 include, but is not limited to, information that will help the patient become eligible for
 accommodations.
 Diagnostician Information
 Print Name:               Date
 Signature                                   License #
 Address
 Phone                                 Fax
                                               Please return form to:
                                          Director of Disability Services




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                 Attention Deficit/Hyperactivity Attention Disorder Verification Form
 TO THE DIAGNOSTICIAN: The Office of Disability Services at Saint Leo University requires that
 Attention Deficit/Hyperactivity Disorder be documented by psychiatrists, licensed psychologists,
 neurologists, family practice or general physicians who have had training and experience in the diagnosis
 of ADHD.
 1. Name of patient:
 2. Diagnosis:
 3. Date of Diagnosis:           Date of last patient contact:
 4. Assessment Procedures Used:
 5. Assessment used to eliminate other primary causes of ADHD symptoms:

 6. Co-existing Disability Diagnosis:
 (If Learning Disability, please enclose a psycho-educational evaluation report.)
 7. Prescribed medication(s):
 8. Please list functional limitations and SUGGESTED accommodations appropriate for the work
 environment of the patient. Each accommodation must be explicitly supported by the diagnostic
 information.    FINAL DECISIONS REGARDING AN INDIVIDUAL‘S ELIGIBILITY FOR
 ACCOMMODATIONS WILL BE DETERMINED BY THE DIRECTOR OF DISABILITY SERVICES.



 Please attach an interpretive summary containing any information that would assist the Director of
 Disability Services in making decisions about accommodations. The summary should include, but is not
 limited to, information that will help the patient become eligible for accommodations.


 Diagnostician Information
 Print Name and Title                  Date:
 Signature                   License
 Address
 Phone                 Fax
                                           Please return form to:
                                       Director of Disability Services
                                  Phone: 352-588-8464 Fax: 352-588-8605




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                          Learning Disabilities Documentation Checklist
 Please use this checklist to insure that your documentation meets the following criteria.
 Learning Disabilities:
 ___ Testing must be comprehensive.
    ___Aptitude
    ___Achievement
    ___Information Processing
 ___ Testing must be current (within 3 years).
 ___There must be clear and specific evidence of a learning disability.
     ___ Split between performance IQ and Verbal IQ
        ___ One standard deviation between achievement and IQ/process and IQ
 ___ Test scores/ data must be included (preferably standard scores)
 ___ Testing must be performed by a qualified professional.
 ___ The assessment instruments must be appropriate for the population.
 ___ Diagnostic report must include a summary based on a comprehensive evaluation:
    ___ Evaluator has rules out alternative explanations for academic problems.
    ___ Indication of how patterns of cognitive ability , achievement,
         information processing reflect the presence of a learning disability.
    ___ The degree to which the learning disability impacts the individual in the learning
 context.
     ___ Indication as to why specific accommodations are needed and how the effects of the
 disability are accommodated.




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                      Attention Deficit Disorder Documentation Checklist
 Please use this checklist to insure that your documentation meets the following criteria.
 Attention Deficit Disorder:
 ___ Assessment must be current (within 3 years).
 ___ Assessment must include:
 ___ List of questionnaires, interviews and observations used to identify the ADD behaviors.
 ___ Summary should include information regarding onset, longevity, and severity of the
 symptoms.
 ___ Complete psycho-educational or neuropsychological evaluation, including a cognitive
 assessment with a report of data and interpretation of data (standard scores).
 ___ Information concerning the impact of ADD on the educational setting, including functional
 limitations.
 ___ Medication history and current recommendations regarding medication.
 ___ The exact DSM-IV diagnosis and identification of the DSM-IV criteria.
 ___ List of appropriate accommodations and how the effects of disability are accommodated.
 ___ Information concerning co-morbidity.
 ___ Qualified professional must conduct the evaluation.




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                                    Tests for Assessing Adults
 When selecting a battery of tests, it is critical to consider the technical adequacy of instruments,
 including their reliability, validity, and standardization on an appropriate norm group. The
 professional judgment of an evaluator in choosing tests is important. The following list is
 recommended as a resource but is not intended to be definitive or exhaustive.
 1. Aptitude/Cognitive Ability:
    a. Wechsler Adult Intelligence Scale-III (WAIS-III);
    b. Woodcock-Johnson-III- Test of Cognitive Ability;
    c. Kaufman Adolescent and Adult Intelligence Test;
    d. Stanford-Binet IV.
 2. Academic Achievement:
    a. Scholastic Abilities Test for Adults (SATA);
    b. Stanford Test of Academic Skills (TASK);
    c. Woodcock-Johnson-III-Tests of Achievement;
    d. Weschler Individual Achievement Test (WIAT).
 3. Specific Achievement Test:
    a. Nelson-Denny Reading Test;
    b. Stanford Diagnostic Mathematics Test;
    c. Test of Written Language-3 (TOWL);
    d. Woodcock Reading Mastery Tests-Revised.
 4. Information Processing:
    a. Detroit Tests of Learning Aptitude-3 (DTLA);
    b. Detroit Test of Learning Aptitude- Adult (DTLA-A);
    c. Information from subtests on WAIS-R or Woodcock-Johnson-III;
    d. Test of Cognitive Ability.




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                                            Volume IV
                                     Faculty Personnel Policies



    4.0            Introduction
 Volume IV contain general policies and procedures relating to faculty members and faculty
 status which are intended to guarantee for the institution a faculty of as high a quality as possible
 and for the individual faculty member a maximum degree of fairness. Volume IV is
 incorporated by reference into the appointment contracts of each faculty member. Where the
 terms and provisions of an individual appointment contract of a faculty member are inconsistent
 with the general policies contained in the volumes, the provisions of the individual appointment
 contract shall control. Should there be any misapplication, misinterpretation, or violation of
 specific provisions in this Volume, the faculty member involved shall report the circumstance to
 the Vice President of Academic Affairs. The administrative or staff responsibilities of faculty
 members with administrative or staff duties are specified in the individual appointment contracts
 of such faculty members.

          4.1 Definition of Faculty Status, Faculty Rank, and Criteria for Promotion
             in Rank

              4.1.1     Faculty Status

                  4.1.1.1   Full-time Faculty
 A full-time faculty member is an employee of Saint Leo University who is qualified for
 appointment to one of the academic ranks listed in Subsection 4.1.2. Full-time faculty members
 ordinarily have full-time teaching duties or have teaching and other duties (e.g., research,
 academic administration, counseling, library duties) equivalent to a full-time teaching load and
 fulfill the duties and responsibilities of a faculty member. Tenured Assistant, Associate, and
 Professors are eligible to apply for sabbaticals (see Subsection 4.9.3). They are full voting
 members of the faculty. A Full-time faculty member may be appointed pursuant to a term,
 tenure track, non-tenure track, or tenure contract (see Subsection 4.2.1). A doctorate degree is
 required for all tenure and tenure-track positions.

                  4.1.1.2   Adjunct/Per Unit/Per Course Faculty Members
 An Adjunct, Per Unit, and Per Course faculty member is employed pursuant to a term
 appointment (see paragraph 4.2.1.1) and carries the rank of Lecturer. The adjunct and annual
 contract faculty member‘s (15-16 week) workload is 10 courses per year maximum. No more
 than 4 courses may be taught by an adjunct in any semester. The adjunct and annual contract
 faculty (8 week, 5 or 6 term) load is 10 courses per year maximum with no more than 2 courses
 taught in any term. Such faculty usually have no other faculty duties or responsibilities (i.e.,
 committee obligations, advisement), except for those specified by their department. They do not
 accrue time towards sabbatical.

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                  4.1.1.3   Administrators with Faculty Rank
 Administrators with faculty rank are those full or part-time personnel who function in an
 instructional capacity outside the classroom), or those who perform a combination of faculty,
 staff, and professional duties. They are subject to all responsibilities and standards of teaching
 performance that apply to other full-time or part-time faculty and receive the same academic
 freedom as other faculty members. With regard to the non-academic aspects of their duties, they
 are governed by the provisions of Volume V (Personnel Policies for Administrators and Staff) of
 the Policy Manual.

                  4.1.1.4   Special Appointment Faculty

                       4.1.1.4.1 Artist/Writer/Scholar-in-Residence Faculty
 Saint Leo University may appoint artists, writers, scholars, and other distinguished individuals to
 the special faculty status of Artist/Writer/Scholar-in-Residence faculty. Such appointments are
 awarded for a specific period of time and may be full-time or part-time depending upon the
 needs of Saint Leo University. They are appointed by the Vice President of Academic Affairs
 after consultation with the appropriate department chair and dean and approved by the President.
 All such faculty are hired on term appointments for a limited period of time with no intent of on-
 going employment. Such appointments may be full-time, part-time, or per-course based on the
 needs of Saint Leo University.

                       4.1.1.4.2 Professor Emeritus
 The rank of Professor Emeritus may be assigned to Assistant, Associate, or Full Professors who
 have retired from their teaching responsibilities at the University after ten or more years of
 service to the University. A Professor Emeritus is so designated and appointed by the President
 upon the recommendation of the Vice President of Academic Affairs. A Professor Emeritus will
 continue to have full use of the library and the library loan activities. A Professor Emeritus shall
 continue to have access to tickets for concerts, theatrical productions, athletic events, and other
 discounted services at the same cost as normally charged to active faculty members. No
 compensation accrues by virtue of this rank, unless the Professor Emeritus accepts a pro-rata or
 temporary full-time teaching contract. In such instances, supplementary benefits, if any, will be
 set forth in the contract.

                       4.1.1.4.3 Visiting Faculty
 See Article 10, Section 3 and Article 2, Section 4 of the August 16, 2005 – September 26, 2008
 Faculty Collective Bargaining Agreement document.

              4.1.2     Faculty Rank and Criteria for Promotion in Rank
 Saint Leo University appoints and retains faculty members with the ranks of Instructor, Assistant
 Professor, Associate Professor, and Professor. Each faculty member must fulfill the rights and
 responsibilities outlined Section 4.8. New faculty members are appointed by the Vice President
 of Academic Affairs after consultation with the appropriate department chair and dean and
 approved by the President. All tenure-track and non-tenure-track full-time faculty appointments
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 require a search in compliance with the University‘s Equal Employment Opportunity policies
 (see Volume II, Subsection 2.1.1); however, as stated above, the search committee and dean
 recommendations are not binding on the Vice President of Academic Affairs.
 Faculty members may be pro-rata or full-time employees of the University. Except in unusual
 circumstances, a full-time faculty member teaching at the University College location shall teach
 12 hours per semester and 24 hours per year. Except in unusual circumstances, full-time
 continuing education faculty shall teach 15 credit hours per year and advise students up to 25
 hours per week. In some cases, the Vice President of Academic Affairs, in consultation with the
 school dean and appropriate department and with the mutual consent of the faculty member, may
 reassign a full-time faculty member from teaching responsibilities to administrative or other
 appropriate activities equivalent to some part or all of the teaching load.

                  4.1.2.1   Instructor
 Instructors may serve on full-time or part-time contracts. Instructors must hold a minimum of an
 appropriate master‘s degree from a recognized accredited graduate institution or its equivalent
 (e.g., professional recognition) in the field being taught. Instructors may be hired on term
 contracts of varying lengths. Instructors may teach part-time or full-time loads. Service as an
 instructor does not count in years of service toward tenure at Saint Leo University.

                  4.1.2.2   Assistant Professor
 Faculty appointed to the rank of Assistant Professor must hold a doctorate from a regionally
 accredited institution of higher education. Assistant Professors may hold full-time or part-time
 teaching contracts. Faculty appointed at this rank may be appointed to tenure track or non-tenure
 track contracts. All years of full-time teaching at this rank count toward years of service towards
 tenure or other full-time longer term contracts.

                  4.1.2.3   Associate Professor
 An Associate Professor must hold a doctorate degree from a regionally accredited institution of
 higher education; must provide evidence of sustained, outstanding teaching; must show evidence
 of developed scholarship or professional development activities (such as publication in refereed
 professional journals, significant successful curriculum development or noteworthy performance
 in the creative arts); and must show evidence of documented and evaluated community service
 activities consistent with the mission and values of Saint Leo University.
 Except in unusual circumstances, a minimum of five years teaching experience at the rank of
 Assistant Professor is required for faculty promoted to or appointed to this rank. Faculty
 promoted to this rank, except in unusual circumstances, will have a record of no less than four
 years teaching at Saint Leo University at the Assistant Professor level. Any exceptions to the
 normal time in rank qualification shall be recommended to the Vice President of Academic
 Affairs by the appropriate dean prior to the initial contract offer. The Vice President of
 Academic Affairs shall review such a request and forward it to the President with a
 recommendation. Only the President shall grant an exception should the President deem it
 appropriate. Faculty appointed at this rank may be appointed to tenure track or non-tenure track
 contracts.
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                  4.1.2.4   Professor
 A Professor must possess an earned doctorate degree from a regionally accredited institution of
 higher education and must provide:
 1. Evidence of and record of sustained, documented exemplary teaching; and
 2. Evidence of mature sustained scholarship or widely acclaimed professional development that
    has been recognized by the appropriate professional bodies outside of the University; and
 3. Evidence of distinguished faculty leadership and service to the students and the Saint Leo
    community in a manner consistent with the goals and values of Saint Leo University.
 Except in unusual circumstances, full professors shall have a minimum of ten (10) years
 accumulated teaching experience with no fewer than five (5) years teaching experience at Saint
 Leo University at the rank of Associate Professor before being considered for promotion to this
 rank.
 Any exceptions to this normal time in rank/experience requirement shall be recommended to the
 Vice President of Academic Affairs by the appropriate school dean. The Vice President of
 Academic Affairs shall review such a request and forward it with Vice President of Academic
 Affairs‘ recommendation to the President who is responsible for making the final decision.
 Faculty appointed to or promoted to this rank may serve on tenure or non-tenure contracts.

         4.2 Policies Pertaining to Faculty Appointments

             4.2.1     Types of Appointment Agreements

                  4.2.1.1   Term Appointments
 Term appointments are issued for a clearly defined, limited period to part-time, adjunct, per-
 course, visiting, and special appointment faculty members. There is no right or expectation of
 appointment renewal. Term appointment agreements may also be issued to full-time faculty
 members in special circumstances with the approval of the Vice President of Academic Affairs
 for short-term curricular needs of the University. Term appointment agreements are also used
 for summer term teaching if not a part of the academic year load.

                  4.2.1.2   Tenure Track Appointments
 See Article 10, Section 1 of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document.

                  4.2.1.3   Non-Tenure Track Appointments
 Faculty members hired in non-tenure track lines are hired for initial terms of one year; but, after
 four successive one year terms, shall be reappointed for three year terms of teaching service.




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                       4.2.1.3.1 Moving to Tenure Track
 See Article 10, Section 3 of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document.

                  4.2.1.4   Tenure Appointments
 See Article 10, Section 2 of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document.

             4.2.2     Locus of Appointments
 All faculty appointment agreements have as the locus of their appointment the Department of
 Saint Leo University that is stated in the appointment.

         4.3 Guidelines for the Appointment and Orientation of Faculty and
            Department Chairs

             4.3.1     New Faculty Appointment Guidelines
 The Vice President of Academic Affairs will consult with the appropriate School Dean,
 Department Chair, and School Faculty in the appointment of new faculty to the University; but
 the Vice President of Academic Affairs will not, in any respect, be bound by any
 recommendation of a School Dean or faculty committee. Appointments to the faculty of the
 University will be made by the Vice President of Academic Affairs in consultation with the
 President of the University. The normal full time faculty appointment is for nine months or the
 conclusion of the academic year for which the appointment is made. For purposes of tenure and
 promotion, faculty members hired after the start of the academic year and who begin their duties
 no later than the beginning of the second semester, will count that entire academic year as
 service. Criteria for initial rank will be the same as those outlined in Subsection 4.1.2.
 Faculty may be appointed to term, tenure track, or non-tenure tract faculty positions. The
 process for review of teaching is the same in both cases. Non-tenure track and term faculty
 members are protected by the same academic freedom regulations as tenure track faculty.
 Faculty members hired in non-tenure track lines are hired for initial terms of one year; but, after
 four successive one year terms, shall be reappointed for three year terms of teaching service.

                  4.3.1.1   Hiring and Clearance Procedures
 Saint Leo University is committed to finding and hiring the most qualified faculty members to
 fill vacant positions. To ensure that this occurs, the guidelines below are used for requesting,
 advertising, interviewing, clearing, and hiring new full-time faculty members. Certain principles
 govern this process:
 1. The addition of any new faculty line, rather than a replacement position, will mean budgetary
    approval of the new faculty line to justify the need for the position.
 2. Except in extraordinary circumstances, all searches will be authorized only at the Assistant
    Professor entry level.

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 3. Every search request will be examined against the statement of Vision and Goals for the
    department and the University.
 4. Consideration of search requests will take into account a variety of factors, including
    enrollment patterns and teaching needs, programmatic impact within the department, the
    relationship of the position to other departments and programs in the University, and the
    potential to obtain external support for curricular development if such curricular development
    is anticipated by the additional post.

                       4.3.1.1.1 Position Requests
 Position requests shall present a comprehensive analysis that takes into account both the
 qualitative dimensions of the academic programs and the quantitative dimensions related to
 enrollment trends in curricular offerings. Each request for a new or replacement position shall
 address the following items, and a copy of a departmental annual report and goal oriented unit
 plan shall be attached. Both the department chair and dean must address these and below items.
 1. What is the vision in the department for its program and faculty for the coming year? What
    short term and long-term goals does the department have for its own development?
 2. How does the position relate to other positions in the department and to the department‘s
    curriculum and/or professional development agenda? What contribution does the department
    anticipate a new faculty member will make in teaching and in professional development? If
    appropriate to the position, what potential exists for the new faculty member to obtain
    external support? A clear presentation of the size of the faculty in the areas of specialization
    within the school shall be included here.
 3. Are there any anticipated changes, such as retirement, projected in the department over the
    next three years?
 4. What are the departmental recent (past three years), current, and projected enrollments?
    What are teaching and advising needs in this department?
 5. What is the assessment of the quality of teaching, curriculum, and research in the department
    making the request? How will this new person enhance each of those areas?
 6. What explicit plan does the department and school have for providing professional
    development and mentoring in both teaching and professional development for the new
    faculty member?
 7. What are the existing and potential links of this position with other faculty and programs in
    the University? What would be the impact of not filling this position on other departments
    and programs? It would be useful and informative here to include statements from those
    departments whose programs would be affected by a new faculty member.
 8. What special costs and needs will be associated with filling this position? Will filling this
    position entail additional space, library, or computing needs?
 9. What process was used in the school to develop the position request? What consultation
    occurred across disciplines within the school?



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                       4.3.1.1.2 Hiring Procedures
 Following the review established above:
 1. The Vice President of Academic Affairs will notify the Human Resources Office and the
    appropriate dean once approval for a full-time faculty position is obtained from the President.
 2. The dean will then contact the Human Resources Office to place the advertisement. The
    draft of the advertisement is forwarded to the appropriate dean and the Vice President of
    Academic Affairs for review and final approval.
 3. A search committee will be selected by the dean in conjunction with the Department Chair.
    They are to ensure that at least one member of the search committee is from outside the
    school. In cases where the position is at a center, center personnel must be on the search
    committee.
 4. Human Resources will forward full-time faculty candidate résumé packages to the
    appropriate search committee chair along with the approved salary range for the position.
    After phone interviews, the search committee will determine a final group of candidates to be
    considered for on-site interviews.
 5. It is the responsibility of the search committee chair to coordinate with Human Resources to
    make sure that final candidate résumé packages are complete. The résumé packages must
    include the following:
    a. Verbal Offer Request Form;
    b. Résumé;
    c. References;
    d. New Faculty Clearance Form (completed). The Faculty Teaching Clearance Form is
       completed and approved by the appropriate department chair and dean. The Faculty
       Teaching Clearance Form includes the teaching discipline and must include the graduate
       coursework listed on the form along with cleared courses.
    e. Official transcripts;
    f. Authorization for the background investigation;
    g. Values essay.
 6. The search committee will schedule on-site interviews for all final candidates. Interviews
    will be scheduled with the search committee, dean of the school, Vice President of Academic
    Affairs, President, and other appropriate individuals. Candidates must also give at least one
    formal presentation to the committee and, where possible, to students and others invited by
    the committee. During the interview process, all final candidates will be notified that any job
    offer is contingent upon successful completion of the background check. See Volume III,
    Subsection 3.1.1 for additional information.
 7. Upon the completion of on-site interviews, the search committee will submit the final
    recommendation on a Verbal Offer Request Form along with the completed résumé package
    to the Dean for approval/signature. The Dean will then submit the Verbal Offer Request
    Form and completed résumé package to the Vice President of Academic Affairs for approval.

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 8. The Vice President of Academic Affairs will obtain a Human Resources review. Upon
    completion of the Human Resources review, the Vice President of Academic Affairs or
    designee will extend a verbal offer to the final candidate.
 9. Upon acceptance of the verbal offer, a formal offer/confirmation letter will be issued to the
    candidate by the Vice President of Academic Affairs.
 10. The new hire official package (signed offer letter, résumé, official transcripts, and faculty
     clearance form) will be forwarded to the Personnel Coordinator for entry into the Datatel
     faculty module.
 11. The official faculty file will be set up and maintained in the Office of Academic Affairs.

              4.3.2     Department Chairs Appointment Guidelines
 The dean will consult with the faculty in the appointment of department chairs, but the dean will
 not, in any respect, be bound by any recommendation. The dean shall recommend faculty as
 department chairs to the Vice President of Academic Affairs, who has the final authority and
 responsibility to name the Department Chair. Department Chairs are, except in unusual
 circumstances, appointed for three-year terms. Ideally, all members of a department should have
 an opportunity to serve as Department Chair on a rotational basis.
 The chair reports directly to the dean of the respective school. The chair provides the academic
 leadership and supervision for the department and is responsible for all administrative activities
 necessary to its efficient operation. Specific responsibilities are as follows:
 1. Prepare, submit, and supervise annual department budget.
 2. Review and submit all department course schedules after consultation with chair colleagues
    and with dean.
 3. Review and submit all department-related catalog materials.
 4. Assist in the development of marketing and recruiting materials related to the department.
 5. Conduct department meetings as needed.
 6. Mentor and supervise probationary faculty.
 7. Identify and recommend appointment of adjunct faculty in the department at all on- and off-
    campus locations.
 8. Participate in the annual evaluation of faculty within the department, as defined in the
    Faculty Agreement, and of all off-campus faculty.
 9. Monitor and ensure compliance with SACS criteria and other external agency criteria, as
    applicable to the department.
 10. Supervise preparation of curriculum guides and sample syllabi and update yearly on website.
 11. Maintain a course syllabus file for all courses offered in the department.
 12. Review and approve all graduation applications of students in the department.
 13. Ensure that library holdings are appropriate to the needs of students and faculty in the
     department.
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 14. Periodically review all courses taught in the department at all sites (on campus and off
     campus), providing coordination of course offerings across the University.
 15. Coordinate activities of all students interning through the department.
 16. Shepherd any curricular changes through the Saint Leo University process for changing or
     adopting new courses or programs.
 17. Coordinate, develop, conduct, and report annual Institutional Effectiveness Plans (IEPs) and
     outcome evaluation of the department‘s goals and objectives, with input and assistance from
     other department faculty.
 18. Encourage faculty development and improvement of instruction.
 19. Encourage intra-departmental, inter-departmental, and intra-University communication and
     activities.
 20. Work with the University‘s Office of Admissions in the recruitment and retention of FTIC
     and transfer students.
 21. Undertake other reasonable, professional, and academically related duties as requested by the
     dean.
 22. Participate in the hiring of full-time faculty in the department.
 23. Approve faculty teaching clearances.
 Compensation of chairs in terms of course reductions and additional stipends depends upon the
 number of faculty in the department, the number of students taught, and majors and special
 department needs. Compensation is set by the Vice President of Academic Affairs in
 consultation with the dean and chair.

              4.3.3     Orientation Process
 Orientation for new faculty is conducted at the beginning of the fall semester. The program
 focuses on the history and mission of the University and provides an opportunity for touring the
 campus, meeting appropriate administrators, faculty, and staff, and being introduced to
 procedures and policies of the University, including detailed information about promotion and
 tenure policies and procedures.
 Newly hired faculty members at the University receive the following packet of information
 before they begin work as part of the orientation process:
 1. Appointment letter from the President of the University that contains important information
    and instructions, together with a signed copy of the faculty member‘s contract.
 2. I-9 Employment Eligibility Verification Form.
 3. W-4 Tax Form.
 4. Emergency Notification Form.
 5. Background check consent forms and background reports (See Volume III, Subsection
    3.1.1).


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 6. The University may request pre-employment medical testing where necessary or required by
    law.
 No later that the first day of work, the faculty member will meet with Human Resources to
 complete the employment paperwork and to review eligibility for benefits.

         4.4 Faculty Personnel Records
 See Article 5, Section 1 of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document.

         4.5 Annual Review Policies

             4.5.1     Introduction
 Saint Leo University‘s preeminent criterion for faculty is teaching excellence. Indeed, one of the
 conditions of employment at Saint Leo is that each new faculty person is asked to commit to
 constantly work toward that goal.
 In addition, scholarly endeavors and professional development are encouraged and are critical to
 developing excellence in teaching.
 Also, given that community is one of the University‘s core values, emphasis is also placed on
 service to students, to the department, and to the University; however, service may also include
 service to the larger community that enhances the University‘s image in ways consistent with its
 values.
 In turn, Saint Leo regularly evaluates teaching performance, professional development, and
 community service, and ultimately uses those evaluations to determine whether new faculty
 should be retained on a continuing contract and/or promoted.
 The best method of presenting evidence of the faculty member‘s performance in each of the
 three areas to be evaluated is a performance portfolio.

             4.5.2     Formal Annual Review Process
 The formal review process includes the following steps:
 1. In the spring term, but no later than April 30, faculty members must meet personally with
    their respective dean to review drafts of their portfolios and make necessary changes or
    additions as suggested. Prior to that, meetings with the respective department chairs are
    strongly recommended.
 2. On or before May 15, faculty members submit to their dean the final drafts of their portfolios.
 3. During that time, but no later than May 30, the dean and the department chair meet to
    evaluate each faculty member‘s work in the areas of teaching, professional and scholarly
    growth, and institutional and community service. Together they will give the faculty
    member a rating of ―outstanding,‖ ―good,‖ ―needs improvement,‖ or ―unsatisfactory.‖
 4. On or before June 1, the dean will provide an evaluation to the faculty member and will
    forward to the Vice President of Academic Affairs:
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    a. A copy of the faculty member‘s evaluation of those faculty members under review;
    b. A recommendation for re-appointment or termination; and
    c. The faculty members‘ portfolios.

              4.5.3     Contents of the Portfolio
 The portfolio must contain the following items:
 1. The first item that shall go into the portfolio is the faculty member‘s personal evaluation of
    the faculty member‘s own performance as a faculty member in terms of teaching,
    professional, and scholarly growth, and institutional and community service.
    In other words, the very first entry is the faculty member‘s own personal evaluation of the
    faculty member‘s teaching performance. This shall include goals set, and the extent to which
    the faculty member achieved these goals.
    It must also include the faculty member’s own objective assessment of the areas in which the
    faculty member needs to improve, and an itemized list of steps the person intends to take to
    achieve those improvements.
    As documentation, the faculty member shall include an updated copy of the faculty
    member‘s curriculum vitae.
 2. Second, the portfolio shall include narrative describing the faculty member‘s teaching,
    followed by appropriate documentation. The narrative shall include reference to all aspects
    of the faculty member‘s teaching, but the documentation shall be select and limited,
    highlighting key components.
    Documentation shall include copies of student evaluations (a representative sample is
    sufficient); a copy of the department chair‘s in-class evaluation(s) of the faculty member; a
    copy of the dean‘s or center director‘s in-class evaluation(s); and, if the faculty member so
    chooses, a copy of a peer‘s evaluation(s) of the faculty member‘s teaching performance.
    (―Peer‖ is here understood to mean a colleague.)
 3. Third, the portfolio shall include narrative describing all aspects of the faculty member‘s
    professional development and scholarly growth for the current academic year, followed by
    appropriate documentation.
    (For example, if the faculty member presented at a conference, a copy of only the program
    page on which the presentation is listed shall be included. Do not include the entire program.
    If a faculty member published an article in a referred journal, only a copy of the article itself,
    not the entire journal issue, should be included.)
 4. Fourth, the portfolio shall include narrative describing the faculty member‘s community
    service, followed by appropriate documentation.
 5. Finally, a copy of the department chair‘s letter of evaluation and a copy of the dean‘s letter of
    evaluation must be inserted into the portfolio, either right inside the front cover or behind a
    separate tab.


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             4.5.4     Portfolio Format
 The portfolio shall ―look‖ as follows:
 1. Everything shall be placed into a single 3-ring binder, with the faculty member‘s name and
    date of submission on the spine. Remember to keep everything succinct and to the point.
    The faculty member shall not include more than what is absolutely necessary to make the
    faculty member‘s case because doing so could be interpreted as ―padding.‖
 2. Separate each of the four main categories of items with labeled tabs: ―Personal Evaluation,‖
    ―Teaching Performance,‖ ―Professional and Scholarly Development,‖ and ―Community
    Service.‖
 3. The rest of the contents shall follow in the order outlined above under Content (see
    Subsection 4.5.3).

         4.6 Promotion and Tenure Policies

             4.6.1     Promotion and Tenure Review Policies and Procedures
 Faculty members at Saint Leo University are evaluated for promotion in rank and tenure in
 accordance with the policies and procedures outlined in Article 11 of the August 16, 2005 –
 September 26, 2008 Faculty Collective Bargaining Agreement.

                  4.6.1.1   Guidelines for Promotion in Rank and Tenure Applications
 Promotion and tenure decisions at Saint Leo University are made on the basis of documented and
 evaluated performance in three areas: teaching; professional development, research, and
 scholarly growth; and institutional and community service. For teaching faculty, excellence in
 teaching and demonstrated student learning are essential to tenure and promotion. As well,
 either professional development, research, and scholarly growth or institutional and community
 service must be judged excellent for tenure. For library faculty, professional library service
 contributing to the educational function of the University is the primary area of faculty
 performance and of evaluation. For faculty with no teaching assignments, professional
 responsibilities that are directly related to their assignments are the primary area of faculty
 performance. The faculty member who is applying for promotion and tenure has the
 responsibility of presenting an application package that documents the faculty member‘s
 performance in each of the above areas.
 To aid faculty members in developing an application package that provides such evidence in a
 clear, complete, and concise manner, the following guidelines are offered. The guidelines are
 not meant to act as restraints or to make faculty members conform to a strict set of rules as they
 present evidence regarding their contributions to the University. The guidelines are based in part
 on the information provided in an American Association for Higher Education (AAHE)
 publication, copies of which are available in the Office of the Vice President of Academic
 Affairs, in the library, and which can be made available for reference in the Center Director‘s
 offices.
 Application for promotion and tenure should be thought of as a process that begins the day the
 candidate is hired; thus, faculty members must begin, as soon as they join the University, to
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 develop their portfolios (see below). To facilitate this process, new faculty orientations include
 detailed information about promotion and tenure policies and procedures. In addition, new
 faculty will be matched with faculty mentors who are familiar with the promotion and tenure
 guidelines and can make the new faculty members aware of the evidence of performance that
 they should be collecting during each year of their employment with the University. These
 policies apply to all full-time faculty at all locations.

                  4.6.1.2   Application Packages
 1. The application packages, bound in a single 3" wide 3-ring binder, consist of the following:
    a. An up-to-date curriculum vitae.
    b. Letters of recommendation.
    c. A performance portfolio which includes:
        i) A personal statement evaluation of the applicant‘s performance in the areas of
           teaching, professional development, and community service.
        ii) Formal evaluations of teaching, including all student, department chair, and dean
            evaluations, or library service.
        iii)Evidence of performance in each of the following three areas:
            a) Teaching or library service (or other assignments);
            b) Professional and scholarly growth; and
            c) Institutional and community service.
    d. Evaluations by the appropriate dean and chair.
 2. Documentation may not be added after the initial submission of the application package
    except by prior agreement between the applicant and the Chair of the Promotion and Tenure
    Committee or if either of the following conditions exist:
    a. If any member of the committee believes that documentation submitted is inadequate, the
       applicant will be given a written request to supply additional documentation within one
       week.
    b. If any member of the committee does not understand the documentation submitted, the
       applicant will be given a written request to submit additional clarifying materials within
       one week of the request.
 3. Only material pertaining to the faculty member‘s activities since the faculty member‘s last
    promotion (or initial appointment) may be included in the application package, except in
    those cases as stipulated in the Faculty Agreement.
 The committee will review and consider all course and teaching evaluations, the complete
 personnel file, and recommendations of other faculty and staff.




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              4.6.2     Faculty Development Review
 The participating faculty member will create a summary of accomplishments (similar to
 materials compiled for promotion).
 A minimum of two other faculty will observe the participating faculty member‘s teaching and
 provide feedback.
 The participating faculty member will compose a personal narrative or reflection.
 The Dean will review materials (accomplishments and personal narrative) and meet with the
 faculty member to discuss strengths, opportunities for greater contribution, and to develop a plan
 that focuses on development and contribution.

         4.7 Separation Policies
 At times Saint Leo University or individual faculty members may find it necessary to sever their
 contractual relationship. To protect the interests of both parties, categories of separation are here
 defined, and the policies and procedures related to each are set forth.

              4.7.1     Resignation
 Resignation is a severance action by which a faculty member voluntarily seeks to be released
 from an appointment with the University. The effective date of a resignation shall coincide with
 the concluding date of the semester or the academic year, so as to avoid disruption of the work of
 the University, provided that the faculty member gives at least 60 calendar days notice in writing
 to the Vice President of Academic Affairs and the President. Alternatively, an effective date
 may be mutually agreed upon by the faculty member and the President.

              4.7.2     Retirement
 There is no mandatory retirement age for faculty at the University. Some benefits upon
 retirement, however, do have contract and service limits. Individuals who are planning to retire
 are requested to notify the Vice President of Academic Affairs, the Department Chair, and the
 Human Resources Director at least six months prior to the planned retirement date. The Human
 Resources Director will provide the individual with information about employee benefits upon
 retirement.
 See also Article 15, Section 11 of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document for information on Faculty Employment Phase-out for full-
 time, tenure track faculty.

              4.7.3     Expiration of Term/Non-Renewal

                  4.7.3.1   Tenure Track Faculty
 See Article 10, Section 1 of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document.


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             4.7.4     Layoffs
 See Article 10, Section 2(b) of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document for the policy pertaining to represented faculty.

             4.7.5     Dismissal for Cause
 See Article 10, Section 2(a) of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document.

         4.8 Faculty Rights and Responsibilities
 See Article 14 of the August 16, 2005 – September 26, 2008 Faculty Collective Bargaining
 Agreement document.

             4.8.1     Academic Freedom
 See Article 4 of the August 16, 2005 – September 26, 2008 Faculty Collective Bargaining
 Agreement document.

             4.8.2     Outside Employment
 See Article 5, Section 2 of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document.

             4.8.3     Copyright and Patents
 See Article 5, Section 3 of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document.

             4.8.4     Overload Teaching
 See Article 5, Section 4 of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document.

             4.8.5     Professional Relationships
 Saint Leo University‘s educational mission is promoted by professionalism in faculty-student
 and faculty-faculty relationships. Professionalism is fostered by an atmosphere of mutual trust
 and respect.     Actions of faculty and students that harm this atmosphere undermine
 professionalism and hinder fulfillment of Saint Leo University‘s educational mission. Trust and
 respect are diminished when those in position of authority abuse, or appear to abuse, their power.
 Those who abuse their power in such context violate their duty to the Saint Leo University
 community.

             4.8.6     Research Activities Policy
 The following statement of policy on research activities at Saint Leo University is intended to
 conform to the University‘s purpose values and objectives. As such, it emphasizes the need for
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 all research programs to maintain the highest ethical standards of scholarship and research. This
 policy shall be implemented in ways that encourage and guarantee academic freedom.
 At the undergraduate level, effective teaching and advising are the primary goals of the
 University. As graduate programs develop at Saint Leo University, the importance of research in
 these programs will grow. However, opportunities for achievement in creative and scholarly
 areas other than research must continue to be made available to faculty. This must be
 encouraged through support comparable to that given to academic research (i.e., released time,
 funding). Other creative and scholarly activities include the results of innovate work in the fine
 arts, innovative interpretations in the performing arts, theoretical or historical writing, textbook
 production, development of educational tools, and other similar endeavors.

                  4.8.6.1   Administration of Research

                       4.8.6.1.1 Conformity with Institutional Purposes
 Whenever possible, Saint Leo University‘s commitment to teaching and to its social, ethical, and
 spiritual values will be reflected in research activity.
 Institutional purposes are reflected in the University‘s divisional and departmental structure and
 by the degrees offered.
 Research undertaken shall be compatible with this structure, thus encouraging maximum student
 and faculty involvement, interdisciplinary work, teaching enhancement, and positive external
 visibility for Saint Leo University‘s programs based on the dissemination of high quality
 research reports.

                       4.8.6.1.2 Contractual Research Responsibility
 Deans, directors, and chairs will provide guidance support and approval for the design and
 implementation of research projects, whether externally funded or not. It is assumed that staff
 supervision and ongoing project management, as well as the details of research design and
 implementation, will be the responsibility of the appropriate researcher(s).
 Administrative leadership shall include the following:
 1. Dissemination of research opportunities;
 2. Specific workload adjustments for proposal preparation;
 3. Clerical and other support for proposal preparation;
 4. Assertive seeking of resources for faculty to communicate research reports at professional
    and scholarly meetings and through publications; and
 5. Periodic dissemination of information about new, ongoing, and completed research.




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                       4.8.6.1.3 Division of Responsibility between Research and Other
                                  Activities
 For grant and contract research, as well as for institutional University sponsored research, faculty
 research assignments may vary from small portions to full-time. Ideally, however, research
 assignments should allow some continued teaching involvement.
 Whenever faculty members engage in research as individuals (either as pro-bono or paid
 consultants) outside the aegis of the University, it is expected that they will continue to meet
 their University obligations. Faculty will seek authorization from their deans, directors, or chairs
 with respect to external research commitments.

                       4.8.6.1.4 Salary Issues
 Salaries for research projects shall be determined on a case-by-case basis by the Vice President
 of Academic Affairs within the guidelines of normal University practice and requirements of
 granting agencies. Salary supplements during the year will be available if released time from
 teaching cannot be granted and research must be conducted simultaneously. As a practical
 matter, it is suggested in such cases that the teaching be defined as the overload and reimbursed
 at the standard overload rate. Individuals‘ salaries included in grant budgets shall, except in
 unusual circumstances, be equivalent to their existing University salaries.

                  4.8.6.2   Institutional Control
 There is the need to balance:
 1. The individual faculty member‘s freedom to do research with outside funding; and
 2. The University‘s need to fit such research into its overall plans and values (financial, hiring,
    resources).
 The University must not become overly dependent on outside funding for research, but must
 have a continuing financial commitment to the research program. That is, some research funds
 shall be routinely included in the University budget within the limits of available resources.

                       4.8.6.2.1 Primacy of Teaching
 Saint Leo University faculty members are expected to meet all of their obligations, including
 teaching, advising, service to the University and community, and research and its dissemination
 through presentation and publication.
 Research and professional development both funded and unfunded, increases the quality of
 education and the knowledge of the faculty, and neither type of professional development
 activities and research should be considered more important or useful than the other. It should,
 therefore be recognized as an asset when promotions and continuing contracts are being
 considered. However, professional development research shall not supersede teaching
 effectiveness as the single most important criterion for promotions and continuing contracts.




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                       4.8.6.2.2 Expenditure of Research Funds
 Grant funds are supervised by the Office of the Vice President of Academic Affairs of Saint Leo
 University. They shall be disbursed in accordance with existing University policies, practices,
 and customs. These funds shall be made available to the investigator-researcher as quickly and
 as easily as possible.
 The University‘s Business Affairs Office makes budgeting assistance available to researchers
 preparing grant proposals. In administering these funds, care should be taken that the research
 project receive all support for budgetary items submitted in the grant application and for
 reasonable exigencies.
 Other items which might be needed, but which were not budgeted, should be made available
 within the policies, practices and customs of the University, but on an expedited basis. Any
 funds which remain unspent at the conclusion of the project shall be disposed of in accordance
 with the directions of the granting agency.

                  4.8.6.3   Freedom of Investigation
 Freedom of investigation rests upon four understandings:
 1. The University reserves the right to accept only contracts or grants which permit it to
    disclose:
    a. The existence of the grant or contract;
    b. The identity of the sponsor (or prime sponsor of a subcontract); and
    c. The objectives or purpose of the proposed project.
 2. The University will not enter into any contract or grant which explicitly or implicitly
    interferes with the disclosure of independent recommendations or objective conclusions, nor
    which allows any external bias of valid results.
 3. The University will not enter into any contract or grant which specifically prevents the free
    exchange of ideas or prohibits the free publication of results, except as indicated in paragraph
    4 below.
 4. It is recognized that contracts or grants may legitimately vest proprietary rights in products or
    by-products, such as patentable inventions, in the sponsor of the contract or grant, and that
    the investigator may be required to protect these proprietary rights against disclosure. It is
    also recognized that contracts or grants may legitimately require preliminary or interim
    reports which are proprietary communications between the investigator or project director
    and the sponsor.
    a. Moreover, the practice of many funding agencies to require that results and reports be
       submitted to the sponsor for information and review before publication is viewed as
       normal and legitimate.
    b. The provisions stated in paragraphs1 through 3 above may be waived by the President of
       the University after consultation with all appropriate bodies. The President shall inform
       all appropriate bodies of such waivers, except in time of national emergency officially


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        declared by the President or the Congress of the United States, when this policy will be
        rescinded.

                  4.8.6.4   Implementation
 The research policy is implemented as follows:
 1. The Office of Institutional Advancement encourages greater research activity by members of
    the Saint Leo University faculty and professional staff. This office assists the faculty and
    professional staff in identifying programs and grant funds for sponsored research. It also
    coordinates research plans and projects with all proposals routed through this office and
    signed by its director and by the Vice President of Academic Affairs. The office compiles
    current annual reports of research results and disseminates them where appropriate.
 2. When feasible, a University Research and Professional Development Fund administered by
    the appropriate committee provides University funds for some of the projects which are not
    funded by external sources and provides seed money for projects which may be funded later
    by external sources. Initially, research facilities and capital expenditures for research may
    have to be provided by the University. As the research progresses, other sources may be
    found to support it.
 3. The library provides adequate research related resources, such as research books, periodicals,
    and electronic search, and retrieval systems.

             4.8.7     Protection of Human Subjects in Research

                  4.8.7.1   Background
 Scientific and Social Science Research has produced substantial benefits to society through
 expansion of knowledge about the world and application of this knowledge toward improving
 the conditions of life for its inhabitants. It has also posed some troubling ethical questions,
 especially where human beings serve as human subjects in research.
 Human beings comprise a varied and desirable pool of subjects for many types of research. Over
 the years in which research using human subjects has been conducted there have been times
 when the rights of these subjects have been compromised. In addition, there has been concern
 for the physical health, psychological and social well-being, and safety of subjects. As a result,
 rules and regulations have been instituted by governmental agencies and professional societies in
 order to safeguard the rights of humans in research.
 Prior to the 1940‘s, research involving human subjects was conducted without formal guidelines
 to insure adherence to ethical principles. During the Nuremberg Trials following World War II
 experimental atrocities conducted by the Nazi regime were exposed to worldview. These studies
 frequently violated rights of human research subjects, inflicting permanent damage and death on
 selected groups of people. In 1947 the Nuremberg code was developed as a set of standards for
 judging physicians and scientists on trial for conducting biomedical experiments on
 concentration camp prisoners. The World Medical Association set forth moral and scientific
 principles for the conduct of medical research in 1964, the Declaration of Helsinki. These two


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 codes became the prototype for many later professional and governmental codes intended to
 provide standards for the conduct of ethical research.
 Although the Declaration of Helsinki was adopted by many institutions sponsoring clinical
 research, violation of human subjects‘ rights continued to occur (Jewish Chronic Disease
 Hospital Study – 1960‘s; US Public Health Service‘s Tuskegee Syphilis Study - 1932-1972).
 Public outrage was influential in stimulating governmental action to control the performance of
 human research sponsored by the government.
 In 1973, the Department of Health, Education and Welfare published strict regulations requiring
 all research involving human subjects to undergo institutional review. In order to clarify ethical
 issues involved in biomedical and behavioral research involving human subjects, and to establish
 guidelines based on these principles, the National Commission for the Protection of Human
 Subjects of Biomedical and Behavioral Research was formed. In the Belmont Report, 1979, the
 Commission published guidelines for research based on three ethical principles relevant to
 human subjects in research: the principles of respect for persons, beneficence, and justice.
 In response to the Belmont Report, the Department of Health, Education and Welfare
 promulgated a new set of regulations which now serve as basic policy for the protection of
 human subjects in all research activities conducted by the Department as well as research
 conducted by individuals or institutions receiving Departmental funding. These rules and
 regulations are contained in Part 46 of Title 45 of the Code of Federal Regulations (45 CFR 46).
 All changes in the code are published in the Federal Register.
 The Human Subjects Policy of Saint Leo University is based on an appreciation of historical
 antecedents which demonstrate the need for continued vigilance to keep research ethical. The
 need to support the research endeavor in the never-ending quest for knowledge must be guided
 by ethical principles which safeguard human rights.

                      4.8.7.1.1 Introduction
 The intent and mission of Saint Leo University requires the pursuit of exemplary educational
 practices guided by basic ethical principles and Catholic values. The same high moral standards
 which characterize the teaching that is so highly prized within this University must be applied
 also to all research conducted under the auspices of this institution. Accordingly, the philosophy
 of Saint Leo University affirms that such research must conform to the moral, scientific, and
 ethical principles which justify its conduct.
 Research must be conducted by qualified and responsible professionals who assume an ethical
 responsibility for their research. Research shall be preceded by careful assessment of the
 inherent risks in comparison to the foreseeable benefits to the subjects and to others. According
 to documents prepared by the federal government and professional societies, this means that
 participants may not be exposed to risks greater than those normally entailed in day-to-day life,
 without their prior knowledge and consent.
 Exposure to such potential harm, whether physical or psychological, has been termed being ―at
 risk.‖ The research shall not be carried out unless the importance of the research project is in
 proportion to any inherent risks to the subjects. Professional care and concern for the individual
 must be hallmarks of any research project before the findings can be considered by the scientific
 community. This means that extreme caution must be exercised when research is performed in
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 which the personality, beliefs, or values of the subjects are vulnerable to alteration or
 manipulation. This also means that full and fair disclosure will be provided to subjects or their
 legal guardians of all known and hypothesized risks and the probability of their occurring, if that
 probability is known. Subjects or their legal guardians must give informed consent to participate
 in research, and they must be free to withdraw from such participation at any time without
 adverse consequences.
 Any research involving human subjects which is conducted under the auspices of Saint Leo
 University must meet the requirements of Saint Leo University for the protection of human
 subjects. In some instances, compliance with the human subjects policies of the federal
 government and other agencies may be required. Accepting funds or utilizing subjects and/or
 other resources from an outside agency obligates the researcher to abide by the policies of that
 agency in addition to those of Saint Leo University. This includes human subjects protocols.
 The purpose of the policy described in this document is to protect the rights of the persons who
 serve as subjects in behavioral research. It is based on the ethical principles embodied in the
 Belmont Report, (on reserve at the Cannon Memorial Library), and accords with the
 requirements of the USA Department of Health and Human Services (on reserve at the Cannon
 Memorial Library). It establishes the administrative structure and operational procedures for
 review of research protocols and record keeping.
 Although the primary concern of the Human Subjects Policy described in this document is to
 protect human rights, there is sensitivity to the problems faced by researchers. Though the
 policy and review system may sometimes appear cumbersome, the efforts to articulate and
 enforce standards are worthwhile because they not only protect the rights of the individual, but
 maintains public acceptance of researchers‘ endeavors.

                       4.8.7.1.2 Ethical Principles
 The philosophy of Saint Leo University, as a Catholic institution, is grounded in Judeo-Christian
 traditions. Respect for these traditions provides a foundation for the Human Subjects Policy. In
 addition, three basic ethical principles are particularly relevant to the ethics of research involving
 human subjects. These are the principles of respect for persons, beneficence, and justice
 (Belmont Report, 1979). Based on these principles, four basic rights have been formulated
 which comprise the guidelines for the protection of research subjects. These rights include the
 right not to be harmed, either physically, mentally, emotionally, legally, financially, or socially;
 the right to full disclosure; the right of self determination without constraint, coercion, or undue
 influence; and the right to privacy, anonymity, and confidentiality (Wilson, 1985). Assurance
 that these rights have been safeguarded is reflected in the contents of an appropriate consent
 form that will be developed for each individual project (that is non-exempt according to 45 CFR
 46.101.b).

                   4.8.7.2   Definitions
 1. Anonymity: Anonymity is the protection of the participant in a study such that even the
    researcher cannot link the participant with the information provided.



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 2. Assurance: Assurance is a written document which states compliance with the requirements
    set forth in specific rules and regulations generated by the Department of Health and Human
    Services or other organizations for the conducting of research.
 3. Blanket Consent: Blanket Consent is a statement that covers multiple research studies and is
    issued when the subjects are in a setting where experimentation is the rule rather than the
    exception (i.e., laboratory school)
 4. Confidentiality: Confidentiality is the protection of participants in a study such that their
    individual identities will not be linked to the information they provided and publicly
    divulged.
 5. Debriefing: Debriefing refers to informing the subjects about the nature of the deception in
    the experimental session of which they were a part. This occurs immediately after the
    session. The researcher communicates the nature of the deception, the rationale for it, and
    opportunity to discuss the research and the subjects‘ feelings.
 6. Deception of Subjects: Deception of subjects refers to research which is conducted without
    the subjects‘ full knowledge of what the research entails or research which is described as
    something other than what it really is. Such research may or may not place the subjects at
    risk.
 7. Exempt Research: Exempt research refers to categories exempted from IRB review and
    informed consent requirements by 45 CFR 46.101.b. Such research includes several forms of
    educational research; anonymous or non-sensitive social survey research, observational
    research, and archival research; study of public records; study of programs under the Social
    Security Act or other public benefits or service programs.
 8. Human Subject: Human subject means a living individual about whom an investigator
    (whether professional or student) conducting research obtains:
    a. Data through intervention or interaction with the individual; or
    b. Identifiable private information.
 9. Informed Consent: Informed consent refers to the subject‘s agreeing to a written statement of
    what the subject‘s role in the research is, expected benefits to subjects and society, and
    including a full and fair disclosure of the events to which a subject will be exposed and any
    known, probable, or possible inherent risks. Nothing contained in the statement may be
    deceptive. The subject‘s participation is voluntary and the subject has the right to withdraw
    from the experiment at any time.
 10. Intervention: Intervention includes both physical procedures by which data are gathered (for
     example, venipuncture) and manipulations of the subject or the subject‘s environment that
     are performed for research purposes.
 11. Interaction: Interaction includes communication or interpersonal contact between investigator
     and subject.
 12. Minimal Risk: Minimal risk means that risks of harm anticipated in the proposed research:
    a. Involve consequences that are not of great and devastating magnitude (such as death, life-
       threatening illness, suicide, etc.); and,

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    b. Considering probability, are not greater than those ordinarily encountered in daily life or
       during the performance of routine physical or psychological examinations or tests.
     Regardless of the probability of occurrence, and even if that probability is remote,
     consequences of great and potentially devastating magnitude rule out the possibility that risk
     is minimal.
 13. Participation of Minors: Participation of minors refers to the subjects in a research study who
     are under the age of eighteen. Written consent of parents or guardians is required. The
     minor‘s assent to participate shall also be obtained for minors between the ages of seven and
     eighteen.
 14. Private Information: Private information includes information about behavior that occurs in a
     context in which an individual can reasonably expect that no observation or recording is
     taking place, and information which has been provided for specific purposes by an individual
     and which the individual can reasonably expect will not be made public (i.e. a medical
     record). Private information must be individually identifiable (i.e. the identity of the subject
     is or may readily be ascertained by the investigator or associated with the information) in
     order for the obtaining of this information to constitute research involving human subjects.
 15. Research: Research means a systematic investigation designed to develop or contribute to
     generalizable knowledge. Activities in demonstration and service programs which meet this
     definition constitute research.
 16. Risk: Risk refers to exposure which may be potentially harmful, either physically or
     psychologically, to the subject.
 17. Voluntary Participation: Voluntary Participation refers to a subject‘s participation in the
     research by choice after a full and fair disclosure of all potential risks and the subject‘s
     acknowledgment that the nature and quality of those risks are understood and appreciated.
     This includes the option for the subject to withdraw from the study at any point in time.
 18. Vulnerable Subjects: Vulnerable subjects are categories of subjects such as children, fetuses,
     the mentally disabled, the elderly, captives, the sedated, and the unconscious who may not be
     able to evaluate the risks of participating in a study by virtue of diminished capacity to give
     free and informed consent.

                  4.8.7.3   University Policy and Statement of Compliance

                       4.8.7.3.1 The Institution
 Saint Leo University, hereinafter referred to as ―Institution,‖ accepts responsibility for protection
 of the rights and welfare of human research subjects of all research at this institution involving
 human subjects. Research activities covered by this policy include the following:
 1. The research that is sponsored by this institution, or research that is conducted by or under
    the direction of any employee or agent of this institution in connection with the individual‘s
    institutional responsibilities, or in which the employee or agent has authorization to list this
    institution as the individual‘s university affiliation; or
 2. Research that is conducted by or under the direction of any employee or agent of this

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    institution using any property or facility of this institution; or
 3. Research that involves the use of this institution‘s non-public information to identify or
    contact human research subjects or prospective subjects.
 4. Excepted from this policy is research specified as exempt for 45 CFR 46.101.b and/or
    research conducted by students as exercises in courses designed to teach research
    methodology, provided that the research is not to be disseminated beyond that class, external
    funding is not involved, and the appropriate School or Department ensures human subject
    protection through its own internal review processes and informed consent procedures
    consistent with 45 CFR 46.
 The institution will comply with the U.S. Department of Health and Human Services regulations
 on Protection of Human Subjects set forth in 45 CFR 46 when participating in projects and
 activities supported directly or indirectly by grants, contracts or awards for research,
 development and related activities, from the Department of Health and Human Services.
 This institution will establish and maintain an institutional review board (IRB) competent to
 review projects and activities that involve human subjects regardless of the source of funding.
 The IRB will be assigned responsibility to determine for each project and activity as planned and
 conducted whether:
 1. The rights and welfare of subjects are adequately protected and risks minimized, consistent
    with 45 CFR 46 and the Belmont Report;
 2. The risks to the subject are so outweighed by the sum of the benefit to the subject and the
    importance of the knowledge to be gained as to warrant a decision to allow the subject to
    accept these risks;
 3. Legally effective informed consent will be obtained and documented by adequate and
    appropriate methods in accordance with the regulations of the Department of Health and
    Human Services (45 CFR 46.116 and 46.117);
 4. The conduct of the activity will be reviewed at timely intervals, but at least annually after
    initial approval.
 The institution will provide for committee reviews to be conducted objectively and in a manner
 to ensure the exercise of independent judgment of the members. Members will be excluded from
 review of projects or activities in which they have an active role or a conflict of interest.
 The institution will encourage continuing constructive communication between the committee
 and the project directors as a means of safeguarding the rights and welfare of subjects.
 The institution acknowledges that it will bear full responsibility for the proper performance of all
 work and services including the use of human subjects under any grant or contract covered by
 this policy, including continuing compliance with pertinent state or local laws, particularly those
 concerned with informed consent.
 The institution will also provide whatever professional attention or facilities are required to
 safeguard the rights and welfare of human subjects involved in research.
 The institution will provide each individual at the institution conducting or reviewing human
 subject research (i.e., the principal investigators, department head, research administrators, IRB
 members) with a copy of this institutional assurance of compliance and copies of any future
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 modification which may be made to this assurance, with the exception of changes in IRB
 membership.
 The institution will maintain appropriate and informative records of committee review of
 applications and active projects of documentation of informed consent, and other documentation
 that may pertain to the selection, participation and protection of subjects, and to reviews of
 circumstances that adversely affect the rights or welfare of individual subjects.
 The institution will at least annually assure through appropriate administrative overview that the
 practices and procedures designed for the protection of the rights and welfare of subjects are
 being effectively applied in research under the institution‘s purview and are consistent with the
 policies of the Department of Health and Human Services of the U.S. Government.

                       4.8.7.3.2 The Institutional Review Board
 All applicable research will be reviewed by an Institutional Review Board (IRB) to insure human
 subject protection.
 The IRB has the responsibility and authority to review, approve, disapprove, or require changes
 as appropriate in research activities involving human subjects.
 When research covered by this policy is conducted at or in cooperation with another entity, all
 research policies of this institution remain in effect. This institution may accept the review of an
 IRB established at another entity in compliance with provisions of 45 CFR 46. Such acceptance
 must be in writing, approved, and signed (by the Vice President of Academic Affairs or
 designee) of this institution, and approved and signed by correlative officials of the other
 cooperating institution(s).

                       4.8.7.3.3 Human Subjects in Research
 The involvement of human subjects in research covered by this policy will not be permitted
 unless:
 1. The research falls in a category specifically exempted by 45 CFR 46.101; or
 2. The IRB has reviewed and approved the research protocol; or
 3. An expedited review procedure has been followed in lieu of full committee review (see 45
    CFR 46.110 and the University‘s adaptation of that guideline in this document.
 If informed consent is required in accordance with 45 CFR 46.116, no research investigator shall
 involve any human being as a subject in research without obtaining legally effective informed
 consent of the subject or the subjects‘ legally authorized representative. This consent shall be
 augmented, as the research progresses, if new risks are determined.
 1. The institution will also comply with the policies set forth in 45 CFR 46, subpart B, which
    prescribe additional protections to research, development, and related activities involving
    fetuses, pregnant women, and in vitro fertilization of human ova.
 2. The institution will comply with the policies set forth in 45 CFR 46, subpart C, which
    provide additional protections for prisoners involved in research.


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 The institution will assume additional safeguards in research involving children (45 CFR 46,
 subpart D) and other groups determined by the IRB to be vulnerable.

         4.9 Professional Development Policies

             4.9.1     Professional Development Fund
 See Article 12, Section 1 of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document.

             4.9.2     Reassigned Time
 See Article 12, Section 3 of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document.

             4.9.3     Sabbatical Leave
 See Article 12, Section 2 of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document.

             4.9.4     Professional Dues and Meetings
 All faculty members are encouraged to join appropriate learned and professional societies, to
 attend their meetings, and to participate in their activities. Requests for absence to attend
 meetings or conventions shall be presented to the Department Chair. If such meetings interfere
 with classes or other University duties, faculty are expected to make satisfactory provision to
 take care of the classes or other duties.

         4.10 Faculty Work Load and Working Conditions Policies

             4.10.1    Instructional Work Load
 Full-time, non-Center based faculty shall adhere to the work load policies outlined in Article 14,
 Section 3 of the August 16, 2005 – September 26, 2008 Faculty Collective Bargaining
 Agreement document.
 Full-time Center based faculty teach 9 or 10 courses per year as designated by contract and
 conduct ten office hours per week, six of which must be scheduled. Center based faculty may
 conduct office hours live or via Internet. In addition, 3 courses per year may be taught as an
 overload for a total of no more than 12 courses per year without the explicit written permission
 from the appropriate School Dean.
 The adjunct and annual contract faculty (15-16 week) load is 10 courses per year maximum. No
 more than 4 courses may be taught by an adjunct in any semester.
 The adjunct and annual contract faculty (8 week, 6 term) load is 10 courses per year maximum
 with no more than 2 courses taught in any term.


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 Full-time faculty with an academic advising appointment teach 5 courses per year as a regularly
 scheduled part of their duties and may teach up to 5 courses per year on an overload basis. These
 faculty members must maintain up to a maximum of twenty-five office hours per week as
 scheduled by their Center Director.
 Full-time staff without a visiting faculty appointment may teach a maximum of 6 courses per
 year, but no more than one per term/semester/session.
 Any exceptions to this policy must be recommended by the appropriate Department Chair to the
 Academic Dean responsible for the faculty member‘s teaching area. All exceptions must be
 approved by the Vice President for Academic Affairs.

             4.10.2    Non-Instructional Work Load Duties
 See Article 14 of the August 16, 2005 – September 26, 2008 Faculty Collective Bargaining
 Agreement document.

                  4.10.2.1 Advising/Office Hours
 See Article 14, Section 6 of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document.

                  4.10.2.2 University Functions
 See Article 14, Section 7 of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document.

             4.10.3    Classroom Instruction and Related Responsibilities
 See Article 14, Section 2 of the August 16, 2005 – September 26, 2008 Faculty Collective
 Bargaining Agreement document.

             4.10.4    Political Activity
 Faculty members, as citizens, are free to engage in political activities. Any member of the
 faculty who wishes to engage in direct political activity which will involve a substantial amount
 of time away from the performance of Saint Leo University responsibilities (e.g., holding or
 running for political office, managing a campaign, directing group action on behalf of a political
 candidate or issue) is expected to work out a mutual agreement for leave of absence with the
 Vice President of Academic Affairs before undertaking such activity. The terms of such leave of
 absence will be set forth in writing.

             4.10.5    Plagiarism
 Plagiarism is not limited to the academic community, but the taking over of the ideas, methods or
 written words of another individual, including those of students, without acknowledgment and
 with the intention that they be taken as the work of the deceiver is not unknown at institutions of
 higher learning. Plagiarizing the work of another, particularly the work of one‘s students, is the

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 antithesis of the honest labor that characterizes true scholarship and without which mutual trust
 and respect among scholars is impossible.
 Accordingly, every faculty member should scrupulously recognize all intellectual debts owed, be
 they in the form of ideas, methods or expressions, by means of an appropriate form of
 communication and acknowledgment. Any discovery of suspected plagiarism should be reported
 to the appropriate Department Chair who will bring the matter to the attention of the affected
 parties, the Vice President of Academic Affairs, and, as appropriate, to the community at large –
 typically through reviews in or communications to relevant scholarly journals.
 Scholars must make clear the respective contributions of colleagues on a collaborative project,
 and professors who have the guidance of students as their responsibility must exercise the
 greatest care not to appropriate a student‘s ideas, research, or presentation to the professor‘s
 benefit; to do so is to abuse power and trust.

         4.11 Faculty Compensation and Benefit Policies

             4.11.1    Faculty Compensation
 See Article 13 of the August 16, 2005 – September 26, 2008 Faculty Collective Bargaining
 Agreement document.

             4.11.2    Faculty Benefit Policies
 See Article 15 of the August 16, 2005 – September 26, 2008 Faculty Collective Bargaining
 Agreement document.

     1.8 Faculty Grievance Policy
 See Article 8 of the August 16, 2005 – September 26, 2008 Faculty Collective Bargaining
 Agreement document for the policy applicable to represented faculty.




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                                           Volume IV-A
                             Faculty Collective Bargaining Agreement



 4A.0     Faculty Collective Bargaining Agreement

     4A.1     Preamble
 This Agreement is entered into by and between Saint Leo University Incorporated, the
 Employer, and the United Faculty of Saint Leo University, United Faculty of Florida, hereinafter
 referred to as UFSLU, which had been defined as the appropriate unit in Certification of
 Representative issued by the National Labor Relations Board in Case No. 12-RC-4999 on May
 26, 1976, affiliated with the National Education Association, Florida Education Association,
 American Federation of Teachers, American Federation of Labor and Congress of Industrial
 Organization. This Agreement is applicable only to ―Faculty‖ at the Saint Leo University
 Campus in Saint Leo, Florida.
 The Agreement is entered into with the acceptance of the Mission of Saint Leo University. The
 Mission Statement is:
 ―Saint Leo University is a Catholic, liberal arts-based university serving people of all faiths.
 Rooted in the 1,500-year-old Benedictine tradition, the University seeks balanced growth in
 mind, body and spirit for all members of its community. On its home campus and many regional
 continuing education centers, Saint Leo University offers a practical, effective model for life and
 leadership in a challenging world, a model based on a steadfast moral consciousness that
 recognized the dignity, value and gifts of all people.‖
 To accomplish its mission, the University community creates a student-centered environment in
 which love of learning is of prime importance. Members of the community are expected to
 examine and express their own values, listen respectfully to and respond to the opinions of
 others, serve the community in which they live, welcome others into their lives and care for all of
 God‘s creations.



     4A.1.1          Articles

          4A.1.1.1       ARTICLE I – RECOGNITION

                     4A.1.1.1.1    Section 1. Faculty Contract Negotiations
 For the purposes of this agreement, the Employer, Saint Leo University, Incorporated, recognizes
 UFSLU as the bargaining agent for the purpose of collective bargaining with respect to wages,
 rates of pay, hours, and other terms and conditions of employment for only Faculty employees
 actually located at The Saint Leo University Campus in Saint Leo, Florida. Those included in
 the bargaining unit are:


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        All full time Faculty members employed by Saint Leo University at Saint Leo, Florida,
        only, including Faculty Librarians; but excluding Visiting Faculty members, part-time
        Faculty members, School Nurse, Director of Physical Education and Athletics, Graduate
        Program Directors, Director of Library Services and other Directors, Faculty Department
        Chairs, Academic Deans and all other employees, guards, managers, and supervisors.
 Inasmuch as Florida is a right-to-work state, any Faculty member shall have the right to join or
 assist UFSLU, or engage in other concerted activities or other mutual aid or protection, or shall
 have the right to refrain from any or all of such activities.

                     4A.1.1.1.2    Section 2. Meetings
 It is understood that nothing contained in this Agreement shall be construed to prevent the Board
 of Trustees of the University or any member thereof or any official of the University
 Administration from meeting with any individual or organization to hear views on any matters;
 provided, however, that in the event of such meeting taking place that no agreement may be
 made without negotiating with UFSLU where such meeting is contrary to this Agreement or is a
 proper subject of collective bargaining.

          4A.1.1.2       ARTICLE 2 – DEFINITIONS

                     4A.1.1.2.1    Section 1. University
 The term ―University‖ as used in this Agreement shall mean Saint Leo University, Incorporated,
 governed by its Board of Trustees, or the University‘s duly authorized representative.

                     4A.1.1.2.2    Section 2. UFSLU
 The term ―UFSLU‖ as used in this Agreement shall mean the United Faculty of Saint Leo
 University, United Faculty of Florida, affiliated with the National Education Association, Florida
 Education Association, American Federation of Teachers, American Federation of Labor and
 Congress of Industrial Organization or its duly authorized representative.

                     4A.1.1.2.3    Section 3. Faculty
 The term ―Faculty‖ as used in this Agreement shall mean all full time Faculty members
 employed by Saint Leo University at Saint Leo, Florida, only, including Faculty Librarians; but
 excluding Visiting Faculty members, part-time Faculty members, School Nurse, Director of
 Physical Education and Athletics, Graduate Program Directors, Director of Library Services and
 other Directors, Faculty Department Chairs, Academic Deans and all other employees, guards,
 managers, and supervisors.

                     4A.1.1.2.4    Section 4. Visiting Faculty
 ―Visiting Faculty‖ as used in this agreement shall mean a person hired in order to replace a
 Faculty member on leave or to add a specialty to the academic program for no more than five
 years.


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                  4A.1.1.2.5    Section 5. Department Chair
 The term ―Department Chair‖ as used in this Agreement shall mean a Faculty member who has
 accepted Academic Administrative duties in exchange for course reduction as determined
 appropriate by the Vice President of Academic Affairs (VPAA) in consultation with the dean and
 the chair. The Department Chair is responsible for the management and supervision of an
 academic department(s) within the University. See Article 5, Section 5 for status of bargaining
 unit Faculty serving as Chair.

                  4A.1.1.2.6    Section 6. Graduate Program Director
 ―Graduate Program Directors‖ as used in this Agreement shall mean an Academic
 Administrative appointment, responsible for the management and supervision of graduate
 programs of the University.

                  4A.1.1.2.7    Section 7. Director of Library Services and other Directors
 The term ―Director of Library Services‖ as used in this Agreement shall mean an administrator
 appointed by the Vice President for Academic Affairs (VPAA) and approved by the President, to
 manage the Library. Other academic program directors shall include those appointed by the
 VPAA and approved by the President.

                  4A.1.1.2.8    Section 8. Academic Dean
 The term ―Academic Dean‖ as used in this Agreement shall mean an Academic Administrative
 appointment, appointed by the VPAA and approved by the President, to manage an academic
 school within the University.

                  4A.1.1.2.9    Section 9. Vice President of Academic Affairs
 The term ―Vice President of Academic Affairs‖ as used in this Agreement shall mean an
 administrator appointed by the President to manage the academic program of the University.

                  4A.1.1.2.10 Section 10. President
 The term ―President‖ as used in this Agreement shall mean the chief executive officer of Saint
 Leo University.

                  4A.1.1.2.11 Section 11. Board
 The term ―Board‖ as used in this Agreement shall mean the full Board of Trustees of Saint Leo
 University or its duly authorized representative.




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          4A.1.1.3       ARTICLE 3 – UNION RIGHTS AND RESPONSIBILITIES

                     4A.1.1.3.1    Section 1. Board of Trustee
 Along with the President and the Board of Trustees, UFSLU, a major Saint Leo stakeholder
 agrees with the goal of promoting a one-university culture.

                     4A.1.1.3.2    Section 2. Bulletin Boards
 UFSLU may post official notices relating to UFSLU activities in the Faculty mailrooms. The
 boards shall be purchased and maintained by UFSLU.

                     4A.1.1.3.3    Section 3. Communication with Members
 UFSLU shall have the right to communicate with members of the bargaining unit by use of the
 University‘s established mail system(s). Officers of UFSLU -- President, Vice President,
 Secretary, Treasurer, and Grievance Officers -- may use University copying facilities as available
 during normal University business hours and shall pay the standard rate.

          4A.1.1.4       ARTICLE 4 – ACADEMIC FREEDOM

                     4A.1.1.4.1    Section 1. General Statement
 Saint Leo University Incorporated is a Catholic institution that recognizes the teachings of the
 Roman Catholic Church as morally binding. While the University does not require that members
 of the Faculty practice or profess the Catholic faith, nor accept the teachings of the Roman
 Catholic Church as personally binding, the University does require that all Faculty members
 recognize, understand, and support the institution‘s mission, which is established through Roman
 Catholic Doctrine.
 Saint Leo University stands committed to the American Association of University Professors
 (AAUP) principles articulated in the 1940 AAUP statement and in more recent adoptions of
 AAUP policy and has endorsed the guidelines of the AAUP on this subject.
 College and university teachers are citizens, members of a learned profession, and officers of an
 educational institution. When they speak or write as citizens, they should be free from
 institutional censorship or discipline, but their special position in the community imposes special
 obligations. As scholars and educational officers, they should remember that the public may
 judge their profession and their institution by their utterances. Hence they should at all times be
 accurate, should exercise appropriate restraint, should show respect for the opinions of others,
 and should make every effort to indicate that they are not speaking for the institution.

                     4A.1.1.4.2    Section 2. Teaching
 Teachers are entitled to freedom in the classroom in discussing their subject, but they should be
 careful not to introduce into their teaching controversial material that has no relation to their
 subject. The distinction between education and advocacy is instructive in this regard. It is
 appropriate for Faculty to engage in discussions of controversial matters that are relevant to their

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 disciplines while engaging in the education of students. It is not appropriate in the classroom to
 serve as advocates for positions that are contrary to the teachings of the Catholic Church outside
 of their disciplinary and educational boundaries. This article will not be construed as limiting the
 Faculty member‘s right to determine what materials are relevant to the objectives of a course.
 The University supports the full freedom of all Faculty to teach in the classroom. The faculty is
 subject to the strictures associated with usual academic custom, usage, and case law as well as to
 those requirements specified in the University‘s curriculum guides. Such freedom customarily
 includes the right to select those materials and teaching methods consistent with the relevant
 curriculum guides approved by departmental Faculty and Deans, and provided by the University.

                     4A.1.1.4.3    Section 3. Research and Publication
 All Faculty members are entitled to full freedom to conduct professional or scientific research.
 Teachers are entitled to full freedom in research and in the publication of the results, subject to
 the adequate performance of their other academic duties; but research for pecuniary return
 should be based upon an understanding with the authorities of the institution.

          4A.1.1.5       ARTICLE 5 – FACULTY RIGHTS

                     4A.1.1.5.1    Section 1. Personnel Records
 The University will maintain two official sets of personnel records for full-time Faculty.
 Personnel records are maintained in two locations to meet both SACS and legal regulations. The
 record maintained in the Human Resources Office contains some privileged materials that are
 not maintained in the Academic Affairs Office. The record in the Academic Affairs Office
 contains all materials relating to the Faculty members‘ teaching and professional duties including
 all evaluations of those professional activities. Students are not given access to the faculty
 records at any time. Personnel records are maintained by or can be accessed by only the
 following University personnel:
     Human Resources Record: Director of Human Resources, Payroll Manager, Recruitment
     Coordinator, Benefits Coordinator, Assistant Payroll Clerk, Director of Academic Support
     Services, Human Resources Secretary/Coordinator or University legal representatives.
     Academic Affairs Record: VPAA, Deans, Department Chairs, Executive Assistant to the
     VPAA, Director of Academic Support Services, Continuing Education Senior Coordinator,
     Continuing Education Personnel Coordinator, Continuing Education Assistant Personnel
     Coordinator, Director of Human Resources.
 The files in each location will contain the following documentation:
     Academic Affairs: Official faculty academic personnel file that will include current vita,
     official transcripts, teaching/faculty evaluations and annual appointment letters.
     Human Resources: Official university personnel file that will include, but not limited to, a
     copy of the employee‘s vita, a copy of official transcripts, annual appointment letters,
     overload teaching contracts, benefit enrollment applications forms, change forms and all
     other documentation pertaining to personnel related issues and correspondence.

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 Upon written request, Faculty members may review and copy at the standard rate any material in
 their official personnel file. This review shall take place in the presence of a designated
 University official during regular business hours and normally within two workdays of the
 request.
 Faculty members shall be provided a copy of any evaluative material at the time it is placed in
 their official personnel files. Such documents shall be marked ―cc: Personnel File.‖ Faculty
 members shall have thirty (30) working days from the time they become aware of such material
 to place a rebuttal of such material in their personnel files, if they so desire.
 No evaluation material may be used in any action against any Faculty members subject to this
 Agreement, unless the material has been made available to the affected Faculty member at least
 ten (10) working days prior to said action, except in cases where a delay would endanger self or
 others or would violate the law or provisions of the faculty Agreement.

                   4A.1.1.5.2    Section 2. Outside Employment
 The UFSLU faculty contract obligates the Faculty member to devote his or her professional
 energies to meeting faculty responsibilities described in this agreement.
 During the contract period, a Faculty member wishing to engage in any outside employment
 may, at their own discretion teach up to three academic-credits per semester for another
 institution.
 A Faculty member wishing to teach two courses per semester, to work between eleven (11) and
 twenty (20) hours per week for another institution or firm, or to teach one course per semester
 and work up to ten (10) hours per week for another institution or firm, will provide the Dean of
 their school in writing, with the non-financial details of the employment. Normally, such a
 request must be made no less than one month before the proposed date the external employment
 will commence and no less than two week prior to the beginning of an academic semester. The
 Dean, after consulting with the appropriate Department Chair, will grant or refuse approval for
 the employment in writing prior to the start of the semester. In either case, a response normally
 shall be mailed within ten (10) business days of the date of the receipt of the request. If the
 request is refused, the reasons for the refusal must be given.
 A Faculty member wishing to engage in outside employment that exceeds any of the provisions
 specified in the previous paragraph will provide the VPAA, in writing, with the non-financial
 details of the employment. Normally, such a request must be made no less than one month
 before the proposed date the external employment will commence and no less than one week
 prior to the beginning of an academic semester. The VPAA, after consulting with the
 appropriate Department Chair and Dean, will grant or refuse approval for the employment in
 writing prior to the start of the semester. In either case, a response normally shall be mailed
 within ten (10) business days of the date of the receipt of the request. If the request is refused,
 the reasons for the refusal must be given.
 Approvals will be for a specified set time period not to exceed one year. Renewal of the
 approval will require a written reapplication by the Faculty member and review by the Dean or
 the VPAA.


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 As a courtesy, during the non-contract period, Faculty pursuing summer teaching assignments
 with other institutions should always disclose their planned activities with their Dean and
 Department Chair.

                     4A.1.1.5.3    Section 3. Copyrights and Patents
 Within the tradition of academic freedom as promulgated in the AAUP‘s 1940 Statement of
 Principles on Academic Freedom and Tenure, as revised ―…it is the prevailing academic practice
 to treat the faculty member as the copyright owners of works that are created independently and
 at the faculty member‘s own initiative for traditional academic purposes. Examples include class
 notes, syllabi, books and articles, works of fiction and nonfiction, poems and dramatic works,
 musical…works, pictorial, graphic and sculptural works, and educational software, commonly
 known as ―courseware.‖ Faculty are free to enter into contractual agreements with the
 administration in which faculty may sell some or all of their intellectual property rights in a
 given work.

                     4A.1.1.5.4    Section 4. Overload Teaching
 The University shall give preference in hiring to full-time Faculty members who wish to teach
 for COL, Distance Learning or the School of Continuing Education as an overload. Information
 regarding upcoming class schedules will be made available on the University‘s website. No
 more than one overload per semester is allowed, unless approved by the appropriate Dean, whose
 decision not to approve can be appealed to the VPAA. Overloads of three or more per semester
 may only be approved by the VPAA.

                     4A.1.1.5.5    Section 5. Status while Serving as Department Chair or
                                   Graduate Department Director
 A Faculty member who chooses to accept Administrative duties as a Chair or Graduate
 Department Director shall for that period as Chair or Graduate Department Director retain all the
 rights, privileges, and benefits of their academic rank as contained in this agreement. Further
 they shall also be protected and governed by all other terms and conditions of this agreement
 except as limited in Article 16 of this agreement. Serving as Chair shall be at the pleasure of the
 University. The Department Chair may not be terminated from the faculty except as provided in
 this agreement. When relieved of administrative duties, the incumbent shall continue in his/her
 faculty position.

          4A.1.1.6       ARTICLE 6 – NON-DISCRIMINATION AND DISABILITIES
 The University and UFSLU recognize their responsibilities under federal, state, and local laws
 relating to fair employment practices and the principles involved in the area of civil rights. They
 hereby reaffirm their joint commitment not to discriminate because of race, color, religion, sex,
 national origin, age, disabilities, creed and any other protected classes provided by federal, state
 or local laws. For resolution of needed assistance or possible violations, including sexual
 harassment, grievance processes available to University employees will apply, in lieu of the
 grievance procedure outlined in this Agreement.


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          4A.1.1.7       ARTICLE 7 – NO STRIKE
 UFSLU and the University subscribe to the principle that any and all differences shall be
 resolved by peaceful and appropriate means without interruption of the University academic
 program. The University and UFSLU further agree that disputes which may arise between them
 shall be settled without resort to strike or lockout. UFSLU, therefore, agrees that it shall not
 instigate and will actively discourage any work stoppage, strike, or suspension of work during
 the term of this Agreement. Any violation of this clause invalidates the terms of the Agreement,
 which shall terminate immediately upon any such violation.

          4A.1.1.8       ARTICLE 8 – GRIEVANCE PROCEDURES

                     4A.1.1.8.1    Section 1. Definition
 The University and UFSLU agree that they shall use their best efforts to encourage the informal
 and prompt settlement of all grievances, which may arise out of the interpretation of this
 agreement. However, it is understood that nothing in this Agreement shall deny an individual
 Faculty members or a group of Faculty members the right to present an informal grievance
 individually or as a group to the University and have such informal grievances resolved without
 the intervention of UFSLU, so long as the resolution is consistent with the terms of this
 Agreement. UFSLU shall be given the opportunity to be present at any proceedings pertaining to
 the resolution of such informal grievances.
 A grievance is defined as a formal allegation by either a bargaining unit Faculty member, a
 group of Faculty members, or the UFSLU individually or on behalf of its members (herein after
 known as the grievant) that there is a dispute or disagreement with the University over the
 interpretation, application, performance, or terms of this Agreement. No other matters shall be
 subject to the grievance procedure here in described.

                     4A.1.1.8.2    Section 2. Procedure

                         4A.1.1.8.2.1      Step One
 Within ten (10) working days of the date the grievant becomes aware that he or she has been
 aggrieved, shall request in writing an informal meeting with the appropriate Department Chair,
 or Academic Director, and the appropriate Academic Dean to present the grievance. The
 Academic Dean shall schedule a meeting within ten (10) working days of such a request to
 discuss the grievance with the grievant(s). The Academic Dean shall notify the Human
 Resources Officer of the University and UFSLU President of the request for a meeting and the
 scheduled date of the meeting. The Human Resources Officer and the Grievance Officer shall
 serve as the timekeepers for the grievance procedure to insure that the meeting occurs within the
 prescribed ten (10) day period.

                         4A.1.1.8.2.2      Step Two
 If the grievance is not resolved to the grievant‘ satisfaction at the informal meeting in Step One,
 then within ten (10) working days after the date of the meeting, the grievant shall present the
 grievance in written form to the VPAA and the UFSLU Grievance Officer, with a copy to the
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 Human Resource Officer (see form attached, Appendix A). The VPAA shall provide the
 grievant, the UFSLU Grievance Officer and the Human Resource Officer with a written answer
 within fifteen (15) working days of receipt of the formal grievance. If the VPAA is not able to
 meet this deadline, s/he will appoint a substitute within five (5) working days with the
 understanding that said individual shall respond to the grievant within the aforementioned fifteen
 (15) working days time period. The written grievance at this step and all steps thereafter shall
 contain the information shown in the original written grievance.

                        4A.1.1.8.2.3      Step Three
 If the grievance is not resolved to the satisfaction of the grievant in Step Two, then within ten
 (10) working days after receipt of the VPAA response, the grievant may submit a request for
 review of the decision to the President. The President shall review the grievance and render a
 written decision to grievant(s) within ten (10) working days of receipt of the request for review
 of decision.

                        4A.1.1.8.2.4      Step Four
 If the grievance is not resolved to the satisfaction of the grievant in Step Four, then within thirty
 working days after receipt of the President‘s response, the grievant may elect to follow the
 procedures and conditions of Article 9.

                   4A.1.1.8.3    Section 3. Abandonment
 Failure of the University to observe any of the stated time limits in Steps One through Four shall
 allow the grievant to proceed to the next step in the grievance procedure. Failure of the grievant
 to appeal within the time limits set forth above shall terminate the grievance process with
 implementation of the decision rendered at the prior step. Any time limits established in the
 grievance process at any level may be extended by mutual consent of the parties upon written
 notice to the UFSLU Grievance Officer and the Human Resources Officer.

                   4A.1.1.8.4    Section 4. Settlement
 The parties may settle the grievance at any step of the procedure set forth above. Said agreement
 shall be reduced to writing and signed by all parties with copies provided to the VPAA, the
 grievant, the President of UFSLU, and the Human Resources Officer.

                   4A.1.1.8.5    Section 5. Grievance Investigations
 At the beginning of each academic year, UFSLU shall appoint two Faculty members who shall
 serve as Grievance Officers and submit their names, in writing, to the VPAA no later than
 September 10 of each academic year. The VPAA, the President, or the grievant may request a
 written report of the Grievance Officer‘s investigation.

                   4A.1.1.8.6    Section 6. Representation
 The grievant in these proceedings shall have the right to representation by UFSLU at any step in
 these proceedings. The grievant shall not be required to discuss any grievance if the Grievance
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 Officer assigned is not present. The University may likewise invite any member of management
 to attend any proceedings set forth in this Article. The grievant and the University may invite
 witnesses at any point in the process.

                     4A.1.1.8.7    Section 7. No Reprisal
 No reprisal or recrimination of any kind shall be taken by the University against anyone because
 of participation in the procedures set forth in this Article.

          4A.1.1.9       ARTICLE 9 – ARBITRATION

                     4A.1.1.9.1    Section 1. Conditions
 Only grievances which satisfy each of the following conditions and have been accepted by
 UFSLU for arbitration shall be subject to arbitration:
 (a) The grievance was filed in writing as specified in Article 8 and processed in the manner and
 within the time limits prescribed in the Grievance Procedure.
 (b) The written grievance and the written demand for arbitration clearly identified the Article,
 section, paragraph, and page of this Agreement which was allegedly violated.
 (c) The demand for arbitration was made in writing to the President of the University within
 thirty (30) working days from the date the decision was rendered at the last step in the grievance
 procedure or failure of the University to observe any of the stated time limits in Steps One
 through Four.

                     4A.1.1.9.2    Section 2. Demand for Arbitration
 (a) The demand for arbitration shall state the specific provision or provisions of the contract
 alleged to be violated, the nature of the dispute, and the remedy requested. Upon receipt of the
 demand for arbitration, the parties shall request the names of five (5) arbitrators from the
 American Arbitration Association which the location of any arbitration arising out of this
 Agreement shall be within the State of Florida. If the parties are unable to agree on an arbitrator
 from the list, then the parties shall alternately strike one name from the list and the remaining
 name shall be the arbitrator.
 (b) The parties may, at their option, agree in advance on the issues to be presented to the
 arbitrator.
 (c) The decision of the arbitrator shall be final and binding on both parties, and it will be
 rendered in writing within thirty (30) days following the conclusion of the hearing. The parties
 shall each bear the cost of preparing and conducting their own presentation, including payment
 of witnesses attending the hearing at their request. The party ruled against shall pay the cost of
 the arbitrator, including fees, hearing room and the cost of the transcriber, if any. The cost of the
 transcript and any associated copies shall be paid by the ordering party.




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                   4A.1.1.9.3    Section 3. Power of Arbitration
 The arbitrator shall only have jurisdiction to determine whether or not the alleged violation of the
 Agreement occurred as described in the written demand for arbitration. The arbitrator may
 consider, to the extent applicable, the entire contract in reaching such a decision.
 However, the arbitrator shall have no power to add to, subtract from, modify, or alter terms of
 this Agreement, nor will the arbitrator have the power to arbitrate any matter, expressly or
 implicitly, excluded from arbitration.

                   4A.1.1.9.4    Section 4. Resolution
 Notwithstanding the expiration of this Agreement, any claim or grievance arising hereunder shall
 be processed through the grievance procedure and this Article until resolution.

                   4A.1.1.9.5    Section 5. Reasons
 The University shall not submit any reasons for its actions against the grievant that were not
 presented during the grievance procedure prior to arbitration. Normally, the grievant change or
 modify the issues of his/her grievance prior to arbitration.

                   4A.1.1.9.6    Section 6. Abandonment
 Failure of the University to observe any of the stated time limits in Steps One or Two shall allow
 the grievant to proceed to the next step in the grievance procedure. Failure of the grievant to
 appeal within the time limits set forth above shall terminate the grievance process with
 implementation of the decision rendered at the prior step. Any time limits established in the
 grievance process at any level may be extended by consent of the parties upon written notice to
 the UFSLU Grievance Officer and the Human Resources Officer.

          4A.1.1.10     ARTICLE 10 – FACULTY APPOINTMENTS

                   4A.1.1.10.1 Section 1. Probationary Faculty Appointments
 The VPAA shall consult with the appropriate Academic Director, Department Chair, Academic
 Dean and departmental and appropriate school Faculty in the appointment of new Faculty,
 hereinafter referred to as probationary Faculty, to the University. The Vice President shall not,
 in any respect, be bound by any recommendation of an Academic Director, Department Chair,
 Academic Dean, or Faculty member. Appointments to the Faculty of the University shall be
 made by the VPAA after consultation with the President of the University. For purposes of
 tenure and promotion, Faculty who begin their duties after the start of the academic year and no
 later than the beginning of the second semester, shall count that entire academic year as service.
 The initial rank of probationary faculty shall be determined by the Vice President for Academic
 Affairs. In addition, conditions for promotion and/or tenure must be stated in the initial
 appointment contract.
 The probationary period for full-time tenure-track Faculty shall be a maximum of seven (7) years
 in length. Appointments shall be of the following length in order from the first year:

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     The first year appointment is for one year;
     The second year appointment is for one year;
     The third year appointment is for two years;
     The fifth year appointment is for two years; and
     The seventh year appointment is for one year.
 At the Faculty member‘s request, the probationary period may be extended for disability and for
 the purposes of child bearing or rearing if the Faculty member (male or female) is a primary or
 coequal caregiver of newborn or newly adopted children. This extension shall be granted only if
 the faculty requests and is granted full or partial leave of absence. The Faculty member shall be
 granted an extension of the probationary period for up to one year for each child not to exceed
 more than two one-year extensions.
 The University may elect not to renew said Faculty member‘s employment upon any expiration
 date thereof during the probationary period for any reason whatsoever. If the University elects to
 exercise its rights under this section during any year of the probationary period, the following
 notification provisions shall apply:
     Year 1 – Feburary1;
     Year 2 – February 1;
     Year 4 – November 15;
     Year 6 – February 1;
     Year 7 – March 1 or within five (5) working days of the conclusion of the Spring;
     Board of Trustees Meeting, whichever is later.
 All Tenure decisions must be ratified by the Board of Trustees. Tenure, if granted, will take
 effect on August 15 of the academic year immediately following the decision of the Board of
 Trustees. Promotion, if granted, will take effect on August 15 of the following academic year.

                   4A.1.1.10.2 Section 2. Non-Renewal/Termination
 Once tenure has become effective, a Faculty member will receive continuous employment for
 each successive year until retirement or until the Faculty member is terminated for just cause or
 reduction in force.
 (a) Termination of Employment. A tenured Faculty member will be terminated from the
 university, only for Just Cause, which is defined as follows: academic incompetence, neglect of
 duties, incapacity to perform assigned faculty duties, misconduct, or moral turpitude. It is
 expressly understood by and agreed to among the parties that a full-time, tenured Faculty
 member who is also serving as the coach of an intercollegiate athletic team either may be
 suspended for a period of time without pay, or the coach‘s employment may be terminated if
 found to be involved in a deliberate and serious violation as defined by the NCAA regulations.
 Coaches are hired, evaluated, retained and dismissed by the Athletic Director. A Faculty
 member who no longer coaches returns to her/his full time faculty responsibilities.


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 (b) Reduction in Force. Should the University foresee the need for a reduction in force during
 the terms of this agreement, the VPAA will notify UFSLU President in writing of the
 University‘s intent. The notice will include the rationale for, and anticipated extent of, the
 reduction and the effective date of the reduction. The rationale for a reduction in force may
 include man-made and natural disasters, acts of God, program termination or financial exigency.
 The effective date of reductions in force will normally occur at the end of the current annual
 contract period of the affected Faculty members. Notice of reduction in force to affected persons
 will provide a minimum notice of one academic term. Contracts for less than a full academic
 year may be issued to provide the required minimum notice. Written notice to UFSLU
 President, including the names of the faculty affected will be provided a minimum of thirty (30)
 calendar days prior to the anticipated notice date to affected persons. In all cases of termination
 of appointment because of financial exigency, the place of the faculty member shall not be filled
 by a replacement within a period of three (3) years unless the released Faculty member has been
 offered reinstatement and a reasonable time in which to accept or decline it. The University and
 UFSLU will negotiate any differences in the order of reduction and the order of recall. Should
 negotiations not be concluded within twenty-six (26) calendar days of notice to UFSLU, the
 University will have the right to proceed with the notice requirement to the person(s).

                   4A.1.1.10.3 Section 3. Visiting Faculty
 Years of service as a visiting or non tenure track Faculty member shall count toward the
 probationary period for a tenure-track position if the Faculty member is hired for a tenure-track
 position, and if the Faculty member decides to count some or all of these years toward the
 probationary period. Visiting Faculty members may serve in a full time capacity for no more
 than five (5) years.

          4A.1.1.11    ARTICLE 11 – PROMOTION AND TENURE

                   4A.1.1.11.1 Section 1. General Policy Regarding Promotion and Tenure
 Saint Leo University, a Roman Catholic teaching university, commits to excellence as one of its
 six core values. Promotion and Tenure are the means by which the University recognizes
 individual Faculty for excellence in their faculty role. Tenure may be applied for and considered
 no sooner than the fifth year and must be applied for and considered in the sixth year. Faculty
 denied tenure in the fifth year have the right to re-apply for tenure in the sixth year. Faculty
 denied promotion may re-apply in any subsequent year.
 The only exception to the above outlined tenure schedule can occur when the University wishes
 to hire faculty who have held a tenured position at the rank of Associate or Full Professor, at
 another baccalaureate degree granting college or university. The University may hire this person
 with the contractual stipulation that this faculty member may apply for tenure in January of the
 second year. The application will be evaluated by the Committee, the Vice President for
 Academic Affairs and the President following the annual promotion calendar. If granted, tenure
 will take effect in the fall of the next academic year.
 Promotion and Tenure Committee deliberations shall be taped and sealed. The sealed tape shall
 be kept for seven years following the decision of the Board of Trustees. The University attorney
 shall keep the sealed tape for seven years. After the seventh year the tape shall be destroyed.
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 In the case of a disputed decision of the Board of Trustees regarding promotion and/or tenure,
 the sealed tape may be opened in the presence of appropriate persons as described in the
 Grievance process if requested by either administration or the grieving faculty member.

                   4A.1.1.11.2 Section 2. Policy Particular to Tenure, Promotion, Graduate
                               Faculty and Non-Teaching Faculty
 Promotion and tenure decisions at Saint Leo University are made on the basis of documented and
 evaluated performance in three areas: (1) teaching; (2) scholarly growth (3) institutional and
 community service.
 (a) Tenure and Promotion: The primary criteria for decisions regarding reappointment, tenure
 and promotion are excellence in classroom teaching and in facilitating student learning.
 Teaching Faculty must demonstrate excellence in teaching, a part of which is academic advising.
 Teaching Faculty must also demonstrate excellence in either (1) scholarly growth or (2)
 institutional and community service.
 Scholarly growth may be demonstrated through professional development and/or research. The
 definition of professional development and scholarly research will be determined by the relevant
 School. The University will recognize both traditional and non-traditional means of
 demonstrating professional development and/or research.
 (b) For library Faculty, professional library service contributing to the educational function of the
 University is the primary area of faculty performance and of evaluation.
 (c) For Faculty with no teaching assignments, professional responsibilities that are directly
 related to their assignments are the primary area of faculty performance.
 (d) For Graduate Faculty, traditional research as recognized by their discipline leading to
 publication in appropriate formats is expected. This provision does not obligate the University to
 fund the research.

                   4A.1.1.11.3 Section 3. Promotion and Tenure Committee
 The purpose of the Promotion and Tenure Committee is to give to the administration the
 recommendations of the faculty regarding the suitability of applicants to be promoted or tenured.
 Therefore, the members of the Promotion and Tenure Committee will be elected by the full-time
 faculty at the last faculty meeting of the academic year.
 This committee shall be composed of five (5) tenured faculty members, holding the rank of
 Professor. Faculty members are elected to this committee for two-year terms. Three members‘
 terms begin on even years and two members‘ terms begin on odd years. Faculty may serve no
 more than two (2) successive terms. No more than one (1) member can be from any one
 department. No more than two (2) members can be from any one school. One member of the
 Promotion and Tenure Committee shall come from non-University campus faculty.
 The three positions on the Promotion and Tenure Committee shall be selected in the following
 manner:
 1. The top five vote getters will be submitted to the President. They will be submitted in
    alphabetic order.

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 2. The President selects one as his/her appointee to the Promotion and Tenure Committee.
 3. The next top two will also serve on the Committee.
 In alternative years when only two positions are open the top two vote getters will be elected to
 the Committee.
 The Chair shall be elected from and by the members of the Promotion and Tenure Committee.
 The Faculty Promotion and Tenure Committee shall review the credentials of faculty that submit
 application for promotion and/or tenure. The Faculty Promotion and Tenure Committee shall
 recommend those faculty members qualified for promotion and tenure to the Vice President of
 Academic Affairs. Upon consultation with the Promotion and Tenure Committee and with the
 VPAA, the President recommends promotion and/or tenure of faculty to the Board.
 The Promotion and Tenure Committee, Vice President of Academic Affairs and the President
 shall make these recommendations in accordance with the General Policy Regarding Promotion
 and Tenure listed at Article 11 Section 1 and 2.

                  4A.1.1.11.4 Section 4. Procedures for Promotion and Tenure Applications
 The Faculty member who is applying for promotion and tenure has the responsibility of
 presenting an application package that documents his or her performance in each of the above
 areas in an appropriate and complete manner. A Faculty member may consult with the Faculty
 Handbook. However, the Handbook is not a part of this contract and other formats, if approved
 by the Dean and faculty of the relevant school, are equally acceptable.
 Department Chairs and Directors or Deans provide the Promotion and Tenure Committee with
 written evaluations and recommendations for promotion and tenure as appropriate.

                  4A.1.1.11.5 Section 5. Beginning of the Promotion and Tenure Calendar
 Before September 30, the Committee shall meet together with the President of the University, the
 Vice President of Academic Affairs, and the president of UFSLU to review the criteria and
 procedures outlined in the Saint Leo University Collective Bargaining Agreement. Following
 that meeting, the Committee Chair shall meet with School Deans to review these criteria and
 procedures.
 By September 15, the VPAA shall inform all Faculty of the annual tenure and promotion
 schedule.

                  4A.1.1.11.6 Section 6. Tenure Calendar
 (a) By September 30th of each year, probationary Faculty who meet all qualifications and who
 wish to apply for tenure must submit a letter of intent to apply for tenure to the VPAA who in
 turn informs the Committee Chair.
 (b) On or before October 31st of the current year, the formal application for tenure is
 simultaneously submitted to the Chair of the Promotion and Tenure Committee and to the
 VPAA.


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 (c) On or before December 15th of the current year the Chair of the P&T Committee must submit
 the Committee‘s recommendations and rationale to the VPAA.
 (e) Written minutes of the meetings shall consist of a statement of subjects covered. No
 information shall be included that would identify the vote or remarks of any individual member
 or group of members. The recommendations concerning faculty tenure and/or promotion shall
 be decided by a majority vote of the full committee.
 (f) On or before January 10th of the current year the VPAA submits his or her recommendations
 along with those of the Committee to the President.
 (g) Following the February Board of Trustees meeting, the President will communicate in
 writing his/her final decision to the candidate, VPAA and to the Chair of the Promotion and
 Tenure Committee within two weeks of the Board of Trustees‘ decision. If the President
 disagrees with the recommendations of the Faculty Promotion and Tenure Committee, the
 President shall meet with the committee to discuss his/her rationale prior to sending out the letter
 to the faculty.
 (h) Tenure if granted, will take effect at the beginning of the next academic year, starting August
 16th.

                   4A.1.1.11.7 Section 7. Promotion Calendar
 (a) Faculty members who wish to be considered for promotion must notify the VPAA and
 Committee Chair in writing prior to December 1st of the current year.
 (b) A candidate for promotion must submit a complete application to the appropriate Dean or the
 Director of Library Services with a copy of his or her Department Chair for review prior to
 February 1st of the current year. The Dean and Department Chair shall notify the VPAA and the
 Chair of the Promotion and Tenure Committee of receipt of the application materials and provide
 them with the candidate‘s dossier along with supporting materials.
 (c) The Dean and Department Chair shall forward the application with their recommendation to
 the Committee Chair prior to February 15th of the current year. The Chair of the Committee will
 convene the Committee to begin review of the applications prior to February 15th of the current
 year. Should they choose, candidates may also submit supporting documents from professional
 colleagues with direct knowledge of the applicants teaching service, scholarship, professional
 development, and committee work.
 (d) The Committee will submit its recommendations to the VPAA in writing prior to March 15th
 of the current year.
 (e) Minutes of the meetings shall consist of a statement of subjects covered. No information
 shall be included that would identify the vote or remarks of any individual member or group of
 members. The recommendations concerning faculty tenure and/or promotion shall be decided by
 a majority vote of the full committee.
 (f) The VPAA will submit his/her written recommendations along with those of the Committee
 to the President on or before April 1 of the current year.
 (g) Following the May Board of Trustee meeting, the President will communicate in writing
 his/her final decision to the candidate, VPAA and to the Chair of the Promotion and Tenure
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 Committee within two weeks of the Board of Trustees‘ decision. In the event the President‘s
 decisions do not agree with the Faculty Promotion and Tenure Committee, s/he shall meet and
 discuss his/her decisions with the Committee. Promotion, if granted, will take effect on August
 16th which begins the next academic year.
 (h) Any changes in the specific listed dates such as those created by calendar variances are
 circulated by the Office of the VPAA on or before September 15th of each academic year.

          4A.1.1.12     ARTICLE 12 – PROFESSIONAL DEVELOPMENT

                   4A.1.1.12.1 Section 1. Professional Development Fund
 The University shall establish an annual professional development fund of no less than $75,000.
 The fund shall be placed in a separate budget in Academic Affairs. Disbursement of funds will
 be made by a committee comprised of two academic administrators appointed by the VPAA and
 two faculty appointed by the President of the Union.
 Fulltime faculty will apply for professional development funds by submitting a standardized
 form supplied by the University indicating the purpose of the activity and the impact funding
 will have on the faculty members teaching and professional development. A final report will be
 required that document the use of the funds and attest that all University financial policy and
 procedures have been followed.

                   4A.1.1.12.2 Section 2. Sabbatical
 (a) Sabbatical – Definition and Eligibility. Sabbatical Leave shall be considered a reassignment
 from normal teaching responsibilities for a specific period of time and for a specified academic
 purpose from which both the Faculty member and the University shall benefit. A sabbatical may
 be taken for one full academic year or for one full regular semester (a regular semester is the fall
 or spring semester). A Faculty member is eligible for sabbatical leave during and after the
 seventh year of service dating back to the initial appointment or to the prior sabbatical leave.
 (b) Application for Sabbatical. The application for sabbatical shall be submitted by September
 15th one year prior to the current academic contract year in which the Faculty member wishes to
 start the sabbatical leave. She/he must submit to the Department Chair and Dean a written notice
 of intent to file for sabbatical leave. In no event shall the actual application for sabbatical leave
 be filed less than six (6) months prior to the academic semester when the sabbatical is proposed.
 The sabbatical project shall be outlined in details in the application. As a part of the sabbatical
 application the Faculty member applying for a sabbatical must provide clear and measurable
 goals for the sabbatical. The sabbatical project must be of a significant scholarly nature and
 should enhance Faculty member‘s professional development and his/her teaching effectiveness.
 (c) Approval Process. The application shall be submitted to the Faculty member‘s Department
 Chair. Within thirty days, the Chair shall make a recommendation to the appropriate School
 Dean. The Department Chair‘s recommendation shall assess the validity of the proposed project;
 comment on the effect the project may have on teaching and learning, and shall detail the courses
 that will not be taught or a plan for teaching courses in the absence of the faculty member who
 shall be on sabbatical. The Dean will recommend an action to the VPAA within fifteen (15)
 days of receipt of the Chair‘s recommendation and forward that recommendation to the VPAA.
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 The VPAA shall decide to grant or refuse the request for sabbatical leave within thirty (30) days.
 The VPAA may defer a sabbatical leave for programmatic and/or financial reasons. Generally,
 no more than one faculty member per school shall be granted a sabbatical in the same semester
 or year.
 (d) Required Report and Commitment. Within three (3) months after the conclusion of a
 sabbatical, the Faculty member must file a written report on the sabbatical project to the VPAA
 detailing how the sabbatical project was completed. This report shall provide the Faculty
 member‘s assessment of how the clear and measurable goals of the sabbatical were met and shall
 provide appropriates supporting documentation. The VPAA will share the report with the Dean,
 Department Chair and with the faculty as a whole. The report shall be placed on reserve in the
 Library for review. Upon request the Faculty member also agrees to make a presentation to the
 faculty or Board of Trustees. By accepting a sabbatical leave, the Faculty member commits
 himself/herself to one (1) year of full-time service to the University immediately following the
 expiration of the sabbatical. In the event the Faculty member does not comply with the terms of
 the Sabbatical or this Section the Faculty member agrees to compensate the University in an
 amount equal to their salary.
 (e) Compensation during Sabbatical. A Faculty member on sabbatical for an academic year (fall
 and spring semesters) will receive one half of his/her annual salary. A Faculty member on
 sabbatical leave for one semester (fall or spring) will receive the full salary during the sabbatical
 period. All benefit plans which are operative during the full-time employment will continue
 during sabbatical with the same contribution schedule from the University and individual
 participants; benefits related to salary levels are determined in accordance with the salary
 actually paid.

                   4A.1.1.12.3 Section 3. Reassigned Time
 Faculty members may be granted a reassignment of time from teaching for professional
 development purposes or for administrative duties. Normally, this reassignment of time is
 granted for no more than one (1) year. A Faculty member who wishes to have reassigned time
 for purposes of professional development must make application through his/her Department
 Chair and Dean to the VPAA. The procedure for requesting a reassignment of time is as follows:
 (a) For the fall semester, a Faculty member should make written application to his/her
 Department Chair before April 1st of the preceding academic year. The request and application
 for reassignment of time, for the spring semester, must be submitted no later than October 1st to
 the Department Chair.
 (b) The Faculty member‘s application must include a complete description of the work that is
 proposed and estimates of the time required to complete the work.
 (c) The Department Chair, in reviewing the application, must comment on both the scope of the
 work its relevance to department needs and goals and on the reasonableness of the request. The
 Department Chair will in turn, forward her/his recommendation to the Dean within ten (10)
 business days of receipt of the request. The Department Chair‘s written recommendation must
 include a description of how the Department Chair proposes to replace the Faculty member for
 the course/courses that will be reassigned.


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 (d) The Dean in turn will review the application for reassignment of time for professional
 development and will forward her/his written recommendation to the VPAA within five (5) days.
 The Dean‘s analysis must include commentary on the impact of any courses not taught on the
 curriculum and on students.
 (e) The VPAA, in turn, will make the final decision regarding the reassignment of time and will
 respond in writing within ten (10) business days of the receipt of the Dean‘s recommendation.

          4A.1.1.13     ARTICLE 13 – SALARY

                   4A.1.1.13.1 Section 1. Salary Applications
 Assistant, Associate and Full Professor salaries will be minimally increased as set forth below:
     Academic Year 2005-06        a minimum of 5.0% salary increase
     Academic Year 2006-07        a minimum of 5.0% salary increase
     Academic Year 2007-08        a minimum of 4.50% salary increase

                   4A.1.1.13.2 Section 2. Increases for Faculty Promoted or Completing
                               Doctorates
 Current Faculty pursuing a doctorate, who complete their doctorate in a regionally accredited
 university, in a discipline that is offered at University Campus or a discipline related to the
 teaching responsibilities of a Faculty member and that will meet SACS clearance criteria for that
 discipline, shall have their salary increased 10% (see current University catalog for disciplines
 offered at University campus). If completion is after the start of an academic year, the salary
 will be prorated from the completion date for the remainder of the academic year.
 Faculty promoted with an effective rank change will be granted a salary increase. The salary
 increase will be at least $5,000 and shall be sufficient to bring them to at least the 25th percentile
 of the internal reference group for their rank.

                   4A.1.1.13.3 Section 3. Directed Studies and Course Overloads
 (a) Faculty who teach courses as an overload, except in the cases of forced overload as outlined
 in Article 14, Section 3e and f, shall be paid not less than $1,800.
 (b) Faculty who teach directed studies shall be paid $300 per student per course.

          4A.1.1.14     ARTICLE 14 – FACULTY RESPONSIBILITIES

                   4A.1.1.14.1 Section 1. General
 Saint Leo University, Incorporated, is a Roman Catholic institution, which recognizes the
 teachings of the Roman Catholic Church. While the University does not require that Faculty
 practice or profess the Roman Catholic faith, nor accept the teachings of the Roman Catholic
 Church, the University does require that all Faculty members recognize, understand, and support


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 the University‘s mission. It is a part of the professional responsibility of Faculty to carry out
 their duties in an appropriate manner and place.

                   4A.1.1.14.2 Section 2. Classroom Instruction and Related Responsibilities
 At the first class of each semester or term, Faculty members shall distribute or post on an
 approved University web site, a syllabus to each student and submit to the School Dean a copy of
 the syllabus for each course they teach. The syllabus shall include the following:
 Course prefix, number, section, title, term, credit hours, instructor‘s name, prerequisites (from
 catalog), text(s) required and recommended, attendance policy, academic honesty policy
 (including the definition of plagiarism), methods of evaluating student performance (including
 grade weights and percentages), course objectives, course content and schedule, instructor‘s
 office hours, office phone number and location, and ADA Statement.
 Faculty members shall meet all classes as outlined in their syllabus within the academic calendar
 including the scheduled final examination period. The course meeting day and time, as listed in
 the official University course schedule, shall not be changed without the approval of the
 appropriate School Dean and the University Registrar.
 Faculty members shall apply the University‘s grading system as set forth in the current catalog
 and shall determine the academic proficiency and understanding of the students in accordance
 with the standards of the University. All courses are expected to include a final examination
 given at the scheduled final examination period or a final project due at the scheduled time for
 the final examination. Final examinations are not to be given at the last class meeting time.
 Faculty members shall enforce the University‘s policy on academic honesty.
 Faculty members shall submit mid-term grades and final grades to the Registrar‘s Office by the
 date specified by the University. Faculty shall assign final grades based on the criteria outlined
 in their course syllabi. There shall be no change in a final grade except for a computational error
 and at the direction of the Faculty member and with the approval of the appropriate School Dean
 and the VPAA.
 Faculty members shall administer student ratings of teaching based on the instrument determined
 by the Institutional Assessment Committee of the University Senate and shall administer said
 evaluation in every course, every semester.
 University may request a Faculty member to develop and deliver an electronic platform course
 outside of the normal responsibilities with in this agreement. University shall offer tenured track
 faculty the right of first refusal for the development of any electronic platform course. Faculty
 members individually are not restricted under the terms of this Agreement from contracting with
 the University for all or part of the development of these courses.

                   4A.1.1.14.3 Section 3. Workload
 Each semester, full time Faculty teaching assignments will require one of the following:
 1. 12 credit hours per semester;
 2. 9 undergraduate credit hours + 3 graduate credits;

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 3. 3 undergraduate credit hours + 6 graduate credit hours + regularly assigned graduate student
    advising;
 4. 6 undergraduate credit hours + 6 graduate credit hours;
 5. 9 graduate credit hours + regularly assigned graduate student advising.
 Any work exceeding the above patterns is considered Overload.
 In pattern 2, the Faculty member shall receive an additional payment of $750. In pattern 4, the
 Faculty member shall receive an additional payment of $1500.
 (a) In order to achieve the University‘s goals of (1) excellence in teaching and (2) small, intimate
 classes that promote retention, class sizes will generally be limited.
 Unless the instructor agrees to lift the cap, the class cap size cannot exceed 25 students per class,
 excepting (1) Freshman English Composition courses, the caps for which are 18 students and (2)
 remedial English and Math courses, the caps for which are 15 students. This applies to all
 courses taught at all locations whether face to face or any other mode of instruction, excepting
 any arrangements with Bisk Publishing. If the instructor agrees to lift the cap, for each student
 over 25, the instructor will be compensated at $100 per student. This does not preclude the
 option for the administration and an individual faculty member to enter into a voluntary
 agreement in which a class size over 48 may count as six or more credit teaching hours. In such
 cases, the $100 additional compensation rate will not apply.
 (b) Professional duties may be assigned in lieu of normal teaching workload by the VPAA in
 consultation with the School Dean and the appropriate Department Chair and with the mutual
 consent of the Faculty member.
 (c) As a part of their full time workload, faculty may be required to teach a course delivered
 partially or completely online. Faculty must be given sufficient time to be trained in the course
 platform used. In addition, in cases where SACS mandates as part of a Faculty members fulltime
 workload can be met or in cases where a Faculty member does not have a sufficient course load
 on campus meet their fulltime obligations through an assignment by the VPAA or Dean to teach
 a campus-based Weekend and Evening course. The Faculty may be assigned to teach at another
 School of Continuing Education Center by mutual consent.
 (d) A Faculty member who begins his/her Saint Leo University fulltime faculty appointment
 after August 15, 2003 may be assigned to teach at Mac Dill, St. Petersburg, Weekend and
 Evening, COL, DL or in another Continuing Education Center program. The University shall
 compensate a Faculty member assigned to teach at an off campus location for travel in keeping
 with University travel policy.
 (e) Except in cases of University need the University will not require the overload teaching
 assignment, if the Faculty member does not desire it. Cases of need include:
     i. To meet SACS mandated requirements regarding the 25 percent rule.
     ii. To meet SACS mandated requirements regarding faculty credentials.
     iii. Where the administration demonstrates that an unexpected increase in enrollment
     occurred after August 1st or after January 5th of each academic year, that prevent the
     Department Chair, School Dean or VPAA from hiring a SACS qualified adjunct Faculty
     members.
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 In those cases above where SACS related mandates and/or unexpected enrollment require the
 administration to add a section, the assigned fulltime Faculty member shall be compensated at
 the rate of $2,000 above the set overload rate.
 The administration shall make every effort to find qualified Faculty who will volunteer to teach
 these courses; however, the university must affirm its obligation to meet student academic needs
 with integrity. In a case where an assignment will cause an undo hardship to a Faculty member,
 the assignment shall be considered a basis for a grievance.
 (f) Except by mutual consent, Faculty shall not be assigned to more than two committees at the
 same time. Faculty members are expected to serve on at least one committee regularly.
 (g) Directed studies and Independent studies shall be assigned with the mutual consent of the
 Faculty member and the School Dean. Directed studies are not normally a part of the teaching
 load.

                   4A.1.1.14.4 Section 4. Internships, Applied Music, and Coaching Duties
 (a) Internships - All Departments: Faculty members will be credited with one three (3) credit
 hour course per the number of interns as delineated below. Supervision of 5-9 interns is
 considered a normal load to be counted as one course, except for teacher education where the
 number is 3-5. The maximum number of interns shall be supervised by one Faculty member
 whenever possible.
 (b) Department of Fine Arts: Applied music courses, MUS 120, 220, 320, 420, shall not be
 considered in calculating faculty workload. Faculty members offering these courses are paid
 from student fees collected. Art studio courses will be credited to the Faculty member as one (1)
 credit for each two (2) studio hours.

                   4A.1.1.14.5 Section 5. Tutoring, Librarians and Lab Courses
 (a) Tutoring: Tutoring is not a faculty member function except as a necessary extension of
 teacher/student contact in teaching academic courses. Should a Faculty member be assigned
 tutoring duties, six tutoring hours shall be the equivalent of one three-credit hour course.
 (b) Librarians: Librarians are normally paid for a 40-hour week, of which thirty-five (35) hours
 are assigned for library duties. The additional five (5) hours are to be spent pursuing
 professional development activities at the librarian‘s discretion. Librarians are appointed for at
 least nine (9), ten (10) or twelve (12) month annual contract.
 (c) Department of Mathematics and Science: One lecture hour per week shall equal one credit
 hour; each hour of laboratory per week shall be credited as 1 credit hour.

                   4A.1.1.14.6 Section 6. Advising/Office Hours
 (a) The School Deans shall assign School Faculty members duties as academic advisors.
 (b) Faculty members shall maintain a minimum of ten (10) office hours, six (6) of which shall be
 posted. The non-posted hours may be used for class preparation, professional and scholarly
 growth, and institutional and community service. When necessary, Faculty shall be available to
 meet with students during non-posted office hours.
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 (c) Faculty members perform two primary kinds of advising. First, they work with students to
 help them better understand specific course and/or curricular requirements. In addition, faculty
 members advise students regarding the professions and professional schools (law, business,
 health professions, graduate programs of all types) and employment and life goals.

                  4A.1.1.14.7 Section 7. University Functions
 (a) All Faculty members shall attend all general faculty meetings and be given reasonable notice
 of same.
 (b) Faculty members shall participate in graduation ceremonies and other officially designated
 University functions not to exceed three, including graduation, in number during any academic
 year. Faculty members shall wear full academic regalia for these functions.
 (c) Faculty members shall attend all scheduled School and Department meetings, provided
 reasonable notice is given by the School Dean or Department Chairs, or the Director of Library
 Services.
 (d) Faculty members may submit a written request to the School Dean or the Director of Library
 Services to be excused from participation in functions outlined in (a), (b) and (c) above.
 Permission shall be granted by the School Deans or the Director of Library Services only in
 cases of emergencies, illness, or in cases of conflict with other University activities.

                  4A.1.1.14.8 Section 8. Academic Year, Academic Calendar, and School
                              Year
 The term ―school year‖ refers to a student obligation and consists of two academic semesters as
 determined by the University. The term ―academic year‖ applies to Faculty members and
 consists of (9) calendar months beginning August 16th ending May 15th .
 The University shall not require the Faculty members to carry out work assignments on days
 described as University holidays. University holidays are defined as days when the University
 Campus Offices are closed.
 The academic calendar includes the following breaks when classes will not be held: Fall Break,
 Thanksgiving Student Break, Christmas Break beginning after final grades are due and ending
 five (5) working days prior to the first day of class in the Spring semester, Spring Break as
 defined by the University Student Calendar, and Good Friday. The University shall not require
 Faculty to carry out work assignments during said breaks except in highly unusual
 circumstances.

         4A.1.1.15     ARTICLE 15 – FRINGE BENEFITS AND LEAVES

                  4A.1.1.15.1 Section 1. Payroll Deduction for NEA Benefits
 The University shall provide payroll deduction service for participation in NEA benefits for
 those Faculty members who desire to participate. Faculty members shall submit the proper
 payroll deduction authorization forms. UFSLU shall hold harmless, indemnify, and defend the
 University from all claims arising from the University‘s compliance with this Section.

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                   4A.1.1.15.2 Section 2. Health Benefits
 The University shall contribute a minimum of $363 a month (including HRA contributions)
 toward the total premium charged by the carrier of each of the academic years through 2007-08.
 The University and faculty members shall equally share any applicable premium increases
 through duration of this agreement. Faculty contribution shall be capped at up to a maximum of
 $40.00 for premium increases per month during the first year. Thereafter, faculty contributions
 toward any applicable premium increases shall be capped during the second and third year at
 $45.00 and $50.00 per month respectively.
 The University may offer other coverage, which will be paid by the Faculty member as a payroll
 deduction if such coverage is elected by the member during the normal enrollment periods.
 The Health Reimbursement Account (HRA) dollars provide to faculty by the University shall not
 decrease below the 2005-06 level at anytime during the duration of this agreement. The 2005-06
 HRA contributions are as follows:
     PPO/80-$33
     PPO/70-$75
     Risk/Reward- $115

                   4A.1.1.15.3 Section 3. Other Fringe Benefits
 The University shall continue to maintain the following additional fringe benefits that are
 currently in effect: life insurance, disability, tuition remission, workers‘ compensation, and other
 benefits commonly available to University employees, except where expressly modified or
 limited by this Agreement.

                   4A.1.1.15.4 Section 4. Leave Benefits for Librarians
 Librarians are full time Faculty members who work nine (9), ten (10), or twelve (12) month
 contracts. Leave shall accrue according to the following schedule:
 Nine (9) month contracts: Forty (40) hours personal leave will be accrued at the beginning of
 each academic year on August 16th, for use during the academic year exclusive of summer unless
 Faculty is engaged in teaching under this Agreement during that period. Sick leave shall accrue
 at the rate of four (4) hours per pay period for the nine (9) month contract period. Days off for
 personal or sick leave shall be reported by the submission of an Employee Leave Authorization
 Form to Human Resources prior to the leave being taken or immediately upon return from leave
 period. Unused personal leave at the end of the contract work period will not be allowed to be
 carried over to the next academic year. Sick leave will continue to accrue to a maximum of
 ninety-six (96) hours. The eligibility period for Personal and Sick Leave shall be limited to the
 nine (9) month work period.
 Ten (10) month contracts: Forty (40) hours personal leave will be accrued at the beginning of
 each academic year on August 16th, for use during the academic year exclusive of summer term
 unless Faculty is engaged in teaching under this Agreement during that period. Sick leave shall
 accrue at the rate of four (4) hours per pay period for the ten (10) month contract period. Days
 off for personal or sick leave shall be reported by the submission of an Employee Leave

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 Authorization Form to Human Resources prior to the leave being taken or immediately upon
 return from leave period. Unused leave at the end of the contract work period will not be
 allowed to be carried over to the next academic year. Sick leave will continue to accrue to a
 maximum of ninety-six (96) hours. Personal and Sick Leave must be used during the ten (10)
 month work period.
 Twelve (12) month contracts: Leave will be accrued at the rate of eight (8) hours per pay period
 for vacation leave and four (4) hours per pay period for sick leave beginning upon the
 completion of ninety (90) days of continuous employment. Sick leave will continue to accrue to
 a maximum of ninety-six (96) hours. Leave shall be reported by the submission of an Employee
 Leave Authorization Form to Human Resources prior to the leave being taken or immediately
 upon return from leave period. Vacation leave will accrue on a semi monthly basis. The
 maximum allowable carryover for each fiscal year will be 264 hours. Excess beyond the 264-
 hour maximum limit as of June 30th of each year will be lost.

                   4A.1.1.15.5 Section 5. Retirement Funds
 The University will continue to contribute an amount equal to a percentage of each Faculty
 member‘s salary to a retirement fund. Conditioned upon the Faculty member‘s written
 agreement to contribute, the University will match the contribution as follows:
         Faculty Contribution            University Contribution
              1%                                  3%
              2%                                  4%
              3%                                  5%
              4%                                  6%
              5%                                  7%
              8%                                  8%
              8.5%                                8.5%
 The Faculty member may make changes to the retirement contribution amounts twice per year,
 in the months of September and January, subject to IRS regulations and the Saint Leo University
 Defined Contribution Retirement Plan.

                   4A.1.1.15.6 Section 6. Sick Leave
 Members of the bargaining unit shall be provided sick leave at the accrual rate of four (4) hours
 per pay period. Sick leave will begin accruing in the first pay period upon completion of ninety
 (90) days of continuous employment and will accrue to a maximum of ninety-six (96) hours.
 Sick leave should be reported on an Employee Leave Authorization form and submitted to the
 appropriate academic Dean for submission to the Department of Human Resources with the
 department‘s payroll records.




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                    4A.1.1.15.7 Section 7. Military Leave
 Short-term Scheduled Military Leave. Faculty members with scheduled Armed Forces Reserve
 or National Guard obligations are expected to meet those obligations outside of regular
 University duty hours. Any Faculty involuntarily called to military duty during regular
 University assignments shall be granted paid short-term military leave not to exceed ten (10)
 working days.
 Long-term Military Leave. Long-term military leave is leave without pay. Any Faculty member
 who is inducted or called to active duty in the armed forces of the United State for training or
 service is assured of re-employment with the University if the Faculty member:
 1. Was not filling a temporary position;
 2. Has a certificate of satisfactory completion of military service;
 3. Makes application for re-employment with the University within ninety (90) calendar days
    after being relieved from training and service; and
 4. Is still qualified to perform the duties of the position left.
 If a Faculty member is continuously hospitalized at the time of separation from the military, and
 the hospitalization does not continue for more than one year after separation, the requirement of
 Step 3 is extended up to ninety (90) days after the end of hospitalization.
 Faculty members who are not qualified to perform the duties of their former position because of
 disabilities sustained during military service shall be offered employment in other positions for
 which they are both qualified and capable of performing provided such a position exists and is
 vacant. To the extent possible, these positions shall offer like seniority, status and pay.
 These same provisions are extended to any Faculty member who is similarly called into the
 National Guard, or a reserve component of the Armed Forces of the United States.
 Faculty members who are restored to employment at the University under this section shall:
 1. Be credited with unpaid leave of absence during the period of training or service;
 2. Be re-employed without loss of seniority;
 3. Be entitled to participate in insurance or other benefits offered by the University at the time
    the employee was inducted, and if such benefits remain available to members of the
    bargaining unit; and
 4. Not be discharged from the position in which they are re-employed, except for cause, for a
    period of one year after the effective date of re-employment.
 The provisions of this section do not apply to Faculty members who volunteer for active military
 service.

                    4A.1.1.15.8 Section 8. Disability, Parental, and Family Leave
 (a) Disability Leave: The University provides short-term disability (STD) and long-term
 disability (LTD) coverage for Faculty who have a medical illness, injury or condition which
 requires and extended disability leave. STD and LTD programs are operated in accordance with
 the guidelines set forth in the Non-Occupational Short Term Disability Plan for STD coverage
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 and the Group Long Term Disability Plan for LTD coverage. Any reduction in the present level
 of benefits would be subject to negotiation between the University and UFSLU.
 Short term disability coverage (STD) is provided through a University program for only one
 twelve week period per year based on the determination of a qualified medical provider. A one
 year eligibility period must be completed prior to becoming eligible for use of STD coverage.
 An employee is not eligible again for short term disability until one year (12 months) from the
 end date of the prior disability period.
 Prior to eligibility for STD, faculty members must utilize all available sick leave. After all sick
 leave has been exhausted the faculty member must request STD coverage. Requests for STD
 coverage requires the submission of a short term disability application to the Department of
 Human Resources in advance of a known leave period or immediately following (within one
 week) the beginning of the leave period in the case of an emergency.
 In the case of STD, the faculty member‘s individual contract shall be honored as it relates to
 salary and benefits which shall be offset by any University insurance reimbursement toward
 faculty members STD salary coverage.
 Long term disability coverage is provided by a fully insured LTD insurance carrier. A one-year
 eligibility period must be completed prior to becoming eligible for use of LTD coverage. LTD
 starts upon the completion of the STD period. Request for LTD coverage requires the
 submission of a long-term disability application with the applicable insurance carrier.
 Application packages are available through the Department of Human Resources. The LTD
 insurance carrier is the sole responsible party for qualification and approval of LTD benefits. In
 order to receive benefits under LTD any existing University Faculty employment contracts must
 be terminated prior to eligibility for LTD.
 (b) Parental Leave: One full semester of unpaid parental leave will be granted upon request for
 birth or adoption of a child. The Faculty member must request this leave in advance of the
 beginning of the term/semester to the Division Dean through the Department Chair so that
 Faculty responsibilities will be adequately covered. Parental leave must be completed within one
 year of the birth or adoption. If this occurs at mid-semester, the Faculty member will be
 assigned non-teaching duties, or at her/his option, be placed on leave without pay until the end of
 the semester.
 (c) Family Leave: Family leave as provided by federal law will be provided for other conditions
 not covered under disability or parental leave. Nothing in this section is intended to limit or
 reduce the benefits provided under applicable federal law. If this occurs at mid-semester the
 Faculty member will be assigned non-teaching duties, or at her/his option, be placed on leave
 without pay until the end of the semester.

                   4A.1.1.15.9 Section 9. Leave Without Pay
 A leave of absence without pay may be granted by the VPAA with the approval of the President
 of the University upon a favorable recommendation by the appropriate Dean or Director of
 Library Services. A leave of absence without pay may be granted for formal study, research,
 scholarly pursuit, family leave, parental leave, extended illness, or other reasons the University
 deems to be in the best interest of the University and of the Faculty member.

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 Ordinarily, permission for a leave without pay shall be requested one semester before the
 semester when it is to begin. Permission shall normally be granted for only one year.
 During the time of the leave, the Faculty member shall, within the limits of the carrier‘s contracts
 with the University be eligible for group insurance (to be paid by the individual). Tenure status
 shall not be affected by a leave without pay. Leave time shall not be counted as time served in
 consideration of sabbatical leave eligibility, nor shall it be considered for tenure or promotion
 unless the Faculty member has performed professional activities and would like to count it
 toward tenure or promotion eligibility.
 The Faculty member shall give ninety (90) days notice of their intent to return or not to return to
 the University. Failure to give notice may result in the loss of severance pay. Upon return, the
 Faculty member shall be reinstated to the same or similar position. The Faculty member‘s salary
 may be adjusted at the discretion of the University to reflect increases distributed during the
 period of leave.

                   4A.1.1.15.10 Section 10. Emergency Leave
 Faculty members shall, at the discretion of the University, be granted leave for personal reasons,
 including bereavement. Such leave shall not be unreasonably denied.
 Bereavement leave shall be granted for up to five (5) business days for the death of a member of
 the Faculty member‘s immediate family. Immediate family shall be defined to include spouse,
 child, brother, sister, parent, grandparent, grandchild, and other permanent household residents.
 The Faculty member shall notify the Department Chair or Director and the appropriate Dean of
 the need for such leave as soon as practical.

                   4A.1.1.15.11 Section 11. Faculty Employment Phase-Out
 Full-time, tenure-tracked faculty may select to retire from University service through a two year
 Phase-Out plan. The requirements for eligibility are:
 1. The faculty member must reach at least age 62 within the academic year prior to taking
    Phase-Out;
 2. The faculty member must not have reached age 70 within the academic year prior to taking
    Phase-Out;
 3. The faculty member must have 20 years of combined full-time service at Saint Leo
    University;
 4. The faculty member must notify his/her department chair or Dean in writing by January 15 of
    their intention to utilize the Phase-Out.
 The Phase-Out plan provides that eligible faculty shall get a two course semester relief during
 the first year of Phase-Out and remain responsible for all other duties required of faculty. In the
 second year of Phase-Out, faculty will have a two course semester relief and remain responsible
 for all other duties required of faculty except for the requirement to serve on committees. In year
 two of Phase-Out, faculty may serve on committees, if he/she chooses.


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                   4A.1.1.15.12 Section 12. Required Changes
 The University reserves the right, based on its continuing analysis of applicable laws and
 regulations, and after negotiation with UFSLU to make appropriate adjustments in the benefits
 provided in this Article.

          4A.1.1.16    ARTICLE 16 – MANAGEMENT RIGHTS

                   4A.1.1.16.1 Section 1. University Rights
 By this Agreement, the University and UFSLU have agreed to certain limitations to the
 management prerogatives of the University. However, it is the intention of the parties that the
 University shall retain all of its legal rights and privileges except those, which it has agreed to
 limit by the express and specific terms of this Agreement.
 Nothing in this Agreement shall be construed to limit or impair the rights of the University to
 exercise its own exclusive discretion on all of the following matters without prior negotiation
 with UFSLU and without being subject to the grievance and arbitration procedures of this
 Agreement except as specifically and expressly provided for elsewhere in this Agreement:
 (a) To manage the University and exercise sole, exclusive control and discretion over the
 organization of the University and its operations thereof;
 (b) To determine the goals, purposes, and functions of the University;
 (c) To perform those duties and exercise those responsibilities which are assigned to it by law.
 (d) To determine and adopt such policies and standards, rules, and regulations as are deemed by
 it necessary for the efficient operation and general improvement of the University system;
 (e) To select management, supervisory, administrative, instructional, and other personnel;
 (f) To appoint, terminate, define workload, compensate, establish standards of performance, and
 otherwise direct the performance of a department chair or graduate Program director in those
 roles;
 (g) To determine the University curriculum in accordance with the Criteria for accreditation of
 the Southern Association of Colleges and Schools Commission on Colleges and as set forth by
 any applicable state or federal regulatory agencies and the by-laws, policies and procedures to be
 established by the Governance Committee;
 (h) To direct the workforce, and in accordance with the provisions of this Agreement to hire,
 promote, reappoint, grant leaves, and terminate or take other disciplinary action against a Faculty
 member for just cause; and
 (i) All other rights to manage the University which are not recited in or expressly limited by this
 Agreement are reserved by the University.

                   4A.1.1.16.2 Section 2. Interpreting Agreement
 In interpreting this Agreement, there shall be absolute and complete regard for the rights, the
 responsibilities, and prerogatives of management, and this Article shall be so construed that there

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 shall be no interference with or restrictions on such rights, responsibilities and prerogatives
 except as it may be expressly limited in this Agreement.
 The University acknowledges that with respect to salaries, benefits and working conditions that
 this Agreement is superior to any other governance or policy document. Both parties to this
 agreement acknowledge and mutually agree to open and negotiate modifications to this
 agreement as may be required by University governance process. It is further expressly
 understood that any such reopening shall be strictly limited to matter directly resulting from the
 University‘s governance process.




                                    [Signature page follows]




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   IN WITNESS WHEREOF, the parties hereto, by their duly authorized representatives, have
           entered into this Agreement as of the date and year first above written.




              SAINT LEO UNIVERSITY, INC.
        By: __________________________________
             Name: Arthur F. Kirk, Jr.
             Title: President, Saint Leo University
 Witness:

 ________________________



              THE UNITED FACULTY OF SAINT LEO UNIVERSITY UNITED
              FACULTY OF FLORIDA, AFFILIATED WITH THE NATIONAL
              EDUCATION ASSOCIATION

              By: __________________________________
              Name: Father Anthony Kissel
              Title: President, United Faculty of Saint Leo University
 Witness:


 _________________________




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                                           Volume V
                                        Academic Policies


 5.0      Academic Policies
 The Saint Leo University Academic Catalog has been written and designed to answer most of the
 questions that might be asked about undergraduate and graduate academic, admission, and
 registration policies at Saint Leo University.
 The University hereby gives notice that it reserves the right to expand or delete or otherwise
 modify its degree programs or courses of study, to change its rules affecting the admission and
 retention of students or the granting of credit or degrees, to change the academic calendar, course
 offerings, course content, or to alter its fees and other charges, whenever such changes are
 adjudged by it to be desirable or necessary. In any such case, the University will give
 appropriate notice as reasonably practicable under the circumstances.
 Students enrolled at Saint Leo University are responsible for adhering to all regulations,
 schedules, and deadlines outlined in the Catalog and in any volume, handbooks, contracts, or
 guideline sheets pertinent to their program. Students have the further responsibility of ensuring
 that all graduation requirements are met. Questions on these matters should be directed to the
 student‘s faculty advisor.
 To view the Saint Leo University Undergraduate Academic Catalog, please select the following
 link:
 http://www.saintleo.edu/resources/docs/stdnt_acad_catalog.pdf
 To view the Saint Leo University Graduate Academic Catalog, please select the following link:
 http://www.saintleo.edu/resources/docs/grad_stdnt_acad_catalog.pdf




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                                           Volume VI
                             Student Life and Development Policies


 4.0      Introduction
 This Volume VI contains current information regarding Saint Leo University policies,
 regulations, student rights and responsibilities, due process, and other student life information.
 Academic policies appear in Volume V of the Policy Manual. Saint Leo University reserves the
 right in its sole judgment to promulgate and change rules and regulations and to make any
 changes of any kind to its student life policies whenever it is deemed necessary or desirable.



 4.1      General Student Information
 For general student information including policies and procedures for housing, conduct,
 academics, athletics and other student related topics please visit one of the items below:
 Saint Leo University Undergraduate Academic Catalog
 http://www.saintleo.edu/resources/docs/stdnt_acad_catalog.pdf
 Saint Leo University Graduate Academic Catalog
 http://www.saintleo.edu/resources/docs/grad_stdnt_acad_catalog.pdf
 Student Services
 http://www.saintleo.edu/SaintLeo/Templates/Inner.aspx?pid=193
 Residence Life
 http://www.saintleo.edu/SaintLeo/Templates/Inner.aspx?pid=176
 Saint Leo Athletics
 http://saintleolions.athleticsite.com/page.asp?articleID=3




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